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            dperez@omm.com
 7   Special Corporate, Litigation, and International Counsel for
     Debtor and Debtor in Possession
 8
                                   UNITED STATES BANKRUPTCY COURT
 9                                  CENTRAL DISTRICT OF CALIFORNIA
                                         LOS ANGELES DIVISION
10

11   In re:                                                       Case No. 2:19-bk-24804-VZ
12   YUETING JIA,1                                                Chapter 11
13                         Debtor.                                FIRST INTERIM APPLICATION OF
                                                                  O’MELVENY & MYERS LLP FOR
14                                                                INTERIM APPROVAL OF
                                                                  COMPENSATION AND
15                                                                REIMBURSEMENT OF EXPENSES;
                                                                  DECLARATION OF SUZZANNE
16                                                                UHLAND
17                                                                Application Period:
                                                                        October 14, 2019 through March 31, 2020
18
                                                                  Hearing on Interim Applications for
19                                                                Compensation and Reimbursement of
                                                                  Expenses
20
                                                                  Date:          May 7, 2020
21                                                                Time:          1:30 p.m. (Pacific time)
                                                                  Place:         Courtroom 1368
22                                                                               Roybal Federal Building
                                                                                 255 E. Temple Street
23                                                                               Los Angeles, California 90012
                                                                  Judge:         Hon. Vincent P. Zurzolo
24

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28
     1The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is 91
     Marguerite Drive, Rancho Palos Verdes, CA 90275.

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 1                          SUMMARY COVER SHEET OF FEE APPLICATION
 2
         Name of applicant:                                               O’Melveny & Myers LLP
 3
         Name of client:                                                  Yueting Jia
 4
         Time period covered by this application:                         October 14, 2019–March 31, 2020
 5
         Total compensation sought this period:                           $1,956,520.572
 6
         Total expenses sought this period:                               $74,256.68
 7
         Petition date:                                                   October 14, 2019
 8
         Retention date:                                                  October 14, 2019
 9
         Date of order approving employment                               February 25, 2020
10
         Total compensation approved by interim order to                  N/A
11       date
12       Total expenses approved by interim order to date                 N/A

13       Total allowed compensation paid to date                          N/A

14       Total allowed expenses paid to date                              N/A

15       Blended rate in this application for all attorneys               $849.15

16       Blended rate in this application for all timekeepers             $839.17
17       Compensation sought in this application already
         paid pursuant to a monthly compensation order but                N/A
18       not yet allowed
         Expenses sought in this application already paid
19       pursuant to a monthly compensation order but not                 N/A
         yet allowed
20       Number of professionals included in this                         26
         application
21       If applicable, number of professionals in this
         application not included in staffing plan approved               N/A
22       by client
         If applicable, difference between fees budgeted and              N/A
23       compensation sought for this period

24

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26

27   2 The Firm’s fees originally totaled $2,173,911.74 based on its standard rates. Pursuant to the Firm’s terms of
     engagement with the Debtor, the Firm has reduced its fees by 10%, thereby resulting in $1,956,520.57 in fees
28   requested for the Application Period.

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 1
         Name of applicant:                                               O’Melveny & Myers LLP
 2       Number of professionals billing fewer than 15                    163
         hours to the case during this period
 3       Are any rates higher than those approved or
                                                                          All amounts are within budget. The
         disclosed at retention? If yes, calculate and disclose
 4       the total compensation sought in this application                Firm has reduced its fees by 10% in
                                                                          accordance with its agreement with
         using the rates originally disclosed in the retention
 5                                                                        the Debtor at retention.
         application
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     3 Two of the professionals are translators whose services are required ad hoc when dealing with matters that require
     translation from the English language to the Chinese language and vice versa. Six of the professionals fulfilled ad hoc
     administrative functions, such as the maintenance of data rooms, project support, and outreach to creditors located in
27
     China. The services provided by these professionals have been instrumental to the administration of the chapter 11
     case.
28

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 1   TO THE HONORABLE VINCENT P. ZURZOLO, UNITED STATES BANKRUPTCY

 2   JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, THE OFFICIAL

 3   COMMITTEE OF UNSECURED CREDITORS, PACIFIC TECHNOLOGY HOLDING

 4   LLC, AND ALL PARTIES WHO HAVE REQUESTED SPECIAL NOTICE:

 5           O’Melveny & Myers LLP (the “Firm” or “OMM”), special corporate, litigation, and

 6   international counsel for Yueting Jia, the debtor and debtor in possession (the “Debtor”) in the

 7   above-captioned chapter 11 case, hereby submits its First Interim Application for Approval of

 8   Compensation and Reimbursement of Expenses (the “Application”) for the period of October 14,

 9   2019 through March 31, 2020 (the “Application Period”), pursuant to sections 327 and 330 of the

10   Bankruptcy Code.

11                                         I.
                                 INTRODUCTORY STATEMENT
12   A.      Local Rules and Guides
13           Rule 2016-1(a)(1) of the Local Bankruptcy Rules for the United States Bankruptcy Court

14   for the Central District of California (the “Local Bankruptcy Rules”) sets forth certain

15   requirements that a professional must satisfy to obtain an award for fees and costs. Additional

16   standards to be employed in the review of fee applications are set forth in the United States

17   Department of Justice’s Guidelines for Reviewing Applications for Compensation and

18   Reimbursement of Expenses filed under 11 U.S.C. § 330 (the “UST Guidelines”).4 Section

19   330(a)(3) directs the Court to consider “the nature, the extent, and the value” of the legal services

20   provided when determining the amount of reasonable compensation to award. 11 U.S.C.

21   § 330(a)(3). The Ninth Circuit’s primary method to determine the reasonableness of fees is to

22   calculate the lodestar. See In re Charles Russell Buckridge, Jr., 367 B.R. 191, 201 (C.D. Cal.

23   2007). The lodestar is ascertained by multiplying the number of hours reasonably expended by a

24   reasonable hourly rate. See Law Offices of David A. Boone v. Derham-Burk (In re Eliapo), 468

25   F.3d 592, 598 (9th Cir. 2006). This Application complies with all statutory guidelines and Court-

26   imposed requirements based upon the actual fees incurred.

27

28
     4 The UST Guidelines are promulgated by the United States Department of Justice and can be found on the United
     States Department of Justice website at: http://www.justice.gov/ust/fee-guidelines.

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 1   B.     Dates of Filing of Chapter 11 Petition
 2          On October 14, 2019 (the “Petition Date”), the Debtor commenced his case under chapter

 3   11 of the Bankruptcy Code.

 4   C.     Orders Re Employment Entered (LBR 2016-1(a)(1)(B))
 5          On November 14, 2019, the Debtor filed the Debtor’s Application Pursuant to Section

 6   327(e) of the Bankruptcy Code, Rule 2014 of the Federal Rules of Bankruptcy Procedure, and

 7   Local Rule 2014-1 for An Order Authorizing the Retention and Employment of O’Melveny &

 8   Myers LLP, as Special Corporate, Litigation, and International Counsel to the Debtor Nunc Pro

 9   Tunc to the Petition Date [Docket No. 90] (the “OMM Retention Application”). On February 25,

10   2020, the Court entered the Order Granting the Application to Employ O’Melveny & Myers LLP

11   as Special Corporate, Litigation, and International Counsel to the Debtor Nunc Pro Tunc to the

12   Petition Date [Docket No. 374] (the “OMM Retention Order”).

13          The OMM Retention Order authorized the employment of OMM as special corporate,

14   litigation, and international counsel to perform the following services:

15              1. advise and counsel the Debtor with respect to certain prepetition litigations
                   currently pending in the federal and state courts of California;
16

17              2. advise and assist the Debtor with respect to general corporate issues, including, but
                   not limited to, financing, securities, and other strategic matters;
18
                3. advise and counsel the Debtor in connection with any contemplated restructuring
19                 in conjunction with PSZ&J, including the drafting of appropriate corporate
                   documents with respect thereto, including revisions of the plan of reorganization
20                 and disclosure statement, which were drafted by OMM in connection with the
21                 prepetition exchange offer, and counseling the Debtor in connection with the
                   closing of such restructuring;
22
                4. perform tax analysis and disclosures in connection with the creditor trust;
23
                5. advise and assist the Debtor on numerous international matters, including
24
                   supervising certain China communication issues; and
25
                6. perform the full range of services normally associated with the above matters.
26
     D.     Statement from OMM
27
            Pursuant to the Appendix B of the UST Guidelines, the Firm responds to the following
28

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 1   questions regarding the Application:

 2                     Question                           Yes             No            Additional
                                                                                      Explanation or
 3                                                                                     Clarification
      Did you agree to any variations from, or      X                              Upon its retention, the
 4    alternatives to, your standard or customary                                  Firm agreed to a 10%
      billing rates, fees or terms for services                                    discount on its fees.
 5    pertaining to this engagement that were
      provided during the application period? If
 6    so, please explain.
      If the fees sought in this fee application as                  X
 7    compared to the fees budgeted for the
      time period covered by this fee application
 8    are higher by 10% or more, did you
      discuss the reasons for the variation with
 9    the client?
10    Have any of the professionals included in                      X
      this fee application varied their hourly rate
11    based on the geographic location of the
      bankruptcy case?
12    Does the fee application include time or                       X
      fees related to reviewing or revising time
13    records or preparing, reviewing, or
      revising invoices?
14    Does this fee application include time or                      X
      fees for reviewing time records to redact
15    any privileged or other confidential
      information? If so, please quantify by
16    hours and fees.
      If the fee application includes any rate                                     The billing rates and
17    increases since retention in these Cases:                                    material financial
         i.    Did your client review and                                          terms for the post-
18             approve those rate increases in                                     petition period remain
               advance?                                                            the same as the
19                                                                                 prepetition period
        ii.    Did your client agree when                                          subject to an annual
               retaining the law firm to accept all                                economic adjustment.
20
               future rate increases? If not, did                                  The terms of the
21             you inform your client that they                                    Firm’s engagement
               need not agree to modified rates or                                 provide that the Firm
22             terms in order to have you                                          may periodically
               continue the representation,                                        adjust its billing rates.
23             consistent with ABA Formal
               Ethics Opinion 11-458?
24
     E.     Compensation and Expenses Sought (LBR 2016-1(a)(1)(C))
25
            This is the Firm’s first interim fee application in this case. Prior to the filing of the chapter
26
     11 case, the firm received payments from Pacific Technology Holding LLC (“PTH”) on behalf of
27
     the Debtor, totaling $399,668.97, of which $179,668.97 was applied against prepetition fees and
28

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 1   costs. The balance of funds in the amount of $92,300.00 was deposited into a segregated client

 2   trust account to be held as a retainer during the chapter 11 case.

 3            By way of this Application, the Firm seeks interim allowance of a total of $2,030,777.25

 4   in fees and expenses and payment of $1,938,477.25 from estate funds in trust (net of the Firm’s

 5   retainer) as set forth below:

 6                     Fees Sought:               $1,956,520.575

 7                     Expenses Sought:               $74,256.68

 8                               Total:           $2,030,777.25

 9                     (Less Retainer):            ($92,300)

10                     TOTAL DUE:                 $1,938,477.25

11                     Blended Hourly Rate for the Fee Period

12                               -- Including Paraprofessionals: $839.17

13                               -- Excluding Paraprofessionals: $849.15

14   F.       Cash in the Estate (LBR 2016-1(a)(1)(A)(iii))
15            As of April 16, 2020, the Debtor’s estate holds $4,547,078.76 in cash on hand. Of these

16   funds, Pachulski Stang Ziehl & Jones LLP (“PSZ&J”) holds $3,250,000 in trust, counsel for the

17   Official Committee of Unsecured Creditors (the “Committee”) holds $1,250,000 in trust, and the

18   Debtor holds $47,078.76, pursuant to the February 2020 monthly operating report [Docket No.

19   463]. The Debtor anticipates receiving additional loan proceeds of $1,500,000 no later than April

20   30, 2020 and $500,000 no later than May 26, 2020.

21                                         II.
                        BACKGROUND AND PRESENT POSTURE OF THE CASE
22            Pursuant to Local Bankruptcy Rule 2016-1(a)(1)(A)(iv), OMM incorporates by reference
23   the narrative history provided in the First Interim Application of Pachulski Stang Ziehl & Jones
24   LLP for Interim Approval of Compensation and Reimbursement of Expenses to be heard
25   contemporaneously by the Court.
26

27   5 The Firm’s fees originally totaled $2,173,911.74 based on its standard rates. Pursuant to the Firm’s terms of
28   engagement with the Debtor, the Firm has reduced its fees by 10%, thereby resulting in $1,956,520.57 in fees
     requested for the Application Period.

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 1          During the Application Period, OMM dutifully performed its role as special corporate,

 2   litigation, and international counsel to the Debtor. Prior to this chapter 11 case, OMM

 3   professionals in Los Angeles, New York, and China devised and launched an out-of-court

 4   exchange offer, backed by the Debtor’s Prepackaged Plan of Reorganization Under Chapter 11

 5   of the Bankruptcy Code [Docket No. 4] (“the Prepackaged Plan”). After the appointment of the

 6   Committee and initial discussions with the Committee and certain individual creditors, the Debtor

 7   determined that it was in the best interests of his creditors to pursue a more traditional chapter 11

 8   path. To that end, OMM led a comprehensive due diligence process in which OMM coordinated

 9   the production of documents responsive to the Committee’s requests, and along with PSZ&J, the

10   Debtor’s lead bankruptcy counsel, OMM guided the Debtor through months of protracted

11   negotiations with the Committee and other parties in interest regarding the terms of a consensual

12   plan of reorganization. Over the past five months, OMM revised and modified the Debtor’s

13   proposed plan of reorganization based on these negotiations, which led to the preparation and

14   filing of the Debtor’s First Amended Plan of Reorganization Under Chapter 11 of the Bankruptcy

15   Code [Docket No. 260] (the “First Amended Plan”) and the Debtor’s Second Amended Plan of

16   Reorganization Under Chapter 11 of the Bankruptcy Code [Docket No. 398] (the “Second

17   Amended Plan”). Finally, after addressing all of the Committee’s diligence requests, including

18   meetings with the Debtor and certain parties in interests, a two-day deposition of the Debtor

19   (defended by OMM lawyers), and populating several data rooms with documents, the Debtor and

20   the Committee were able to agree to the terms of a consensual plan of reorganization, which led

21   to the preparation and filing by OMM of the Debtor’s Third Amended Plan of Reorganization

22   Under Chapter 11 of the Bankruptcy Code [Docket No. 465] (the “Third Amended Plan”).

23          To provide creditors with adequate information regarding the relevant plan of

24   reorganization, as discussed in further detail below, OMM spent significant time reviewing the

25   Debtor’s assets and financial affairs to draft (i) the Amended Disclosure Statement with Respect to

26   Debtor’s Plan of Reorganization Under Chapter 11 of the Bankruptcy Code [Docket No. 94]; (ii)

27   the Second Amended Disclosure Statement with Respect to Debtor’s First Amended Plan of

28   Reorganization Under Chapter 11 of the Bankruptcy Code [Docket No. 262]; (iii) the Third

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 1   Amended Disclosure Statement with Respect to Debtor’s Second Amended Plan of

 2   Reorganization Under Chapter 11 of the Bankruptcy Code [Docket No. 397]; and (iv) the Fourth

 3   Amended Disclosure Statement with Respect to Debtor’s Third Amended Plan of Reorganization

 4   Under Chapter 11 of the Bankruptcy Code [Docket No. 465] (the “Fourth Amended Disclosure

 5   Statement”). In connection with seeking approval of the various disclosure statements, OMM

 6   prepared solicitation motions, negotiated with objecting creditors, resolved certain objections, and

 7   replied to the remaining objections. OMM’s services were instrumental to the Court’s approval of

 8   the Fourth Amended Disclosure Statement and the prompt commencement of the solicitation

 9   process on the Third Amended Plan.
                                    III.
10      NARRATIVE STATEMENT OF SERVICES RENDERED AND TIME EXPENDED
11          During the Application Period, OMM and PSZ&J strictly enforced the clear division of

12   labor, achieved cost efficiencies, and avoided duplicative or unnecessary work. As general

13   bankruptcy counsel, PSZ&J has assisted the Debtor in conducting the chapter 11 case. PSZ&J’s

14   services include (i) providing legal advice with respect to the Debtor’s powers and duties as

15   debtor in possession in the continued management of his property; (ii) preparing on behalf of the

16   Debtor any necessary applications, motions, answers, orders, reports, and other legal papers; and

17   (iii) appearing in Court on behalf of the Debtor. See Application Pursuant to Section 327(a) of the

18   Bankruptcy Code, Rule 2014 of the Federal Rules of Bankruptcy Procedure and Local Rule 2014-

19   1 for Authorization to Employ and Retain Pachulski Stang Ziehl & Jones LLP as Counsel for the

20   Debtor and Debtor in Possession Nunc Pro Tunc to the Petition Date [Docket No. 18] ¶ 8.

21          These services are distinct from OMM’s services, which are primarily corporate in nature

22   and international in scope. OMM has focused on implementing the complex corporate based

23   transaction underlying the Debtor’s plan of reorganization (including the execution of the creditor

24   trust transaction), facilitating diligence and analysis with respect to the Debtor’s complex

25   ownership and financial structure of his US assets and the Debtor’s pre-filing transactions, and

26   addressing any prepetition litigation issues. In connection therewith, OMM has provided the

27   Debtor with corporate, securities, tax, and international counsel that is distinct from the services

28   provided by PSZ&J as general bankruptcy counsel to the Debtor.

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 1           At the commencement of this chapter 11 case, OMM created 19 different matter numbers

 2   or subject-matter categories to which its professionals billed their time, all of which were related

 3   to the tasks performed by OMM on behalf of the Debtor. OMM contemporaneously recorded the

 4   time spent on the services rendered, while separating tasks in billing increments of one-tenth of

 5   an hour. All of the services performed by OMM were not only legal in nature but also necessary

 6   and appropriate for the effective administration of this chapter 11 case.

 7           Below is a narrative summary of the work performed by OMM during the Application

 8   Period in connection with each of the key matters to which OMM professionals devoted

 9   significant time. To the extent that OMM did not render services attributable to certain subject-

10   matter categories, such categories have been omitted for purposes of this Application.

11   A.      Services Performed and Time Expended During Application Period.
12           1.      Asset Analysis and Recovery
13           This category includes analysis and review of potential assets, including causes of action

14   and non-litigation recoveries. During the Application Period, OMM professionals reviewed and

15   analyzed various documents to ascertain the composition of the Debtor’s U.S. assets.

16   Additionally, to assess the feasibility of and implement the transfer of the Debtor’s U.S. assets to

17   the creditor trust under the proposed Third Amended Plan, OMM professionals researched

18   relevant Bankruptcy Code sections, ascertained the laws of the British Virgin Islands (“BVI”),

19   analyzed BVI court orders related to the injunctions in place in BVI, and analyzed corporate

20   documents, including multiple versions of FF Intelligent Mobility Global Holdings Ltd.’s

21   memorandum and articles of association and that certain restructuring agreement by and among

22   the Debtor, Season Smart Limited, and other parties. The completion of this analysis, including a

23   review of choice of law issues, enabled OMM to revise the plan of reorganization so that the plan

24   can go effective upon confirmation without the need to await the dissolution of the BVI

25   injunctions.

26           During the Application Period, OMM expended 48.5 hours and billed $34,523.10 of fees

27   attributable to this category.

28

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 1            2.     Business Operations
 2            This category entails services rendered to guard against the loss of value in Faraday &

 3   Future Inc.’s (“FF”)—the Debtor’s primary U.S. asset—and general operational issues that do not

 4   fall under other categories. Immediately following the Debtor’s chapter 11 filing, OMM

 5   professionals prepared and delivered a presentation to FF’s employees to alleviate concerns

 6   regarding the effect of the chapter 11 case on FF’s business and clarify that the Debtor, not FF,

 7   filed for bankruptcy protection. Additionally, OMM professionals drafted various letters and

 8   reviewed numerous press releases in both English and Chinese to clarify the nature of the

 9   Debtor’s chapter 11 case.

10            During the Application Period, OMM expended 21.5 hours and billed $15,857.10 of fees

11   attributable to this category.

12            3.     Case Administration
13            Serving as a general code for services performed that do not fit under any other specific

14   code, this category includes matters relating to general case administration, records maintenance,

15   and assistance to the Debtor in fulfilling his duties as debtor in possession. During the

16   Application Period, OMM professionals regularly (i) prepared meeting agendas and confirmation

17   related timelines; (ii) conferred with the Debtor’s employees and other professionals regarding

18   the status of the chapter 11 case and upcoming matters; (ii) attended internal and external

19   meetings to discuss and review pending motions, applications, and upcoming matters to be

20   address in the chapter 11 case; (iii) formulated strategies to resolve critical issues; (iv) and

21   assisted PSZ&J with the preparation of status reports in accordance with the Local Bankruptcy

22   Rules.

23            During the Application Period, OMM expended 79.8 hours and billed $66,582.90 of fees

24   attributable to this category.

25            4.     Claims Administration and Objections
26            This category includes claim-related notices, claim inquiries, and analysis, preparation,

27   and prosecution of objections to claims. OMM professionals, in coordination with PSZ&J,

28   counseled the Debtor on issues related to the bar date, including the publication of the bar date

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 1   notice in the People’s Republic of China (“PRC”) and addressing comments to the bar date order.

 2   In connection with a series of objections to claims for voting purposes prepared by PSZ&J

 3   [Docket Nos. 499–507], OMM professionals employed their bilingual skills by conducting an in-

 4   depth review of the supporting documents attached to the proofs of claim in the Chinese language

 5   and prepared analyses regarding the propriety of the objections. Additionally, OMM professionals

 6   assisted in the preparation of the objections by researching alter ego claims under California law

 7   and other claims arising from prepetition litigations against the Debtor.

 8           Due to the significant difference between the amount of scheduled claims and that of

 9   asserted claims, the Debtor requested a detailed, step-by-step explanation as to the process of

10   reconciling claims and the calculation of secured claims and the deficiency portions for such

11   claims in connection with the preparation of the plan of reorganization and disclosure statement.

12   Because it was necessary to review documents and communicate in Chinese, OMM’s bilingual

13   attorneys conducted this review process by working with the Debtor’s employees and answering

14   questions in Chinese. These services were provided in connection with OMM’s role as

15   international counsel to the Debtor and facilitated the adequate disclosure of relevant information.

16           During the Application Period, OMM expended 63.2 hours and billed $52,806.15 of fees

17   attributable to this category.

18           5.      Employment and Fee Applications
19           This category relates to the preparation of employment and fee applications. During the

20   Application Period, OMM drafted and prosecuted the Debtor’s Application Pursuant to Section

21   327(e) of the Bankruptcy Code, Rule 2014 of the Federal Rules of Bankruptcy Procedure, and

22   Local Rule 2014-1 for An Order Authorizing the Retention and Employment of O’Melveny &

23   Myers LLP, as Special Corporate, Litigation, and International Counsel to the Debtor Nunc Pro

24   Tunc to the Petition Date [Docket No. 90] (the “OMM Retention Application”), including

25   preparing all relevant declarations in support of the OMM Retention Application and conducting

26   an analysis of any potential conflicts. In this category, OMM also included time spent on the

27   preparation of the Debtor’s Motion for Entry of an Order Authorizing Robert Moon to Act as

28   Foreign Representative Pursuant to Section 1505 of the Bankruptcy Code [Docket No. 105] (the

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 1   “Foreign Representative Application”).

 2           During the Application Period, OMM expended 54.7 hours and billed $39,172.95 of fees

 3   attributable to this category.

 4           6.      Employment and Fee Application Objections

 5           This category includes reviewing and responding to objections to employment and fee

 6   applications. During the Application Period, OMM reviewed and responded to objections to the

 7   OMM Retention Application and Foreign Representative Application. To respond to those

 8   objections, OMM drafted the (i) Reply in Support of Debtor’s Application Pursuant to Section

 9   327(e) of the Bankruptcy Code, Rule 2014 of the Federal Rules of Bankruptcy Procedure, and

10   Local Rule 2014-1 for an Order Authorizing the Retention and Employment of O’Melveny &

11   Myers LLP, as Special Corporate, Litigation, and International Counsel to the Debtor Nunc Pro

12   Tunc to the Petition Date [Docket No. 144]; and (ii) Reply In Support of Debtor’s Motion For

13   Entry of An Order Authorizing Robert Moon to Act As Foreign Representative Pursuant to

14   Section 1505 of the Bankruptcy Code [Docket No. 146]. On February 25, 2020, the Court

15   approved both the OMM Retention Application and the Foreign Representative Application

16   [Docket Nos. 374, 376].

17           During the Application Period, OMM expended 60.8 hours and billed $43,087.50 of fees

18   attributable to this category.

19           7.      Financing and Cash Collateral
20           This category pertains to services relating to debtor-in-possession financing (“DIP

21   Financing”). At the outset of this chapter 11 case, OMM contacted potential sources of DIP

22   Financing in an effort to obtain terms as favorable as the circumstances of this case would allow.

23   After it became clear that PTH offered the best and the only available economic proposal under

24   the circumstances, OMM expended substantial time in the constructive arm’s length diligence and

25   negotiations with PSZ&J, the Committee, and PTH. In connection with its role as corporate

26   counsel to the Debtor, OMM’s finance and restructuring professionals structured and drafted the

27   documentation relating to the DIP Financing, including that certain secured debtor-in-possession

28   promissory note by and among the PTH and the Debtor and related term sheet. In addition, OMM

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 1   provided input on the Motion for Order (A) Authorizing Debtor in Possession to (I) Obtain

 2   Postpetition Financing Pursuant to 11 U.S.C. §§105, 362, and 364, and (II) Granting Liens and

 3   Superpriority Claims to Post-Petition Lender Pursuant to 11 U.S.C. § 364; and (B) Modifying

 4   Automatic Stay Pursuant to 11 U.S.C. §§361, 362, and 364 [Docket No. 384] (the “DIP Motion”)

 5   drafted by PSZ&J to ensure that the DIP Motion reflected the terms of the DIP note and DIP

 6   order. Moreover, OMM drafted the proposed Order Pursuant to Sections 105, 362 and 364 of the

 7   Bankruptcy Code and Bankruptcy Rules 2002, 4001 and 9014: (1) Authorizing Post-Petition

 8   Financing and (2) Granting Liens and Providing Superpriority Administrative Expense Priority

 9   and (3) Modifying the Automatic Stay. See DIP Motion at 84–102. OMM’s services in this

10   category contributed to the Court approval of the DIP Motion for the benefit of all parties in

11   interest in the chapter 11 case.

12           During the Application Period, OMM expended 129.4 hours and billed $121,502.70 of

13   fees attributable to this category.

14           8.      Hearings
15           This category pertains to the preparation for, and attendance at, hearings related to any

16   aspect of the chapter 11 case. During the Application Period, OMM professionals prepared for

17   and attended various court hearings including (i) the December 18, 2019 hearing on Shanghai

18   Lan Cai Asset Management Co, Ltd.’s Motion (I) to Dismiss the Debtor’s Chapter 11 Case or,

19   Alternatively, (II) to Transfer Venue to the Central District of California [Docket No. 89]

20   (the “Motion to Dismiss”); (ii) the status conference on January 23, 2020; (iii) the February 25,

21   2020 hearing on various retention applications; and (iv) the March 19, 2020 hearing on the

22   Motion by Creditor Shanghai Lan Cai Asset Management Co, Ltd. to Dismiss the Debtor’s

23   Chapter 11 Case [Docket No. 358] (the “Renewed Motion to Dismiss” together with the Motion

24   to Dismiss, the “Motions to Dismiss”), the DIP Motion, and the Fourth Amended Disclosure

25   Statement. Additionally, OMM professionals contributed to the effective bilingual preparation

26   sessions of the Debtor for the meetings of creditors under section 341 of the Bankruptcy Code

27   and attended such meetings at the request of the Debtor.

28           During the Application Period, OMM expended 103.8 hours and billed $88,032.60 of fees

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 1   attributable to this category.

 2           9.      Litigation
 3           The majority of the time spent by OMM professionals in this category is related to

 4   analyzing and addressing issues related to various prepetition litigations in which OMM

 5   represented the Debtor and preparing for and defending the confidential deposition of the Debtor

 6   taken by the Committee. The participation in the Debtor’s deposition was restricted (it was in

 7   effect a F.R.C.P. 30(b)(6) deposition) so that the Committee could promptly complete its

 8   diligence process. Like the 341 meetings of creditors, many aspects of the preparation for the

 9   deposition rested on OMM’s bilingual attorneys. OMM professionals also attended informal

10   interviews by the Committee of several individuals affiliated with the Debtor. During the

11   Application Period, OMM professionals prepared and filed numerous suggestions of bankruptcy

12   in several pending cases, researched whether an alter ego claim constitutes the property of the

13   estate, analyzed garnishment notices and tax warrants in a state court litigation, and addressed

14   issues with third-party subpoenas that were issued prior to the Petition Date. Further, during the

15   Application Period, OMM professionals used their knowledge of the Debtor’s assets and financial

16   affairs to assist PSZ&J in responding to the Motions to Dismiss.

17           During the Application Period, OMM expended 206.2 hours and billed $185,818.50 of

18   fees attributable to this category.

19           10.     Meetings and Communications with Creditors
20           This category includes all of OMM’s interactions with the Debtor’s creditors and their

21   counsel, including the Committee and its counsel, and most importantly, the extensive Committee

22   due diligence process of the Debtor’s assets, transactions, and the corporate entities in which the

23   Debtor holds an interest. During the Application Period, OMM professionals (i) prepared and

24   updated a series of frequently asked creditor questions and answers related to the proposed plan

25   of reorganization and creditor trust; (ii) continuously resolved creditor questions regarding the

26   process of filing proofs of claim, the applicable bar date, and the key provisions of the plan of

27   reorganization; (iii) drafted acknowledgement and non-disclosure agreements for presentations

28   and meetings with creditors; and (iv) attended numerous meetings with the Committee and other

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 1   creditors to discuss and negotiate the plan and other aspects of the Debtor’s chapter 11 case. This

 2   includes the attendance of, and presentation by, OMM professionals at several in person meetings

 3   in California with the representatives of the Committee and other creditors regarding the proposed

 4   plan of reorganization and creditor trust transaction. Additionally, OMM professionals gathered,

 5   compiled, and reviewed documents (in English and Chinese) responsive to the Committee’s

 6   information requests, including establishing two data rooms and populating them with several

 7   hundred documents.

 8           During the Application Period, OMM expended 342.2 hours and billed $$282,601.35 of

 9   fees attributable to this category.

10           11.     Non-Working Travel
11           This category pertains to travel time billed at half of the attorney’s applicable billing rate.

12   In November 2019, OMM professionals traveled to Los Angeles, California to attend the all-

13   hands meetings with the Committee and other creditors. In December 2019, OMM professionals

14   traveled to Wilmington, Delaware for the initial debtor interview, the Committee formation

15   meeting, and the hearing on the Motion to Dismiss. After the venue transfer, OMM professionals

16   traveled to Los Angeles, California to attend (i) the January 23, 2020 status conference; (ii) the

17   depositions of the Debtor and meetings with the Committee’s professionals from January 17,

18   2020 to January 18, 2020; (iii) the mediation sessions with the Committee and other creditors

19   including Shanghai Lan Cai Asset Management Co., Ltd. and Shanghai Qichengyueming

20   Investment Partnership during the week of February 3, 2020; and (iv) the February 25, 2020

21   hearing on various retention applications.

22           During the Application Period, OMM expended 60.7 hours and billed $25,478.78 of fees

23   attributable to this category.

24           12.     Plan and Disclosure Statement
25           This category relates to the drafting, revising, filing, and amendment of the plan,

26   disclosure statement (and motion seeking approval of same), and the exhibits and schedules

27   annexed thereto. During the Application Period, the services provided by OMM professionals

28   centered on the formulation of a disclosure statement that would obtain court approval and a plan

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 1   that would treat creditors equitably and garner the Committee’s support. Based on the

 2   Prepackaged Plan and the continuous negotiations between the Debtor, on one hand, and the

 3   Committee and other parties in interest, on the other, OMM professionals devised the First

 4   Amended Plan, the Second Amended Plan, and the Third Amended Plan.

 5          A key component of the plan process was to construct an agreed to plan term sheet with

 6   the Committee. The DIP Lender conditioned any commitment to provide DIP Financing on such

 7   term sheet. Conversely, the Committee conditioned its agreement to a term sheet on the

 8   commitment to provide DIP Financing. Along with PSZ&J, OMM resolved this impasse by

 9   proposing a mutually acceptable term sheet and draft plan of reorganization. In connection with

10   this process, OMM professionals dedicated substantial resources to the numerous telephonic

11   conferences and in-person meetings with the Debtor and Committee.

12          The mediation sessions under the auspices of Judge Goldberg were instrumental to the

13   parties’ agreement on the plan term sheet. In connection with the mediation sessions, OMM

14   professionals (i) distilled background information and outstanding issues; (ii) drafted mediation

15   statements to advance the Debtor’s position; (iii) conducted pre-mediation meetings to highlight

16   important topics; (iv) negotiated with the Committee and other creditors during the mediation

17   sessions; and (v) debriefed the Debtor after the mediation sessions.

18          Contemporaneously with the extensive negotiations that led to the terms of an agreed to

19   plan of reorganization, OMM professionals memorialized such terms by drafting the Third

20   Amended Plan and the Fourth Amended Disclosure Statement.

21          In connection with the Fourth Amended Disclosure Statement, OMM professionals

22   drafted the (i) Renewed Motion for An Order (I) Approving Third Amended Disclosure Statement,

23   (II) Approving Voting and Tabulation Procedures, (III) Setting Confirmation Hearing And

24   Related Deadlines, (IV) Waiving Certain Local Rules and Procedures, and (V) Granting Related

25   Relief [Docket No. 401] (the “Renewed Solicitation Motion”); and (ii) Debtor’s Omnibus Reply

26   to Responses to the Third Amended Disclosure Statement with Respect to the Second Amended

27   Plan of Reorganization Under Chapter 11 of the Bankruptcy Code [Docket No. 458]. In

28   particular, OMM spent substantial time revising the disclosure statement in accordance with the

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 1   Court’s Findings of Fact and Conclusions of Law In Support of Order: (1) Denying Motion for

 2   Approval of Adequacy of Amended Disclosure Statement and 2nd Amended Disclosure Statement;

 3   and (2) to Show Cause Why Chapter 11 Case Should not be Dismissed or Converted to a Case

 4   Under Chapter 7 [Docket No. 305]. To reflect these revisions, OMM professionals prepared and

 5   attached a chart of revisions as Exhibit F to the Renewed Solicitation Motion [Docket No. 402] to

 6   assist the Court in assessing the various revisions to the Fourth Amended Disclosure Statement

 7   and the Third Amended Plan.

 8           Prior to the solicitation that promptly began after the Court approved the Fourth Amended

 9   Disclosure Statement, OMM prepared various solicitation materials including the form ballot,

10   notice of confirmation hearing, and notice of non-voting status, while working closely with the

11   Debtor’s voting agent, Epiq Corporate Restructuring LLC, to ensure the timely delivery of the

12   solicitation packages to creditors located in China.

13           OMM’s services in this category revolved around effectuating a consensual restructuring

14   with the goal of transferring all of the Debtor’s non-exempt assets to a liquidating trust for the

15   benefit of his creditors. Such services were not only instrumental to the Court’s approval of the

16   Fourth Amended Disclosure Statement but also fulfilled OMM’s role as special corporate and

17   international counsel to the Debtor.

18           During the Application Period, OMM expended 961.8 hours and billed $843,568.20 of

19   fees attributable to this category.

20           13.     Relief from Stay and Adequate Protection
21           This category includes matters relating to the automatic stay. Immediately following the

22   filing of this chapter 11 case, OMM professionals assessed the effect of the automatic stay on the

23   various pending litigations. During the Application Period, OMM professionals researched the

24   scope of the automatic stay as it relates to certain entities affiliated with the Debtor and whether a

25   creditor has an affirmative duty to ensure that the automatic stay is not violated by calling off

26   third-party discovery requests. In connection therewith, OMM professionals drafted letters to

27   inform creditors regarding their violations of the automatic stay and coordinated with PSZ&J

28   regarding the issuance of such letters.

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 1           During the Application Period, OMM expended 44.8 hours and billed $27,644.40 of fees

 2   attributable to this category.

 3           14.     Reporting
 4           This category relates to the preparation and review of the statements of financial affairs,

 5   schedules of assets and liabilities, and contact with the U.S. Trustee not included in other

 6   categories. As the Debtor’s general bankruptcy counsel, PSZ&J led the preparation of the

 7   schedules of assets and liabilities, statements of financial affairs, the accompanying

 8   comprehensive global notes, and the various documents submitted in accordance with the

 9   Bankruptcy Code and the U.S. Trustee guidelines. Mindful of the division of labor, OMM

10   facilitated this process by reviewing and revising those filings based on the intimate knowledge of

11   the Debtor’s assets and FF’s business operations that OMM accumulated from its prepetition

12   work with respect to the exchange offer. During the Application Period, OMM professionals also

13   assisted the Debtor and PSZ&J with preparation for the initial debtor interview with the U.S.

14   Trustee and attended such interview.

15           During the Application Period, OMM expended 60 hours and billed $55,647.90 of fees

16   attributable to this category.

17           15.     Tax
18           During the Application Period, OMM tax professionals identified, analyzed, and resolved

19   various tax issues relating to the liquidating trust under the plan of reorganization. OMM

20   expended 37.7 hours and billed $39,145.50 of fees attributable to this category.

21           16.     Vendor and Other Creditor Issues
22           This category includes communications with vendors and all other issues that arise with

23   vendors and related creditors. As the Debtor is an individual, the category primarily consists of

24   issues relating to Shanghai Lan Cai Asset Management Co, Ltd. (“SLC”) and other non-

25   Committee creditor issues. During the Application Period, OMM professionals prepared the

26   Debtor’s Statement Regarding Shanghai Lan Cai Asset Management Co, Ltd.’s Response to the

27   Debtor’s Chapter 11 Filing, drafted a letter to the U.S. Trustee regarding SLC and its affiliated

28   entities before the formation meeting, and analyzed correspondence from SLC’s counsel.

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 1           During the Application Period, OMM expended 35.3 hours and billed $24,654.15 of fees

 2   attributable to this category.

 3           17.     Other International Issues
 4           This category captures international issues that do not fit under any other category. During

 5   the Application Period, OMM’s bilingual professionals in its China and U.S. offices prepared

 6   responses to media and creditor inquiries regarding the Debtor’s chapter 11 case.

 7           During the Application Period, OMM expended 20.9 hours and billed $10,207.80 of fees

 8   attributable to this category.

 9   B.      Detailed Listing of all Time Spent on the Matters for Which Compensation is Sought
10           Attached hereto as Exhibit C is a summary, by category, of the Firm’s services in this

11   case incurred during the Application Period in each of the Firm’s billing categories. Such

12   summary includes the time spent, rate, and billing attributable to each person who performed

13   compensable services. Exhibit F attached hereto contains the Firm’s detailed time records during

14   the Application Period.

15   C.      List of Expenses by Category
16           The Firm incurred costs in the amount of $74,256.68 including certain in-house charges in

17   connection with the performance of the services described in this Application. The costs the Firm

18   has incurred in this case are summarized in Exhibit D attached hereto. The Firm has charged for

19   photocopying charges and printing at 10¢ per page. The Firm has also charged for unusual

20   expenses, i.e., travel, court costs, special messenger services, and costs relating to the Firmex

21   Virtual Data Rooms. The Firm has written off all charges for text editing services and the

22   majority of charges for working meals and local travel.

23   D.      Hourly Rates
24           The current hourly rates of all the Firm’s professionals and paraprofessionals rendering

25   services in this chapter 11 case are set forth on Exhibit B.

26   E.      Description of Professional Education and Experience
27           Attached hereto as Exhibit E is a description of the professional education and

28   biographies of the Firm’s primary professionals who rendered services in this chapter 11 case.

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 1   Neither the Firm, nor any partners or associates of the Firm, has any agreement or any

 2   understanding of any kind or nature to divide, pay over, or share any portion of the fees to be

 3   awarded the Firm with any other person or attorney, except among partners and employees of the

 4   Firm.

 5   F.      Notice of Application and Hearing
 6           PSZ&J, as the Debtor’s general bankruptcy counsel, will be filing and serving notice of

 7   the hearing on this Application.

 8   G.      Compliance with United States Trustee Guidelines for Large Cases.
 9           Attorneys retained pursuant to sections 327 or 1103 of the Bankruptcy Code must comply

10   with certain requirements of the UST Guidelines. In accordance the UST Guidelines, the Firm

11   attaches the following exhibits filled out with data to the extent relevant to this case: Exhibit “A”,

12   Customary and Comparable Compensation Disclosures with Fee Applications; Exhibit “B”,

13   Summary of Timekeepers Included in this Fee Application, Exhibit “C”, Summary of

14   Compensation Requested by Project Category; Exhibit “D”, Summary of Expense

15   Reimbursement Requested by Category; Exhibit “E”, Professional Biographies of the OMM

16   attorneys who rendered services in this case; and Exhibit “F”, Invoices for the Application Period

17   with time and expense details.

18                                         IV.
                         THE FEES AND EXPENSES REQUESTED SHOULD
19                        BE AWARDED BASED UPON APPLICABLE LAW

20           The fees and expenses requested by this Application are an appropriate award for the
21   Firm’s services in acting special corporate, litigation, and international counsel to the Debtor.
22   A.      Factors in Evaluating Requests for Compensation
23           Pursuant to section 330 of the Bankruptcy Code, the Court may award a professional
24   person reasonable compensation for actual, necessary services rendered, and reimbursement for
25   actual, necessary expenses incurred. As set forth above, the fees for which the Firm requests
26   compensation and the costs incurred for which the Firm requests reimbursement are for actual
27   and necessary services rendered and costs incurred.
28           The professional services rendered by the Firm have required an expenditure of

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 1   substantial time and effort. During the Application period 2,331.5 hours have been recorded by

 2   members of the Firm and more time was expended but either was not recorded or was written off.

 3   The Firm’s blended hourly rate in this Case for the Application period including

 4   paraprofessionals is $839.17.

 5            Moreover, time and labor devoted is only one of many pertinent factors in determining an

 6   award of fees and costs. Based on the skills brought to bear in this case by the Firm and the

 7   results obtained and in light of the accepted lodestar approach, the Firm submits that the

 8   compensation requested herein is reasonable and appropriate.

 9   B.       The Lodestar Award Should be Calculated by Multiplying a Reasonable Hourly
              Rate by the Hours Expended
10

11            In determining the amount of allowable fees under section 330(a) of the Bankruptcy Code,

12   courts are to be guided by the same “general principles” as are to be applied in determining

13   awards under the federal fee-shifting statutes, with “some accommodation to the peculiarities of

14   bankruptcy matters.” In re Manoa Finance Co., Inc., 853 F.2d 687, 691 (9th Cir. 1988); see

15   Meronk v. Arter & Hadden, LLP (In re Meronk), 249 B.R. 208, 213 (B.A.P. 9th Cir. 2000)

16   (reiterating that Manoa Finance is the controlling authority and characterizing the factor test6

17   identified in Johnson v. Georgia Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974) and Kerr v.

18   Screen Extras Guild, Inc., 526 F. 2d 67, 70 (9th Cir. 1975), cert. denied, 425 U.S. 951 (1976) as

19   an “obsolete laundry list” now subsumed within more refined analyses).

20            The United States Supreme Court has evaluated the lodestar approach and endorses its

21   usage. In Hensley v. Eckerhart, 461 U.S. 424 (1983), a civil rights case, the Supreme Court held

22   that while the Johnson factors might be considered in setting fees, the lodestar amount subsumed

23   many of those factors. Hensley at 434, n.9.7 The following year, another civil rights case, Blum

24   6 The original twelve Johnson factors were: (1) time and labor required, (2) novelty and difficulty of the questions
     involved, (3) skill requisite to perform the legal services properly, (4) the preclusion of other employment by the
25   attorney due to acceptance of the case, (5) the customary fee, (6) whether the fee is fixed or contingent,(7) time
     limitations imposed by the client or the circumstances, (8) amount involved and results obtained, (9) experience,
26   reputation, and ability of the attorneys (10) the “undesirability” of the case, (11) nature and length of the professional
     relationship with client, and (12) awards in similar cases.
27   7For discussion of the Johnson/Kerr subsumed factors, see Morales v. City of San Rafael, 96 F.3d 359, 364 n.9 (9th
28   Cir. 1996) (“among the subsumed factors … are: (1) the novelty and complexity of the issues, (2) the special skill and
     experience of counsel, (3) the quality of representation, and (4) the results obtained”); Davis v. City & County of San

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 1   vs. Stenson, 465 U.S. 886 (1984), provided the so-called lodestar calculation:

 2                    The initial estimate of a reasonable attorney’s fee is properly
                      calculated by multiplying the number of hours reasonably expended
 3                    on the litigation times a reasonable hourly rate . . . . Adjustments to
                      that fee then may be made as necessary in the particular case.
 4

 5   Blum at 888.

 6           Then in 1986, the Supreme Court more explicitly indicated that the factors relevant to

 7   determining fees should be applied using the lodestar approach, rather than an ad hoc approach.

 8   While holding that the attorney’s fee provision of the Clean Air Act, 42 U.S.C. § 7401, et seq.,

 9   should be interpreted like that of the Civil Rights Act, the Supreme Court expressly rejected the

10   ad hoc application of the factors set forth in Johnson and thus Kerr, stating that “the lodestar

11   figure includes most, if not all, of the relevant factors constituting a ‘reasonable’ attorney’s fee . .

12   .. ” Pennsylvania v. Del. Valley Citizens’ Council for Clean Air, 478 U.S. 546, 563-66 (1986);

13   see also Blanchard v. Bergeron, 489 U.S. 87, 94 (1989) (“we have said repeatedly that the initial

14   estimate of a reasonable attorney’s fee is properly calculated by multiplying the number of hours

15   reasonably expended on the litigation times a reasonable hourly rate”).

16           While the lodestar approach is the primary basis for determining fee awards under the

17   federal fee-shifting statutes and the Bankruptcy Code, some of the Johnson/Kerr factors,

18   previously applied in an ad hoc fashion, can still apply in calculating the appropriate hourly rate

19   to use under the lodestar approach. Buckridge, 367 B.R. 191, 201 (C.D. Cal. 2007) (“a court is

20   permitted to adjust the lodestar up or down using a multiplier based on the criteria listed in §330

21   and its consideration of the Kerr factors not subsumed within the initial calculations of the

22   lodestar”); Dang v. Cross, 422 F.3d 800, 812 (9th Cir. 2005) (court may “adjust the lodestar

23   amount after considering other factors that bear on the reasonableness of the fee”); Unsecured

24   Creditors’ Comm. v. Puget Sound Plywood, Inc., 924 F.2d 955, 960 (9th Cir. 1991) (“Although

25   Manoa suggests that starting with the ‘lodestar’ is customary, it does not mandate such an

26

27   Francisco, 976 F.2d 1536, 1549 (9th Cir. 1992), vacated in part on other grounds (extending City of Burlington v.
     Dague, 505 U.S. 557, 567 (1992), which held that sixth factor “whether the fee is fixed or contingent, may not be
28   considered in the lodestar calculation”).

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 1   approach in all cases . . . . Fee shifting cases are persuasive, but due to the uniqueness of

 2   bankruptcy proceedings, they are not controlling.”).

 3          Attached hereto as Exhibit F is a copy of the Firm’s time reports and records kept in the

 4   regular course of business reflecting the services rendered and the expenses incurred by the Firm

 5   during the Application Period. The Firm’s time reports are contemporaneously recorded by the

 6   attorney or paralegal performing the described services. The time reports are organized on a daily

 7   basis. The Firm is sensitive to issues of “lumping,” and unless time was spent in one time frame

 8   on a variety of different matters, separate time entries are set forth in the time reports. The Firm’s

 9   charges for its professional services are based upon the time, nature, extent and value of such

10   services and the cost of comparable services in the Southern California region, other than in a

11   case under the Bankruptcy Code.

12          The filing of the Third Amended Plan and approval of the Fourth Amended Disclosure

13   Statement are evidence of the Debtor’s significant progress in this case, which are due in

14   significant part to the Firm’s role as special corporate, international, and litigation counsel to the

15   Debtor.

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 1                                                 VI.
                                               CONCLUSION
 2

 3            This is the Firm’s first request for interim compensation. The Firm believes that the

 4   services rendered for which compensation is sought in this Application have been beneficial to

 5   the Debtor’s estate, that the costs incurred have been necessary and proper, and that the sums

 6   requested for the services rendered and the costs incurred are fair and reasonable.

 7            WHEREFORE, O’Melveny & Myers LLP respectfully requests that this Court enter an

 8   order approving on an interim basis, fees and expenses incurred for the Application Period

 9   consisting of $1,956,520.57 in fees and $74,256.68 in expenses advanced for a total award of

10   $$2,030,777.25

11   Dated:      April 16, 2020                     O’MELVENY & MYERS LLP
                 New York, New York
12

13                                                  Suzzanne Uhland (CA Bar No. 136852)
                                                    Daniel S. Shamah (NY Bar No. 4474581)
14                                                  Diana M. Perez (admitted pro hac vice)
                                                    Times Square Tower
15                                                  7 Times Square
                                                    New York, New York 10036-6537
16                                                  Telephone:    +1 212 326 2000
                                                    Facsimile:    +1 212 326 2061
17                                                  Email:        suhland@omm.com
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 1                             DECLARATION OF SUZZANNE UHLAND

 2            I, Suzzanne Uhland, declare as follows:

 3            1.     I am an attorney at law duly authorized to practice in the State of California and

 4   before this court. I am a partner in the law firm of O’Melveny & Myers LLP, special corporate,

 5   litigation, and international counsel for the Debtor.

 6            2.     I have personal knowledge of the facts set forth in the foregoing Application and,

 7   if called upon as a witness, I could and would competently testify as to all of the matters stated

 8   therein.

 9            3.     I have personally reviewed the information contained in the Application, and

10   believe its contents to be true and correct to the best of my knowledge, information and belief.

11            4.     The Firm is charging $0.10 per page for photocopying expenses and printing of

12   scanned materials. The Firm’s photocopying machines automatically record the number of copies

13   made when the person that is doing the copying enters the client’s account number into a device

14   attached to the photocopier. The Firm summarizes each client’s photocopying charges on a daily

15   basis.

16            5.     Regarding providers of on-line legal research (e.g., LEXIS and WESTLAW), the

17   Firm charges the standard usage rates these providers charge for computerized legal research. The

18   Firm bills its clients the actual cash charged by such services, with no premium. Any volume

19   discount received by the Firm is passed on to the client.

20            6.     The Firm has reduced the majority of non-economy airfare charges for travel to

21   and from California by OMM professionals to attend client meetings and hearings. However, the

22   Firm has included charges for business class airfare in the Application where it was necessary for

23   the OMM professional to take a red-eye flight from California to New York.

24            7.     The Firm does not charge for local or long distance calls placed by attorneys from

25   their offices. In certain circumstances, international calls were made to and from attorneys’

26   personal cellular telephones, and the Firm has passed the direct costs for such calls on to the

27   client. The Firm only bills its clients for the actual costs charged the Firm by teleconferencing

28   services in the event that a multiple party teleconference is initiated through the Firm.

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 1          8.      The Firm believes the foregoing rates are the market rates that the majority of law

 2   firms charge clients for such services. In addition, the Firm believes that such charges are in

 3   accordance with the American Bar Association’s (“ABA”) guidelines, as set forth in the ABA’s

 4   Statement of Principles, dated January 12, 1995, regarding billing for disbursements and other

 5   charges.

 6          9.      I have personally reviewed the bills in this matter, and the bills represent true and

 7   correct charges to the best of my knowledge, information and belief.

 8          10.     I have reviewed the requirements of Local Bankruptcy Rule 2016-1 and believe

 9   the Application complies with this rule.

10          I declare under penalty of perjury under the laws of the State of California and the United

11   States of America that the foregoing is true and correct.

12          Executed this 16th day of April, 2020, at New York, New York.

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                                                         Suzzanne Uhland
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                                                                EXHIBIT A
                                   CUSTOMARY AND COMPARABLE COMPENSATION DISCLOSURES WITH FEE APPLICATIONS
Privacy Act Statement. 28 U.S.C. § 586(a)(3)(A) authorizes the collection of this information. The United States Trustee will use the information contained in this form to
evaluate whether compensation and reimbursement of expenses filed by attorneys in larger chapter 11 cases - those cases with $50 million or more in assets and $50 million
or more in liabilities - are appropriate and reasonable pursuant to 11 U.S.C. § 330. Disclosure of this information may be to a bankruptcy trustee or examiner when the
information is needed to perform the trustee's or examiner's duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the
information indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of the types of routine disclosures that
may be made, you may consult the Executive Office for United States Trustee's systems of records notice, UST-001, “Bankruptcy Case Files and Associated Records.” See 71
Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: https://www.gpo.gov/fdsys/pkg/FR-2006-10-11/pdf/E6-16814.pdf.

Failure to provide this information could result in an objection to your fee application, or other action by the United States Trustee. 11 U.S.C. § 330.
                                                  ( See Guidelines ¶ C.3. for definitions of terms used in this Exhibit.)

                                   CATEGORY OF TIMEKEEPER                                                             BLENDED HOURLY RATE
                   (using categories already maintained by the firm)                              BILLED OR COLLECTED                                  BILLED

                                                                                           Firm or offices for preceding year,                In this fee application
                                                                                                 excluding bankruptcy
                       Sr./Equity Partner/Shareholder                                                                          $1,164.41                           $1,279.06

                       Jr./Equity Partner/Shareholder                                                                            $953.77                                $917.90

                       Counsel                                                                                                   $908.82                                   *
                       Sr. Associate (7 or more years since first admission)                                                    $807.19                                 $908.73

                       Associate (4-6 years since first admission)                                                              $709.48                                 $747.51

                       Jr. Associate (1-3 years since first admission)                                                          $540.23                                 $537.87

                       Staff Attorney                                                                                           $349.57

                       Contract Attorney                                                                                        $123.18

                       Paralegal                                                                                                $271.20                                 $264.94


Case Name:               In re Yueting Jia                                                  *At OMM, the “counsel” title corresponds with retired partners (“counsel”
Case Number:             2:19-bk-24804-VZ                                                   timekeepers fall in the Sr. Associate category). As no retired partners have
Applicant’s Name:        O' Melveny & Myers LLP                                             worked on this matter, the value for this category is left blank.
Date of Application:     April 16, 2020
Interim or Final:        Interim


UST Form 11-330-A (2013)
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                                                                       EXHIBIT A (continued)

                                 COMPARABLE AND CUSTOMARY COMPENSATION DISCLOSURES WITH FEE APPLICATIONS

                                             ( See Guidelines ¶ C.3. for definitions of terms used in this Exhibit.)

                                 CATEGORY OF TIMEKEEPER                                                    BLENDED HOURLY RATE
                  (using categories already maintained by the firm)                       BILLED OR COLLECTED                           BILLED

                                                                                    Firm or offices for preceding year,          In this fee application
                                                                                          excluding bankruptcy
      Delete           Other (please define) - Practice Support                                                        $270.01                             $205.76

       Add         Click Add button to add additional timekeeper category

                       All timekeepers aggregated                                                                      $605.66                             $839.17




Case Name:               In re Yueting Jia
Case Number:             2:19-bk-24804-VZ
Applicant’s Name:        O' Melveny & Myers LLP
Date of Application:     April 16, 2020
Interim or Final:        Interim


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 1                                          Exhibit B
 2                     Summary of Timekeepers Included in this Fee Application

 3
                                 Department,
                                                  Year of
 4       Name        Title or     Group, or                Hours Billed Hourly Rate Total Compensation
                                                   First
                     Position      Section
                                                 Admission
 5
        Robert
                     Partner         Tax          1980         12.6     $1,253.07       $15,788.70
 6      Blashek
         David                     Capital
 7                   Partner                      1985         11        $1192.50       $13,117.50
        Johnson                    Markets
       Suzzanne
 8      Uhland
                     Partner     Restructuring    1988        451.1     $1,281.90      $578,264.40

 9     Alexander
                     Partner         Tax          2011         16.6     $1,003.50       $16,658.10
       Anderson
10      Jennifer
                     Partner     Restructuring    2005         0.3       $985.50         $295.65
         Taylor
11                               Mergers &
        Li Han       Partner                      2006         37.4      $934.63        $34,955.10
                                 Acquisitions
12
      William K.
                     Partner      Litigation      2007        176.2      $906.17       $159,667.20
13        Pao
       Diana M.      Senior
                                 Restructuring    2008        676.3      $908.96       $614,728.58
14       Perez       Counsel
       Alexander
15                   Counsel         Tax          2010         11.6      $895.50        $10,387.80
        Roberts
        Richard
16                   Counsel     Restructuring    2011         13.4      $756.00        $10,130.40
         Holm
       Nidhi M.                   Corporate
17                   Counsel                      2014         7.1       $801.00        $5,687.10
      Geevarghese                  Finance
18     Daniel J.
                     Counsel      Litigation      2014         49.7      $726.19        $36,091.80
         Tully
19      Adam P.
                    Associate    Restructuring    2015         13.7      $805.50        $11,035.35
       Haberkorn
20                                Corporate
      Maiah Parks   Associate                     2016         21.7      $650.53        $14,116.50
                                   Finance
21                               Mergers &
       Jhe-Yu Su    Associate                     2017         52.4      $623.92        $32,693.40
                                 Acquisitions
22
      Yuan Zhong    Associate     Litigation      2017         4.3       $540.00        $2,322.00
23
         TJ Li      Associate    Restructuring    2019        718.7      $530.31       $381,130.65
24
       Robert J.
                    Associate     Litigation      2019         8.3       $450.00        $3,735.00
25     Winson

26     Kai Zhu      Associate    Restructuring    2019         11        $603.00        $6,633.00

27    Janet Chen    Translator    Corporate       N/A          2.5       $283.50         $708.75

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 1
       Anita Gao    Translator   Corporate     N/A         5.2     $283.50     $1,474.20
 2                     Case
      Lynn Talab                 Litigation    N/A         3.7     $342.00     $1,265.40
                     Manager
 3
      Maureen T.      Senior
                                 Corporate     N/A         0.2     $342.00      $68.40
       Burke        Paralegal
 4
                      Legal
        Yi Liu                   Corporate     N/A         4.1     $301.50     $1,236.15
 5                  Consultant
      Brandon D.      Project
                                 Litigation    N/A         5.3     $153.00     $810.90
 6     Schneider    Assistant
                      Project    Practice
 7    Denise Lieu                              N/A        17.1     $205.76     $3,518.55
                     Analyst     Support

 8     TOTAL                                             2,331.5             $1,956,520.58

 9
       Grand Total:               $1,956,520.58
10     Attorney Compensation:     $ 1,947,483.23
       Total Attorney Hours:      2293.4
11     Attorney Blended Rate:     $ 849.15

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 1                                            Exhibit C
 2                       Summary of Compensation Requested by Project Category

 3                           Project Category                   Total            Total Fees
                                                                Hours
 4
       Asset Analysis and Recovery                               48.5             $34,523.10
 5     Assumption and Rejection of Leases and Contracts           0.2              $189.00

 6     Business Operations                                       21.5             $15,857.10
       Case Administration                                       79.8             $66,582.90
 7
       Claims Administration and Objection                       63.2             $52,806.15
 8     Employment and Fee Applications                           54.7             $39,172.95

 9     Employment and Fee Application Objections                 60.8             $43,087.50
       Financing and Cash Collateral                            129.4            $121,502.70
10
       Hearings                                                 103.8             $88,032.60
11     Litigation                                               206.2            $185,818.50

12     Meetings and Communications with Creditors               342.2            $282,601.35
       Non-Working Travel                                        60.7             $25,478.78
13
       Plan and Disclosure Statement                            961.8            $843,568.20
14     Relief from Stay and Adequate Protection                  44.8             $27,644.40

15     Reporting                                                  60              $55,647.90
       Tax                                                       37.7             $39,145.50
16
       Vendor and Other Creditor Issues                          35.3             $24,654.15
17     Other International Issues                                20.9             $10,207.80

18     TOTAL                                                    2,331.5          $1,956,520.58

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 1                                            Exhibit D
 2                      Summary of Expense Reimbursement Requested by Category

 3                         Category                                 Amount

 4   Copying                                                       $1,972.60
     Court Fees/Filing Fees                                         $428.75
 5
     Delivery Services/Messengers                                   $153.53
 6   Document Production                                             $0.00
 7   Expense Report Other (Incl. Out of Town Travel)               $30,138.68
     Local Travel                                                  $1,455.91
 8
     Meals                                                          $577.67
 9
     Online Research                                               $35,123.84
10   Other                                                          $30.00

11   Other Professionals                                           $2,182.87
     Firmex                                                        $1,875.00
12
     Scanning Sevices                                               $12.50
13   Telephone                                                      $305.33
14   TOTAL                                                         $74,256.68

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 1                                        Exhibit E
 2                                Professional Biographies

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                                                                    Suzzanne Uhland
                                                                    Partner

                                                                    New York
                                                                    D: +1-212-326-2259

                                                                    San Francisco
                                                                    D: +1-415-984-8941
                                                                    suhland@omm.com




Suzzanne Uhland is a partner in O’Melveny’s New York and San        Admissions
Francisco offices and Chair of the US Restructuring Practice.
Suzzanne represents parties in Chapter 11 reorganizations and       Bar Admissions
out of court restructurings and buyers and sellers in Bankruptcy    California
Code Section 363(b) sales and other distress transactions. She      District of Columbia
also practices with the Firm’s Transactions attorneys, both in      New York
bankruptcy cases and in structuring transactions to avoid
                                                                    Court Admissions
bankruptcy-related risks. Suzzanne has substantial experience in
bankruptcy and insolvency-related litigation, frequently working    US District Court, Central, Eastern,
                                                                    Northern, and Southern Districts of
with members of O’Melveny’s Litigation Department. Suzzanne
                                                                    California
has a significant range of experience in real estate, energy,
                                                                    US District Court, Southern District of
technology, and municipal financings and restructurings.
                                                                    New York
Suzzanne is consistently recognized as one of the leading           US District Court, Arizona
restructuring lawyers in the United States. Chambers and
Partners USA has recognized Suzzanne for her restructuring
                                                                    Education
work over a number of years (2008-2019). In particular Chambers
recognizes Suzzanne as “very smart” and “a very brilliant and       Yale University, J.D., 1988: Co-Editor
technical lawyer.”                                                  in Chief, Yale Journal on Regulation

In addition, Suzzanne was selected by her peers for inclusion in    Stanford University, M.A., 1986

The Best Lawyers in America, and was recently a recipient of        Stanford University, A.B., 1984: with
Global M&A Network’s Top USA Woman Dealmakers Award.                distinction; Phi Beta Kappa

Suzzanne has considerable experience representing:
•   Debtors-in-possession, creditors, and DIP lenders in chapter
    11 cases of public and private companies
•   Businesses in connection with out of court restructurings and
    debt renegotiations




O’Melveny & Myers LLP                                                                                       1
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•   Private equity and hedge fund clients in distressed investments and portfolio company restructurings
•   Financial institutions and public and private companies in connection with credit financing
    transactions
•   Licensors and licensees of intellectual property in connection with preserving or acquiring intellectual
    property rights in distressed situations

Experience
•   Puerto Rico's Fiscal Agency and Financial Advisory Authority in the restructuring of debt
    obligations of Puerto Rico and its instrumentalities, including the Puerto Rico Government
    Development Bank
•   Financial services companies in credit facility amendments resulting in restructuring in excess of
    $10 billion in liabilities
•   Southern California based real estate developer in successful individuals chapter 11 in the Central
    District of California filed to address exercise of remedies by IRS based on a disputed $38 million tax
    claim
•   Cal Dive International in its pending bankruptcy proceedings. Cal Dive was the recipient of a
    Turnaround Atlas Award for "Cross-Border Distressed M&A Deal of the Year" (Middlemarkets)
•   Suntech Power Holdings in its bankruptcy proceedings in the US and Cayman Islands
•   New Century Financial Corporation, one of the largest subprime lenders to file chapter 11, in
    general bankruptcy, corporate and litigation matters as debtor in possession
•   A leading computer accessory company in its out-of-court restructuring including amending and
    restating its first lien credit and exchanging its second lien indebtedness and senior subordinated
    notes for the company's equity
•   Advanced Marketing Services, a major distributor of books to retailers, in its chapter 11 case,
    including 363 sales of its two major business divisions
•   Crow Winthrop Operating Partnership, owner of one of Orange County's largest office complexes,
    in its chapter 11 case
•   SeraCare Life Sciences, Inc., as special litigation and corporate counsel in its chapter 11 case
•   Cable Internet company Excite/At Home in its chapter 11 proceeding, and the At Home Liquidating
    Trust in the winddown of the estate
•   Wherehouse Entertainment, Inc., one of the nation's largest music retailers, in its chapter 11
    proceeding
•   Premier Laser Systems, Inc., a public medical device company, in its chapter 11 case

Professional Activities
Clerkships
•   Honorable Mariana Pfaelzer, US District Court, Central District of California, 1989-1990
Adjunct Professor
•   Secured Transactions, Southwestern University School of Law, 1990



O’Melveny & Myers LLP                                                                                          2
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                                                                                    O'Melveny
Fellow
•   American College of Bankruptcy
Member
•   Board of Governors, 2013-2016, Financial Lawyers Conference
•   International Insolvency Institute
Member
•    Yale Law School Fund Board
Speaker
•   “Retail Bankruptcies — where we've been and where we're going,” ABI’s Southwest Bankruptcy
    Conference 2019
•   “Restructuring Issues in FinTech and Cryptocurrency,” IWIRC on the Vine, September 2018
•   “Drilling Down in Oil and Oilfield Services Bankruptcies,” Financial Lawyers Conference, February
    2017
•   “International Investment in the U.S.” International Women's Insolvency and Restructuring
    Confederation Fall Conference, October 2016
•   “Bankruptcy, Restructurings and Workouts,” PLI Commercial Real Estate Institute, November 2015
•   “Makewhole Mishaps, Collateral Gaps and Interest Caps,” Financial Lawyers Conference, March
    2015
•   “What’s Termination Got to Do With It: Termination After Sunbeam,” Financial Lawyers Conference,
    October 2012
•   “Workout Lenders,” Association of Insolvency and Restructuring Advisors, June 2012
•   “Post-GM Ch 11: Is Nothing Sacred?” California Bankruptcy Forum, May 2010
•   “Treatment of Intellectual Property Licenses in Bankruptcy,” PLI Advanced Licensing 2011 and 2010
•   “Circuit Splits: Will Recent Decisions on Several Key Issues Result in Forum-Shopping,” ABI Winter
    Leadership Conference, December 2009
•   “Derivatives and Insolvency,” The Commercial Law and Bankruptcy Section of The Bar Association of
    San Francisco, January 2009
•   “Bankruptcy and Intellectual Property: When Worlds Collide,” Financial Lawyers Conference,
    February 2006; “Can It Be Done By the Numbers?” Turnaround Managers Association, 2003 Spring
    Conference
•   “Current Issues in Bankruptcy Litigation,” American Bankruptcy Institute, Bankruptcy Battleground
    West, 2003
Author
•   Co-Author, “The Retail Apocalypse’s Impact on Grocery Chains,” Turnaround Management
    Association (June 2019)
•   “The 1st of Several Legal Roadblocks Ahead for Puerto Rico,” Law360 (July 2015)
•   “Better Watch Your Assets in Bankruptcy Sales,” Financier Worldwide (March 2014)



O’Melveny & Myers LLP                                                                                    3
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•   “The Increased Importance of Intellectual Property in the Context of Distress and Bankruptcy,”
    Turnaround Management Association (July 2012)
•   “Will SLVs Hold Water in Shipping Bankruptcies?” Law360 (May 2012)
•   “Recent Developments Affecting Workouts of Secured Loans,” 8 Pratt’s J. Bankr. L. 679 (2012)
•   “When Worlds Collide: Intellectual Property Licenses in Bankruptcy Court,” New Matter (Vol. 34, No.
    4, 2009)
•   “Acquisition of Assets from a U.S. Company in Bankruptcy - Another Option for Overseas Merger and
    Acquisition for Chinese Companies” (in Chinese), Capital Shanghai (April 2006)

Honors & Awards
•   Recipient of Global M&A Network’s Top USA Woman Dealmakers Award (2019)
•   Recognized by Best Lawyers® 2020 for Bankruptcy & Creditor Debtor Rights / Insolvency &
    Reorganization Law in San Francisco, CA; Suzzanne has been listed in Best Lawyers® since 2006.
•   Benchmark Litigation, Local Litigation Star for Bankruptcy (2019-2020)
•   Chambers and Partners USA (2008-2019)
•   Legal 500 US (2014-2017, 2019)




O’Melveny & Myers LLP                                                                                     4
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                                                                        William K. Pao
                                                                        Partner

                                                                        Los Angeles
                                                                        D: +1-213-430-7272
                                                                        wpao@omm.com




William K. Pao is a seasoned commercial litigator whose diverse         Admissions
practice focuses on three main areas: securities litigation,
financial services and Fintech litigation, and complex commercial       Bar Admissions
litigation involving Chinese companies. Will’s clients include          California
companies across a wide spectrum of industries, including
                                                                        Court Admissions
banking, technology, automotive, agriculture, education, and
                                                                        US Supreme Court
fashion. As a secondee to one of the nation’s largest banks, Will
                                                                        US District Court, District of Colorado
managed a large portfolio of high-exposure, high-stakes
consumer banking litigation. In recent years, Will has worked           US District Court, Central, Eastern,
                                                                        Northern, and Southern Districts of
extensively with emerging Fintech companies, including advising
                                                                        California
cryptocurrency and block chain companies on securities and
                                                                        US Court of Appeals, Fifth and Ninth
regulatory as well as litigation issues. In addition, Will has
                                                                        Circuits
substantial experience advising and representing Chinese
companies and U.S. companies that operate in China. Will
speaks Mandarin, and has spent considerable time in China,              Education
Hong Kong, and Taiwan.
                                                                        University of California at Berkeley,
Will believes that to provide sound legal advice, it is imperative to   J.D.: Order of the Coif; Executive
understand a client’s business, inside and out. Understanding           Editor, Berkeley Business Law
their business models, industries, customers, and strategic goals       Journal; Member, Moot Court Board

allows him to counsel and guide his clients through highly              Fudan University, Fulbright Scholar
complex and sensitive matters.                                          University of Southern California,
                                                                        B.A., Political Science, Economics,
Will has been recognized by the Los Angeles Business Journal            East Asian Languages and Cultures
as one of the “Most Influential Minority Attorneys” in Los Angeles.     (triple major): summa cum laude;
In addition, Benchmark Litigation named him to its “40 & Under          Departmental Honors (Political
Hot List” and recognized him as a local litigation star for his work    Science); Phi Beta Kappa
in securities, financial services, and commercial litigation.
Prior to joining O’Melveny, Will served as a law clerk to the Hon.
Fortunato Benavides of the US Court of Appeals for the Fifth




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Circuit and the Hon. David F. Levi, formerly of the US District Court for the Eastern District of California.
He graduated Order of the Coif from the University of California, Berkeley School of Law, and summa
cum laude from the University of Southern California with a triple major in Political Science, Economics,
and East Asian Languages and Cultures. As a Fulbright Scholar at Fudan University in Shanghai, Will
conducted extensive research on Chinese economic reforms.
Will serves on the Board of Governors for the Southern California Chinese Lawyers Association. Will also
was the Vice Chair of the Executive Committee for the International Law Section of the State Bar of
California. Will actively dedicates his time to pro bono matters, especially federal civil rights cases.

Experience
•   Represented a US-listed Chinese online service provider in one of the first shareholder class actions
    seeking to exploit China's ban on initial coin offerings. Manhattan federal Judge Paul A. Crotty
    dismissed with prejudice a Section 10(b) claim against the company and its CEO.
•   Represented a US-listed Chinese company in three successive class actions, twice defeating motions
    for class certification. In the most recent case, the US Supreme Court in a unanimous decision
    significantly limited the scope of American Pipe tolling—an issue that will significantly impact class
    actions generally.
•   Representing a Chinese multinational technology company and its CEO in a securities class action
    asserting Securities Exchange Act claims in connection with their token.
•   Representing a Chinese virtual currency mining firm in a putative unfair competition class action.
•   Representing a Chinese online game developer in a putative securities class action involving a going-
    private transaction.
•   Advise healthcare real estate investment trust in M&A litigation challenging multi-billion dollar
    acquisition.
•   Represent one of China's largest conglomerates in M&A related litigation.
•   Represented one of the world's leading satellite companies and individual board members and
    defeated motion for preliminary injunction in M&A litigation challenging company's multibillion-dollar
    merger.
•   Represented former CEO of one of the largest apparel manufacturers in North America in federal
    derivative action before the Ninth Circuit Court of Appeals.
•   Represented one of the nation's largest banks in numerous high-stakes consumer banking putative
    class actions.
•   Managed a large portfolio of high-exposure, high-stakes consumer-mortgage litigation for a large
    financial institution.
•   Represented a prominent technology company's board of directors in M&A litigation.
•   Advised the Securities Industry and Financial Markets Association (SIFMA) on the legality of a
    proposal to use eminent domain in acquiring mortgage loans.




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Professional Activities
Clerkships
•   Honorable Fortunato Benavides, US Court of Appeals, Fifth Circuit
•   Honorable David F. Levi, US District Court, Eastern District of California
Fulbright Scholar
•   China
Member
•   Executive Committee, International Law Section, State Bar of California
•   Board of Governors, Southern California Chinese Lawyers Association
•   Associate Leadership Board, Public Counsel
Speaker
•   “Doing Business in the US: Issues Facing Foreign Businesses,” PRC Consulate, Los Angeles (April
    2, 2019)
•   “Current Issues in US-China Cross Border Litigation,” Tsinghua University School of Law (March
    2012)
•   “Developing a China Practice 101,” Southern California Chinese Lawyers Association (January 2012)
•   “How to Do Business with China: What You Need to Know About Dispute Resolution, Deals, Anti-
    Bribery, and Other Legal Issues,” Los Angeles Chinese Chamber of Commerce (October 2012)
•   “How to Serve Clients in China with Your U.S. Litigation Practice,” Webinar for the American Bar
    Association (May 2012)
•   “Careers in International Law,” State Bar of California (March 2012)
•   “Developing an International Practice: Asia 101,” Webinar for State Bar of California (November
    2011)
•   “Securities Litigation Goes Global: Unique Issues Posed by Securities Litigation and Enforcement in a
    Globalized Economy,” State Bar of California (June 2011)
Publications
•   “Five Crypto-Securities Trends that Spell More Lawsuits in 2018,” Journal of Investment Compliance,
    Vol. 19 Issue: 2, pp. 13-15 (2018)
•   “Assembling the Pieces of the Scienter Puzzle: A New Approach to a Holistic Review of Scienter
    Pleading under Tellabs and the PSLRA,” Michigan State Journal of Business & Securities Law (April
    9, 2014)
•   “Comcast Puts Securities Plaintiffs To An Earlier Test,” Law360 (January 27, 2014)
•   “'Holistic Review in Federal Securities Litigation,” Corporate Counsel (October 17, 2013)
•   “Am I on Speaker? Privacy in the Age of Smartphones,” Los Angeles Daily Journal (December 16,
    2011)
•   “Courts Restrict Defendants’ Ability to Take Offensive,” The Recorder (July 25, 2011)




O’Melveny & Myers LLP                                                                                    3
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•   “The Facebook Effect on Litigation and Civil Discovery,” Los Angeles Daily Journal (June 28, 2011)
•   “Navigating the Thicket of California Law on Class Action Waivers,” Los Angeles Daily Journal
    (February 7, 2011)
•   “Interlocutory Appellate Review of Class-Certification Rulings under Rule 23(f): Do Articulated
    Standards Matter?” DRI’s Certworthy Newsletter (Winter 2009)

Honors & Awards
•   Named "Local Litigation Star" for Financial Services, General Commercial, and Securities
    by Benchmark Litigation (2020)
•   Named to the 40 & Under Hot List for Financial Services, General Commercial, and Securities
    by Benchmark Litigation (2018-2019)
•   US Supreme Court victory in Resh v. China Agritech, Inc. named a National Impact Case by
    Benchmark Litigation California (2019)
•   Recognized by the Los Angeles Business Journal as one of the “Most Influential Minority Attorneys”
    in Los Angeles (2018)
•   Recognized as a Southern California “Rising Star” by Super Lawyers as published in Los Angeles
    magazine (2014-2018)

Languages
•   Mandarin Chinese




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                                                                     Li Han
                                                                     Partner

                                                                     Hong Kong
                                                                     D: +852 3512 4018
                                                                     lhan@omm.com




Li Han is a dealmaker and corporate advisor within the firm’s        Admissions
China practice. Li advises clients on investments and
acquisitions, frequently with a China element, including M&A,        Bar Admissions
capital markets, going-private transactions, PIPEs, and private      New York
equity and venture capital investments.                              Hong Kong

In addition, Li is a holistic advisor to clients on matters of
compliance, corporate governance and disclosure, and other           Education
corporate advisory.
                                                                     Columbia University, J.D., James
Prior to joining O’Melveny, Li was general counsel of Shanda         Kent Scholar; Harlan Fiske Stone
Group for six years. While at Shanda, she was a C-suite              Scholar
business advisor and hands-on deal lawyer, leading venture and       Peking University, M.A.
private equity-style investments, fund investments, and billion-     Fudan University, B.A. with honors
dollar public and private acquisitions.
Before joining Shanda, Li worked two other large international law
firms, first in New York and later in Hong Kong.

Corporate & Government Experience
•   General Counsel, Shanda Group

Honors & Awards
•   2017 GC Powerlist, The Legal 500




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                                                                       Diana M. Perez
                                                                       Counsel

                                                                       New York
                                                                       D: +1-212-326-2163
                                                                       dperez@omm.com




Diana Perez is a skilled lawyer specializing in restructuring and      Admissions
insolvency matters. Diana represents debtors, creditors, lenders,
and strategic investors in both in-court and out-of-court              Bar Admissions
restructurings. She regularly guides companies facing financial        New York
distress, creditors of troubled companies, and investors seeking
                                                                       Court Admissions
opportunities to acquire distressed businesses or assets.
                                                                       US District Court, Southern District of
Her restructuring experience spans a variety of industries and         New York
includes the airline, shipping, chemical, energy, financial, retail,
manufacturing, rail, and textile sectors.                              Education
Diana’s technical experience, vision, and attentiveness help
                                                                       University of Chicago Law School,
clients through their most critical, complex, and high-stakes          J.D.
restructurings.
                                                                       Cornell University, B.S., Human
                                                                       Development
Experience
Diana has advised a myriad of companies in restructuring matters
including:
Debtor Representations:
•   Northwest Airlines Corporation
•   Lyondell Chemical Company
•   Xerium Technologies, Inc.
•   Vertis Communications, Inc.
•   Suntech Power Holdings Co., Ltd.
•   Entegra Power Group LLC
•   Colt Defense LLC




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Creditor Representations:
•   Fred Leighton Holding, Inc.
•   Blockbuster Inc.
•   Marco Polo Seatrade
•   Dynegy Holdings, LLC
•   Contec, LLC
•   Midwest Generation, LLC
•   Optim Energy, LLC




O’Melveny & Myers LLP                                                                   2
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                                                                     Daniel J. Tully
                                                                     Counsel

                                                                     Los Angeles
                                                                     D: +1-213-430-6638
                                                                     dtully@omm.com




Daniel J. Tully represents public and private companies in           Admissions
complex litigation in federal and state courts. Dan is also an
active member of O’Melveny’s pro bono practice.                      Bar Admissions
                                                                     California
Prior to joining O’Melveny, Dan served as a judicial law clerk for
                                                                     Illinois
the Honorable Margaret M. Morrow of the United States District
Court for the Central District of California. While in law school,   Court Admissions
Dan participated in the UCLA Law Ninth Circuit Appellate             US District Court for the Central and
Advocacy Clinic. Under the supervision of O’Melveny attorneys,       Eastern Districts of California
Dan briefed and argued an appeal on behalf of an indigent            US Court of Appeals for the Ninth
prisoner for various constitutional violations, successfully         Circuit
obtaining reversal and remand from the Ninth Circuit. He also
served as managing editor of the Journal of International Law and    Education
Foreign Affairs, articles editor of the UCLA Journal of Law and
Technology, and as a writing advisor for the first year Lawyering    University of California at Los
Skills Program. Dan was also actively involved in UCLA Law’s         Angeles, J.D.: Order of the Coif;
Moot Court Honors Board and represented UCLA Law in national         Michael T. Masin Scholar; Managing
                                                                     Editor, Journal of International Law
appellate advocacy competitions.
                                                                     and Foreign Affairs; Articles Editor,
                                                                     UCLA Journal of Law and
Professional Activities                                              Technology; Vice Present, UCLA Law
Clerkships                                                           Moot Court Honors Board; Writing
                                                                     Advisor for Lawyering Skills Program
•   Honorable Margaret M. Morrow, US District Court for the
                                                                     University of Pittsburgh, B.A., Political
    Central District of California                                   Science and Business: summa cum
Externships                                                          laude

•   Honorable Gary A. Feess, US District Court for the Central
    District of California




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                                                                        Jhe-Yu Su
                                                                        Associate

                                                                        Hong Kong
                                                                        D: +852-3512-2313
                                                                        jsu@omm.com




Jhe-yu Su is a corporate associate in O'Melveny's Hong Kong             Admissions
office. Her practice focuses on mergers and acquisitions, venture       New York
capital investments, and other general corporate matters.               Registered Foreign Lawyer, Hong
Prior to joining O'Melveny, Su worked in the Singapore office of a      Kong SAR
leading U.S. international law firm and the Hong Kong office of a       Taiwan
major U.S. international law firm.
                                                                        Education
Experience
                                                                        New York University School of Law,
M&A and Private Equity                                                  LL.M.: Arthur T. Vanderbilt Scholar
•   Capital Group Private Markets in its investment with GL             National Taiwan University, LL.B.
    Capital for approximately 29 percent stake in JINXIN Medical
    Investment Group Limited in June 2018
Capital Markets
•   Huya Inc. in its US$180 million initial public offering and
    listing on the New York Stock Exchange
•   Huya Inc. in its US$461.6 million pre-IPO equity investment
    by Tencent
•   iQiyi, Inc. in its offering of US$750 million principle amount of
    3.75% convertible senior bonds

Languages
•   Mandarin




O’Melveny & Myers LLP                                                                                         1
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                                                                   TJ Li
                                                                   Associate

                                                                   New York
                                                                   D: +1-212-728-5893
                                                                   tli@omm.com




TJ Li is a corporate associate who represents clients in           Admissions
restructuring matters. As a Certified Public Accountant, TJ
leverages in-depth accounting knowledge and tax expertise in his   Bar Admissions
legal practice.                                                    New York

Prior to joining O’Melveny, TJ served as a law clerk to the
                                                                   Education
Honorable Martin Glenn of the United States Bankruptcy Court
for the Southern District of New York.                             Cornell University, JD
While a law student at Cornell University, TJ was awarded the      University of Oregon, Philosophy, BA:
CALI Excellence for the Future Award in Bankruptcy, and was the    with honors
second-place winner of American Bankruptcy Institute’s Tenth       University of Oregon, Accounting, BS:
Annual Law Student Writing Competition for his paper “From         cum laude
Sunbeam to In re Tempnology: Solve the Trademark Puzzle with
a Burden Shifting Framework.”

Professional Activities
Clerkships
•   Honorable Martin Glenn, United States Bankruptcy Court,
    New York Southern District
Other
•   Certified Public Accountant

Honors & Awards
•   CALI Excellence for the Future Award in Bankruptcy (first in
    class)




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•   Second-place Winner of American Bankruptcy Institute’s Tenth Annual Law Student Writing
    Competition (“From Sunbeam to In re Tempnology: Solve the Trademark Puzzle with a Burden
    Shifting Framework”)




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 1                                          Exhibit F
 2                            Invoices for the Application Period

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O’Melveny & Myers LLP               T: +1 213 430 6000                                                           Taxpayer ID: XX-XXXXXXX
400 South Hope Street               F: +1 213 430 6407
18th Floor                          omm.com
Los Angeles, CA 90071-2899




YUETING JIA                                                                                 April 16, 2020
                                                                                            OMM Matter: 0424428-00003
                                                                                            Invoice: 1062229
                                                                                            Contact: WILLIAM K. PAO

CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING, CORP)

For Professional Services Rendered Through October 31, 2019

Total Fees                                                                                                                 $249,759.50

Less 10% Discount                                                                                                          (24,975.95)

Total Fees After Adjustment                                                                                                $224,783.55

Total Disbursements                                                                                                         $17,709.13

Total Current Invoice                                                                                                      $242,492.68




                                        Due upon receipt. Please remit to:
                 By Mail: O'Melveny & Myers LLP - P.O. Box 894436, Los Angeles, CA 90189-4436
                    By Wire Transfer:
                          Beneficiary: O’Melveny & Myers LLP, Account No.:
                      Please include client/matter/invoice number and/or attorney name.

                 Century City • Los Angeles • Newport Beach • New York • San Francisco • Silicon Valley • Washington, DC
                  Beijing • Brussels • Hong Kong • London • Seoul • Shanghai • Singapore • Tokyo
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Client: JIA, YUETING                                                                                 04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                  Invoice: 1062229
CORP)
Matter: 0424428-00003                                                                            Page No. 2



CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING, CORP)

For Professional Services Rendered Through October 31, 2019

Date         Name                        Description                                                  Hours

004 Business Operations

10/14/19     T LI                        PREPARE EMPLOYEE SPEECH FOR YT                                  3.5

10/14/19     S UHLAND                    DRAFT AND REVISE TALKING POINTS FOR COMPANY                     2.9
                                         EMPLOYEES (1.4); PRESENTATION TO COMPANY
                                         EMPLOYEES (1.5)

10/18/19     T LI                        DRAFT LETTER FOR CLIENT RE: THE EFFECT OF Y. JIA                1.8
                                         BANKRUPTCY ON FARADAY

10/19/19     T LI                        CONTINUE TO DRAFT LETTER RE: RELATION BETWEEN                   1.6
                                         CLIENT BANKRUPTCY AND FARADAY (1.0); COMMUNICATE
                                         W/ PACHULSKI TEAM RE: PREVIOUS RESPONSES RE: FAQ,
                                         SCRIPTS, AND EPIQ RELATED INQUIRIES AND SEND TO
                                         TEAM (.6)

10/21/19     D PEREZ                     REVIEW AND COMMENT ON LETTER TO FARADAY RE: Y.                  0.3
                                         JIA BANKRUPTCY FILING

10/21/19     T LI                        REVISE CLIENT LETTER RE: Y. JIA BANKRUPTCY ON                   2.5
                                         FARADAY OPERATIONS AFTER RECEIVING COMMENTS
                                         FROM S. UHLAND, D. PEREZ, AND W. PAO

10/21/19     W PAO                       REVISE AND EDIT DRAFT LETTER TO FARADAY RE:                     0.6
                                         CHAPTER 11 FILING

10/21/19     S UHLAND                    REVIEW AND REVISE FARADAY LETTER                                0.8

10/22/19     D PEREZ                     REVIEW AND REVISE LETTER TO FARADAY RE: Y. JIA                  0.3
                                         BANKRUPTCY FILING

10/22/19     T LI                        REVISE LETTER RE: FARADAY AND PREPARE SUMMARY                   3.1
                                         AS REQUESTED BY CLIENT (1.2); ANSWER QUESTIONS
                                         ABOUT QUESTIONNAIRE AND COMMITTEE FORMATION
                                         PROCESS (1.9)

10/22/19     S UHLAND                    FURTHER REVIEW/REVISE FARADAY LETTER                            0.4

10/28/19     T LI                        REVIEW DOCUMENTS RE: CLASS B ORDINARY SHARES                    0.3
                                         FOR CONVERSION

Total        004 Business Operations                                                                    18.1

005 Case Administration

10/17/19     W PAO                       COMMUNICATIONS W/ OMM AND PACHULSKI TEAMS RE:                   0.6
                                         NEXT STEPS

10/18/19     D PEREZ                     REVIEW AND REVISE Y. JIA BILLING MEMORANDUM (.2);               0.5
                                         EMAILS W/ J. O'NEILL RE: UPCOMING HEARINGS
                                         SCHEDULE (.1); REVIEW AND COMMENT ON LETTER TO
                                         FARADAY RE: Y. JIA BANKRUPTCY (.2)

10/21/19     T LI                        COMPILE ACTION ITEMS BEFORE CONFERENCE CALL W/                  0.8
                                         CLIENT AND SEND LIST TO S. UHLAND, W. PAO, AND D.
                                         PEREZ (.4); REVIEW ACTION ITEMS TO PREPARE FOR
                                         CONFERENCE CALL W/ CLIENT (.4)



                                       Due upon receipt. Please remit to:
                By Mail: O'Melveny & Myers LLP - P.O. Box 894436, Los Angeles, CA 90189-4436
                   By Wire Transfer:
                         Beneficiary: O’Melveny & Myers LLP, Account No.:
                     Please include client/matter/invoice number and/or attorney name.
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Client: JIA, YUETING                                                                                     04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                      Invoice: 1062229
CORP)
Matter: 0424428-00003                                                                                Page No. 3


Date         Name                          Description                                                    Hours

10/21/19     D PEREZ                       REVIEW UPDATES TO CASE WEBSITE                                    0.2

10/22/19     D PEREZ                       REVIEW UST COMMENTS TO BAR DATE AND COMBINED                      0.5
                                           HEARING MOTION (.2); PREPARE RESPONSES TO SAME
                                           (.2); FOLLOW UP T. LI RE: SAME (.1)

10/25/19     D PEREZ                       REVISE CASE/PLAN FAQ FOR EPIQ SITE (.5); FOLLOW UP                0.7
                                           W/ T. LI RE: SAME (.2)

10/26/19     D PEREZ                       REVIEW AND REVISE RESPONSES TO MEDIA INQUIRIES                    0.4

10/26/19     S UHLAND                      CONFERENCE W/ J. WANG AND M. ZHANG RE: STATUS,                    0.7
                                           COMMITTEE

10/27/19     W PAO                         EMAILS W/ J. WANG AND M. ZHANG RE: RESPONSE TO                    0.3
                                           PRESS INQUIRIES

10/28/19     W PAO                         EMAILS W/ J. WANG AND M. ZHANG RE: RESPONSE TO                    0.2
                                           PRESS INQUIRIES

10/29/19     T LI                          EMAIL D. PEREZ RE: PREPAYMENT OF FEES (.2); EMAIL R.              0.5
                                           MOON RE: DOCUMENTS FILED IN THE CASE (.3)

10/30/19     T LI                          EMAIL EPIQ RE: CHANGES TO BE MADE TO THE WEBSITE                  0.9
                                           AND DETAILED INSTRUCTIONS (.8); EMAIL B. GALLERIE RE:
                                           CHANGES TO WEBSITE TO MAKE CHINESE DOCUMENTS
                                           MORE PROMINENT (.1)

10/30/19     T LI                          TELEPHONE CONFERENCE W/ PACHULSKI TEAM, CLIENT                    1.2
                                           TEAM, AND D. PEREZ RE: WORK IN PROGRESS,
                                           SOLICITATION MOTION, DIP LOAN, STATUS REPORT

10/30/19     T LI                          CONFERENCE W/ LOWENSTEIN AND PACHULSKI TEAM RE:                   0.4
                                           CASE TIMELINE, SOLICITATION MOTION, AND DUE
                                           DILIGENCE

10/30/19     D PEREZ                       TELEPHONE CONFERENCE W/ T. LI, R. PACHULSKI, J.                   0.4
                                           O’NEILL, M. PAGAY, A. BEHLMANN, J. MERKIN, AND J. PROL
                                           RE: CASE TIMELINE, SOLICITATION MOTION, AND DUE
                                           DILIGENCE

10/30/19     D PEREZ                       REVIEW AND COMMENT ON WORK IN PROGRESS LIST (.2);                 1.4
                                           CONFERENCE W/ R. PACHULSKI, J. O’NEILL, M. PAGAY, M.
                                           ZHANG, R. JIA, AND T. LI RE: WORK IN PROGRESS,
                                           SOLICITATION MOTION, DIP LOAN, AND STATUS REPORT
                                           (1.2)

10/31/19     T LI                          EMAIL B. GALLERIE RE: MODIFICATION TO EPIQ WEBSITE                0.2
                                           TO MAKE CHINESE DOCUMENTS MORE PROMINENT

10/31/19     D PEREZ                       REVIEW AND COMMENT ON NOVEMBER 5 HEARING                          0.2
                                           AGENDA (.1); FOLLOW UP W/ J. O'NEILL RE: SAME (.1)

Total        005 Case Administration                                                                        10.1

006 Claims Administration and Objections

10/15/19     D PEREZ                       FOLLOW UP W/ S. UHLAND RE: Y. JIA BAR DATE (.2);                  0.4
                                           FOLLOW UP W/ M. PAGAY AND EPIQ RE: SAME (.2)

10/19/19     S UHLAND                      REVIEW AND REVISE BAR DATE MOTION (.7);                           1.1
                                           COMMUNICATIONS W/ D. PEREZ AND J. SULLIVAN RE:
                                           SAME (.4)

10/22/19     D PEREZ                       EMAILS W/ EPIQ RE: PUBLICATION OF BAR DATE NOTICE                 0.2


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                   By Wire Transfer:
                         Beneficiary: O’Melveny & Myers LLP, Account No.:
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Client: JIA, YUETING                                                                                     04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                      Invoice: 1062229
CORP)
Matter: 0424428-00003                                                                                Page No. 4


Date          Name                          Description                                                   Hours

10/30/19      D PEREZ                       REVIEW COMMITTEE COMMENTS TO BAR DATE MOTION                     0.2

Total         006 Claims Administration and Objections                                                       1.9

007 Employment and Fee Applications

10/15/19      T LI                          MEET W/ D. PEREZ RE: EMPLOYMENT APPLICATION                      0.3

10/15/19      D PEREZ                       MEET W/ T. LI RE: OMM RETENTION APPLICATION                      0.3

10/17/19      S UHLAND                      CONFERENCE W/ R. MOON RE: CRO ROLE (.4);                         1.2
                                            CONFERENCE W/ J. WANG RE: SAME (.3); TELEPHONE
                                            CONFERENCE W/ R. MOON, M. ZHANG, Y. JIA, AND J. WANG
                                            RE: CRO ROLE (.5)

10/20/19      R HOLM                        EMAIL W/ D. PEREZ RE: REVISING FOREIGN                           0.1
                                            REPRESENTATIVE MOTION

10/21/19      S UHLAND                      REVIEW AND REVISE R. MOON STATEMENT OF WORK                      0.4

10/21/19      D PEREZ                       DRAFT R. MOON STATEMENT OF WORK (.4); REVISE SAME                0.7
                                            PER S. UHLAND COMMENTS (.1); REVIEW ENGAGEMENT
                                            AGREEMENT RE: SAME (.2)

10/22/19      D PEREZ                       REVIEW AND REVISE R. MOON STATEMENT OF WORK (.2);                1.0
                                            EMAILS W/ J. WANG, R. MOON, AND S. UHLAND RE: SAME
                                            (.2); REVIEW AND REVISE FOREIGN REPRESENTATIVE
                                            MOTION (.6)

10/22/19      R HOLM                        REVISE FOREIGN REPRESENTATIVE MOTION                             0.7

10/23/19      D PEREZ                       EMAILS W/ R. MOON AND J. WANG RE: CRO ENGAGEMENT                 0.2
                                            LETTER AND STATEMENT OF WORK

10/23/19      R HOLM                        REVISE FOREIGN REPRESENTATIVE MOTION (1.1);                      4.2
                                            RESEARCH RE: SAME (3.1)

10/23/19      T LI                          RESEARCH CASES IN WHICH COURTS GRANTED RELIEF                    0.3
                                            RE: APPOINTMENT OF FOREIGN REPRESENTATIVES

10/24/19      S UHLAND                      REVIEW AND REVISE FOREIGN REPRESENTATIVE MOTION                  0.4

10/24/19      D PEREZ                       REVISE FOREIGN REP MOTION (.3); EMAILS W/ J. WANG                0.7
                                            AND R. MOON RE: CRO ENGAGEMENT LETTER (.2); EMAILS
                                            W/ J. O'NEILL RE: RETENTION APPLICATIONS (.2)

10/24/19      R HOLM                        EMAIL D. PEREZ RE: REVISING FOREIGN REPRESENTATIVE               1.4
                                            MOTION (.3); REVISE SAME (1.1)

10/24/19      T LI                          RESEARCH CASES IN WHICH COURTS GRANTED RELIEF                    0.6
                                            RE: APPOINTMENT OF FOREIGN REPRESENTATIVES

10/25/19      D PEREZ                       FOLLOW UP W/ S. UHLAND RE: R. MOON RETENTION                     0.2

10/28/19      D PEREZ                       FOLLOW UP W/ S. UHLAND RE: RETENTION OF CRO                      0.3

10/29/19      T LI                          RESEARCH RE: APPOINTMENT OF FOREIGN                              1.1
                                            REPRESENTATIVE IN INDIVIDUAL CASES (.9); EMAIL D.
                                            PEREZ RE: PREPAYMENT OF FEES (.2)

10/30/19      D PEREZ                       TELEPHONE CONFERENCE W/ C. RIECK RE: RETENTION                   0.2
                                            OF PR CONSULTANT

Total         007 Employment and Fee Applications                                                           14.3

009 Financing and Cash Collateral


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Case 2:19-bk-24804-VZ                 Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                       Desc
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Client: JIA, YUETING                                                                                      04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                       Invoice: 1062229
CORP)
Matter: 0424428-00003                                                                                  Page No. 5


Date             Name                          Description                                                 Hours

10/17/19         S UHLAND                      CONFERENCE W/ A. ZYNIGERE RE: POTENTIAL DIP                    0.5
                                               FINANCING

10/18/19         M BURKE                       REVIEW, ORGANIZE FILED UCC-1; FORWARD TO M. PARKS              0.2

10/18/19         S UHLAND                      TELEPHONE CONFERENCE W/ COMPANY (C. HSIEH ) AND                0.9
                                               POTENTIAL FINANCIAL SOURCE RE: QUESTIONS ABOUT
                                               CHAPTER 11

10/22/19         D PEREZ                       REVIEW DIP TERM SHEET AND COMMITMENT LETTER (.3);              0.7
                                               REVISE TERM SHEET (.3); EMAILS W/ S. UHLAND RE: SAME
                                               (.1)

10/23/19         T LI                          DRAFT DIP LOAN DOCUMENTS                                       2.0

10/23/19         D PEREZ                       REVIEW AND REVISE DIP TERM SHEET AND COMMITMENT                0.7
                                               LETTER (.5); EMAILS W/ J. TAYLOR AND J. WANG RE: SAME
                                               (.2)

10/24/19         T LI                          REVISE TERM SHEET AND COMMITMENT LETTER FOR DIP                1.5
                                               LOAN

10/24/19         D PEREZ                       REVISE DIP COMMITMENT LETTER AND TERM SHEET (.4);              0.7
                                               EMAILS W/ J. WANG RE: SAME (.3)

10/25/19         T LI                          REVISE DIP LOAN DOCUMENTS AND ANSWER J. WANG'S                 0.9
                                               QUESTIONS INCLUDING MATURITY DATE AND SUPER
                                               PRIORITY STATUS

10/25/19         D PEREZ                       FOLLOW UP W/ T. LI RE: DIP COMMITMENT LETTER AND               0.6
                                               TERM SHEET (.2); EMAILS W/ J. TAYLOR AND S. UHLAND
                                               RE: SAME (.2); REVIEW AND COMMENT ON REVISED
                                               VERSIONS OF SAME (.2)

10/26/19         T LI                          REVISE TERM SHEET AND COMMITMENT LETTER AND                    0.4
                                               SEND TO CLIENT

10/31/19         D PEREZ                       EMAILS W/ J. SU AND T. LI RE: DIP DOCUMENTATION                0.2

10/31/19         D PEREZ                       TELEPHONE CONFERENCE W/ J. MEYERWITZ (SUMMIT                   0.3
                                               CAPITAL) RE: DIP FINANCING

Total            009 Financing and Cash Collateral                                                            9.6

011 Litigation

10/14/19         W PAO                         WORK ON NOTICES OF SUGGESTION OF BANKRUPTCY                    1.1
                                               AND ANALYZE SAME

10/14/19         W PAO                         COMMUNICATIONS W/ M. ZHANG RE: NOTICES OF                      0.4
                                               SUGGESTION OF BANKRUPTCY

10/14/19         W PAO                         ANALYZE ATTACHMENT ORDER FROM KANSAS                           0.4

10/14/19         R WINSON                      DRAFT SUGGESTION OF BANKRUPTCY FILINGS FOR THE                 7.9
                                               JINAN, SLC, AND SQ CASES

10/14/19         D PEREZ                       REVIEW SUGGESTIONS OF BANKRUPTCY FOR CALIFORNIA                0.6
                                               STATE/FEDERAL CASES (.4); FOLLOW UP W/ W. PAO RE:
                                               KANSAS TAX NOTICES (.2)

10/15/19         D TULLY                       EMAIL TO COURT RE: NOTICE OF BANKRUPTCY AND                    0.2
                                               DEBTOR EXAMINATION IN SLC LITIGATION

10/15/19         D TULLY                       ANALYZE SUGGESTION OF BANKRUPTCY FILINGS IN SLC,               0.3
                                               SQ, AND JINAN LITIGATION


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Client: JIA, YUETING                                                                                 04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                  Invoice: 1062229
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Date        Name                       Description                                                    Hours

10/15/19    W PAO                      COMMUNICATIONS W/ COUNSEL FOR Y. JIA IN HAN'S CASE                0.2
                                       RE: NOTICE OF SUGGESTION OF BANKRUPTCY

10/15/19    W PAO                      COMMUNICATIONS W/ SLC COUNSEL RE: NOTICES OF                      0.3
                                       SUGGESTION OF BANKRUPTCY

10/15/19    D TULLY                    EMAIL SUGGESTION OF BANKRUPTCY FILINGS TO M.                      0.1
                                       ZHANG

10/15/19    D TULLY                    FOLLOW UP W/ W. PAO RE: RESPONSE TO SLC COUNSEL                   0.2

10/15/19    D PEREZ                    EMAILS W/ D. TULLY AND W. PAO RE: KANSAS TAX CLAIMS               0.2

10/15/19    D TULLY                    ANALYZE GARNISHMENT NOTICES AND TAX WARRANTS                      0.4
                                       TO Y. JIA IN KANSAS STATE COURT LITIGATION

10/15/19    W PAO                      EMAILS W/ D. PEREZ RE: ATTACHMENT LETTER FROM                     0.1
                                       KANSAS

10/15/19    R WINSON                   REVIEW BANKRUPTCY FILINGS FOR THE JINAN, SLC, AND                 0.2
                                       SQ CASES

10/15/19    D TULLY                    CONFERENCE W/ COUNSEL IN KANSAS STATE COURT                       0.6
                                       LITIGATION (.4); EMAILS W/ D. PEREZ AND W. PAO RE:
                                       SAME (.2)

10/16/19    W PAO                      COMMUNICATIONS W/ M. ZHANG RE: MEETING W/ SLC                     0.3

10/16/19    W PAO                      REVIEW COURT ORDERS IN SLC AND SQ MATTERS                         0.2

10/16/19    W PAO                      COMMUNICATIONS W/ M. ZHANG RE: STATUS OF DEBTOR                   0.4
                                       EXAMINATIONS

10/16/19    W PAO                      REVISE AND EDIT AMENDED NOTICES OF SUGGESTION OF                  0.6
                                       BANKRUPTCY

10/16/19    W PAO                      ANALYZE SCOPE OF BANKRUPTCY STAY TO                               1.1
                                       OUTSTANDING LITIGATION

10/16/19    W PAO                      COMMUNICATIONS W/ COURT CLERK IN SLC MATTER RE:                   0.9
                                       NOTICE OF BANKRUPTCY AND ANALYSIS OF NEXT STEPS

10/16/19    D TULLY                    RESEARCH KANSAS LAW RE: LIABILITY OF OFFICERS FOR                 1.2
                                       COMPANY TAXES

10/17/19    W PAO                      REVIEW COURT ORDER RE: SLC CONSENT JUDGMENT                       0.3
                                       AND ANALYSIS OF NEXT STEPS

10/17/19    W PAO                      ANALYZE MEETING W/ SLC                                            0.4

10/17/19    D PEREZ                    FOLLOW UP W/ W. PAO AND D. TULLY RE: KANSAS TAX                   0.2
                                       CLAIMS

10/17/19    D TULLY                    RESEARCH AND ANALYZE KANSAS LAW RE: PERSONAL                      1.6
                                       LIABILITY FOR CORPORATION TAXES (1.2); DRAFT EMAIL
                                       TO W. PAO SUMMARIZING SAME (.2); DRAFT EMAIL TO
                                       CLIENT RE: SAME (.2)

10/17/19    W PAO                      STRATEGIZE RE: ATTACHMENT PROCEEDINGS IN KANSAS                   0.6
                                       AND COMMUNICATIONS W/ CLIENT RE: SAME

10/17/19    W PAO                      STRATEGIZE W/ M. ZHANG AND J. WANG RE: RESPONSE                   0.8
                                       TO PRESS W/ REGARD TO SLC FILING




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Case 2:19-bk-24804-VZ         Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                       Desc
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Client: JIA, YUETING                                                                              04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,               Invoice: 1062229
CORP)
Matter: 0424428-00003                                                                         Page No. 7


Date        Name                       Description                                                 Hours

10/18/19    D PEREZ                    REVIEW FILED VERSIONS OF NOTICES OF SUGGESTION                 0.4
                                       OF BANKRUPTCY (.3); FOLLOW UP W/ B. DASSA RE: SAME
                                       (.1)

10/18/19    W PAO                      COMMUNICATIONS W/ COUNSEL IN HAN'S RE:                         1.2
                                       BANKRUPTCY STAY AND NEXT STEPS

10/18/19    R WINSON                   BANKRUPTCY STAY FILINGS COMMUNICATION W/ D.                    0.2
                                       PEREZ ON THE BANKRUPTCY TEAM

10/21/19    T LI                       COORDINATE W/ B. DASSA FOR INFORMATION NEEDED IN               0.8
                                       PENDING ACTIONS AGAINST DEBTOR AND LOCATE SUCH
                                       INFORMATION ON COURT WEBSITES

10/21/19    D PEREZ                    FOLLOW UP W/ W. PAO RE: LE TECH LITIGATION                     0.2

10/21/19    W PAO                      ANALYZE RE: IMPACT OF CHAPTER 11 FILING ON PENDING             0.4
                                       LITIGATION

10/22/19    D PEREZ                    EMAILS W/ W. PAO RE: LETECH LITIGATION (.2); REVIEW            0.6
                                       FILED NOTICES OF SUGGESTION IN STATE COURT
                                       ACTIONS (.2); EMAILS W/ W. PAO AND J. DULBERG RE:
                                       STAY OF LITIGATION IN HAN ACTION (.2)

10/22/19    W PAO                      ANALYZE IMPACT OF CHAPTER 11 FILING ON                         0.4
                                       OUTSTANDING LITIGATION AND COMMUNICATIONS W/ M.
                                       ZHANG AND D. PEREZ RE: SAME

10/24/19    D TULLY                    ANALYZE THIRD-PARTY PRODUCTIONS IN SLC LITIGATION              0.8

10/24/19    W PAO                      ANALYZE SLC APPEAL TO THE NINTH CIRCUIT AND IMPACT             0.2
                                       OF CHAPTER 11 FILING

10/24/19    W PAO                      ANALYZE CONFIDENTIALITY DESIGNATIONS FOR THIRD-                0.3
                                       PARTY PRODUCTIONS

10/25/19    D TULLY                    ANALYZE THIRD-PARTY PRODUCTIONS FROM COUNSEL IN                2.9
                                       SLC LITIGATION (1.5); DRAFT LETTER TO OPPOSING
                                       COUNSEL IN SLC LITIGATION DESIGNATING THIRD-PARTY
                                       PRODUCTIONS UNDER PROTECTIVE ORDER (1.0); REVISE
                                       LETTER TO OPPOSING COUNSEL IN SLC LITIGATION (.4)

10/25/19    W PAO                      ANALYZE CONFIDENTIALITY DESIGNATIONS FOR THIRD-                0.6
                                       PARTY PRODUCTIONS AND REVISE SLC LETTER TO SLC
                                       COUNSEL RE: SAME

10/26/19    W PAO                      ANALYZE STATUS OF SLC APPEAL IN LIGHT OF CHAPTER               0.3
                                       11 FILING

10/27/19    T LI                       RESPOND TO W. PAO RE: NOTICE OF BANKRUPTCY IN                  0.1
                                       NINTH CIRCUIT

10/27/19    W PAO                      ANALYZE NOTICE OF SUGGESTION OF BANKRUPTCY FOR                 0.3
                                       SLC NINTH CIRCUIT APPEAL

10/28/19    D TULLY                    PREPARE NOTICES OF APPEARANCE AND BANKRUPTCY                   1.2
                                       FOR NINTH CIRCUIT APPEAL (.6); FINALIZE AND FILE
                                       NOTICES OF APPEARANCE AND BANKRUPTCY (.4);
                                       FOLLOW UP W/ W. PAO RE: SAME (.2)

10/28/19    D TULLY                    ANALYZE EMAILS RE:DEBTOR EXAMINATION AND STAY IN               0.2
                                       SQ LITIGATION

10/28/19    W PAO                      COMMUNICATIONS W/ COUNSEL FOR OCEAN VIEW RE:                   0.2
                                       BANKRUPTCY PROCEEDINGS


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Client: JIA, YUETING                                                                                 04/16/20
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CORP)
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Date         Name                          Description                                                Hours

10/28/19     W PAO                         ANALYZE RESPONSE TO SLC CORRESPONDENCE                        0.3

10/28/19     W PAO                         ANALYZE STAY OF DISCOVERY IN HAN CASE                         0.6

10/28/19     W PAO                         REVIEW DRAFT STIPULATION AND PROPOSED ORDER TO                0.4
                                           STAY AND CONTINUE DEBTOR EXAMINATION IN SQ
                                           MATTER

10/28/19     T LI                          RESPOND TO W. PAO RE: NOTICE OF BANKRUPTCY AND                0.3
                                           PRECEDENT IN THE NINTH CIRCUIT

10/29/19     D TULLY                       DRAFT STIPULATION RE: DEBTOR EXAMINATION IN SQ                1.0
                                           LITIGATION (.6); REVISE STIPULATION TO INCORPORATE
                                           COMMENTS FROM W. PAO (.2); CORRESPOND W/ W. PAO
                                           AND OPPOSING COUNSEL IN SQ LITIGATION (.2)

10/29/19     D TULLY                       ANALYZE CORRESPONDENCE FROM OPPOSING COUNSEL                  0.3
                                           IN SLC LITIGATION

10/29/19     W PAO                         COMMUNICATIONS W/ SLC COUNSEL RE: STAY OF APPEAL              0.2

10/30/19     D TULLY                       DRAFT LETTER IN RESPONSE TO CORRESPONDENCE                    1.1
                                           FROM OPPOSING COUNSEL IN SLC LITIGATION (.8); REVISE
                                           LETTER RESPONDING TO CORRESPONDENCE FROM
                                           OPPOSING COUNSEL (.3)

10/30/19     D TULLY                       REVISE STIPULATION IN SQ LITIGATION TO INCORPORATE            1.0
                                           COMMENTS FROM OPPOSING COUNSEL AND W. PAO (.5);
                                           FINALIZE AND FILE STIPULATION IN SQ LITIGATION (.3);
                                           CORRESPOND W/ W. PAO AND OPPOSING COUNSEL IN SQ
                                           LITIGATION (.2)

10/30/19     W PAO                         REVIEW EDITS TO STIPULATION AND PROPOSED ORDER                0.2
                                           TO CONTINUE DEBTOR EXAMINATION IN SQ MATTER

10/31/19     W PAO                         COMMUNICATIONS W/ M. ZHANG AND D. PEREZ RE:                   0.3
                                           KANSAS TAX ISSUE

10/31/19     W PAO                         ANALYZE AND REVISE AND EDIT RESPONSE RE:                      1.2
                                           DEFAMATORY POSTINGS ON CHINESE BLOGSITE

10/31/19     D PEREZ                       EMAILS W/ W. PAO AND M. ZHANG RE: KANSAS TAX CASE             0.2

Total        011 Litigation                                                                             40.2

012 Meetings and Communications with Creditors

10/14/19     T LI                          DRAFT AND PROVIDE CREDITOR ACKNOWLEDGMENT                     1.2
                                           AGREEMENT AND DISCLAIMER FOR FINANCIAL
                                           INFORMATION

10/14/19     D PEREZ                       REVISE FILING FAQS (.5); REVIEW UPDATED WEBSITE RE:           2.2
                                           SAME (.2); REVIEW AND REVISE Q&A FOR IN PERSON
                                           DISCUSSIONS (.8); REVIEW AND COMMENT ON CREDITOR
                                           MEETING ACKNOWLEDGMENT AGREEMENT (.3); REVIEW
                                           AND REVISE CALL CENTER SCRIPT (.4)

10/14/19     T LI                          DRAFT Q&A FOR CLIENT CHINA TEAM IN CHINESE (.9);              3.0
                                           REACH OUT TO CHINA TEAM MEMBER RE: RESPONSE TO
                                           EXCHANGE INQUIRY RE: BANKRUPTCY IN CHINESE (.8);
                                           DRAFT CLIENT AGREEMENT WHEN MEETING W/ A
                                           CREDITOR IN CHINESE (1.3)

10/14/19     L HAN                         REVIEW AND REVISE ANNOUNCEMENT RE: FILING IN                  0.2
                                           CHINESE


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Client: JIA, YUETING                                                                               04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                Invoice: 1062229
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Date        Name                       Description                                                  Hours

10/15/19    D PEREZ                    REVIEW EPIQ CALL/EMAIL LOG RE: CREDITOR INQUIRIES               0.3

10/16/19    T LI                       RESPOND IN CHINESE TO CLIENT QUESTIONS RE:                      3.2
                                       CREDITORS IN CHINA (1.8); REVIEW TERM SHEET FOR
                                       THOSE QUESTIONS (1.2); EMAILS W/ D. PEREZ RE: SAME
                                       (.2)

10/16/19    D PEREZ                    EMAILS W/ C. SCHOB RE: PRESS RELEASE (.2); REVIEW               1.5
                                       AND REVISE SAME (.2); REVIEW AND COMMENT ON CHINA
                                       TEAM BANKRUPTCY QUESTIONS (.9); EMAILS W/ T. LI AND
                                       M. ZHANG RE: SAME (.2)

10/17/19    D PEREZ                    FOLLOW UP W/ L. HAN AND S. UHLAND RE: PRESS                     0.2
                                       RELEASE IN CHINA

10/17/19    S UHLAND                   DRAFT AND REVIEW PRESS COMMENT                                  0.4

10/17/19    D PEREZ                    REVIEW AND REVISE UPDATED FAQ FOR WEBSITE (.5);                 1.2
                                       EMAILS W/ EPIQ TEAM AND M. WU RE: SAME (.2); EMAILS
                                       W/ J. DULBERG RE: CREDITOR INQUIRIES (.2); REVIEW
                                       EPIQ VOICEMAIL AND EMAIL LOG (.3)

10/20/19    S UHLAND                   TELEPHONE CONFERENCE W/ G. SIEGEL, MORGAN LEWIS                 0.5
                                       RE: CREDITOR QUESTIONS

10/21/19    D PEREZ                    EMAILS W/ J. JOHNSON AND J. DULBERG RE: CREDITOR                0.8
                                       INQUIRIES (.3); REVIEW CREDITOR VOICEMAILS AND
                                       EMAILS FROM CALL CENTER (.5)

10/21/19    T LI                       CONTACT EPIQ RE: UPDATE CHINESE TRANSLATION OF                  1.1
                                       THE WEBSITE (.2); COMPILE QUESTIONS RECEIVED FROM
                                       CLIENT TEAM IN CHINA AND DRAFT RESPONSES IN
                                       CHINESE (.9)

10/23/19    T LI                       UPDATE FAQ TO BE POSTED ON WEBSITE (.4); DRAFT                  0.8
                                       CAUTIONARY LANGUAGE TO BE PUT ON THE WEBSITE RE:
                                       DOWNLOADING UNOFFICIAL TRANSLATION (.4)

10/24/19    T LI                       COMPILE AND ANSWER QUESTIONS FROM CREDITORS RE:                 1.9
                                       VOTING PROCEDURE AND GENERAL INQUIRIES (1.1);
                                       DRAFT UPDATE TO THE FAQS FOR EPIQ WEBSITE (.8)

10/24/19    D PEREZ                    REVISE AND REVISE LETTER TO UST RE: FORMATION                   1.8
                                       MEETING (.8); CONFERENCE W/ J. O'NEILL RE: SAME (.5);
                                       PREPARE FOR MEETING RE: SAME (.5)

10/25/19    T LI                       COMPILE UPDATED FAQS AND SEND TO M. WU FOR                      0.5
                                       TRANSLATION

10/25/19    S UHLAND                   PRESENTATION TO COMMITTEE FORMATION MEETING (.7);               1.2
                                       FOLLOW-UP MEETING W/ UST, J. O'NEILL, M. PAGAY, T. LI,
                                       AND DEBTOR TEAM RE: COMMITTEE MEMBERSHIP (.5)

10/25/19    T LI                       MEET W/ D. BUCHBINDER, S. UHLAND, AND YT TEAM RE:               0.5
                                       COMMITTEE FORMATION

10/25/19    T LI                       ATTEND (PARTIAL) CREDITOR COMMITTEE FORMATION                   0.5
                                       MEETING

10/27/19    T LI                       RESPOND TO W. PAO RE: CHINESE MEDIA INQUIRIES (.1);             0.3
                                       RESPOND TO W. PAO RE: CREDITOR COMMITTEE
                                       COMPOSITION (.2)




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Matter: 0424428-00003                                                                            Page No. 10


Date         Name                         Description                                                  Hours

10/28/19     T LI                         UPDATE FAQS TO BE POSTED ON EPIQ WEBSITE AND                    1.4
                                          COORDINATE W/ EPIQ FOR POSTING (1.2); FOLLOW UP W/
                                          S. UHLAND RE: MEDIA INQUIRIES (.2)

10/28/19     T LI                         COMMUNICATIONS W/ D. PEREZ RE: OPEN ITEMS AND                   3.6
                                          COMMUNICATIONS W/ CREDITOR COMMITTEE (.7); EMAIL
                                          M. ZHANG RE: CALLS AND EMAIL LOGS AND UPDATE TO
                                          FAQ ON EPIQ WEBSITE (.2); UPDATE ORGANIZATION
                                          CHART TO BE SENT TO COMMITTEE (.7); COMPILE FF
                                          GLOBAL DOCUMENTS FOR S. UHLAND AND EMAIL W/ J.
                                          MARR AND L. HAN RE: SAME (1.1); REVIEW ORGANIZATION
                                          CHART AND FF GLOBAL OWNERSHIP PERCENTAGE (.7);
                                          EMAIL L. HAN RE: FF GLOBAL (.2)

10/28/19     D PEREZ                      EMAILS W/ L. HAN AND T. LI RE: COMMITTEE INFORMATION            1.6
                                          REQUESTS (.3); FOLLOW UP W/ T. LI RE: SAME (.3); REVIEW
                                          ORGANIZATION CHART RE: SAME (.2); EMAILS W/ T. LI AND
                                          J. SU RE: SAME (.3); REVIEW FF GLOBAL NARRATIVE RE:
                                          SAME (.3); REVIEW REPLY TO SLC RESPONSE AND
                                          COMMENT ON SAME (.2)

10/29/19     T LI                         EMAIL S. UHLAND AND D. PEREZ RE: FF GLOBAL AND                  3.3
                                          ORGANIZATION CHART (.4); REVISE ANSWERS TO MEDIA
                                          INQUIRIES BASED ON S. UHLAND COMMENTS AND EMAIL L.
                                          HAN RE: SAME (.7); PUT TOGETHER ORGANIZATION CHART
                                          AND EMAIL D. PEREZ RE: SAME (.6); EMAIL M. ZHANG RE:
                                          UPDATED FAQS ON EPIQ WEBSITE (.2); RESPOND TO
                                          EMAILS FROM CREDITORS FORWARDED BY EPIQ (.8);
                                          MEET W/ D. PEREZ RE: EMAILS FORWARDED BY EPIQ (.6)

10/29/19     D PEREZ                      MEET W/ T. LI RE: OPEN CREDITOR QUESTIONS (.6);                 2.4
                                          REVISE RESPONSE CHART RE: SAME (.2); REVIEW
                                          REVISED ORGANIZATION CHART FOR COMMITTEE (.2);
                                          EMAILS W/ T. LI RE: SAME (.2); REVIEW FF GLOBAL
                                          MEMBER SCHEDULES RE: SAME (.2); EMAILS W/ J. O'NEILL
                                          RE: NDA W/ COMMITTEE COUNSEL (.2); REVIEW AND
                                          REVISE RESPONSE TO CHINA MEDIA INQUIRIES (.6);
                                          REVIEW CREDITOR EMAIL LOG (.2)

10/30/19     T LI                         EMAIL S. KJONTVEDT RE: EMAILS FROM CREDITORS (.1);              4.2
                                          CATEGORIZE EMAILS FROM CREDITORS, RESPOND TO
                                          SAME, AND FOLLOW UP W/ D. PEREZ AND S. UHLAND RE:
                                          SAME (4.1)

10/30/19     D PEREZ                      REVIEW REVISED 13-WEEK CASH FLOW (.2); EMAILS W/ M.             0.4
                                          PAGAY AND R. JIA RE: SAME (.2)

10/31/19     W PAO                        REVIEW INFORMATION RE: FF GLOBAL FOR COMMITTEE                  0.8
                                          AND EMAILS W/ L. HAN RE: SAME

10/31/19     L HAN                        COMMUNICATIONS W/ W. PAO RE: PARTNERSHIP                        0.7
                                          PROGRAM INFORMATION FOR COMMITTEE

Total        012 Meetings and Communications with Creditors                                              41.7

013 Non-Working Travel

10/24/19     D PEREZ                      NON-WORKING TRAVEL TIME TO WILMINGTON TO ATTEND                 0.9
                                          IDI AND FORMATION MEETING (BILL AT 1/2 OF BILLING
                                          RATE)

10/24/19     T LI                         NON-WORKING TRAVEL FROM NEW YORK TO WILMINGTON                  1.5
                                          FOR IDI AND COMMITTEE FORMATION MEETING (1.5) (BILL
                                          AT 1/2 OF BILLING RATE)


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Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                   Invoice: 1062229
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Date         Name                         Description                                                  Hours

10/25/19     D PEREZ                      NON-WORKING TRAVEL TIME TO NY FROM IDI AND                      0.7
                                          FORMATION MEETING (BILL AT HALF OF BILLING RATE)

10/25/19     T LI                         NON-WORKING TRAVEL FROM WILMINGTON TO NEW YORK                  1.5
                                          AFTER THE IDI AND FORMATION MEETING; (BILL AT 1/2 OF
                                          BILLING RATE)

Total        013 Non-Working Travel                                                                       4.6

014 Plan and Disclosure Statement

10/14/19     R HOLM                       EMAILS W/ D. PEREZ RE: DRAFTING SCHEDULING MOTION               1.6
                                          (.3); REVISE SAME (1.3)

10/14/19     D PEREZ                      EMAILS W/ R. HOLM RE: SOLICITATION MOTION (.2); EMAILS          0.5
                                          W/ EPIQ RE: DELIVERY OF SOLICITATION PACKAGES (.3)

10/15/19     T LI                         RESEARCH RE: POST-PETITION SOLICITATION IN                      4.8
                                          STRADDLED PREPACK CASES (3.7); ANSWER CLIENT
                                          QUESTIONS RE: SOLICITATION (.8); EMAILS W/ D. PEREZ
                                          RE: SAME (.3)

10/15/19     D PEREZ                      EMAILS W/ T. LI RE: CHINA TEAM BANKRUPTCY                       0.3
                                          QUESTIONS

10/15/19     D PEREZ                      REVIEW POST-PETITION SOLICITATION RESEARCH (.3);                0.4
                                          EMAILS W/ T. LI RE: SAME (.1)

10/15/19     R HOLM                       FOLLOW UP W/ D. PEREZ RE: DRAFTING SCHEDULING                   0.2
                                          MOTION

10/16/19     T LI                         RESEARCH SOLICITATION PROCEDURES                                0.7

10/16/19     R HOLM                       FOLLOW UP W/ D. PEREZ RE: DRAFTING SCHEDULING                   0.2
                                          MOTION

10/17/19     D PEREZ                      REVIEW AND REVISE SCHEDULING MOTION (1.5); EMAILS               1.9
                                          W/ EPIQ, S. UHLAND AND M. WU RE: DELIVERY OF
                                          SOLICITATION PACKAGES (.4)

10/18/19     D PEREZ                      REVIEW AND REVISE SCHEDULING MOTION (1.9); EMAILS               2.4
                                          W/ EPIQ, J. O'NEILL, R. HOLM, AND S. UHLAND RE: SAME
                                          (.5)

10/18/19     S UHLAND                     DRAFT AND REVISE SOLICITATION MOTION                            0.7

10/18/19     R HOLM                       EMAILS W/ D. PEREZ RE: REVISING SCHEDULING MOTION               2.8
                                          (.4); REVISE SAME (2.4)

10/19/19     D PEREZ                      EMAILS W/ M. ZHANG, S. UHLAND, R. HOLM, AND EPIQ RE:            1.6
                                          SCHEDULING MOTION (.6); REVIEW COMMENTS TO SAME
                                          (.2); REVISE SAME AND FINALIZE FOR FILING (.8)

10/19/19     R HOLM                       EMAILS W/ D. PEREZ RE: REVISING SOLICITATION MOTION             0.3

10/19/19     S UHLAND                     COMMUNICATIONS W/ M. ZHANG RE: SCHEDULING MOTION                0.7
                                          (.4); COMMUNICATION W/ D. PEREZ RE: SAME (.3)

10/21/19     S UHLAND                     TELEPHONE CONFERENCE W/ M. ZHANG, J. WANG, D.                   1.0
                                          PEREZ, AND T. LI NEXT STEPS, DIP, AND FINANCING PLAN




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Date          Name                             Description                                                  Hours

10/21/19      T LI                             DRAFT ANSWERS TO MEDIA INQUIRIES ABOUT PLAN AND                 3.5
                                               CREDITOR TRUST (2.5); CONFERENCE W/ S. UHLAND, D.
                                               PEREZ, M. ZHANG, R. JIA, AND J. WANG RE: PLAN VOTING
                                               UPDATE AND ACTION QUESTIONS ABOUT QUESTIONNAIRE
                                               AND COMMITTEE FORMATION PROCESS (1.0)

10/21/19      D PEREZ                          REVIEW AND COMMENT ON AGENDA FOR CONFERENCE                     1.8
                                               CALL W/ Y. JIA TEAM (.3); TELEPHONE CONFERENCE W/ S.
                                               UHLAND, T. LI, M. ZHANG, R. JIA, AND J. WANG RE: PLAN
                                               VOTING UPDATE AND ACTION ITEMS BEFORE INITIAL
                                               DEBTOR INTERVIEW (1.0); PREPARE RESPONSES TO Y. JIA
                                               TEAM’S FOLLOW-UP QUESTIONS RE: SAME (.5)

10/21/19      D PEREZ                          EMAILS W/ J. O'NEILL RE: UST COMMENTS TO                        0.2
                                               SCHEDULING MOTION

10/22/19      T LI                             COORDINATE CERTIFICATION OF THE TRANSLATED                      0.5
                                               DISCLOSURE STATEMENT AND EMAIL CLIENT RE: SAME

10/23/19      T LI                             COORDINATE W/ EPIQ ON POSTING DISCLOSURE                        0.8
                                               STATEMENT

10/23/19      D PEREZ                          PREPARE RESPONSE TO UST QUESTIONS RE: COMBINED                  0.7
                                               HEARING MOTION

10/24/19      D PEREZ                          REVISE RESPONSES TO UST QUESTIONS RE: COMBINED                  1.1
                                               HEARING MOTION (.6); EMAILS W/ M. PAGAY, J. DULBERG,
                                               M. ZHANG, J. WANG, AND S. UHLAND RE: SAME (.3);
                                               REVIEW UPDATED VOTING REPORT (.2)

10/27/19      T LI                             ANSWER M. ZHAO QUESTIONS ABOUT DISCLOSURE                       0.2
                                               STATEMENT IN CHINESE

10/27/19      D PEREZ                          EMAILS W/ S. HE RE: BALLOTS                                     0.2

10/28/19      D PEREZ                          EMAILS W/ S. HE RE: BALLOT QUESTIONS                            0.2

10/29/19      D PEREZ                          REVIEW SLC OBJECTION TO SOLICITATION MOTION AND                 0.5
                                               BAR DATE MOTION (.3); FOLLOW UP W/ S. UHLAND AND T.
                                               LI RE: SAME (.2)

10/30/19      T LI                             EMAIL M. ZHANG RE: TRANSLATION OF THE PROPOSED                  0.1
                                               PLAN

10/31/19      T LI                             PREPARE AND REVISE (BASED ON INTERNAL AND                       7.3
                                               PACHULSKI COMMENTS) ANSWERS TO CLIENT
                                               QUESTIONS RE: BAR DATE, AMENDED PLAN AND
                                               DISCLOSURE STATEMENT, PLAN CONFIRMATION,
                                               DISCHARGE, EFFECTIVE DATE, AND AMENDED
                                               SCHEDULES (6.9); MEET W/ S. UHLAND, M. ZHANG, AND D.
                                               PEREZ RE: CLIENT QUESTIONS (.4)

10/31/19      S UHLAND                         DRAFT AND REVISE CLIENT QUESTIONS RE: PLAN                      1.1
                                               PROCESS (.7); CONFERENCE W/ M. ZHANG, T. LI, AND D.
                                               PEREZ RE: SAME (.4)

10/31/19      D PEREZ                          REVIEW AND REVISE RESPONSES TO VOTING AND                       1.3
                                               CONFIRMATION QUESTIONS FROM Y. JIA TEAM (.7);
                                               EMAILS W/ T. LI AND M. PAGAY RE: SAME (.2);
                                               CONFERENCE W/ S. UHLAND, T. LI, AND M. ZHANG RE:
                                               SAME (.4)

Total         014 Plan and Disclosure Statement                                                               39.6

015 Relief from Stay and Adequate Protection


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Date        Name                       Description                                                   Hours

10/16/19    T LI                       RESEARCH RE: WHETHER AUTOMATIC STAY APPLIES TO                   4.8
                                       CO-DEFENDANTS (1.9); EMAILS W/ D. PEREZ RE: SAME (.3);
                                       DRAFT RESPONSE AND SEND TO W. PAO (1.8);
                                       TELEPHONE CONFERENCE W/ COUNSEL, S. UHLAND, AND
                                       D. PEREZ RE: SCOPE OF STAY (.8)

10/16/19    D PEREZ                    EMAILS W/ T. LI RE: STAY OF HAN LITIGATION (.3); REVIEW          2.2
                                       UNDERLYING COMPLAINTS (.3); REVIEW RESEARCH RE:
                                       EXPANSION OF STAY TO THIRD PARTIES (.3); FOLLOW UP
                                       W/ T. LI RE: SAME (.2); TELEPHONE CONFERENCE W/ S.
                                       UHLAND, W. PAO, T. LI, J. SCHIEN, D. MARTINEZ, J. LIANG,
                                       AND P. MURPHY RE: SAME (.8); RESEARCH RE: ALTER EGO
                                       CLAIMS UNDER CALIFORNIA LAW (.3)

10/16/19    S UHLAND                   CONFERENCE W/ D. PEREZ, W. PAO, T. LI, LITIGATION                0.8
                                       COUNSEL RE: SANTA CLARA CLAIMS ACTION AND STAY

10/17/19    T LI                       MEET W/ D. PEREZ FOR RESEARCH QUESTIONS RE: ALTER               10.5
                                       EGO CAUSES OF ACTION (.7); RESEARCH RE: WHETHER
                                       CAUSES OF ACTION BASED ON ALTER EGO CONSTITUTE
                                       PROPERTY OF ESTATE AND WHETHER STAY APPLIES (3.2);
                                       RESEARCH RE: CHOICE OF LAW ISSUES IN ALTER EGO
                                       CLAIMS (2.6); RESEARCH RE: WHETHER A STATE COURT
                                       CAN DETERMINE SCOPE OF AUTOMATIC STAY (3.3);
                                       TELEPHONE CONFERENCE W/ J. GONZALES AND J. LIANG
                                       RE: RELATED LITIGATIONS AND SCOPE OF STAY (.7)

10/17/19    D PEREZ                    FOLLOW UP W/ W. PAO AND S. UHLAND RE: SQ STAY                    0.9
                                       NOTICE (.2); MEET W/ T. LI RE: PROPERTY OF THE ESTATE
                                       RESEARCH RE: ALTER EGO CLAIMS (.7)

10/18/19    D PEREZ                    REVIEW ALTER EGO/PROPERTY OF THE ESTATE                          1.4
                                       RESEARCH (.3); TELEPHONE CONFERENCE W/ J. SCHIEN
                                       AND P. MURPHY RE: STAY OF HAN LITIGATION (.7);
                                       FOLLOW UP W/ W. PAO RE: SAME (.3); FOLLOW UP W/ M.
                                       PAGAY RE: SAME (.1)

10/18/19    T LI                       RESEARCH RE: REVERSE VEIL PIERCING AND CALIFORNIA                3.2
                                       STATE LAW ON SAME

10/22/19    W PAO                      COMMUNICATIONS W/ COUNSEL IN HAN CASE RE:                        0.3
                                       CHAPTER 11 FILING

10/22/19    T LI                       DRAFT LETTER IN HANS RE: STAY                                    2.2

10/24/19    W PAO                      COMMUNICATIONS W/ COUNSEL IN HAN CASE RE: IMPACT                 0.6
                                       OF CHAPTER 11 FILING

10/24/19    D PEREZ                    REVIEW AND REVISE HAN STAY LETTER (.6); REVIEW                   1.2
                                       ALTER EGO/AUTOMATIC STAY CASES RE: SAME (.6)

10/25/19    W PAO                      REVIEW LETTER TO PLAINTIFFS’ COUNSEL IN HAN RE:                  0.3
                                       CHAPTER 11 FILING

10/25/19    W PAO                      TELEPHONE CONFERENCE W/ COUNSEL FOR Y. JIA IN O-                 0.3
                                       FILM CASE RE: CHAPTER 11 FILING

10/25/19    W PAO                      COMMUNICATIONS W/ COUNSEL IN HAN CASE RE:                        0.2
                                       CHAPTER 11 FILING AND STAY

10/25/19    D PEREZ                    REVIEW COMMENTS TO HAN AUTOMATIC STAY LETTER                     0.7
                                       AND REVISE SAME (.3); FOLLOW UP W/ W. PAO AND P.
                                       MURPHY RE: SAME (.2); FOLLOW UP W/ W. PAO AND S.
                                       UHLAND RE: STAY ISSUES IN SLC CASE (.2)


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Date            Name                          Description                                                   Hours

10/26/19        T LI                          RESEARCH RE: WHETHER AUTOMATIC STAY APPLIES TO                   1.3
                                              APPEALS FILED BY DEBTOR

10/28/19        D PEREZ                       EMAILS W/ P. MURPHY RE: HAN AUTOMATIC STAY LETTER                0.6
                                              (.3); FOLLOW UP W/ W. PAO RE: SAME (.1); REVISE LETTER
                                              RE: SAME (.2)

10/29/19        T LI                          RESEARCH RE: HOW DOES AUTOMATIC STAY APPLY TO                    3.4
                                              PENDING DISCOVERY REQUESTS DIRECTED AT THIRD
                                              PARTIES IN FURTHERANCE OF ACTION AGAINST THE
                                              DEBTOR AND DRAFT LANGUAGE RE: SAME

10/29/19        D PEREZ                       REVIEW SLC RESPONSE TO SLC STAY LETTER (.1); EMAILS              0.2
                                              W/ W. PAO AND T. LI RE: SAME (.1)

10/31/19        D TULLY                       DRAFT LETTER TO COUNSEL REPRESENTING DEFENDANT                   1.6
                                              IN Y. JIA DEFAMATION CASE (.8); REVISE DRAFT LETTER
                                              TO INCORPORATE COMMENTS FROM W. PAO (.5);
                                              FINALIZE, PROOF, AND SERVE LETTER (.3)

10/31/19        T LI                          FOLLOW UP W. PAO RE: Y. GU AND INJUNCTION                        0.2

Total           015 Relief from Stay and Adequate Protection                                                  36.9

016 Reporting

10/14/19        S UHLAND                      MEETING W/ Y. JIA, J. WANG, AND M. ZHANG RE:                     3.3
                                              SCHEDULING AND SOFAS (.9); REVIEW/REVISE
                                              SCHEDULES W/ SOFAS (DRAFT RIDERS) (2.4)

10/14/19        S UHLAND                      ANALYZE FINANCIAL INFORMATION FOR PREPARATION OF                 1.8
                                              SCHEDULING SOFAS

10/15/19        T LI                          DRAFT ADDITIONAL DISCLOSURE RE: TRANSACTIONS                     4.2
                                              WITHIN TWO YEARS OF PETITION DATE (2.1); COMPILE
                                              CHART RE: AFFILIATE TRANSACTIONS (2.1)

10/15/19        D PEREZ                       FOLLOW UP W/ T. LI AND S. UHLAND RE: DISCLOSURES                 1.2
                                              FOR SCHEDULES AND STATEMENTS (.3); REVIEW SAME
                                              (.3); COMMENT ON DRAFT SCHEDULES (.6)

10/15/19        S UHLAND                      INITIAL REVIEW SCHEDULES AND SOFAS W/ Y. JIA, M.                 6.0
                                              ZHANG, J. WANG (1.4); DETAILED REVIEW SCHEDULES AND
                                              SOFAS W/ Y. JIA, TRANSLATORS, M. PAGAY, J. WANG, AND
                                              M. ZHANG (3.4); REVIEW/REVISE RIDERS FOR SOFAS AND
                                              SCHEDULES (1.2)

10/16/19        T LI                          DRAFT SOFA #16                                                   1.1

10/16/19        T LI                          EMAILS W/ D. PEREZ, M. PAGAY, AND CLIENT RE:                     0.9
                                              SCHEDULES

10/16/19        T LI                          TELEPHONE CONFERENCE W/ S. UHLAND, D. PEREZ AND                  1.0
                                              CLIENT TEAM RE: FINALIZING SCHEDULES

10/16/19        D PEREZ                       REVIEW AND COMMENT ON SCHEDULES AND SOFAS (1.3);                 3.6
                                              EMAILS W/ T. LI RE: SAME (.5); TELEPHONE CONFERENCE
                                              W/ S. UHLAND, T. LI, M. PAGAY, M. ZHANG, AND R. JIA RE:
                                              SAME (1.0); COMMUNICATIONS W/ S. UHLAND RE: SAME (.8)

10/16/19        S UHLAND                      REVIEW AND REVISE DRAFT SCHEDULES RE: OPEN                       3.6
                                              ISSUES (1.1); ALL HANDS CALL W/ M. PAGAY, D. PEREZ, T.
                                              LI, R. JIA, AND M. ZHANG RE: QUESTIONS AND SCHEDULES
                                              (1.0); FURTHER REVIEW SCHEDULES (.7); CONFERENCE W/
                                              D. PEREZ RE: SAME (.8)


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Date        Name                       Description                                                     Hours

10/17/19    D PEREZ                    REVIEW AND COMMENT ON RESPONSES TO Y. JIA TEAM                     0.3
                                       QUESTIONS RE: UST / NEXT STEPS

10/17/19    S UHLAND                   FINAL REVIEW AND REVISE SCHEDULES, SOFAS (1.1);                    1.4
                                       CONFERENCE W/ D. PEREZ RE: SAME (.3)

10/17/19    D PEREZ                    REVIEW FINALIZED SCHEDULES AND STATEMENTS (.5);                    1.4
                                       CONFER W/ S. UHLAND RE: SAME (.3); REVIEW AND
                                       COMMENT ON RESPONSES TO UST INITIAL QUESTIONS (.6)

10/17/19    W PAO                      COMMUNICATIONS W/ CLIENT RE: SCHEDULES AND SOFAS                   0.2

10/18/19    D PEREZ                    REVIEW AND COMMENT ON RESPONSES TO UST INITIAL                     0.5
                                       QUESTIONS (.3); EMAILS W/ M. ZHANG, M. PAGAY, S.
                                       UHLAND, J. O'NEILL AND J. DULBERG RE: SAME (.2)

10/21/19    W PAO                      CONFERENCE W/ S. UHLAND, D. PEREZ, T. LI, M. ZHANG, R.             1.2
                                       JIA, AND J. WANG RE: PLAN VOTING UPDATE AND ACTION
                                       ITEMS BEFORE INITIAL DEBTOR INTERVIEW

10/23/19    D PEREZ                    PREPARE FOR AND ATTEND CALLS W/ S. UHLAND, W. PAO,                 2.7
                                       R. PACHULSKI, M. PAGAY, J. DULBERG, J. O'NEILL, Y. JIA, M.
                                       ZHANG, R. JIA, AND J. WANG RE: IDI PREPARATION (2.0);
                                       REVIEW BALANCE SHEETS/INCOME STATEMENTS
                                       PROVIDED TO UST (.2); REVIEW IDI PREPARATION
                                       QUESTIONS/MATERIALS (.2); EMAILS W/ J. O'NEILL, R. JIA,
                                       M. ZHANG, AND S. UHLAND RE: SAME (.3)

10/23/19    S UHLAND                   ATTEND INITIAL PORTION OF CALL RE: IDI W/ DEBTOR,                  2.2
                                       DEBTOR TEAM, M. PAGAY, D. PEREZ, W. PAO, J. DULBERG,
                                       J. O'NEILL, AND R. PACHULSKI (1.3); ATTEND (PARTIAL)
                                       CONFERENCE CALL W/ SAME ATTENDEES RE: SAME (.5);
                                       FOLLOW UP W/ D. PEREZ AND M. ZHANG RE: SAME (.4)

10/23/19    T LI                       DRAFT LETTER TO THE UNITED STATES TRUSTEE (2.7);                   3.5
                                       REVISE LETTER BASED ON D. PEREZ COMMENTS (.8)

10/24/19    S UHLAND                   REVIEW AND REVISE UST LETTER RE: COMMITTEE                         1.2
                                       MEMBERS (.4); MEETING W/ J. O'NEILL RE: IDI TRANSLATOR
                                       ISSUES (.8)

10/24/19    S UHLAND                   CONFERENCE W/ J. O'NEILL AND R. PACHULSKI RE: IDI                  0.5

10/25/19    T LI                       MEET (PARTIAL) W/ CLIENT, S. UHLAND, AND D. PEREZ TO               0.8
                                       DISCUSS LETTER TO UST AND IDI

10/25/19    S UHLAND                   FOLLOW-UP MEETING W/ J. O'NEILL M. PAGAY, D. PEREZ,                1.5
                                       T. LI, AND DEBTOR TEAM RE: NEXT STEPS AFTER IDI (.9);
                                       CONFERENCE W/ R. PACHULSKI RE: MEETING (.6)

10/25/19    T LI                       ATTEND (PARTIAL) INITIAL DEBTOR INTERVIEW                          1.0

10/25/19    S UHLAND                   PREPARE FOR IDI (.4); MEETING W/ DEBTOR, DEBTOR                    1.8
                                       TEAM, AND UST OFFICE FOR IDI (1.4)

10/25/19    D PEREZ                    PREPARE FOR AND ATTEND IDI/UCC FORMATION MEETING                   3.8
                                       (2.9); FOLLOW-UP MEETING W/ S. UHLAND, T. LI, M. PAGAY,
                                       J. O'NEILL, AND Y. JIA TEAM RE: SAME (.9)

10/27/19    T LI                       RESPOND TO W. PAO RE: COURT PLEADING RESPONDING                    0.1
                                       TO SLC FILING

10/28/19    T LI                       ANALYZE DOCUMENTS RE: FF GLOBAL PARTNERS                           1.4




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                   Please include client/matter/invoice number and/or attorney name.
Case 2:19-bk-24804-VZ              Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                        Desc
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Client: JIA, YUETING                                                                                  04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                   Invoice: 1062229
CORP)
Matter: 0424428-00003                                                                               Page No. 16


Date          Name                       Description                                                     Hours

10/28/19      D PEREZ                    REVIEW INITIAL REPORT TO TRUSTEE AND COMMENT ON                    0.6
                                         SAME

10/29/19      D PEREZ                    TELEPHONE CONFERENCE W/ J. O'NEILL, M. PAGAY, R. JIA,              2.2
                                         AND S. HE RE: INITIAL REPORT TO TRUSTEE (.8); REVIEW
                                         REVISED REPORT RE: SAME (.5); FOLLOW UP W/ S.
                                         UHLAND RE: SAME (.2); EMAILS W/ T. LI, M. PAGAY, AND R.
                                         JIA RE: PROFESSIONAL FEE PAYMENTS (.3); REVIEW 13-
                                         WEEK CASH FLOW (.2); EMAILS W/ M. PAGAY AND R. JIA
                                         RE: SAME (.2)

10/30/19      T LI                       EMAIL W. PAO RE: PREPARATION FOR 341 MEETING (.2);                 1.5
                                         MEET W/ R. MOON (FINANCIAL ADVISOR) RE: AFFILIATE
                                         TRANSACTIONS AND TRUST INTERESTS (1.3)

10/31/19      D PEREZ                    REVIEW REVISED 13-WEEK CASH FLOW (.1); EMAILS W/ M.                0.3
                                         PAGAY RE: SAME (.2)

Total         016 Reporting                                                                                56.8

018 Vendor and Other Creditor Issues

10/17/19      D PEREZ                    REVIEW SLC RESPONSE TO CHAPTER 11 CASE (.3);                       1.7
                                         TELEPHONE CONFERENCE W/ S. UHLAND, J. DULBERG, J.
                                         O'NEILL, AND M. PAGAY RE: SAME (.9); FOLLOW UP W/ S.
                                         UHLAND AND T. LI RE: SAME (.3); EMAILS W/ S. UHLAND
                                         AND J. WANG RE: SAME (.2)

10/17/19      S UHLAND                   TELEPHONE CONFERENCE W/ D. PEREZ, J. DULBERG, M.                   0.9
                                         PAGAY, AND J. O'NEILL RE: SLC RESPONSE

10/18/19      D PEREZ                    EMAILS W/ J. WANG, S. UHLAND, AND J. DULBERG RE:                   0.5
                                         RESPONSE TO SLC FILING (.3); REVIEW Y. JIA TEAM DRAFT
                                         RESPONSE TO SAME (.2)

10/21/19      D PEREZ                    REVIEW AND COMMENT ON RESPONSE TO SLC FILING                       0.3

10/21/19      W PAO                      REVISE AND EDIT RESPONSE TO SLC FILING IN CHAPTER                  0.4
                                         11 PROCEEDINGS

10/22/19      D PEREZ                    REVIEW AND REVISE LETTER RE: SLC STATEMENT (.4);                   1.9
                                         CONFERENCE W/ T. LI RE: STATEMENT TO COURT RE:
                                         SAME (.3); EMAILS W/ T. LI AND S. UHLAND RE: SAME (.2);
                                         REVIEW AND REVISE STATEMENT TO COURT RE: SAME
                                         (.3); CONFERENCE W/ M. ZHANG, R. JIA, J. WANG, M.
                                         PAGAY, R. PACHULSKI, J. DULBERG, J. O'NEILL, S. UHLAND,
                                         W. PAO, AND T. LI RE: RESPONSE TO SLC FILING (.7)

10/22/19      T LI                       MEET W/ CLIENT TEAM, S. UHLAND, D. PEREZ, AND W. PAO               4.1
                                         RE: RESPONSE TO SLC (.7); MEET W/ D. PEREZ RE: SLC
                                         FILING (.3); DRAFT LETTER TO COURT (2.6); SEND LETTER
                                         TO S. UHLAND, W. PAO, AND D. PEREZ FOR COMMENTS
                                         AND INCORPORATE COMMENTS (.5)

10/22/19      W PAO                      CONFERENCE W/ CLIENT TEAM, PACHULSKI TEAM, S.                      0.7
                                         UHLAND, D. PEREZ, AND T. LI RE: RESPONSE TO SLC'S
                                         FILING

10/22/19      S UHLAND                   ATTEND CALL W/ DEBTOR, DEBTOR TEAM, R. PACHULSKI,                  0.8
                                         D. PEREZ, T. LI, W. PAO, AND J. O'NEILL RE: SLC PLEADING
                                         (.7); FOLLOW UP W/ D. PEREZ RE: SAME (.1)




                                       Due upon receipt. Please remit to:
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                         Beneficiary: O’Melveny & Myers LLP, Account No.:
                     Please include client/matter/invoice number and/or attorney name.
Case 2:19-bk-24804-VZ           Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                           Desc
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Client: JIA, YUETING                                                                                   04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                    Invoice: 1062229
CORP)
Matter: 0424428-00003                                                                               Page No. 17


Date        Name                          Description                                                    Hours

10/23/19    T LI                          DRAFT AND FORMAT LETTER TO THE COURT RE: SLC                      3.8
                                          FILING (2.2); RESEARCH ULTERIOR MOTIVE AND BAD FAITH
                                          (1.6)

10/23/19    W PAO                         REVISE AND EDIT DRAFT RESPONSE TO SLC’S FILING                    0.6

10/23/19    D PEREZ                       REVIEW AND REVISE LETTER TO UST RE: SLC/FORMATION                 2.1
                                          MEETING (1.2); FOLLOW UP W/ T. LI RE: SAME (.2); REVIEW
                                          SLC LETTER RE: FORMATION MEETING (.2); REVIEW
                                          COMMENTS TO RESPONSE TO SLC (.2); EMAILS W/ T. LI
                                          AND S. UHLAND RE: SAME (.1); EMAILS W/ S. UHLAND, R.
                                          PACHULSKI, AND M. PAGAY RE: FORMATION HEARING (.2)

10/24/19    T LI                          MEET W/ R. JIA AND M. ZHANG RE: TRANSACTIONS                      2.3
                                          BETWEEN Y. JIA AND WEN ENTITIES (1.9); REVISE UST
                                          LETTER BASED ON COMMENTS (.4)

10/24/19    W PAO                         REVISE AND EDIT DRAFT LETTER TO U.S. TRUSTEE RE:                  0.6
                                          SLC

10/24/19    W PAO                         REVIEW AND REVISE RESPONSES TO U.S. TRUSTEE RE:                   0.3
                                          SLC

10/24/19    D PEREZ                       EMAILS W/ S. UHLAND, W. PAO, T. LI, AND M. PAGAY RE:              0.3
                                          RESPONSE TO SLC PLEADING

10/24/19    T LI                          REVISE LETTER TO D. BUCHBINDER (UST) RE: SLC BY                   0.4
                                          INCORPORATING W. PAO COMMENTS

10/25/19    T LI                          REVISE LETTER TO D. BUCHBINDER (UST) BASED ON R. JIA              0.5
                                          AND M. ZHANG COMMENTS

10/26/19    T LI                          REVIEW COURT FILING RESPONDING TO SLC                             0.2

10/27/19    W PAO                         REVISE REPLY TO SLC RESPONSE                                      0.3

10/28/19    T LI                          REVISE COURT PLEADING RESPONDING TO SLC BASED                     0.8
                                          ON W. PAO COMMENTS

10/28/19    T LI                          RESPOND TO M. ZHANG (CLIENT) RE: COURT PLEADING AS                0.5
                                          RESPONSE TO SLC

10/29/19    T LI                          FOLLOW UP W/ M. ZHANG RE: SLC PLEADING                            0.1

10/29/19    S UHLAND                      COMMUNICATIONS W/ M. ZHANG RE: SLC ISSUES (.4);                   0.9
                                          ANALYZE SLC DISMISSAL MOTION OBJECTION (.5)

10/30/19    T LI                          REVIEW SLC OBJECTION TO JOINT HEARING MOTION                      0.3

10/30/19    T LI                          FOLLOW UP W/ M. ZHANG ON THE SLC PLEADING (.1);                   0.2
                                          FOLLOW UP W/ J. WANG ON SLC PLEADING AND REVISE
                                          SLC PLEADING (.1)

10/31/19    T LI                          TELEPHONE CONFERENCE W/ M. ZHANG RE: SLC                          0.1
                                          PLEADING

10/31/19    T LI                          FINALIZE PLEADING RESPONDING TO SLC RESPONSE TO                   2.4
                                          DEBTOR CHAPTER 11 FILING

10/31/19    S UHLAND                      DRAFT AND REVIEW SLC PLEADING                                     0.6

10/31/19    D PEREZ                       REVIEW COMMENTS TO SLC RESPONSE (.3); EMAILS W/ S.                0.6
                                          UHLAND, T. LI, M. ZHANG, AND M. PAGAY RE: SAME (.3)

Total       018 Vendor and Other Creditor Issues                                                           29.2



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Client: JIA, YUETING                                                                                      04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                       Invoice: 1062229
CORP)
Matter: 0424428-00003                                                                                  Page No. 18


Date           Name                               Description                                               Hours

019 Other International Issues

10/30/19       L HAN                              REVIEW PROPOSED WRITTEN RESPONSES TO THE MEDIA                0.5
                                                  AND CREDITOR INQUIRIES (.2); DISCUSS W/ C. CHEN ON
                                                  OTHER POTENTIAL ISSUES (.3)

Total          019 Other International Issues                                                                   0.5

Total Hours                                                                                                  303.5

Total Fees                                                                                              249,759.50


Less 10% Discount                                                                                       (24,975.95)

Total Fees After Adjustment                                                                             224,783.55

Disbursements
Copying                                                                                                     $51.30
Court Fees / Filing Fees                                                                                    192.50
Expense Report Other (Incl. Out of Town Travel)                                                           5,660.64
FIRMEX                                                                                                      125.00
Local Travel                                                                                                229.99
Online Research                                                                                           9,308.44
Other Professionals                                                                                       1,932.74
Scanning Services                                                                                             4.50
Telephone                                                                                                   204.02

Total Disbursements                                                                                     $17,709.13


Total Current Invoice                                                                              $242,492.68




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                  By Mail: O'Melveny & Myers LLP - P.O. Box 894436, Los Angeles, CA 90189-4436
                     By Wire Transfer:
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Case 2:19-bk-24804-VZ                Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                   Desc
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Client: JIA, YUETING                                                                                 04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                  Invoice: 1062229
CORP)
Matter: 0424428-00003                                                                            Page No. 19


Timekeeper Summary
Timekeeper                                                                                            Hours

Attorneys

SUZZANNE UHLAND                                                                                         42.2

WILLIAM K. PAO                                                                                          23.7

LI HAN                                                                                                    1.4

DIANA M. PEREZ                                                                                          73.2

RICHARD HOLM                                                                                            11.5

TJ LI                                                                                                  128.3

DANIEL J. TULLY                                                                                         14.7

ROBERT J. WINSON                                                                                          8.3

Total for Attorneys                                                                                    303.3

Paralegal/Litigation Support

MAUREEN BURKE                                                                                             0.2

Total for Paralegal/Litigation Support                                                                    0.2

Total                                                                                                  303.5




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Case 2:19-bk-24804-VZ                Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                     Desc
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Client: JIA, YUETING                                                                                04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                 Invoice: 1062229
CORP)
Matter: 0424428-00003                                                                            Page No. 20


Task Summary
Timekeeper              Title                                                             Hours        Amount
SUZZANNE UHLAND         Partner                                                                 4.1    5,719.50
WILLIAM K. PAO          Partner                                                                 0.6     588.00
DIANA M. PEREZ          Counsel                                                                 0.6     597.00
TJ LI                   Associate                                                           12.8       6,912.00
Total for 004 Business Operations                                                           18.1      13,816.50

SUZZANNE UHLAND         Partner                                                                 0.7     976.50
WILLIAM K. PAO          Partner                                                                 1.1    1,078.00
DIANA M. PEREZ          Counsel                                                                 4.3    4,278.50
TJ LI                   Associate                                                            4.0       2,160.00
Total for 005 Case Administration                                                           10.1       8,493.00

SUZZANNE UHLAND         Partner                                                                 1.1    1,534.50
DIANA M. PEREZ          Counsel                                                                 0.8      796.00
Total for 006 Claims Administration and Objections                                              1.9    2,330.50

SUZZANNE UHLAND         Partner                                                                 2.0    2,790.00
RICHARD HOLM            Counsel                                                                 6.4    5,376.00
DIANA M. PEREZ          Counsel                                                                 3.6    3,582.00
TJ LI                  Associate                                                             2.3       1,242.00
Total for 007 Employment and Fee Applications                                               14.3      12,990.00

SUZZANNE UHLAND         Partner                                                                 1.4    1,953.00
DIANA M. PEREZ          Counsel                                                                 3.2    3,184.00
TJ LI                   Associate                                                               4.8    2,592.00
MAUREEN BURKE            Paralegal                                                              0.2       76.00
Total for 009 Financing and Cash Collateral                                                     9.6    7,805.00

WILLIAM K. PAO          Partner                                                             15.2      14,896.00
DIANA M. PEREZ          Counsel                                                                 2.4    2,388.00
ROBERT J. WINSON        Associate                                                               8.3    4,150.00
TJ LI                   Associate                                                               1.2     648.00
DANIEL J. TULLY          Associate                                                          13.1      10,545.50
Total for 011 Litigation                                                                    40.2      32,627.50

LI HAN                  Partner                                                                 0.9     922.50
SUZZANNE UHLAND         Partner                                                                 2.1    2,929.50
WILLIAM K. PAO          Partner                                                                 0.8     784.00
DIANA M. PEREZ          Counsel                                                             12.4      12,338.00
TJ LI                    Associate                                                          25.5      13,770.00
Total for 012 Meetings and Communications with Creditors                                    41.7      30,744.00

DIANA M. PEREZ          Counsel                                                                 1.6     796.00
TJ LI                   Associate                                                               3.0      810.00
Total for 013 Non-Working Travel                                                                4.6    1,606.00


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Case 2:19-bk-24804-VZ                Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                     Desc
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Client: JIA, YUETING                                                                                04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                 Invoice: 1062229
CORP)
Matter: 0424428-00003                                                                            Page No. 21




SUZZANNE UHLAND          Partner                                                                3.5    4,882.50
RICHARD HOLM             Counsel                                                                5.1    4,284.00
DIANA M. PEREZ           Counsel                                                            13.1      13,034.50
TJ LI                    Associate                                                          17.9       9,666.00
Total for 014 Plan and Disclosure Statement                                                 39.6      31,867.00

SUZZANNE UHLAND          Partner                                                                0.8    1,116.00
WILLIAM K. PAO           Partner                                                                1.7    1,666.00
DIANA M. PEREZ           Counsel                                                                7.2    7,164.00
TJ LI                    Associate                                                          25.6      13,824.00
DANIEL J. TULLY           Associate                                                          1.6       1,288.00
Total for 015 Relief from Stay and Adequate Protection                                      36.9      25,058.00

SUZZANNE UHLAND          Partner                                                            23.3      32,503.50
WILLIAM K. PAO           Partner                                                                1.4    1,372.00
DIANA M. PEREZ           Counsel                                                            16.6      16,517.00
TJ LI                   Associate                                                           15.5       8,370.00
Total for 016 Reporting                                                                     56.8      58,762.50

SUZZANNE UHLAND          Partner                                                                3.2    4,464.00
WILLIAM K. PAO           Partner                                                                2.9    2,842.00
DIANA M. PEREZ           Counsel                                                                7.4    7,363.00
TJ LI                   Associate                                                           15.7       8,478.00
Total for 018 Vendor and Other Creditor Issues                                              29.2      23,147.00

LI HAN                    Partner                                                               0.5     512.50
Total for 019 Other International Issues                                                        0.5     512.50




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Case 2:19-bk-24804-VZ                  Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                                            Desc
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18th Floor                          omm.com
Los Angeles, CA 90071-2899




                                                Remittance Page
YUETING JIA                                                                                 April 16, 2020
                                                                                            OMM Matter: 0424428-00003
                                                                                            Invoice: 1062229
                                                                                            Contact: WILLIAM K. PAO

CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING, CORP)

For Professional Services Rendered Through October 31, 2019

Total Fees                                                                                                                 $249,759.50

Less 10% Discount                                                                                                          (24,975.95)

Total Fees After Adjustment                                                                                                $224,783.55

Total Disbursements                                                                                                         $17,709.13

Total Current Invoice                                                                                                      $242,492.68

                        REMITTANCE COPY - PLEASE RETURN WITH PAYMENT
                                            For questions, please contact Rachel Chan
                                                        rchan@omm.com
                                                          (213) 430-6459




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                          Beneficiary: O’Melveny & Myers LLP, Account No.:
                      Please include client/matter/invoice number and/or attorney name.

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                  Beijing • Brussels • Hong Kong • London • Seoul • Shanghai • Singapore • Tokyo
Case 2:19-bk-24804-VZ                  Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                                            Desc
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O’Melveny & Myers LLP               T: +1 213 430 6000                                                           Taxpayer ID: XX-XXXXXXX
400 South Hope Street               F: +1 213 430 6407
18th Floor                          omm.com
Los Angeles, CA 90071-2899




YUETING JIA                                                                                 April 16, 2020
                                                                                            OMM Matter: 0424428-00003
                                                                                            Invoice: 1062230
                                                                                            Contact: WILLIAM K. PAO

CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING, CORP)

For Professional Services Rendered Through November 30, 2019

Total Fees                                                                                                                 $376,005.75

Less 10% Discount                                                                                                          (37,600.58)

Total Fees After Adjustment                                                                                                $338,405.17

Total Disbursements                                                                                                         $15,226.89

Total Current Invoice                                                                                                      $353,632.06




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Case 2:19-bk-24804-VZ            Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                       Desc
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Client: JIA, YUETING                                                                                 04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                  Invoice: 1062230
CORP)
Matter: 0424428-00003                                                                             Page No. 2



CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING, CORP)

For Professional Services Rendered Through November 30, 2019

Date         Name                        Description                                                  Hours

004 Business Operations

11/01/19     T LI                        DRAFT LANGUAGE RE: OUT OF ORDINARY COURSE OF                    0.5
                                         BUSINESS AND SEND TO CLIENT

11/02/19     T LI                        EMAIL M. ZHANG RE: WHY DEBTOR CANNOT ENTER INTO                 0.1
                                         TRANSACTIONS OUT OF THE ORDINARY COURSE OF
                                         BUSINESS WITHOUT COURT APPROVAL

11/03/19     T LI                        RESEARCH AND DRAFT LANGUAGE RE: ORDINARY                        0.5
                                         COURSE OF BUSINESS AND EXTENSION OF GUARANTOR
                                         LIABILITY

11/03/19     S UHLAND                    ANALYZE LETECH SUMMARY                                          0.7

Total        004 Business Operations                                                                     1.8

005 Case Administration

11/01/19     T LI                        COORDINATE W/ EPIQ ON WEBSITE                                   0.4

11/04/19     T LI                        EMAIL B. GALLERIE RE: CHANGES TO EPIQ WEBSITE TO                0.1
                                         MAKE DOCUMENTS MORE ACCESSIBLE

11/04/19     L HAN                       TELEPHONE CONFERENCES W/ M. ZHANG AND J. WANG                   1.3
                                         ON VARIOUS ISSUES RE: Y. JIA LETTER TO THE
                                         CREDITORS, TIMETABLE, AND STATUS REPORT (.6);
                                         TELEPHONE CONFERENCE W/ W. PAO RE: STATUS
                                         REPORT (.5); EMAIL TO S. UHLAND RE: SAME (.2)

11/04/19     W PAO                       TELEPHONE CONFERENCE W/ L. HAN RE: NEXT STEPS                   0.5

11/05/19     W PAO                       CONFERENCE W/ M. ZHANG, R. JIA, C. ZHANG, J. WANG, M.           1.1
                                         PAGAY, J. DULBERG, R. PACHULSKI, S. UHLAND, D. PEREZ,
                                         AND T. LI RE: STATUS REPORT, 341 MEETING, AND
                                         COMMUNICATION PROTOCOL

11/05/19     W PAO                       CONFERENCE W/ M. PAGAY, J. DULBERG, R. PACHULSKI,               0.8
                                         D. PEREZ, AND T. LI RE: FINANCIAL ADVISOR, STATUS
                                         REPORT, DIP FINANCING, AND 341 MEETING

11/05/19     T LI                        EMAIL W. PAO RE: FILINGS TO PREPARE FOR 341 MEETING             2.1
                                         (.2); CONFERENCE W/ M. PAGAY, J. DULBERG, R.
                                         PACHULSKI, W. PAO, AND D. PEREZ RE: FINANCIAL
                                         ADVISOR, STATUS REPORT, DIP FINANCING, AND 341
                                         MEETING (.8); CONFERENCE W/ M. ZHANG, R. JIA, C.
                                         ZHANG, J. WANG, M. PAGAY, J. DULBERG, R. PACHULSKI, S.
                                         UHLAND, W. PAO, AND D. PEREZ RE: STATUS REPORT, 341
                                         MEETING, AND COMMUNICATION PROTOCOL (1.1)

11/05/19     S UHLAND                    DRAFT AND REVISE STATUS REPORT (.8); CONFERENCE                 1.9
                                         W/ M. ZHANG, R. JIA, C. ZHANG, J. WANG, M. PAGAY, J.
                                         DULBERG, R. PACHULSKI, W. PAO, D. PEREZ, AND T. LI RE:
                                         STATUS REPORT, 341 MEETING AND COMMUNICATION
                                         PROTOCOL (1.1)




                                       Due upon receipt. Please remit to:
                By Mail: O'Melveny & Myers LLP - P.O. Box 894436, Los Angeles, CA 90189-4436
                   By Wire Transfer:
                         Beneficiary: O’Melveny & Myers LLP, Account No.:
                     Please include client/matter/invoice number and/or attorney name.
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Client: JIA, YUETING                                                                              04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,               Invoice: 1062230
CORP)
Matter: 0424428-00003                                                                           Page No. 3


Date        Name                       Description                                                  Hours

11/05/19    D PEREZ                    CONFERENCE W/ M. PAGAY, J. DULBERG, R. PACHULSKI,               1.9
                                       W. PAO, AND T. LI RE: FINANCIAL ADVISOR, STATUS
                                       REPORT, DIP FINANCING, AND 341 MEETING (.8);
                                       CONFERENCE W/ M. ZHANG, R. JIA, C. ZHANG, J. WANG, M.
                                       PAGAY, J. DULBERG, R. PACHULSKI, S. UHLAND, W. PAO,
                                       AND T. LI RE: STATUS REPORT, 341 MEETING, AND
                                       COMMUNICATION PROTOCOL (1.1)

11/05/19    D PEREZ                    REVIEW AND COMMENT ON CHAPTER 11 STATUS REPORT                  1.4
                                       (.8); REVISE SAME (.6)

11/06/19    S UHLAND                   REVIEW AND REVISE STATUS REPORT                                 0.6

11/06/19    D PEREZ                    REVISE CHAPTER 11 STATUS REPORT (.7); EMAILS W/ M.              0.9
                                       PAGAY RE: SAME (.2)

11/07/19    D PEREZ                    EMAILS W/ J. O'NEILL AND EPIQ TEAM RE: CHANGES TO               0.4
                                       WEBSITE (.3); REVIEW SAME (.1)

11/07/19    L HAN                      REVIEW STATUS REPORT AND DISCUSS W/ M. ZHANG RE:                0.5
                                       VOTING DEADLINE IN THE REPORT

11/08/19    D PEREZ                    REVIEW CASE WEBSITE (.2); EMAILS W/ EPIQ RE: UPDATE             0.4
                                       OF SAME (.2)

11/08/19    D PEREZ                    EMAILS W/ M. PAGAY AND EPIQ TEAM RE: UPDATES TO                 0.2
                                       CASE WEBSITE

11/10/19    T LI                       COMPILE, CIRCULATE, REVISE, AND EMAIL AGENDA ITEMS              0.6
                                       FOR IN PERSON MEETING ON 11/11/2019 (.5); EMAIL R. JIA
                                       TO FOLLOW UP ON LETECH DOCUMENTS (.1)

11/11/19    T LI                       EMAIL W. PAO (OMM) RE: TIMING OF PREPARATION FOR                0.5
                                       341 MEETING (.1); EMAIL B. GALLERIE RE: WEBSITE
                                       MALFUNCTION (.2); UPDATE AND CIRCULATE AGENDA
                                       ITEMS RE: IN-PERSON MEETING (.2)

11/11/19    S UHLAND                   ATTEND IN PERSON MEETING W/ R. PACHULSKI, M. PAGAY,             4.3
                                       Y. JIA TEAM RE: CASE, NEXT STEPS, PLAN

11/12/19    W PAO                      TELEPHONE CONFERENCE (PARTIAL) W/ S. UHLAND, R.                 0.5
                                       PACHULSKI, M. PAGAY, J. DULBERG, AND J. O'NEILL RE:
                                       STATUS OF BANKRUPTCY PROCEEDINGS AND NEXT
                                       STEPS

11/12/19    S UHLAND                   ATTEND CALL W/ W. PAO, R. PACHULSKI, M. PAGAY, AND J.           0.8
                                       O'NEILL RE: OPEN ISSUES, BAR DATE

11/27/19    D PEREZ                    CONFERENCE W/ PACHULSKI TEAM, CLIENT TEAM, S.                   1.1
                                       UHLAND, W. PAO, D. JOHNSON, AND T. LI RE:
                                       CORRESPONDENCE W/ CREDITORS COMMITTEE,
                                       DOCUMENT PRODUCTION TO CREDITORS COMMITTEE
                                       AND FINANCIAL ADVISORS, FUNDING, BVI FREEZE ORDER,
                                       AND CASE TIMELINE

11/27/19    D JOHNSON JR.              CONFERENCE W/ PACHULSKI TEAM, CLIENT TEAM, S.                   1.1
                                       UHLAND, D. PEREZ, W. PAO, AND T. LI RE:
                                       CORRESPONDENCE W/ CREDITORS COMMITTEE,
                                       DOCUMENT PRODUCTION TO CREDITORS COMMITTEE
                                       AND FINANCIAL ADVISORS, FUNDING, BVI FREEZE ORDER,
                                       AND CASE TIMELINE




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Client: JIA, YUETING                                                                                    04/16/20
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Date         Name                          Description                                                    Hours

11/27/19     S UHLAND                      CONFERENCE W/ PACHULSKI TEAM, CLIENT TEAM, D.                     1.1
                                           PEREZ, D. JOHNSON, W. PAO, AND T. LI RE:
                                           CORRESPONDENCE W/ CREDITORS COMMITTEE,
                                           DOCUMENT PRODUCTION TO CREDITORS COMMITTEE
                                           AND FINANCIAL ADVISORS, FUNDING, BVI FREEZE ORDER,
                                           AND CASE TIMELINE

11/27/19     W PAO                         CONFERENCE W/ PACHULSKI TEAM, CLIENT TEAM, S.                     1.1
                                           UHLAND, D. PEREZ, D. JOHNSON, AND T. LI RE:
                                           CORRESPONDENCE W/ CREDITORS COMMITTEE,
                                           DOCUMENT PRODUCTION TO CREDITORS COMMITTEE
                                           AND FINANCIAL ADVISORS, FUNDING, BVI FREEZE ORDER,
                                           AND CASE TIMELINE

11/27/19     T LI                          CONFERENCE W/ PACHULSKI TEAM, CLIENT TEAM, S.                     1.1
                                           UHLAND, W. PAO, D. JOHNSON, AND D. PEREZ RE:
                                           CORRESPONDENCE W/ CREDITORS COMMITTEE,
                                           DOCUMENT PRODUCTION TO CREDITORS COMMITTEE
                                           AND FINANCIAL ADVISORS, FUNDING, BVI FREEZE ORDER,
                                           AND CASE TIMELINE

Total        005 Case Administration                                                                        26.7

006 Claims Administration and Objections

11/05/19     D PEREZ                       REVIEW UCC COMMENTS TO BAR DATE MOTION (.3);                      0.8
                                           TELEPHONE CONFERENCE W/ M. PAGAY AND EPIQ RE:
                                           SAME (.5)

11/07/19     T LI                          EMAIL J. STAHLER RE: PROCEDURES FOR FILING A PROOF                0.5
                                           OF CLAIM, EPIQ WEBSITE, AND FREQUENTLY ASKED
                                           QUESTIONS

11/08/19     D PEREZ                       EMAILS W/ M. ZHANG AND M. WU RE: UPDATES ON THE                   0.3
                                           BAR DATE ISSUES

11/11/19     D PEREZ                       EMAILS W/ M. PAGAY, J. O'NEILL, AND M. ZHANG RE:                  0.6
                                           PUBLICATION OF BAR DATE NOTICE (.2); REVIEW REVISED
                                           BAR DATE NOTICE AND ORDER (.2); REVIEW COMMENTS
                                           TO SAME (.2)

11/12/19     D PEREZ                       EMAILS W/ C. CHEN RE: PUBLICATION OF BAR DATE                     0.7
                                           NOTICE (.3); REVIEW SUMMARY OF BAR DATE NOTICE (.2);
                                           EMAILS W/ J. O'NEILL AND M. PAGAY RE: SAME (.2)

11/13/19     D PEREZ                       TELEPHONE CONFERENCE W/ M. ZHANG RE: PUBLICATION                  0.8
                                           OF BAR DATE NOTICE (.4); EMAILS W/ J. O'NEILL, M. ZHANG.
                                           L. SUN, AND EPIQ TEAM RE: SAME (.4)

11/14/19     D PEREZ                       EMAILS W/ M. ZHANG, L. SUN, M. PAGAY AND J. O'NEILL RE:           0.6
                                           PUBLICATION OF THE BAR DATE NOTICE

11/15/19     D PEREZ                       EMAILS W/ L. SUN RE: PUBLICATION OF BAR DATE NOTICE               0.2

11/17/19     D PEREZ                       EMAILS W/ M. PAGAY AND M. ZHANG RE: PUBLICATION OF                0.2
                                           THE BAR DATE NOTICE

11/18/19     D PEREZ                       EMAILS W/ M. PAGAY AND S. UHLAND RE: PUBLICATION OF               0.2
                                           BAR DATE NOTICE

11/19/19     T LI                          EMAIL D. PEREZ AND EPIQ RE: BAR DATE PUBLICATION                  0.2

11/21/19     T LI                          EMAIL W. PAO RE: PROOF OF CLAIM AND CHALLENGE                     0.3
                                           CERTAIN CLAIMS



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Date         Name                          Description                                                   Hours

Total        006 Claims Administration and Objections                                                       5.4

007 Employment and Fee Applications

11/04/19     T LI                          PREPARE Y. JIA DECLARATION IN SUPPORT OF OMM                     2.5
                                           RETENTION APPLICATION (1.6); MEET W/ D. PEREZ RE:
                                           DISCLOSURE IN RETENTION APPLICATION (.9)

11/04/19     D PEREZ                       MEET W/ T. LI RE: OMM RETENTION APPLICATION AND                  1.1
                                           CONFLICTS ANALYSIS (.9); REVIEW UPDATED CONFLICTS
                                           REPORT RE: SAME (.2)

11/05/19     T LI                          PREPARE OMM RETENTION APPLICATION                                0.6

11/06/19     T LI                          PREPARE S. UHLAND DECLARATION IN SUPPORT OF                      2.4
                                           RETENTION APPLICATION (1.4); PREPARE RULE 2016
                                           STATEMENT ATTACHED TO RETENTION APPLICATION (1.0)

11/07/19     T LI                          PREPARE S. UHLAND DECLARATION IN SUPPORT OF                      1.6
                                           RETENTION APPLICATION

11/10/19     T LI                          EMAIL S. UHLAND RE: REVISED CONSULTANCY                          0.1
                                           AGREEMENT FOR R. MOON

11/10/19     T LI                          EMAIL D. PEREZ RE: COMPLETED RETENTION                           0.1
                                           APPLICATION

11/11/19     T LI                          MEET W/ D. PEREZ RE: RETENTION APPLICATION AND S.                3.7
                                           UHLAND DECLARATION (.6); EMAIL L. HAN AND W. PAO RE:
                                           DISCLOSURE IN THE RETENTION APPLICATION (.2); MEET
                                           W/ D. PEREZ AND REVISE RETENTION APPLICATION BASED
                                           ON D. PEREZ COMMENTS (2.7); EMAIL J. O'NEILL
                                           (PACHULSKI) RE: RULE 2016 STATEMENT AND
                                           DECLARATION IN SUPPORT OF RETENTION APPLICATION
                                           (.2)

11/11/19     D PEREZ                       REVIEW AND REVISE OMM RETENTION APPLICATION,                     3.6
                                           CONFLICTS ANALYSIS RE: SAME, AND DECLARATIONS IN
                                           SUPPORT OF SAME (2.6); MEETINGS W/ T. LI RE: SAME (1.0)

11/12/19     T LI                          DRAFT LANGUAGE RE: DISCLOSURE IN RETENTION                       0.8
                                           APPLICATION

11/13/19     T LI                          REVISE RETENTION APPLICATION, S. UHLAND                          2.7
                                           DECLARATION, AND JIA DECLARATION (2.1); CONFERENCE
                                           W/ S. UHLAND, D. PEREZ, AND L. HAN RE: FINALIZING
                                           RETENTION APPLICATION (.6)

11/13/19     W PAO                         COMMUNICATIONS W/ D. PEREZ RE: OMM RETENTION                     0.7
                                           APPLICATION

11/13/19     W PAO                         REVISE AND EDIT OMM RETENTION APPLICATION                        1.2

11/13/19     S UHLAND                      CONFERENCE W/ T. LI, D. PEREZ, AND LI HAN RE:                    0.6
                                           EMPLOYMENT APPLICATION

11/13/19     D PEREZ                       REVIEW AND REVISE OMM RETENTION APPLICATION (.3);                1.1
                                           EMAILS W/ S. UHLAND, W. PAO, T. LI, AND L. HAN RE: SAME
                                           (.8)

11/13/19     D PEREZ                       TELEPHONE CONFERENCE (PARTIAL) W/ T. LI, L. HAN, AND             0.5
                                           S. UHLAND RE: OMM RETENTION APPLICATION




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Date          Name                         Description                                                   Hours

11/14/19      L HAN                        REVIEW AND COMMENT ON OMM RETENTION                              1.6
                                           APPLICATION (.6); DISCUSS W/ S. UHLAND, D. PEREZ, AND
                                           T. LI RE: RETENTION ISSUES (.6) (NOTE: CHINA DATE
                                           NOVEMBER 14); EMAILS W/ W. PAO AND D. PEREZ RE:
                                           COMMENTS ON OMM APPLICATION (.4)

11/14/19      T LI                         REVISE AND FINALIZE RETENTION APPLICATION, S.                    6.8
                                           UHLAND DECLARATION, AND JIA DECLARATION BASED ON
                                           INFORMATION FROM ACCOUNTING, CLIENT COMMENTS,
                                           AND D. PEREZ COMMENTS AND EMAIL J. O’NEILL RE: SAME
                                           (5.3); CONFIRM PAYMENTS DISCLOSED IN RETENTION
                                           APPLICATION W/ THOSE IN THE SCHEDULES AND EMAIL D.
                                           PEREZ RE: SAME (1.5)

11/14/19      D PEREZ                      REVISE OMM RETENTION APPLICATION (.3); FINALIZE                  1.3
                                           SAME FOR FILING (.6); EMAILS W/ T. LI AND M. ZHANG RE:
                                           SAME (.4)

11/15/19      D PEREZ                      REVIEW UST QUESTIONS TO OMM RETENTION AND                        0.3
                                           FOLLOW UP W/ L. HAN, W. PAO, AND D. TULLY RE: SAME

11/15/19      W PAO                        REVIEW AND REVISE OMM RETENTION APPLICATION RE:                  0.3
                                           RESPONSE TO TRUSTEE QUESTIONS ON OMM
                                           ENGAGEMENT

11/16/19      L HAN                        RESPOND TO VARIOUS EMAILS RE: THE RETENTION                      0.4
                                           APPLICATION

11/17/19      D PEREZ                      EMAIL S. UHLAND RE: PROPOSED RESPONSES TO UST                    0.2
                                           QUESTIONS ON OMM RETENTION APPLICATION

11/18/19      D PEREZ                      EMAILS W/ W. PAO AND J. O'NEILL RE: UST COMMENTS TO              0.2
                                           OMM RETENTION APPLICATION

11/19/19      D PEREZ                      REVIEW REVISED OMM RETENTION ORDER (.1); FOLLOW                  0.2
                                           UP W/ S. UHLAND AND J. O'NEILL RE: SAME (.1)

11/27/19      D PEREZ                      REVIEW AND REVISE FOREIGN REPRESENTATIVE MOTION                  0.8
                                           (.6); FINALIZE SAME FOR FILING (.2)

Total         007 Employment and Fee Applications                                                          35.4

008 Employment and Fee Application Objections

11/27/19      D PEREZ                      EMAILS W/ M. ZHANG, J. DULBERG, M. PAGAY, AND S.                 0.6
                                           UHLAND RE: SLC COMMENTS TO OMM AND PACHULSKI
                                           RETENTION APPLICATIONS (.3); REVIEW PT/YT
                                           PROMISSORY NOTES RE: SAME (.3)

11/29/19      D PEREZ                      REVIEW PROPOSED RESPONSE TO SLC RE: OMM AND                      0.1
                                           PACHULSKI RETENTION

Total         008 Employment and Fee Application Objections                                                 0.7

009 Financing and Cash Collateral

11/01/19      T LI                         EMAIL J. SU RE: DIP LOAN TERM SHEET AND COMMITMENT               0.6
                                           LETTER (.4); REVIEW SAME (.2)

11/01/19      D PEREZ                      EMAILS W/ J. MEYERWITZ (SUMMIT CAPITAL) RE: DIP                  0.4
                                           FINANCING (.2); FOLLOW UP W/ S. UHLAND RE: SAME (.2)

11/06/19      S UHLAND                     CONFERENCE W/ J. WANG, M. ZHANG, AND D. PEREZ RE:                0.8
                                           DIP FINANCING



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Date             Name                          Description                                                  Hours

11/06/19         D PEREZ                       ATTEND CALL W/ S. UHLAND, M. ZHANG, AND J. WANG RE:             0.8
                                               DIP FINANCING

11/13/19         T LI                          EMAIL D. PEREZ RE: DIP LOAN TERM SHEET                          0.2

11/18/19         S UHLAND                      REVIEW AND REVISE DIP TERM SHEET RE: COMMITTEE                  0.6
                                               COMMENTS

11/20/19         T LI                          CONFERENCE W/ PACHULSKI TEAM, LOWENSTEIN TEAM,                  2.6
                                               AND S. UHLAND RE: DIP LOAN AND IN PERSON MEETING
                                               (1.3); DRAFT AND REVISE DIP LOAN TERM SHEET BASED
                                               ON S. UHLAND AND PACHULSKI TEAM COMMENTS (1.3)

11/20/19         S UHLAND                      CONFERENCE W/ R. PACHULSKI RE: DIP FINANCING                    0.3

11/20/19         S UHLAND                      TELEPHONE CONFERENCE W/ T. LI, PACHULSKI TEAM,                  2.0
                                               LOWENSTEIN TEAM RE: DIP FINANCING (1.3); INITIAL
                                               FOLLOW-UP CALL W/ M. ZHANG, J. WANG, AND PACHULSKI
                                               TEAM RE: SAME (.7)

Total            009 Financing and Cash Collateral                                                             8.3

011 Litigation

11/01/19         W PAO                         STRATEGIZE RE: POTENTIAL IMPACT OF LETECH ISSUES                0.2

11/02/19         T LI                          EMAIL R. JIA AND M. ZHANG RE: LETECH ORGANIZATIONAL             2.1
                                               DOCUMENTS (.1); RESEARCH LITIGATION STRATEGIES RE:
                                               SAME (2.0)

11/03/19         T LI                          EMAIL S. UHLAND AND D. PEREZ RE: LETECH                         0.3
                                               ORGANIZATIONAL DOCUMENTS (.1); EMAIL R. JIA RE:
                                               LETECH ORGANIZATIONAL DOCUMENTS AND UPCOMING
                                               DEADLINE (.2)

11/03/19         D PEREZ                       REVIEW LETECH BALANCE SHEET AND PENDING ACTIONS                 0.7
                                               SUMMARY (.5); EMAILS W/ T. LI AND S. UHLAND RE: SAME
                                               (.2)

11/04/19         D TULLY                       RESEARCH KANSAS TAX LAW IN RESPONSE TO                          1.2
                                               QUESTIONS FROM CLIENT RELATING TO LEMALL
                                               LITIGATION

11/04/19         D TULLY                       ANALYZE CASE DEADLINES AND FILINGS IN JINAN                     0.2
                                               LITIGATION

11/04/19         T LI                          EMAIL R. JIA RE: LETECH ORGANIZATION DOCUMENTS                  0.1

11/04/19         W PAO                         STRATEGIZE RE: DISCOVERY STAY IN O-FILM CASE AND                0.2
                                               COMMUNICATIONS W/ COUNSEL RE: SAME

11/04/19         W PAO                         COMMUNICATIONS W/ M. ZHANG RE: STATUS OF DEBTOR                 0.1
                                               EXAMINATION IN SQ MATTER

11/05/19         D TULLY                       ANALYZE LETTER FROM BANK OF AMERICA RE: THIRD-                  1.2
                                               PARTY DOCUMENT SUBPOENA IN SLC LITIGATION (.2);
                                               DRAFT LETTER TO BANK OF AMERICA ADDRESSING
                                               BANK'S ANTICIPATED UPCOMING PRODUCTION (.4);
                                               TELEPHONE CONFERENCES W/ BANK OF AMERICA
                                               REPRESENTATIVES AND LEGAL DEPARTMENT RE: THIRD-
                                               PARTY DOCUMENT SUBPOENA, ANTICIPATED
                                               PRODUCTION, AND STAY OF LITIGATION (.6)

11/05/19         D TULLY                       EMAILS W/ W. PAO AND CLIENT RE: JINAN LITIGATION                0.2



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Date        Name                       Description                                                 Hours

11/05/19    D TULLY                    ANALYZE LETTER FROM C. COGBURN IN RESPONSE TO                  3.7
                                       CORRESPONDENCE RE: THIRD-PARTY DISCOVERY IN SLC
                                       LITIGATION (.3); DRAFT LETTER IN RESPONSE TO C.
                                       COGBURN (.5); REVISE LETTER TO C. COGBURN TO
                                       INCORPORATE COMMENTS FROM CLIENT AND W. PAO (.6);
                                       ANALYZE SUBPOENAS AND COMPILE THIRD-PARTY
                                       DISCOVERY RECIPIENTS AND OUTSTANDING DISCOVERY
                                       IN SLC LITIGATION (1.2); DRAFT LETTERS TO THIRD-PARTY
                                       DISCOVERY RECIPIENTS TO ACCOMPANY COGBURN
                                       LETTER (.5); REVISE AND FINALIZE LETTERS TO THIRD-
                                       PARTY DISCOVERY RECIPIENTS (.4); FOLLOW UP W/ W.
                                       PAO RE: THIRD-PARTY DISCOVERY CORRESPONDENCE
                                       (.2)

11/05/19    W PAO                      REVISE AND EDIT LETTER TO THIRD-PARTY RECIPIENTS               0.6
                                       OF SLC SUBPOENA RE: BANKRUPTCY STAY

11/05/19    W PAO                      COMMUNICATIONS W/ KL DISCOVERY ON DOCUMENT                     0.6
                                       REVIEW PLATFORM AND STATUS IN LIGHT OF
                                       BANKRUPTCY AND COMMUNICATIONS W/ TEAM RE: SAME

11/05/19    W PAO                      STRATEGIZE RE: CASE MANAGEMENT CONFERENCE IN                   0.2
                                       HAN MATTER

11/05/19    W PAO                      COMMUNICATIONS W/ SLC RE: SUBPOENA TO BANK OF                  0.4
                                       AMERICA

11/05/19    W PAO                      REVISE AND EDIT DRAFT RESPONSE TO SLC RE: THIRD-               0.7
                                       PARTY SUBPOENAS AND STRATEGIZE RE: SAME

11/05/19    W PAO                      COMMUNICATIONS W/ M. ZHANG RE: SLC SUBPOENA TO                 0.6
                                       BANK OF AMERICA AND STRATEGIZE RE: NEXT STEPS

11/06/19    W PAO                      COMMUNICATIONS W/ COUNSEL FOR OCEAN VIEW,                      0.6
                                       FARADAY, AND Y. JIA RE: UPCOMING CASE MANAGEMENT
                                       CONFERENCE

11/06/19    W PAO                      COMMUNICATIONS W/ NINTH CIRCUIT RE: SLC APPEAL                 0.3
                                       AND STRATEGIZE RE: NEXT STEPS

11/06/19    W PAO                      COMMUNICATIONS W/ M. ZHANG AND SLC RE: SLC                     2.1
                                       SUBPOENA TO BANK OF AMERICA AND STATUS IN LIGHT
                                       OF BANKRUPTCY STAY AND STRATEGIZE RE: SAME

11/07/19    D TULLY                    CORRESPOND W/ W. PAO, CLIENT, AND J. DULBERG RE:               0.2
                                       THIRD-PARTY DISCOVERY AND STAY OF SAME IN SLC
                                       LITIGATION

11/07/19    W PAO                      STRATEGIZE RE: MOTION TO STOP THIRD-PARTY                      0.5
                                       PRODUCTION OF DOCUMENTS IN SLC MATTER AND
                                       REVISE AND EDIT SAME

11/07/19    W PAO                      COMMUNICATIONS W/ M. ZHANG, PACHULSKI, AND SLC                 2.1
                                       COUNSEL RE: THIRD-PARTY SUBPOENA TO BANK OF
                                       AMERICA AND STATUS IN LIGHT OF BANKRUPTCY

11/07/19    W PAO                      COMMUNICATIONS W/ K. LARSON RE: DISCOVERY AND                  0.3
                                       NEXT STEPS W/ REGARD TO DOCUMENT HOSTING FOR
                                       LITIGATION IN LIGHT OF BANKRUPTCY

11/07/19    W PAO                      COMMUNICATIONS W/ D. TULLY RE: THIRD-PARTY                     0.4
                                       DISCOVERY




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11/08/19    W PAO                      TELEPHONE CONFERENCE AND COMMUNICATIONS W/ SLC                  1.2
                                       COUNSEL RE: THIRD-PARTY SUBPOENAS AND
                                       STRATEGIZE RE: NEXT STEPS

11/08/19    W PAO                      COMMUNICATIONS W/ COUNSEL IN HAN AND O-FILM                     0.3
                                       MATTER RE: BANKRUPTCY STAY

11/08/19    W PAO                      COMMUNICATIONS W/ M. ZHANG RE: AGREEMENT W/ SLC                 0.2
                                       ON THIRD-PARTY SUBPOENAS

11/08/19    W PAO                      COMMUNICATIONS W/ M. PAGAY RE: PRELIMINARY                      0.2
                                       INJUNCTION IN SLC MATTER

11/10/19    W PAO                      REVIEW PROPOSED AGREEMENT W/ SLC RE: THIRD-                     0.3
                                       PARTY SUBPOENAS AND STRATEGIZE RE: SAME

11/10/19    W PAO                      COMMUNICATIONS W/ COUNSEL FOR FARADAY RE: CASE                  0.2
                                       MANAGEMENT CONFERENCE IN HAN CASE

11/11/19    D TULLY                    RESEARCH AND ANALYZE CORPORATE FILINGS FOR LE                   2.6
                                       MALL CORPORATION (.9); RESEARCH KANSAS LAW RE:
                                       USE TAX AND IMPOSITION OF DERIVATIVE LIABILITY ON
                                       INDIVIDUALS FOR CORPORATION TAXES (1.3); DRAFT
                                       EMAIL TO W. PAO ANALYZING SAME (.4)

11/11/19    W PAO                      COMMUNICATIONS W/ COUNSEL RE: HAN MATTER AND                    0.2
                                       UPCOMING STATUS CONFERENCE

11/11/19    W PAO                      STRATEGIZE RE: ADDRESSING SLC THIRD-PARTY                       0.4
                                       SUBPOENA TO BANK OF AMERICA

11/11/19    W PAO                      COMMUNICATIONS W/ SLC COUNSEL RE: THIRD-PARTY                   0.3
                                       SUBPOENAS

11/11/19    T LI                       RESEARCH RE: DISPUTE BETWEEN FARADAY AND                        0.3
                                       EVERGRANDE AND EMAIL S. UHLAND RE: SAME

11/12/19    D TULLY                    FURTHER RESEARCH RE: KANSAS TAX LAW AND                         1.3
                                       DERIVATIVE LIABILITY (0.8); DRAFT EMAIL TO CLIENT RE:
                                       KANSAS TAX CASE AGAINST Y. JIA (.5)

11/12/19    D TULLY                    EMAILS W/ CLIENT RE: STAYS IN SQ AND SLC LITIGATION             0.3

11/12/19    W PAO                      COMMUNICATIONS W/ SLC COUNSEL RE: THIRD-PARTY                   0.3
                                       SUBPOENA TO BANK OF AMERICA

11/12/19    W PAO                      COMMUNICATIONS W/ M. ZHANG RE: THIRD-PARTY                      0.2
                                       SUBPOENA TO BANK OF AMERICA

11/12/19    W PAO                      COMMUNICATIONS W/ J. DULBERG AND J. O'NEILL RE: SLC             0.4
                                       SUBPOENA TO BANK OF AMERICA, AND STRATEGIZE RE:
                                       HOW TO ADDRESS

11/12/19    W PAO                      REVIEW RESEARCH ON CLAIM BY KANSAS TAX                          0.3
                                       AUTHORITIES AND STRATEGIZE RE: SAME

11/12/19    D PEREZ                    TELEPHONE CONFERENCE W/ M. PAGAY RE: SLC MOTION                 0.8
                                       TO DISMISS THE CASE

11/13/19    D TULLY                    CORRESPOND W/ M. ZHANG AND W. PAO RE: STAY OF                   0.8
                                       DISCOVERY IN SLC LITIGATION AND WITHDRAWAL OF
                                       BANA SUBPOENA (.2); ANALYZE THIRD-PARTY
                                       PRODUCTIONS MADE IN SLC PRIOR TO BANKRUPTCY
                                       STAY AND SUMMARIZE PARTIES MAKING SUCH
                                       PRODUCTIONS (.6)


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Date        Name                       Description                                                  Hours

11/13/19    D TULLY                    REVIEW AND SEND JOINT DEFENSE AGREEMENTS IN SLC,                0.4
                                       SQ, AND JINAN LITIGATIONS

11/13/19    W PAO                      COMMUNICATIONS W/ M. ZHANG RE: SLC BANK OF                      0.2
                                       AMERICA SUBPOENA

11/13/19    W PAO                      COMMUNICATIONS W/ SLC RE: SLC BANK OF AMERICA                   0.2
                                       SUBPOENA

11/13/19    W PAO                      COMMUNICATIONS W/ M. ZHANG RE: TAX PAYMENT                      0.2
                                       DEMAND FROM KANSAS

11/13/19    W PAO                      COMMUNICATIONS W/ M. ZHANG AND D. TULLY RE:                     0.4
                                       STATUS OF THIRD-PARTY SUBPOENAS

11/14/19    D TULLY                    FINALIZE DISCOVERY LETTERS TO THIRD PARTIES IN SLC              0.5
                                       LITIGATION

11/14/19    W PAO                      WORK ON PREPARING LETTERS TO THIRD-PARTIES WHO                  0.3
                                       RECEIVED SLC SUBPOENA TO NOTIFY THEM ABOUT
                                       BANKRUPTCY STAY

11/14/19    W PAO                      COMMUNICATIONS W/ SLC RE: THIRD-PARTY SUBPOENAS                 0.6

11/14/19    W PAO                      COMMUNICATIONS W/ M. ZHANG RE: THIRD-PARTY                      0.2
                                       SUBPOENAS SERVED BY SLC

11/14/19    S UHLAND                   REVIEW MOTION TO DISMISS (.5); TELEPHONE                        1.8
                                       CONFERENCE W/ D. PEREZ, T. LI, J. DULBERG, M. PAGAY,
                                       W. PAO, AND J. O'NEILL RE: MOTION TO DISMISS (1.3)

11/14/19    T LI                       READ SLC MOTION TO DISMISS TO PREPARE FOR                       2.8
                                       CONFERENCE CALL (1.5); CONFERENCE W/ S. UHLAND, M.
                                       PAGAY, W. PAO, J. DULBERG, J. O’NEILL, AND D. PEREZ RE:
                                       SLC MOTION TO DISMISS AND STRATEGY (1.3)

11/14/19    W PAO                      TELEPHONE CONFERENCE (PARTIAL) W/ S. UHLAND, D.                 0.6
                                       PEREZ, T. LI, M. PAGAY, J. DULBERG TO DISCUSS SLC
                                       MOTION TO DISMISS

11/14/19    W PAO                      REVIEW SLC MOTION TO DISMISS AND STRATEGIZE RE:                 0.6
                                       NEXT STEPS

11/14/19    D PEREZ                    CONFERENCE W/ S. UHLAND, T. LI, M. PAGAY, W. PAO, J.            1.3
                                       DULBERG, AND J. O’NEILL RE: SLC MOTION TO DISMISS
                                       AND STRATEGY

11/15/19    W PAO                      REVIEW ORDER FROM NINTH CIRCUIT VACATING                        0.1
                                       SCHEDULE FOR APPEAL OF SLC ACTION

11/15/19    W PAO                      COMMUNICATIONS W/ BANK OF AMERICA RE: SLC                       0.6
                                       SUBPOENA

11/15/19    W PAO                      COMMUNICATIONS W/ SLC RE: BANK OF AMERICA                       0.3
                                       SUBPOENA

11/15/19    W PAO                      REVIEW BLOOMBERG ARTICLE ON SLC MOTION TO                       0.1
                                       DISMISS

11/16/19    W PAO                      COMMUNICATIONS W/ M. ZHANG RE: SLC THIRD-PARTY                  0.2
                                       SUBPOENAS

11/18/19    W PAO                      FOLLOW UP W/ D. PEREZ RE: RESPONSE TO TRUSTEE                   0.2
                                       QUESTIONS




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11/18/19     W PAO                         COMMUNICATIONS W/ J. O'NEILL RE: SLC BANK OF                   0.2
                                           AMERICA SUBPOENA

11/18/19     W PAO                         COMMUNICATIONS W/ M. ZHANG RE: SLC BANK OF                     0.2
                                           AMERICA SUBPOENA

11/18/19     W PAO                         COMMUNICATIONS W/ SLC RE: BANK OF AMERICA                      0.1
                                           SUBPOENA

11/18/19     W PAO                         COMMUNICATIONS W/ BANK OF AMERICA RE: SLC                      0.4
                                           SUBPOENA

11/18/19     S UHLAND                      TELEPHONE CONFERENCE W/ R. PACHULSKI RE: MOTION                2.0
                                           TO DISMISS (.8); TELEPHONE CONFERENCE W/ M. ZHANG,
                                           R. PACHULSKI RE: MOTION TO DISMISS (1.2)

11/19/19     D TULLY                       ANALYZE ADDITIONAL THIRD-PARTY PRODUCTIONS IN SLC              1.7
                                           LITIGATION

11/19/19     W PAO                         COMMUNICATIONS W/ SLC RE: THIRD-PARTY SUBPOENAS                0.2

11/20/19     D TULLY                       ANALYZE THIRD-PARTY PRODUCTION FROM TICOR AND                  2.0
                                           LAWYERS TITLE IN SLC LITIGATION (1.4); DRAFT SUMMARY
                                           OF SAME (.6)

11/21/19     W PAO                         COMMUNICATIONS W/ M. ZHANG RE: SLC THIRD-PARTY                 0.2
                                           SUBPOENAS

11/21/19     W PAO                         COMMUNICATIONS W/ WELLS FARGO, BANK OF THE WEST,               0.6
                                           STIEFEL, COX, AT&T RE: THIRD-PARTY SUBPOENAS

11/21/19     W PAO                         COMMUNICATIONS W/ SLC RE: THIRD-PARTY SUBPOENAS                0.2

11/22/19     W PAO                         COMMUNICATIONS W/ COUNSEL FOR Y. JIA FOR HAN                   0.2
                                           MATTER RE: NOTICE OF STAY

11/24/19     W PAO                         COMMUNICATIONS W/ SLC AND M. ZHANG RE: THIRD-                  0.2
                                           PARTY SUBPOENAS

11/25/19     W PAO                         COMMUNICATIONS W/ D. CSILLAG RE: FILING NOTICE OF              0.1
                                           STAY IN HAN CASE

11/25/19     W PAO                         EMAIL W/ D. TULLY RE: FOLLOW UP W/ THIRD PARTIES RE:           0.1
                                           SLC SUBPOENAS

11/25/19     W PAO                         COMMUNICATIONS W/ S. UHLAND RE: FILING NOTICE OF               0.1
                                           STAY IN HAN CASE

11/26/19     D TULLY                       ANALYZE THIRD-PARTY PRODUCTION IN SLC LITIGATION               1.2
                                           AND TRANSMIT TO CLIENT

11/27/19     D TULLY                       ANALYZE THIRD-PARTY PRODUCTIONS FROM SLC                       0.7
                                           LITIGATION

Total        011 Litigation                                                                              52.4

012 Meetings and Communications with Creditors

11/01/19     T LI                          ANALYZE INCORPORATION DOCUMENTS RE: FF GLOBAL                  3.4
                                           FOR COMMITTEE DILIGENCE (1.8); COLLECT DOCUMENTS
                                           RE: WEST COAST AND PACIFIC TECHNOLOGY FOR
                                           COMMITTEE DUE DILIGENCE (.8); CONFERENCE W/ M.
                                           PAGAY, J. DULBERG, L. HAN, S. UHLAND, AND D. PEREZ RE:
                                           MANAGEMENT PLAN FOR DISCLOSURE TO COMMITTEE (.8)




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11/01/19    S UHLAND                   CONFERENCE (PARTIAL) W/ L. HAN, R. PACHULSKI, M.               0.7
                                       PAGAY, J. DULBERG, D. PEREZ, AND T. LI RE: FF GLOBAL
                                       AND COMMITTEE DILIGENCE

11/01/19    D PEREZ                    CONFERENCE W/ M. PAGAY, J. DULBERG, L. HAN, S.                 0.8
                                       UHLAND, AND T. LI RE: FF GLOBAL PARTNERSHIP
                                       PROGRAM AND COMMITTEE DILIGENCE

11/02/19    L HAN                      CONFERENCE W/ M. PAGAY, J. DULBERG, S. UHLAND, D.              0.8
                                       PEREZ, AND T. LI RE: MANAGEMENT PLAN FOR
                                       DISCLOSURE TO COMMITTEE (NOTE: CHINA DATE
                                       NOVEMBER 2)

11/04/19    T LI                       EMAIL T. LIU RE: FF GLOBAL DOCUMENTS                           0.2

11/04/19    D PEREZ                    REVIEW DOCUMENTS RESPONSIVE TO COMMITTEE                       0.5
                                       REQUESTS

11/05/19    T LI                       REVIEW DOCUMENTS FOR PRODUCTION RE: FF GLOBAL                  0.5

11/05/19    L HAN                      REVIEW PROPOSED LETTER TO THE CREDITORS (.6);                  1.4
                                       DISCUSS SAME W/ M. ZHANG (.8)

11/05/19    D PEREZ                    REVIEW FF GLOBAL DOCUMENTATION FOR PRODUCTION                  0.6
                                       TO COMMITTEE AND FOLLOW UP W/ T. LI RE: SAME

11/06/19    D PEREZ                    REVIEW UCC INITIAL DOCUMENT REQUESTS (.3); EMAILS              0.6
                                       W/ S. UHLAND AND M. PAGAY RE: SAME (.1); REVIEW
                                       DRAFT NDA RE: SAME (.2)

11/06/19    S UHLAND                   PREPARE FOR AND ATTEND CALL W/ D. PEREZ, M.                    1.9
                                       PACHULSKI, M. PAGAY, J. DULBERG, AND COUNSEL FOR
                                       COMMITTEE RE: OPEN ISSUES

11/06/19    D PEREZ                    TELEPHONE CONFERENCE W/ S. UHLAND, R. PACHULSKI,               1.2
                                       J. DULBERG, M. PAGAY, AND LOWENSTEIN TEAM RE: DIP
                                       FINANCING, UCC INFORMATION REQUESTS, BAR DATE,
                                       AND PLAN PROCESS AND TIMELINE

11/07/19    W PAO                      STRATEGIZE RE: COLLECTION OF DOCUMENTS FOR                     0.6
                                       DOCUMENT PRODUCTION AND COMMUNICATIONS W/
                                       PACHULSKI RE: SAME

11/07/19    T LI                       GATHER, REVIEW, COMPILE, OUTLINE, ANNOTATE, AND                3.1
                                       CIRCULATE DOCUMENTS RE: COMMITTEE DOCUMENT
                                       REQUEST (2.1); DRAFT ADVISORY LANGUAGE AND UPDATE
                                       LETTER RE: ALL-HANDS CREDITOR MEETING AT FARADAY
                                       (.7); EMAILS W/ D. PEREZ RE: SAME (.3)

11/07/19    D PEREZ                    REVIEW DATAROOM ISSUES AND FOLLOW UP W/ M.                     0.2
                                       PAGAY RE: SAME

11/07/19    L HAN                      REVIEW AND COMMENT ON THE LETTER TO CREDITORS                  0.2
                                       AND NOTICE TO CREDITORS IN CHINESE

11/07/19    D PEREZ                    REVIEW AND COMMENT ON COMMITTEE NDA                            1.3

11/07/19    D PEREZ                    REVIEW AND COMMENT ON INVITATION LETTER TO                     2.2
                                       CREDITORS MEETING (.4); EMAILS W/ S. UHLAND, M.
                                       ZHANG, AND T. LI RE: SAME (.3); REVIEW AND COMMENT
                                       ON OUTLINE OF DOCUMENTS RESPONSIVE TO
                                       CREDITORS COMMITTEE REQUESTS (1.3); FOLLOW UP W/
                                       L. HAN AND T. LI RE: SAME (.2)




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Date        Name                       Description                                                  Hours

11/08/19    D TULLY                    ANALYZE POTENTIALLY RELEVANT Y. JIA AND OCEAN                   5.5
                                       VIEW DOCUMENTS FOR PRODUCTION TO COMMITTEE
                                       (5.1); DRAFT EMAIL TO BANKRUPTCY TEAM IDENTIFYING
                                       AND CATEGORIZING SUCH DOCUMENTS (.4)

11/08/19    D LIEU                     CREATE A NEW FIRMEX DATAROOM, ADD USERS, SET UP                 1.2
                                       ACCESS RIGHTS AND TERMS OF USE FOR THE YUETING
                                       JIA CREDITORS COMMITTEE DATAROOM PER D. PEREZ
                                       REQUEST (.9); TELEPHONE CONFERENCE W/ D. PEREZ RE:
                                       SETTING UP A FIRMEX DEAL ROOM (.3)

11/08/19    D PEREZ                    TELEPHONE CONFERENCE W/ D. PEREZ, M. PAGAY, J.                  0.8
                                       O'NEILL, M. ZHANG, AND R. JIA RE: 2015.3 REPORTS (NOTE:
                                       CHINA DATE NOVEMBER 8)

11/08/19    S UHLAND                   REVIEW AND REVISE LETTER TO CREDITORS                           0.4

11/08/19    W PAO                      STRATEGIZE RE: DOCUMENT COLLECTION                              0.3

11/08/19    L HAN                      REVIEW AND COMMENT ON THE DOCUMENT PRODUCTION                   0.3
                                       LIST

11/08/19    Y ZHONG                    REVIEW AND ANALYZE AND CATEGORIZE OCEAN VIEW                    3.8
                                       DOCUMENTS FOR PRODUCTION OF DOCUMENTS FOR
                                       COMMITTEE MEETING

11/08/19    T LI                       GATHER, REVIEW, COMPILE, OUTLINE, ANNOTATE, AND                 1.5
                                       CIRCULATE DOCUMENTS RE: COMMITTEE DOCUMENT
                                       REQUEST (1.3); EMAILS W/ D. PEREZ RE: SAME (.2)

11/08/19    D PEREZ                    REVIEW AND COMMENT ON OUTLINE OF RESPONSIVE                     0.5
                                       DOCUMENTS TO CREDITORS’ COMMITTEE REQUESTS (.3);
                                       EMAILS W/ T. LI RE: SAME (.2)

11/09/19    D PEREZ                    EMAILS S. UHLAND RE: COMMENTS TO UCC NDA (.1);                  0.3
                                       REVISE RE: SAME (.2)

11/09/19    D PEREZ                    REVIEW OUTLINE OF RESPONSIVE DOCUMENTS RE: UCC                  0.3
                                       REQUESTS

11/09/19    S UHLAND                   DRAFT AND REVISE NDA W/ COMMITTEE                               0.9

11/09/19    L HAN                      REVIEW AND COMMENT ON COMMITTEE DOCUMENT LIST                   1.2
                                       (.6); TELEPHONE CONFERENCES W/ M. ZHANG RE:
                                       DOCUMENT LIST (.6)

11/09/19    T LI                       GATHER, REVIEW, COMPILE, OUTLINE, AND CIRCULATE                 1.7
                                       DOCUMENTS RE: COMMITTEE DOCUMENT REQUEST

11/10/19    D PEREZ                    EMAILS W/ S. UHLAND AND T. LI RE: UCC DOCUMENT                  0.3
                                       REQUESTS

11/10/19    T LI                       EMAIL S. UHLAND AND D. PEREZ RE: AFFILIATES                     0.5
                                       DOCUMENTS RESPONSIVE TO COMMITTEE REQUEST (.2);
                                       COMPILE AND EMAIL S. UHLAND RE: OUTLINE OF
                                       DOCUMENTS TO BE PRODUCED TO COMMITTEE (.3)

11/11/19    D TULLY                    ANALYZE COMMITTEE OF UNSECURED CREDITORS' FIRST                 2.6
                                       REQUEST FOR DOCUMENTS AND INFORMATION TO Y. JIA
                                       IN BANKRUPTCY ACTION (.5); ANALYZE FILINGS COMPILED
                                       BY T. LI FOR 341 PREPARATION (2.1)

11/11/19    D TULLY                    ANALYZE NOMINEE AGREEMENTS FOR PRODUCTION                       0.8




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Date        Name                       Description                                                   Hours

11/11/19    D LIEU                     CREATE NEW FOLDERS AND MODIFY THE YUETING JIA                    0.5
                                       CREDITORS COMMITTEE FIRMEX DEAL ROOM

11/11/19    T LI                       COMPILE AND EMAIL L. HAN RE: NOMINEE AGREEMENTS                  0.4
                                       AND POWER OF ATTORNEY AGREEMENTS

11/11/19    D PEREZ                    COORDINATE UCC DATAROOM SETUP W/ D. LIEU                         0.5

11/11/19    D PEREZ                    REVIEW AND REVISE FARADAY NDA                                    0.3

11/11/19    L HAN                      REVIEW REVISED DOCUMENT LIST AND DOCUMENTS RE:                   0.1
                                       PACIFIC TECHNOLOGY

11/12/19    D LIEU                     MODIFY THE YUETING JIA CREDITORS COMMITTEE                       1.0
                                       FIRMEX DEAL ROOM AND EMAIL INVITES TO THE NEW
                                       USERS (.3); APPEND DOCUMENTS, AND NDA AND CREATE
                                       NEW FOLDER (.7)

11/12/19    D PEREZ                    REVIEW DOCUMENTS RE: RESPONSIVENESS TO UCC                       1.9
                                       INFORMATION REQUESTS (.9); COORDINATE UPLOAD OF
                                       SAME TO DATAROOM (.5); EMAILS W/ T. LI, L. TALAB, M.
                                       PAGAY, AND D. LIEU RE: SAME (.5)

11/12/19    T LI                       CATEGORIZE AND COMPILE DOCUMENTS RESPONSIVE TO                   2.2
                                       COMMITTEE REQUESTS BASED ON INDICES AND EMAIL D.
                                       PEREZ RE: SAME (2.0); REVISE DOCUMENT INDICES FOR
                                       COMMITTEE PRODUCTION (.2)

11/12/19    L HAN                      REVIEW THE POA AGREEMENT AND THE NOMINEE                         0.1
                                       AGREEMENT FOR PRODUCTION TO COMMITTEE

11/13/19    D LIEU                     MODIFY THE YUETING JIA CREDITORS COMMITTEE                       1.5
                                       FIRMEX DEAL ROOM AND EMAIL INVITES TO THE NEW
                                       USERS (.4); APPEND DOCUMENTS AND APPEND A NEW
                                       NDA (1.1)

11/13/19    T LI                       COMPILE AND SEND FF GLOBAL DOCUMENTS TO J. KIM                   1.5
                                       (PACHULSKI)

11/13/19    S UHLAND                   CONFERENCE W/ A. BEHLMANN, M. PAGAY, J. DULBERG, R.              1.2
                                       PACHULSKI, D. PEREZ, L. HAN, AND T. LI RE: AMENDED
                                       DISCLOSURE STATEMENT, DIP FINANCING, EXIT
                                       FINANCING, AND UPCOMING CREDITOR MEETING

11/13/19    T LI                       CONFERENCE W/ A. BEHLMANN, M. PAGAY, J. DULBERG, R.              1.2
                                       PACHULSKI, S. UHLAND, L. HAN, AND D. PEREZ RE:
                                       AMENDED DISCLOSURE STATEMENT, DIP FINANCING, EXIT
                                       FINANCING, AND UPCOMING CREDITOR MEETING

11/13/19    L TALAB                    SUMMARIZE DOCUMENTS POTENTIALLY RESPONSIVE TO                    1.5
                                       COMMITTEE REQUEST

11/13/19    S UHLAND                   EMAILS W/ D. PEREZ RE: UPCOMING CREDITOR MEETING                 1.0

11/13/19    D PEREZ                    REVIEW COVER PAGE FOR CREDITORS COMMITTEE                        0.7
                                       DATAROOM (.1); EMAILS W/ M. PAGAY AND D. LIEU RE:
                                       SAME (.2); COORDINATE SETUP AND UPLOADING OF
                                       DOCUMENTS TO THE DATAROOM W/ D. LIEU (.4)

11/13/19    D PEREZ                    CONFERENCE W/ A. BEHLMANN, M. PAGAY, J. DULBERG, R.              1.9
                                       PACHULSKI, L. HAN, S. UHLAND, AND T. LI RE: AMENDED
                                       DISCLOSURE STATEMENT, DIP FINANCING, EXIT
                                       FINANCING, AND UPCOMING CREDITOR MEETING (1.2);
                                       EMAILS W/ S. UHLAND RE: SAME (.7)



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Date        Name                       Description                                                  Hours

11/14/19    D LIEU                     APPEND DOCUMENTS TO YUETING JIA CREDITORS                       0.6
                                       COMMITTEE FIRMEX DEAL ROOM

11/14/19    L HAN                      CONFERENCE W/ A. BEHLMANN, M. PAGAY, J. DULBERG, R.             1.2
                                       PACHULSKI, S. UHLAND, AND D. PEREZ RE: AMENDED
                                       DISCLOSURE STATEMENT, DIP FINANCING, EXIT
                                       FINANCING, AND UPCOMING CREDITOR MEETING (NOTE:
                                       CHINA DATE NOVEMBER 14)

11/14/19    T LI                       REVIEW PERSONAL BANK ACCOUNT INFORMATION TO BE                  0.8
                                       PRODUCED PER COMMITTEES REQUEST

11/14/19    L TALAB                    SUMMARIZE DOCUMENTS POTENTIALLY RESPONSIVE TO                   2.2
                                       COMMITTEE REQUEST

11/14/19    D PEREZ                    REVIEW DOCUMENTS RESPONSIVE TO COMMITTEE                        1.7
                                       REQUESTS AND COORDINATE UPLOAD OF SAME

11/19/19    D TULLY                    RESEARCH AND PREPARATION FOR 341 MEETING                        0.2

11/19/19    W PAO                      STRATEGIZE RE: 341 PREPARATIONS                                 0.2

11/19/19    T LI                       TELEPHONE CONFERENCE W/ M. ZHANG RE:                            0.4
                                       PRESENTATION SLIDES AND DISTRIBUTION WATERFALL

11/19/19    T LI                       CONFERENCE W/ W. PAO AND D. TULLY RE: PREPARATION               0.2
                                       FOR 341 MEETING

11/19/19    T LI                       FOLLOW UP W/ S. UHLAND RE: MEETING W/ COMMITTEE                 3.2
                                       AND ALL HANDS MEETING (.4); PREPARE PRESENTATION
                                       SLIDES RE: ON-SITE MEETING W/ CREDITOR COMMITTEE
                                       (2.8)

11/19/19    W PAO                      CONFERENCE W/ D. TULLY AND T. LI RE: PREPARATION                0.2
                                       FOR 341 MEETING

11/19/19    D TULLY                    CONFERENCE W/ W. PAO AND T. LI RE: PREPARATION FOR              0.2
                                       341 MEETING

11/20/19    W PAO                      COMMUNICATIONS W/ F. WOO, COUNSEL FOR JINAN RE:                 0.2
                                       CREDITORS MEETING

11/20/19    T LI                       PREPARE FOR AND COORDINATE CONFERENCE CALL W/                   3.2
                                       CREDITOR COMMITTEE (.8); CONFERENCE W/ R.
                                       PACHULSKI, M. PAGAY, M. ZHANG, AND J. WANG RE:
                                       COMMUNICATION W/ COMMITTEE AND IN PERSON
                                       MEETING (.6); UPDATE SLIDES RE: SAME (1.8)

11/20/19    S UHLAND                   DRAFT AND REVISE CREDITOR PRESENTATION RE: POA                  1.6

11/20/19    L HAN                      DISCUSS W/ M. ZHANG, M. SUN RE: PROPOSED                        0.4
                                       CREDITORS COMMITTEE MEETING (.3); EMAIL S. UHLAND
                                       RE: MEETING (.1)

11/21/19    D TULLY                    ANALYZE SLIDES FOR COMMITTEE MEETING RELATING TO                0.5
                                       OCEAN VIEW AND RELATED ENTITIES

11/21/19    W PAO                      REVISE AND EDIT SLIDES FOR CREDITORS MEETING                    0.4

11/21/19    D LIEU                     CREATE INDEX REPORTS OF THE DOCUMENTS WITHIN                    0.4
                                       THE YUETING JIA CREDITORS FIRMEX DEAL ROOM PER T.
                                       LI REQUEST

11/21/19    W PAO                      CONFERENCE W/ M. PAGAY, J. O'NEILL, D. TULLY, AND T. LI         1.0
                                       RE: PREPARATION FOR 341 MEETING


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Client: JIA, YUETING                                                                                 04/16/20
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Date        Name                       Description                                                     Hours

11/21/19    T LI                       EMAIL M. ZHANG RE: SMART KING FINANCIALS (.2); EMAIL               0.6
                                       S. UHLAND, PACHULSKI TEAM, AND ALVAREZ MARSHAL
                                       RE: FARADAY NDA (.4)

11/21/19    W PAO                      REVIEW DOCUMENTS RESPONSIVE TO COMMITTEE                           1.9
                                       REQUEST AND COORDINATE UPLOAD OF SAME (1.7);
                                       FOLLOW UP W/ T. LI RE: SAME (.2)

11/21/19    T LI                       EMAIL M. ZHANG RE: AD HOC GROUP OF CREDITORS (.2);                 2.5
                                       EMAIL M. ZHANG RE: SMART KING FINANCIALS (.2); EMAIL
                                       S. UHLAND, PACHULSKI TEAM, AND ALVAREZ MARSHAL
                                       RE: FARADAY NDA (.4); UPDATE PRESENTATION SLIDES,
                                       EMAIL M. ZHANG RE: SAME (1.0); CONFERENCE CALL W/ M.
                                       ZHANG, R. JIA, AND S. UHLAND RE: PRESENTATION SLIDES
                                       AND CREDITOR MEETINGS (.7)

11/21/19    T LI                       CONFERENCE W/ M. PAGAY, J. O’NEILL, W. PAO, AND D.                 1.0
                                       TULLY RE: PREPARATION FOR 341 MEETING

11/21/19    Y ZHONG                    REVIEW AND REVISE POWERPOINT SLIDES RE: OCEAN                      0.5
                                       VIEW FOR MEETING W/ COMMITTEE

11/21/19    L HAN                      DISCUSS W/ M. ZHANG RE: PRESENTATION ON THE                        0.1
                                       CREDITORS COMMITTEE

11/21/19    S UHLAND                   DRAFT AND REVISE PRESENTATION DECK (1.4);                          2.5
                                       COMMUNICATIONS W/ A. BEHLMANN, M. LOWENSTEIN RE:
                                       NDA (.4); ATTEND CALL W/ M. ZHANG, T. LI, R. JIA, AND L.
                                       SUN RE: PRESENTATION (.7)

11/21/19    S UHLAND                   MEETING W/ M. ZHANG RE: CREDITOR MEETING AND                       4.8
                                       PRESENTATION

11/21/19    D TULLY                    CONFERENCE W/ M. PAGAY, J. O’NEILL, W. PAO, AND T. LI              1.0
                                       RE: PREPARATION FOR 341 MEETING

11/22/19    D LIEU                     CREATE A NEW USER AND SET UP ACCESS RIGHTS TO                      0.2
                                       THE YUETING JIA CREDITORS FIRMEX DEAL ROOM PER S.
                                       UHLAND REQUEST

11/22/19    T LI                       REVISE SLIDES RE: PRESENTATIONS FOR MEETINGS W/                    3.3
                                       COMMITTEE AND CREDITORS (2.1); PREPARE
                                       PRESENTATION SLIDES FOR CREDITOR MEETINGS RE:
                                       TRUST ASSET DISPOSITION SCHEDULE (1.0); PREPARE
                                       JOINDER TO NDA FOR COMMITTEES' FARADAY VISIT (.2)

11/22/19    L HAN                      DISCUSS W/ M. SUN RE: THE POWERPOINT (.3); PREPARE                 1.4
                                       POWERPOINT RE: PARTNERSHIP PROGRAM FOR
                                       CREDITORS COMMITTEE MEETING (1.1)

11/22/19    S UHLAND                   PRE-MEETING W/ Y. JIA (PARTIAL) M. ZHANG, R.                       9.8
                                       PACHULSKI RE: CREDITOR MEETING (1.9); PREPARE FOR
                                       PRESENTATION TO CREDITORS (2.2); ATTEND CREDITORS
                                       COMMITTEE DEBTOR MEETING AT FF (5.7)

11/23/19    T LI                       DRAFT NDA LANGUAGE RE: FARADAY FINANCING                           1.2
                                       INFORMATION (.6); CONFERENCE W/ S. UHLAND RE:
                                       COMMITTEE DILIGENCE (.6)

11/23/19    S UHLAND                   REVIEW DOCUMENTS RESPONSIVE TO COMMITTEE                           2.0
                                       REQUEST AND COORDINATE UPLOAD OF SAME (1.4);
                                       CONFERENCE W/ T. LI RE: SAME (.6)




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Date         Name                         Description                                                    Hours

11/24/19     D PEREZ                      REVIEW AND COMMENT ON CREDITOR PRESENTATION                       5.1
                                          (1.1); EMAILS W/ T. LI, M. PAGAY, AND M. ZHANG RE: SAME
                                          (.6); REVIEW BACKGROUND MATERIALS RE: SAME (1.4);
                                          PREPARE FOR PRESENTATION RE: SAME (2.0)

11/24/19     T LI                         PREPARE AND REVISE PRESENTATION SLIDES FOR                        2.5
                                          MEETING W/ CREDITORS (.9); UPDATE AND REVISE
                                          PRESENTATION SLIDES (1.3); EMAILS W/ D. PEREZ RE:
                                          SAME (.3)

11/25/19     D JOHNSON JR.                ATTEND CREDITOR OPEN HOUSE MEETINGS AT FARADAY                    8.7
                                          (7.8); ATTEND FOLLOW-UP MEETING W/ M. ZHANG, J.
                                          WANG, D. PEREZ, R. MOON, M. PAGAY, R. PACHULSKI, AND
                                          J. DULBERG RE: SAME (.9)

11/25/19     D PEREZ                      ATTEND (PARTIAL) AND PRESENT AT CREDITOR OPEN                     8.7
                                          HOUSE MEETINGS AT FARADAY (6.7); ATTEND FOLLOW-UP
                                          MEETING W/ M. ZHANG, J. WANG, D. JOHNSON, R. MOON,
                                          M. PAGAY, R. PACHULSKI, AND J. DULBERG RE: SAME (.9);
                                          PREPARE FOR MEETING RE: SAME (1.1)

11/26/19     D LIEU                       APPEND DOCUMENTS CONCERNING FARADAY AND                           0.6
                                          FUTURE TO THE YUETING JIA CREDITORS COMMITTEE
                                          FIRMEX DEAL ROOM PER D. PEREZ REQUEST

11/26/19     D PEREZ                      REVIEW DOCUMENTS RESPONSIVE TO COMMITTEE                          2.7
                                          REQUEST AND COORDINATE UPLOAD OF SAME (2.2);
                                          REVIEW AND COMMENT ON UCC MARKUP OF NDA (.3);
                                          EMAILS W/ J. DULBERG AND M. PAGAY RE: SAME (.2)

11/26/19     T LI                         PREPARE COMMITTEE DOCUMENT PRODUCTION (1.6);                      1.9
                                          TELEPHONE CONFERENCE W/ L. CALEB RE: SAME (.3)

11/27/19     D LIEU                       APPEND DOCUMENTS CONCERNING FARADAY AND                           0.4
                                          FUTURE TO THE YUETING JIA CREDITORS COMMITTEE
                                          FIRMEX DEAL ROOM PER D. PEREZ REQUEST

11/27/19     D PEREZ                      REVIEW DOCUMENTS RESPONSIVE TO COMMITTEE                          2.9
                                          REQUEST AND COORDINATE UPLOAD OF SAME (2.3);
                                          CONFERENCE W/ T. LI RE: SAME (.6)

11/27/19     T LI                         PREPARE COMMITTEE DOCUMENT PRODUCTION AND                         2.1
                                          EMAIL D. LIEU RE: UPLOADING TO DATAROOM (1.5);
                                          CONFERENCE W/ D. PEREZ RE: DOCUMENT PRODUCTION
                                          TO CREDITOR COMMITTEE (.6)

Total        012 Meetings and Communications with Creditors                                               147.8

013 Non-Working Travel

11/21/19     S UHLAND                     NON-WORKING TRAVEL TO CREDITOR MEETING (BILL AT                   4.0
                                          HALF OF BILLING RATE)

11/22/19     S UHLAND                     NON-WORKING TRAVEL RETURN TO NY (BILL AT HALF OF                  5.0
                                          BILLING RATE)

11/24/19     D PEREZ                      NON-WORKING TRAVEL TO LOS ANGELES FROM NEW                        3.2
                                          YORK TO ATTEND ALL CREDITOR MEETING (BILL AT HALF
                                          OF BILLING RATE)

11/26/19     D PEREZ                      NON-WORKING RETURN TRAVEL FROM LOS ANGELES TO                     4.1
                                          NEW YORK FOR ALL CREDITOR MEETING (BILL AT 1/2
                                          BILLING RATE)

Total        013 Non-Working Travel                                                                        16.3


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014 Plan and Disclosure Statement

11/01/19     T LI                         MEET W/ D. PEREZ RE: AMENDED DISCLOSURE                         0.8
                                          STATEMENT (.4); EMAIL S. KJONTVEDT RE:
                                          COMMUNICATION W/ CREDITORS (.4)

11/01/19     D PEREZ                      EMAILS W/ J. O'NEILL RE: SOLICITATION MOTION AND                0.5
                                          EXTENSION OF OBJECTION DEADLINE TO SAME (.1);
                                          CONFERENCE W/ T. LI RE: AMENDED DISCLOSURE
                                          STATEMENT (.4)

11/02/19     T LI                         AMEND DISCLOSURE STATEMENT TO REMOVE                            3.6
                                          IRRELEVANT LANGUAGE RE: EXCHANGE OFFER AND
                                          PREPACKAGED PLAN

11/03/19     T LI                         REVISE AND UPDATE DISCLOSURE STATEMENT FOR THE                  1.1
                                          PREPACKAGED PLAN AND DRAFT FIRST AMENDED
                                          DISCLOSURE STATEMENT

11/04/19     T LI                         AMEND DISCLOSURE STATEMENT BY UPDATING                          2.9
                                          LANGUAGE AND REMOVING IRRELEVANT LANGUAGE RE:
                                          EXCHANGE OFFER AND PREPACKAGED PLAN

11/04/19     D PEREZ                      REVIEW AND COMMENT ON DRAFT AMENDED                             2.6
                                          DISCLOSURE STATEMENT (2.1); REVIEW CASE
                                          CONFIRMATION TIMELINE AND EMAILS W/ M. PAGAY RE:
                                          SAME (.3); REVIEW UPDATED TABULATION REPORT (.2)

11/05/19     S UHLAND                     TELEPHONE CONFERENCE W/ L. HAN AND M. ZHANG RE:                 1.1
                                          VOTING

11/05/19     D PEREZ                      REVIEW VOTE TABULATION RESULTS (.2); EMAILS W/ M.               0.3
                                          ZHANG, S. UHLAND, AND EPIQ RE: SAME (.1)

11/06/19     L HAN                        TELEPHONE CONFERENCE W/ M. ZHANG RE: VOTING                     0.7
                                          DEADLINE ISSUE

11/06/19     L HAN                        TELEPHONE CONFERENCE W/ S. UHLAND AND M. ZHANG                  1.1
                                          RE: THE VOTING DEADLINE AND STRATEGIES (NOTE:
                                          CHINA DATE NOVEMBER 6)

11/06/19     D PEREZ                      REVIEW UPDATED VOTE TABULATION REPORT AND                       3.1
                                          BREAKDOWN OF SAME (.3); REVIEW AND COMMENT ON
                                          AMENDED DISCLOSURE STATEMENT (2.8)

11/07/19     D PEREZ                      REVIEW OFILM OBJECTION TO COMBINED HEARING                      0.2
                                          MOTION AND FOLLOW UP W/ M. PAGAY RE: SAME

11/07/19     D PEREZ                      REVIEW AND COMMENT ON AMENDED DISCLOSURE                        1.1
                                          STATEMENT

11/08/19     T LI                         ANALYZE RESTRUCTURING AGREEMENT BETWEEN                         0.3
                                          EVERGRANDE AND SMART KING

11/08/19     D PEREZ                      REVIEW AND REVISE AMENDED DISCLOSURE STATEMENT                  5.7
                                          AND EXHIBITS RE: SAME

11/09/19     D PEREZ                      REVIEW AND REVISE AMENDED DISCLOSURE STATEMENT                  4.1

11/09/19     T LI                         REVISE SECTION IN THE DISCLOSURE STATEMENT RE:                  1.8
                                          RESTRUCTURING AGREEMENT BETWEEN EVERGRANDE
                                          AND SMART KING

11/10/19     S UHLAND                     DRAFT AND REVISE AMENDED DISCLOSURE STATEMENT                   2.3



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Date        Name                       Description                                                  Hours

11/10/19    T LI                       PREPARE AND EMAIL D. PEREZ RE: MOTION FOR THE                   4.6
                                       APPROVAL OF DISCLOSURE STATEMENT

11/11/19    D PEREZ                    REVIEW FINAL VOTING TABULATION, SUMMARIZE SAME,                 0.3
                                       AND EMAIL M. ZHANG RE: SAME

11/11/19    T LI                       PREPARE MOTION TO APPROVE DISCLOSURE STATEMENT                  3.7
                                       AND EMAIL D. PEREZ (OMM) RE: SAME (2.2); DRAFT AND
                                       REVISE FF GLOBAL SECTION OF THE DISCLOSURE
                                       STATEMENT (1.5)

11/11/19    D PEREZ                    REVIEW AND REVISE AMENDED DISCLOSURE STATEMENT                  2.3

11/12/19    D PEREZ                    PREPARE FOR AND ATTEND MEETING W/ S. UHLAND AND                 5.9
                                       T. LI TO REVIEW AMENDED DISCLOSURE STATEMENT AND
                                       ADDRESS OPEN QUESTIONS RE: SAME (2.5); EMAILS AND
                                       CALLS W/ Y. JIA TEAM RE: SAME (.8); REVIEW AND REVISE
                                       AMENDED DISCLOSURE STATEMENT RE: SAME (2.6)

11/12/19    T LI                       ANALYZE RESTRUCTURING AGREEMENT BETWEEN                         3.7
                                       SMART KING AND EVERGRANDE, DRAFT DISCLOSURE RE:
                                       CALL OPTION GRANTED THEREIN, AND EMAIL D. PEREZ
                                       RE: SAME (.7); DRAFT BACKGROUND AND REVISE BASED
                                       ON S. UHLAND COMMENTS RE: FF GLOBAL SECTION OF
                                       THE DISCLOSURE STATEMENT (1.1); MEET W/ D. PEREZ
                                       AND S. UHLAND RE: OPEN QUESTIONS ON DISCLOSURE
                                       STATEMENT (1.9)

11/12/19    S UHLAND                   DRAFT AND REVISE SECTIONS OF DISCLOSURE                         4.2
                                       STATEMENT (2.3); MEET W/ T. LI AND D. PEREZ RE: SAME
                                       (1.9)

11/13/19    T LI                       DRAFT, REVISE, AND FINALIZE DISCLOSURE RE: DISPUTE              8.1
                                       W/ EVERGRANDE AND RESTRUCTURING AGREEMENT AND
                                       EMAIL D. PEREZ RE: SAME (2.1); DRAFT, REVISE, AND
                                       FINALIZE DISCLOSURE RE: CLAIMS AGAINST WEN
                                       ENTITIES AND EMAIL D. PEREZ RE: SAME (2.0); DRAFT,
                                       REVISE, AND FINALIZE DISCLOSURE RE: FF GLOBAL
                                       PARTNERSHIP PROGRAM AND ITS EFFECT ON PLAN AND
                                       EMAIL D. PEREZ RE: SAME (1.8); DRAFT, REVISE, AND
                                       FINALIZE DISCLOSURE RE: DEBTOR’S CHINESE ASSETS
                                       INCLUDING DEPOSITS, REAL PROPERTIES, AND EQUITY
                                       INTERESTS AND EMAIL D. PEREZ RE: SAME (2.2)

11/13/19    D PEREZ                    REVISE AMENDED DISCLOSURE STATEMENT AND                         6.9
                                       EXHIBITS (6.6); EMAILS W/ T. LI RE: SAME (.3)

11/14/19    S UHLAND                   DRAFT AND REVISE DISCLOSURE STATEMENT (1.9);                    2.7
                                       RESEARCH ISSUES RE: VOTE DESIGNATION (.8)

11/14/19    T LI                       DRAFT, REVISE, AND FINALIZE DISCLOSURE RE: DEBTOR               1.1
                                       CHINESE ASSETS INCLUDING DEPOSITS, REAL
                                       PROPERTIES, AND EQUITY INTERESTS AFTER DISCUSSION
                                       W/ D. PEREZ AND EMAIL D. PEREZ RE: SAME

11/14/19    W PAO                      REVISE AND EDIT DISCLOSURE STATEMENT                            1.1




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11/14/19    D PEREZ                    REVIEW AND REVISE AMENDED DISCLOSURE STATEMENT                    6.3
                                       AND EXHIBITS (3.9); CONFERENCE W/ T. LI RE: SAME (.3);
                                       EMAILS W/ EPIQ TEAM, T. LI, M. PAGAY, S. UHLAND, AND D.
                                       TULLY RE: SAME (.3); REVIEW AND REVISE DISCLOSURE
                                       STATEMENT NOTICE (.4); REVIEW CLIENT COMMENTS TO
                                       DISCLOSURE STATEMENT (.3); CONFERENCE W/ M. PAGAY
                                       RE: SAME (.3); REVIEW AND COMMENT ON MOTION TO
                                       APPROVE DISCLOSURE STATEMENT (.8)

11/15/19    D PEREZ                    REVIEW COMMENTS TO DISCLOSURE STATEMENT (1.1);                    7.9
                                       REVISE DISCLOSURE STATEMENT RE: SAME (3.6); EMAILS
                                       W/ S. UHLAND, M. PAGAY, T. LI, J. WANG, AND M. ZHANG
                                       RE: SAME (.8); FINALIZE SAME FOR FILING (2.4)

11/15/19    T LI                       REVISE LESOAR SECTION OF THE DISCLOSURE                           4.9
                                       STATEMENT BASED ON FINANCIAL STATEMENTS (.9);
                                       REVISE CALL OPTION LANGUAGE IN THE DISCLOSURE
                                       STATEMENT AND EMAIL M. ZHANG RE: SAME (1.3); REVISE
                                       DESCRIPTION OF SLC LITIGATION BASED ON COURT
                                       ORDER (.2); RESPOND TO J. WANG RE: CALL OPTION
                                       LANGUAGE (.6); ANALYZE THE AMOUNT OF TOTAL
                                       ESTIMATED CLAIMS IN THE DISCLOSURE STATEMENT
                                       BASED ON GUARANTEE DOCUMENTS PROVIDED BY L. SUN
                                       AND EMAIL L. SUN RE: SAME (1.6); EMAILS W/ D. PEREZ RE:
                                       REVISIONS TO DISCLOSURE STATEMENT (.3)

11/15/19    S UHLAND                   FINAL REVIEW AND REVISE DISCLOSURE STATEMENT                      2.2
                                       (1.8); EMAILS W/ D. PEREZ RE: SAME (.4)

11/16/19    L HAN                      REVIEW AND COMMENT ON THE DISCLOSURE STATEMENT                    1.3

11/17/19    D PEREZ                    REVIEW AND COMMENT ON MOTION TO APPROVE                           0.8
                                       DISCLOSURE STATEMENT

11/17/19    T LI                       RESEARCH CASE LAW FOR SECTION 1126(E) TO PREPARE                  1.1
                                       FOR MOTION TO DESIGNATE VOTE

11/18/19    J SU                       REVIEW AND UPDATE DISCLOSURE STATEMENT (1.4);                     1.6
                                       CONFERENCE W/ L. HAN RE: SAME (.2)

11/18/19    L HAN                      DISCUSS W/ J. SU RE: THE DISCLOSURE STATEMENT                     0.2

11/18/19    T LI                       DRAFT, REVISE, AND UPDATE MOTION TO APPROVE                       3.9
                                       DISCLOSURE STATEMENT BASED D. PEREZ COMMENTS
                                       (2.8); CHECK LOCAL RULE 3017 TO ENSURE FILING
                                       DEADLINE FOR FILING OF DISCLOSURE STATEMENT AND
                                       EMAIL D. PEREZ AND S. UHLAND RE: SAME (.3); READ,
                                       ANALYZE, AND DISCERN ARGUMENTS RE: MOTION TO
                                       DESIGNATE VOTE (.8)

11/19/19    T LI                       EMAIL EPIQ RE: SERVICE OF DISCLOSURE STATEMENT                    0.4
                                       HEARING, TRANSMISSION OF SOLICITATION PACKAGES,
                                       PARTIES THAT WERE SERVED, AND RETURN ENVELOPE
                                       FOR BALLOT

11/19/19    T LI                       DRAFT, REVISE, AND UPDATE MOTION TO APPROVE                       0.5
                                       DISCLOSURE STATEMENT

11/20/19    T LI                       RESEARCH CASE LAW RE: MEANING OF “NOT IN GOOD                     1.5
                                       FAITH” FOR MOTION TO DESIGNATE VOTE

11/20/19    L HAN                      REVIEW AND REVISE THE DISCLOSURE DOCUMENT                         0.9




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11/21/19      D TULLY                          ANALYZE DISCLOSURE STATEMENT RE: LITIGATION                     0.8
                                               ISSUES

11/21/19      T LI                             DRAFT, REVISE, AND UPDATE MOTION TO APPROVE                     0.9
                                               DISCLOSURE STATEMENT

11/21/19      L HAN                            REVIEW AND COMMENT ON THE DISCLOSURE STATEMENT                  1.1

11/22/19      L HAN                            REVIEW AND COMMENT ON THE DISCLOSURE STATEMENT                  1.9

11/23/19      T LI                             ANALYZE RESTRUCTURING AGREEMENT BETWEEN                         1.4
                                               SMART KING AND EVERGRANDE TO ASCERTAIN LIMITS ON
                                               TRANSFER OF SHARES (1.3); LOCATE BVI FREEZE ORDERS
                                               AND EMAIL S. UHLAND RE: SAME (.1)

11/25/19      D JOHNSON JR.                    REVIEW PLAN AND DISCLOSURE STATEMENT AND                        1.2
                                               RELATED DOCUMENTS IN PREPARATION FOR MEETING

11/25/19      T LI                             PREPARE PROPOSED ORDER APPROVING DISCLOSURE                     1.1
                                               STATEMENT

11/27/19      T LI                             FINALIZE DISCLOSURE STATEMENT MOTION, PROPOSED                  3.7
                                               ORDER, NOTICE OF CONFIRMATION HEARING, AND
                                               NOTICE OF NON-VOTING STATUS

11/27/19      L HAN                            REVIEW AND REVISE THE DISCLOSURE STATEMENT                      0.9

11/28/19      T LI                             PREPARE AND FINALIZE FORM BALLOT                                1.6

Total         014 Plan and Disclosure Statement                                                              126.0

015 Relief from Stay and Adequate Protection

11/01/19      D PEREZ                          FOLLOW UP W/ S. UHLAND, T. LI, AND W. PAO RE: LETECH            0.4
                                               LITIGATION (.2); REVIEW LETECH FINANCIALS RE: SAME (.2)

11/05/19      W PAO                            STRATEGIZE RE: STATUS OF JINAN MATTER IN LIGHT OF               0.2
                                               BANKRUPTCY STAY

11/05/19      D PEREZ                          REVIEW AND COMMENT ON LETTER TO SLC COUNSEL RE:                 0.5
                                               STAY VIOLATION (.2); REVIEW M. PAGAY COMMENTS RE:
                                               SAME (.1); FOLLOW UP W/ W. PAO RE: HAN CASE
                                               CONFERENCE (.2)

11/06/19      T LI                             EMAIL W. PAO LETTER RE: STAY APPLIES TO ALTER EGO               2.1
                                               CLAIMS IN IN RE HAN SAN JOSE (.3); RESEARCH RE:
                                               WHETHER CREDITOR HAS AN AFFIRMATIVE DUTY TO
                                               ENSURE AUTOMATIC STAY IS NOT VIOLATED BY NOTICING
                                               THIRD PARTIES THAT HAVE BEEN SUBPOENAED (1.8)

11/07/19      T LI                             RESEARCH AND DRAFT CORRESPONDENCE TO OPPOSING                   2.4
                                               COUNSEL RE: AFFIRMATIVE DUTY TO ENSURE AUTOMATIC
                                               STAY IS NOT VIOLATED BY NOTICING THIRD-PARTIES THAT
                                               HAVE BEEN SUBPOENAED

11/08/19      D PEREZ                          REVIEW STIPULATION TO CONTINUE CASE MANAGEMENT                  0.2
                                               CONFERENCE IN HANS LITIGATION (.1); FOLLOW UP W/ W.
                                               PAO RE: SAME (.1)

11/21/19      D TULLY                          CONTACT THIRD-PARTIES IN SLC LITIGATION IN                      0.4
                                               RESPONSE TO CORRESPONDENCE RE: AUTOMATIC STAY

11/22/19      D TULLY                          TELEPHONE CONFERENCE W/ COUNSEL FOR THIRD-                      0.4
                                               PARTIES IN SLC LITIGATION RE: BANKRUPTCY STAY




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                   By Wire Transfer:
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Case 2:19-bk-24804-VZ                Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                         Desc
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Client: JIA, YUETING                                                                                       04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                        Invoice: 1062230
CORP)
Matter: 0424428-00003                                                                                Page No. 22


Date            Name                          Description                                                   Hours

Total           015 Relief from Stay and Adequate Protection                                                   6.6

016 Reporting

11/07/19        D PEREZ                       TELEPHONE CONFERENCE W/ L. HAN, M. PAGAY, J.                     0.7
                                              O'NEILL, M. ZHANG, AND R. JIA RE: 2015.3 REPORTS

11/08/19        L HAN                         TELEPHONE CONFERENCE W/ D. PEREZ, M. PAGAY, J.                   0.7
                                              O'NEILL, M. ZHANG, AND R. JIA RE: 2015.3 REPORTS (NOTE:
                                              CHINA DATE NOVEMBER 8)

11/14/19        T LI                          EMAIL J. KIM RE: DOCUMENTS ON FF GLOBAL IN                       0.6
                                              DATAROOM (.1); EMAIL S. UHLAND AND D. PEREZ RE:
                                              PACIFIC TECHNOLOGY BALANCE SHEET (.2); EMAIL T. LIU
                                              RE: POWER OF ATTORNEY DOCUMENTS (.1); EMAIL W. PAO
                                              RE: TIMING AND ARRANGEMENT OF 341 MEETING (.1);
                                              EMAIL M. PAGAY (PSZ&J) RE: CALL OPTION LANGUAGE
                                              FOR SCHEDULES (.1)

11/18/19        T LI                          EMAIL J. SU RE: COMPOSITION OF Y. JIA PERSONAL                   0.2
                                              ASSETS

11/27/19        S UHLAND                      COMMUNICATIONS W/ M. PAGAY RE: SCHEDULES AND                     0.5
                                              NOTES PAYABLE

Total           016 Reporting                                                                                  2.7

018 Vendor and Other Creditor Issues

11/01/19        T LI                          PREPARE MATERIALS RE: SLC PLEADING CONFERENCE                    2.2
                                              CALL (.2); EMAIL W. PAO TO PROVIDE SLC PLEADING
                                              UPDATE (.1); REVISE SLC PLEADING AFTER CONFERENCE
                                              CALL AND SEND TO THE CLIENT (1.1); CONFERENCE W/ M.
                                              ZHANG, J. WANG, M. PAGAY, AND D. PEREZ RE: COURT
                                              PLEADING ADDRESSING SLC PRELIMINARY RESPONSE
                                              (.6); FOLLOW UP W/ D. PEREZ RE: SAME (.2)

11/01/19        D PEREZ                       CONFERENCE W/ M. ZHANG, J. WANG, M. PAGAY, S.                    1.0
                                              UHLAND, AND T. LI RE: COURT PLEADING ADDRESSING
                                              SLC PRELIMINARY RESPONSE (.6); FOLLOW-UP MEETING
                                              W/ T. LI RE: SAME (.2); REVIEW REVISED VERSION OF
                                              RESPONSE (.2)

11/05/19        T LI                          EMAIL S. UHLAND ABOUT JINAN WHO FILED SUIT IN STATE              0.7
                                              COURT (.2); DRAFT AND EMAIL W. PAO LANGUAGE RE:
                                              KLDISCOVERY INVOICE AS A PREPETITION CLAIM (.5)

11/05/19        W PAO                         COMMUNICATIONS W/ S. UHLAND RE: JINAN CREDITORS                  0.2

11/05/19        D PEREZ                       FOLLOW UP W/ W. PAO RE: KLD INVOICE INQUIRY (.2);                0.3
                                              COMMENT ON EMAIL RESPONSE TO SAME (.1)

11/06/19        D PEREZ                       TELEPHONE CONFERENCE W/ M. PAGAY, J. O'NEILL, AND                0.3
                                              DORSEY RE: CHONGQING STRATEGIC EMERGING
                                              INDUSTRY LEECO CLOUD SPECIAL EQUITY INVESTMENT
                                              FUND PARTNERSHIP INQUIRY

11/07/19        T LI                          EMAIL S. UHLAND AND D. PEREZ RE: EMAIL FROM AD HOC               0.5
                                              GROUP OF CREDITORS AND CONFIRM THE AMOUNT OF
                                              CLAIMS BASED ON SCHEDULES

11/07/19        D PEREZ                       REVIEW CREDITOR VOICEMAILS TO HOTLINE AND FOLLOW                 0.3
                                              UP W/ T. LI RE: SAME

11/21/19        T LI                          EMAIL M. ZHANG RE: AD HOC GROUP OF CREDITORS                     0.2


                                         Due upon receipt. Please remit to:
                  By Mail: O'Melveny & Myers LLP - P.O. Box 894436, Los Angeles, CA 90189-4436
                     By Wire Transfer:
                           Beneficiary: O’Melveny & Myers LLP, Account No.:
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Client: JIA, YUETING                                                                                     04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                      Invoice: 1062230
CORP)
Matter: 0424428-00003                                                                              Page No. 23


Date           Name                               Description                                              Hours

11/22/19       T LI                               EMAIL M. ZHANG RE: AD HOC GROUP AND FIND OUT THEIR           0.4
                                                  TOTAL AMOUNT OF CLAIMS AND WHETHER THEY ARE
                                                  REPRESENTED BY COUNSEL

Total          018 Vendor and Other Creditor Issues                                                            6.1

Total Hours                                                                                                 436.2

Total Fees                                                                                             376,005.75


Less 10% Discount                                                                                      (37,600.58)

Total Fees After Adjustment                                                                            338,405.17

Disbursements
Copying                                                                                                  $364.90
Delivery Services / Messengers                                                                              70.60
Expense Report Other (Incl. Out of Town Travel)                                                          5,768.42
FIRMEX                                                                                                     250.00
Local Travel                                                                                               761.82
Meals                                                                                                      165.57
Online Research                                                                                          7,566.23
Other                                                                                                       30.00
Other Professionals                                                                                        230.13
Scanning Services                                                                                            0.80
Telephone                                                                                                   18.42

Total Disbursements                                                                                    $15,226.89


Total Current Invoice                                                                             $353,632.06




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Client: JIA, YUETING                                                                                 04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                  Invoice: 1062230
CORP)
Matter: 0424428-00003                                                                            Page No. 24


Timekeeper Summary
Timekeeper                                                                                            Hours

Attorneys

WILLIAM K. PAO                                                                                          34.5

SUZZANNE UHLAND                                                                                         66.3

LI HAN                                                                                                  19.8

DAVID J. JOHNSON JR.                                                                                    11.0

DIANA M. PEREZ                                                                                         119.7

DANIEL J. TULLY                                                                                         30.6

TJ LI                                                                                                  138.3

JHE-YU SU                                                                                                 1.6

YUAN (GRACE) ZHONG                                                                                        4.3

Total for Attorneys                                                                                    426.1

Paralegal/Litigation Support

LYNN TALAB                                                                                                3.7

DENISE LIEU                                                                                               6.4

Total for Paralegal/Litigation Support                                                                  10.1

Total                                                                                                  436.2




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Case 2:19-bk-24804-VZ                Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                     Desc
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Client: JIA, YUETING                                                                                04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                 Invoice: 1062230
CORP)
Matter: 0424428-00003                                                                            Page No. 25


Task Summary
Timekeeper              Title                                                             Hours        Amount
SUZZANNE UHLAND         Partner                                                                 0.7     976.50
TJ LI                   Associate                                                               1.1      594.00
Total for 004 Business Operations                                                               1.8    1,570.50

LI HAN                  Partner                                                                 1.8    1,845.00
DAVID J. JOHNSON        Partner                                                                 1.1    1,457.50
JR.
SUZZANNE UHLAND         Partner                                                                 8.7   12,136.50
WILLIAM K. PAO          Partner                                                                 4.0    3,920.00
DIANA M. PEREZ          Counsel                                                                 6.3    6,268.50
TJ LI                   Associate                                                            4.8       2,592.00
Total for 005 Case Administration                                                           26.7      28,219.50

DIANA M. PEREZ          Counsel                                                                 4.4    4,378.00
TJ LI                   Associate                                                               1.0      540.00
Total for 006 Claims Administration and Objections                                              5.4    4,918.00

LI HAN                  Partner                                                                 2.0    2,050.00
SUZZANNE UHLAND         Partner                                                                 0.6     837.00
WILLIAM K. PAO          Partner                                                                 2.2    2,156.00
DIANA M. PEREZ          Counsel                                                                 9.3    9,253.50
TJ LI                  Associate                                                            21.3      11,502.00
Total for 007 Employment and Fee Applications                                               35.4      25,798.50

DIANA M. PEREZ         Counsel                                                                  0.7     696.50
Total for 008 Employment and Fee Application Objections                                         0.7     696.50

SUZZANNE UHLAND         Partner                                                                 3.7    5,161.50
DIANA M. PEREZ          Counsel                                                                 1.2    1,194.00
TJ LI                    Associate                                                              3.4    1,836.00
Total for 009 Financing and Cash Collateral                                                     8.3    8,191.50

SUZZANNE UHLAND         Partner                                                                 3.8    5,301.00
WILLIAM K. PAO          Partner                                                             22.0      21,560.00
DIANA M. PEREZ          Counsel                                                                 2.8    2,786.00
TJ LI                   Associate                                                               5.6    3,024.00
DANIEL J. TULLY          Associate                                                          18.2      14,651.00
Total for 011 Litigation                                                                    52.4      47,322.00

LI HAN                  Partner                                                                 7.2    7,380.00
DAVID J. JOHNSON        Partner                                                                 8.7   11,527.50
JR.
SUZZANNE UHLAND         Partner                                                             26.8      37,386.00
WILLIAM K. PAO          Partner                                                                 4.8    4,704.00
DIANA M. PEREZ          Counsel                                                             36.0      35,820.00



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Client: JIA, YUETING                                                                                 04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                  Invoice: 1062230
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Matter: 0424428-00003                                                                             Page No. 26



TJ LI                   Associate                                                            39.1      21,114.00
YUAN (GRACE)            Associate                                                                4.3    2,580.00
ZHONG
DANIEL J. TULLY         Associate                                                            10.8       8,694.00
LYNN TALAB              Paralegal                                                                3.7    1,406.00
DENISE LIEU              Litigation Tech                                                      6.4       1,440.00
Total for 012 Meetings and Communications with Creditors                                    147.8      132,051.5
                                                                                                               0

SUZZANNE UHLAND         Partner                                                                  9.0    6,277.50
DIANA M. PEREZ          Counsel                                                               7.3       3,631.75
Total for 013 Non-Working Travel                                                             16.3       9,909.25

LI HAN                  Partner                                                                  8.1    8,302.50
DAVID J. JOHNSON        Partner                                                                  1.2    1,590.00
JR.
SUZZANNE UHLAND         Partner                                                              12.5      17,437.50
WILLIAM K. PAO          Partner                                                                  1.1    1,078.00
DIANA M. PEREZ          Counsel                                                              48.0      47,760.00
TJ LI                   Associate                                                            52.7      28,458.00
JHE-YU SU               Associate                                                                1.6     904.00
DANIEL J. TULLY          Associate                                                            0.8         644.00
Total for 014 Plan and Disclosure Statement                                                 126.0      106,174.0
                                                                                                               0

WILLIAM K. PAO          Partner                                                                  0.2     196.00
DIANA M. PEREZ          Counsel                                                                  1.1    1,094.50
TJ LI                   Associate                                                                4.5    2,430.00
DANIEL J. TULLY           Associate                                                              0.8      644.00
Total for 015 Relief from Stay and Adequate Protection                                           6.6    4,364.50

LI HAN                  Partner                                                                  0.7     717.50
SUZZANNE UHLAND         Partner                                                                  0.5     697.50
DIANA M. PEREZ          Counsel                                                                  0.7     696.50
TJ LI                   Associate                                                                0.8      432.00
Total for 016 Reporting                                                                          2.7    2,543.50

WILLIAM K. PAO          Partner                                                                  0.2     196.00
DIANA M. PEREZ          Counsel                                                                  1.9    1,890.50
TJ LI                   Associate                                                                4.0    2,160.00
Total for 018 Vendor and Other Creditor Issues                                                   6.1    4,246.50




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400 South Hope Street               F: +1 213 430 6407
18th Floor                          omm.com
Los Angeles, CA 90071-2899




                                                Remittance Page
YUETING JIA                                                                                 April 16, 2020
                                                                                            OMM Matter: 0424428-00003
                                                                                            Invoice: 1062230
                                                                                            Contact: WILLIAM K. PAO

CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING, CORP)

For Professional Services Rendered Through November 30, 2019

Total Fees                                                                                                                 $376,005.75

Less 10% Discount                                                                                                          (37,600.58)

Total Fees After Adjustment                                                                                                $338,405.17

Total Disbursements                                                                                                         $15,226.89

Total Current Invoice                                                                                                      $353,632.06

                        REMITTANCE COPY - PLEASE RETURN WITH PAYMENT
                                            For questions, please contact Rachel Chan
                                                        rchan@omm.com
                                                          (213) 430-6459




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400 South Hope Street               F: +1 213 430 6407
18th Floor                          omm.com
Los Angeles, CA 90071-2899




YUETING JIA                                                                                 April 16, 2020
                                                                                            OMM Matter: 0424428-00003
                                                                                            Invoice: 1062231
                                                                                            Contact: WILLIAM K. PAO

CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING, CORP)

For Professional Services Rendered Through December 31, 2019

Total Fees                                                                                                                 $322,778.50

Less 10% Discount                                                                                                          (32,277.85)

Total Fees After Adjustment                                                                                                $290,500.65

Total Disbursements                                                                                                         $18,923.55

Total Current Invoice                                                                                                      $309,424.20




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Client: JIA, YUETING                                                                               04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                Invoice: 1062231
CORP)
Matter: 0424428-00003                                                                          Page No. 2



CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING, CORP)

For Professional Services Rendered Through December 31, 2019

Date         Name                        Description                                                Hours

001 Asset Analysis and Recovery

12/02/19     D PEREZ                     FOLLOW UP T. LI RE: SMART KING TRANSFER                       0.3
                                         RESTRICTIONS

12/02/19     T LI                        EMAIL D. PEREZ RE: SMART KING SHARE TRANSFER                  0.2
                                         RESTRICTION

12/03/19     S UHLAND                    ANALYZE SMART KING ARTICLES AND RESTRUCTURING                 1.8
                                         AGREEMENT E-TRANSFER RESTRICTIONS

12/03/19     T LI                        ANALYZE SMART KING MEMORANDUM OF ASSOCIATION                  1.3
                                         AND EVERGRANDE RESTRUCTURING AGREEMENT RE:
                                         RESTRICTIONS ON SHARE TRANSFERS

12/04/19     T LI                        RESEARCH SECTION 541(C)(1) RE: RESTRAINT ON                   1.7
                                         ALIENATION

12/05/19     D PEREZ                     REVIEW SUMMARY OF TRANSFER RESTRICTIONS IN                    0.3
                                         EVERGRANDE RESTRUCTURING AGREEMENT AND SK
                                         ARTICLES

12/17/19     D PEREZ                     TELEPHONE CONFERENCE W/ S. UHLAND AND V. SEKLUN               0.4
                                         (SIDLEY) RE: EVERGRANDE TRANSFER RESTRICTIONS

12/17/19     S UHLAND                    ANALYZE EVERGRANDE ISSUES (1.1); CONFERENCE W/ D.             1.5
                                         PEREZ AND V. SEKLUN (SIDLEY) RE: SAME (.4)

12/17/19     T LI                        RESEARCH RE: SECTION 363(F), ANTI-ASSIGNMENT                  3.0
                                         CLAUSE, AND APPLICABILITY TO SMART KING ARTICLES
                                         (2.9); CORRESPOND W/ S. UHLAND RE: SMART KING
                                         ARTICLES (.1)

12/19/19     D PEREZ                     REVIEW AND COMMENT ON MEMORANDUM RE: TRANSFER                 1.3
                                         RESTRICTIONS OF SMART KING SHARES (.8); TELEPHONE
                                         CONFERENCE W/ T. LI RE: SAME (.5)

12/19/19     T LI                        CONFERENCE W/ D. PEREZ RE: TRANSFER RESTRICTION               5.4
                                         AND SMART KING ARTICLES (.5); CORRESPOND W/ S.
                                         UHLAND RE: RESTRICTIONS ON TRANSFER OF SMART
                                         KING SHARES AND DRAFT MEMORANDUM RE: SAME (2.4);
                                         REVISE MEMORANDUM RE: SMART KING ARTICLES,
                                         EVERGRANDE RESTRUCTURING AGREEMENT, AND
                                         APPLICABLE BANKRUPTCY CODE SECTIONS BASED ON D.
                                         PEREZ COMMENTS (2.5)

12/21/19     T LI                        REVISE SMART KING MEMORANDUM BASED ON S. UHLAND               4.6
                                         COMMENTS AND RESEARCH RE: EXECUTORY CONTRACT,
                                         IPSO FACTO CLAUSE, AND SUPER VOTING RIGHTS (4.0);
                                         MEET W/ S. UHLAND RE: SAME (.6)

12/21/19     S UHLAND                    DRAFT AND REVISE EVERGRANDE ANALYSIS (1.3);                   1.9
                                         CONFERENCE W/ T. LI RE: SAME (.6)

12/22/19     T LI                        FINALIZE MEMORANDUM RE: SMART KING ARTICLES,                  2.7
                                         EVERGRANDE RESTRUCTURING AGREEMENT, AND
                                         APPLICABLE BANKRUPTCY CODE SECTIONS AND EMAIL S.
                                         UHLAND RE: SAME


                                       Due upon receipt. Please remit to:
                By Mail: O'Melveny & Myers LLP - P.O. Box 894436, Los Angeles, CA 90189-4436
                   By Wire Transfer:
                         Beneficiary: O’Melveny & Myers LLP, Account No.:
                     Please include client/matter/invoice number and/or attorney name.
Case 2:19-bk-24804-VZ           Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                         Desc
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Client: JIA, YUETING                                                                                  04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                   Invoice: 1062231
CORP)
Matter: 0424428-00003                                                                              Page No. 3


Date         Name                         Description                                                  Hours

12/27/19     T LI                         FURTHER REVISE SHARE TRANSFER MEMORANDUM                        4.1
                                          BASED ON S. UHLAND COMMENTS W/ THE FOCUS ON
                                          SMART KING ARTICLES AND DISTINCTION BETWEEN
                                          SHARE TRANSFER AND DISTRIBUTION RIGHT TRANSFER

12/28/19     T LI                         FINALIZE SHARE TRANSFER MEMORANDUM AND EMAIL S.                 1.3
                                          UHLAND RE: SAME

12/30/19     D PEREZ                      TELEPHONE CONFERENCE W/ S. UHLAND AND T. LI RE:                 0.4
                                          SMART KING ARTICLES AND CAYMAN LAW (.3); REVIEW
                                          SUMMARY EMAIL RE: OUTSTANDING ISSUES RE: SAME (.1)

12/30/19     S UHLAND                     TELEPHONE CONFERENCE W/ D. PEREZ AND T. LI RE:                  0.3
                                          SMART KING ARTICLES AND CAYMAN LAW

12/30/19     T LI                         TELEPHONE CONFERENCE W/ D. PEREZ AND S. UHLAND                  0.3
                                          RE: SMART KING ARTICLES AND CAYMAN LAW

12/30/19     S UHLAND                     FURTHER ANALYSIS RE: SMART KING TRANSFER                        1.2
                                          RESTRICTIONS

12/31/19     T LI                         REVIEW CAYMAN LAW RE: SMART KING TRANSFER                       1.0
                                          RIGHTS

12/31/19     T LI                         FOLLOW UP W/ S. UHLAND RE: TRANSFER RESTRICTION                 0.2
                                          MEMORANDUM (.1); FOLLOW UP W/ L. HAN RE:
                                          CONVERSION OF PREFERRED SHARES (.1)

Total        001 Asset Analysis and Recovery                                                             35.2

004 Business Operations

12/05/19     S UHLAND                     TELEPHONE CONFERENCE W/ COUNSEL TO LENDER TO                    1.6
                                          FF RE: EXTENSION (.8); CONFERENCE W/ Y. JIA TEAM,
                                          PACHULSKI RE: SAME (.5); FOLLOW-UP CALL W/ COUNSEL
                                          TO FF LENDER (.3)

Total        004 Business Operations                                                                      1.6

005 Case Administration

12/04/19     D PEREZ                      MEETING W/ T. LI RE: REPLY TO SLC OBJECTION,                    0.3
                                          SOLICITATION MOTION, AND OTHER OPEN ITEMS

12/04/19     T LI                         MEETING W/ D. PEREZ RE: REPLY TO SLC OBJECTION,                 0.3
                                          SOLICITATION MOTION, AND OTHER OPEN ITEMS

12/11/19     D PEREZ                      TELEPHONE CONFERENCE W/ M. ZHANG, J. WANG, Y. JIA,              1.3
                                          R. PACHULSKI, M. PAGAY, J. DULBERG, L. HAN, S. UHLAND,
                                          W. PAO, AND T. LI RE: ADJUSTED CASE TIMELINE,
                                          RESPONSES TO UST DOCUMENT REQUESTS, AND
                                          DECEMBER 18 HEARING

12/11/19     S UHLAND                     TELEPHONE CONFERENCE W/ CLIENT TEAM, PACHULSKI                  1.3
                                          TEAM, L. HAN, W. PAO, D. PEREZ, AND T. LI RE: ADJUSTED
                                          CASE TIMELINE, RESPONSES TO UST DOCUMENT
                                          REQUESTS, AND DECEMBER 18 HEARING

12/11/19     T LI                         TELEPHONE CONFERENCE W/ CLIENT TEAM, PACHULSKI                  1.3
                                          TEAM, L. HAN, S. UHLAND, W. PAO, AND D. PEREZ RE:
                                          ADJUSTED CASE TIMELINE, RESPONSES TO UST
                                          DOCUMENT REQUESTS, AND DECEMBER 18 HEARING




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Client: JIA, YUETING                                                                                      04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                       Invoice: 1062231
CORP)
Matter: 0424428-00003                                                                                 Page No. 4


Date         Name                          Description                                                     Hours

12/11/19     W PAO                         TELEPHONE CONFERENCE W/ CLIENT TEAM, PACHULSKI                     1.3
                                           TEAM, L. HAN, S. UHLAND, D. PEREZ AND T. LI RE:
                                           ADJUSTED CASE TIMELINE, RESPONSES TO UST
                                           DOCUMENT REQUESTS, AND DECEMBER 18 HEARING

12/12/19     L HAN                         TELEPHONE CONFERENCE W/ CLIENT TEAM, PACHULSKI                     1.3
                                           TEAM, S. UHLAND, W. PAO, D. PEREZ AND T. LI RE:
                                           ADJUSTED CASE TIMELINE, RESPONSES TO UST
                                           DOCUMENT REQUESTS, AND DECEMBER 18 HEARING
                                           (NOTE: CHINA DATE DECEMBER 12)

12/15/19     D PEREZ                       REVIEW AGENDA FOR DECEMBER 18 OMNIBUS HEARING                      0.2

12/16/19     D LIEU                        ADD USERS TO THE RESTRICTED FOLDERS FOR THE                        0.3
                                           YUETING JIA CREDITORS COMMITTEE DATAROOM FIRMEX
                                           DEAL ROOM PER D. PEREZ REQUEST

12/18/19     T LI                          CORRESPOND W/ S. UHLAND AND D. PEREZ RE: UST                       0.2
                                           GUIDELINES AND LOCAL RULES FOR C.D. CA BANKRUPTCY
                                           COURT (.2)

12/19/19     D PEREZ                       TELEPHONE CONFERENCE W/ R. PACHULSKI, J. DULBERG,                  1.9
                                           M. PAGAY, W. PAO, S. UHLAND, L. HAN, AND T. LI RE: NEW
                                           JUDGE ASSIGNED, PENDING MOTIONS, AND CASE
                                           TIMELINE (1.0); FOLLOW-UP CALL W/ Y. JIA TEAM AND S.
                                           UHLAND RE: SAME (.9)

12/19/19     S UHLAND                      ATTEND COUNSEL CALL W/ R. PACHULSKI, J. DULBERG, M.                1.7
                                           PAGAY, W. PAO, D. PEREZ, L. HAN, AND T. LI RE: NEW
                                           JUDGE ASSIGNED, PENDING MOTIONS, AND CASE
                                           TIMELINE (1.0); ATTEND CLIENT CALL (PARTIAL) W/ R.
                                           PACHULSKI, J. DULBERG, M. PAGAY, AND D. PEREZ RE:
                                           NEW JUDGE ASSIGNED, PENDING MOTIONS, AND CASE
                                           TIMELINE (.7)

12/19/19     W PAO                         TELEPHONE CONFERENCE W/ R. PACHULSKI, J. DULBERG,                  1.0
                                           M. PAGAY, D. PEREZ, S. UHLAND, L. HAN, AND T. LI RE:
                                           NEW JUDGE ASSIGNED, PENDING MOTIONS, AND CASE
                                           TIMELINE

12/19/19     T LI                          TELEPHONE CONFERENCE W/ R. PACHULSKI, J. DULBERG,                  1.0
                                           M. PAGAY, W. PAO, D. PEREZ, S. UHLAND, AND L. HAN RE:
                                           NEW JUDGE ASSIGNED, PENDING MOTIONS, AND CASE
                                           TIMELINE

12/20/19     T LI                          REVIEW LOCAL RULES, UST GUIDELINES AND J. ZURZOLO                  0.4
                                           CHAMBERS RULES

12/20/19     L HAN                         TELEPHONE CONFERENCE W/ R. PACHULSKI, J. DULBERG,                  1.0
                                           M. PAGAY, W. PAO, D. PEREZ, S. UHLAND, AND T. LI RE:
                                           NEW JUDGE ASSIGNED, PENDING MOTIONS, AND CASE
                                           TIMELINE (NOTE: CHINA DATE DECEMBER 20)

12/22/19     T LI                          FACT CHECK PING WEST NEWS ARTICLE, RECONCILE                       3.4
                                           ENGLISH TRANSLATION W/ CHINESE VERSION,
                                           SUMMARIZE FINDINGS

Total        005 Case Administration                                                                         18.2

006 Claims Administration and Objections

12/02/19     D PEREZ                       EMAILS W/ M. ZHANG, EPIQ, J. O'NEILL, AND T. LI RE:                0.3
                                           PUBLICATION OF BAR DATE NOTICE




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Case 2:19-bk-24804-VZ            Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                          Desc
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Client: JIA, YUETING                                                                                    04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                     Invoice: 1062231
CORP)
Matter: 0424428-00003                                                                               Page No. 5


Date         Name                          Description                                                   Hours

12/02/19     T LI                          EMAIL D. PEREZ RE: PUBLICATION OF BAR DATE ORDER                 0.1

12/03/19     D PEREZ                       EMAILS W/ M. ZHANG AND J. O'NEILL RE: PUBLICATION OF             0.4
                                           BAR DATE NOTICE (.2); EMAILS W/ M. PAGAY AND J.
                                           O'NEILL RE: MAILING OF SAME (.2)

12/04/19     D PEREZ                       EMAILS W/ M. PAGAY, J. O'NEILL, AND EPIQ TEAM RE:                0.3
                                           PUBLICATION AND MAILING OF BAR DATE NOTICE

12/05/19     D PEREZ                       EMAILS W/ M. ZHANG RE: PUBLICATION OF BAR DATE                   0.2
                                           NOTICE

12/11/19     D PEREZ                       EMAILS W/ J. O'NEILL AND EPIQ RE: PUBLICATION OF BAR             0.2
                                           DATE NOTICE

Total        006 Claims Administration and Objections                                                       1.5

007 Employment and Fee Applications

12/19/19     D PEREZ                       TELEPHONE CONFERENCE W/ W. PAO, H. BATTISTONI,                   0.6
                                           AND T. LI RE: FEE APPLICATIONS

12/19/19     T LI                          TELEPHONE CONFERENCE W/ W. PAO, D. PEREZ, AND H.                 0.6
                                           BATTISTONI RE: FEE APPLICATIONS

12/19/19     W PAO                         TELEPHONE CONFERENCE W/ D. PEREZ, H. BATTISTONI,                 0.6
                                           AND T. LI RE: FEE APPLICATIONS

Total        007 Employment and Fee Applications                                                            1.8

008 Employment and Fee Application Objections

12/02/19     D PEREZ                       REVIEW SLC OBJECTION TO OMM RETENTION                            0.3
                                           APPLICATION

12/02/19     T LI                          ANALYZE SLC OBJECTION TO RETENTION APPLICATION                   0.5

12/03/19     T LI                          DRAFT OUTLINE FOR REPLY TO SLC OBJECTION TO                      0.7
                                           RETENTION APPLICATION

12/08/19     W PAO                         STRATEGIZE RE: OPPOSITION TO SLC OBJECTION TO OMM                0.3
                                           RETENTION

12/09/19     D PEREZ                       REVIEW AND COMMENT ON OUTLINE RE: REPLY TO SLC                   0.8
                                           OBJECTION TO OMM RETENTION (.5); MEETING W/ T. LI RE:
                                           SAME (.3)

12/09/19     W PAO                         REVIEW OUTLINE AND STRATEGIZE RE: OPPOSITION TO                  0.3
                                           SLC OBJECTION TO OMM RETENTION

12/09/19     T LI                          RESEARCH CASE LAW RE: SECTION 327(A) AND 327(E) AND              4.1
                                           DRAFT OUTLINE FOR REPLY TO SLC OBJECTION (3.8);
                                           MEETING W/ D. PEREZ RE: REPLY TO SLC OBJECTION TO
                                           RETENTION APPLICATION (.3)

12/10/19     D PEREZ                       TELEPHONE CONFERENCE W/ L. HAN, S. UHLAND, W. PAO,               0.7
                                           AND T. LI RE: REPLY TO SLC OBJECTION TO RETENTION
                                           APPLICATION

12/10/19     W PAO                         TELEPHONE CONFERENCE W/ L. HAN, S. UHLAND, D.                    0.7
                                           PEREZ AND T. LI RE: REPLY TO SLC OBJECTION TO
                                           RETENTION APPLICATION AND DOCUMENT PRODUCTION
                                           RE: FF GLOBAL




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Client: JIA, YUETING                                                                              04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,               Invoice: 1062231
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Date        Name                       Description                                                  Hours

12/10/19    T LI                       RESEARCH THIRD-CIRCUIT PRECEDENTS SUCH AS                       5.5
                                       PILLOWTEX RE: DISQUALIFICATION UNDER SECTION
                                       327(E) (1.4); CORRESPOND W/ L. HAN, W. PAO, S. UHLAND,
                                       AND D. PEREZ RE: CONFERENCE CALL DISCUSSING REPLY
                                       TO OBJECTION TO RETENTION (.1); DRAFT REPLY IN
                                       SUPPORT OF RETENTION IN RESPONSE TO SLC
                                       OBJECTION (3.3); TELEPHONE CONFERENCE W/ L. HAN, S.
                                       UHLAND, W. PAO, AND D. PEREZ RE: REPLY TO SLC
                                       OBJECTION TO RETENTION APPLICATION AND DOCUMENT
                                       PRODUCTION RE: FF GLOBAL (.7)

12/10/19    S UHLAND                   ANALYZE SLC OPPOSITION TO OMM RETENTION AND                     1.5
                                       OUTLINE (.8); TELEPHONE CONFERENCE W/ L. HAN, W.
                                       PAO, D. PEREZ AND T. LI RE: REPLY TO SLC OBJECTION TO
                                       RETENTION APPLICATION AND DOCUMENT PRODUCTION
                                       RE: FF GLOBAL (.7)

12/11/19    D PEREZ                    REVIEW SLC AND UST OBJECTIONS TO FOREIGN                        1.2
                                       REPRESENTATIVE MOTION (.5); MEETING W/ T. LI RE:
                                       REPLIES IN SUPPORT OF OMM RETENTION AND FOREIGN
                                       REPRESENTATIVE MOTION (.7)

12/11/19    S UHLAND                   REVIEW UST PLEADINGS RE: FOREIGN REPRESENTATIVE,                1.5
                                       DISMISSAL (.8); OUTLINE RESPONSES (.7)

12/11/19    R HOLM                     EMAIL D. PEREZ RE: OPPOSITION TO FOREIGN                        0.2
                                       REPRESENTATIVE MOTION

12/11/19    T LI                       MEETING BETWEEN D. PEREZ AND T. LI RE: REPLIES IN               6.1
                                       SUPPORT OF OMM RETENTION AND FOREIGN
                                       REPRESENTATIVE MOTION (.7); DRAFT REPLY IN SUPPORT
                                       OF RETENTION IN RESPONSE TO SLC OBJECTION AND
                                       RESEARCH RE: PREFERENCE PAYMENTS, DISCLOSURE
                                       OF PAYMENTS, SPECIFIED SPECIAL PURPOSE, AND
                                       CONDUCTING THE CASE (5.4)

12/11/19    L HAN                      TELEPHONE CONFERENCE W/ S. UHLAND, W. PAO, D.                   0.7
                                       PEREZ, AND T. LI RE: REPLY TO SLC OBJECTION TO
                                       RETENTION APPLICATION (NOTE: CHINA DATE DECEMBER
                                       11)

12/12/19    D PEREZ                    REVIEW AND REVISE REPLY TO OBJECTION TO OMM                     4.8
                                       RETENTION APPLICATION (1.6); REVIEW COMMENTS TO
                                       SAME (.3); EMAILS W/ W. PAO AND T. LI RE: SAME (.3);
                                       REVIEW AND REVISE REPLY TO OBJECTION TO FOREIGN
                                       REP MOTION (.9); RESEARCH RE: APPOINTMENT OF A CRO
                                       AS FOREIGN REPRESENTATIVE (1.1); EMAILS W/ R. HOLM
                                       AND T. LI RE: SAME (.6)

12/12/19    B SCHNEIDER                IDENTIFY RELEVANT CASE LAW RE: THE APPOINTMENT OF               1.8
                                       A FOREIGN REPRESENTATIVE

12/12/19    T LI                       REVISE AND FURTHER RESEARCH RE: REPLY IN SUPPORT                7.4
                                       OF RETENTION BASED ON W. PAO AND D. PEREZ
                                       COMMENTS (2.1); DRAFT REPLY IN SUPPORT OF FOREIGN
                                       REPRESENTATIVE MOTION IN RESPONSE TO SLC AND U.S.
                                       TRUSTEE OBJECTIONS (3.3); REVISE AND FURTHER
                                       RESEARCH FOREIGN REPRESENTATIVE REPLY (1.3);
                                       EMAILS W/ D. PEREZ AND R. HOLM RE: SAME (.7)

12/12/19    W PAO                      REVISE AND EDIT DRAFT OPPOSITION TO SLC OBJECTION               0.7
                                       TO OMM RETENTION




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Client: JIA, YUETING                                                                                  04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                   Invoice: 1062231
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Date          Name                         Description                                                 Hours

12/12/19      R HOLM                       REVISE DRAFT REPLY TO OBJECTIONS TO FOREIGN                    1.7
                                           REPRESENTATIVE MOTION (.8); EMAIL W/ D. PEREZ AND T.
                                           LI RE: DRAFT REPLY TO OPPOSITION TO FOREIGN
                                           REPRESENTATIVE MOTION (.9)

12/13/19      D PEREZ                      FINALIZE REPLIES TO OBJECTIONS TO OMM RETENTION                3.6
                                           APPLICATION (.9) AND FOREIGN REPRESENTATIVE
                                           MOTION (1.1); EMAILS W/ S. UHLAND, T. LI, AND J. WANG
                                           RE: SAME (.5); RESEARCH RE: APPOINTMENT OF A
                                           FOREIGN REPRESENTATIVE IN AN INDIVIDUAL CHAPTER
                                           11 CASE (.6); REVIEW REPLY TO OBJECTION TO
                                           PACHULSKI RETENTION APPLICATION (.3); EMAILS W/ J.
                                           O'NEILL, J. DULBERG, AND M. PAGAY RE: RETENTION OF R.
                                           MOON UNDER SECTION 327 (.2)

12/13/19      T LI                         RESEARCH RE: INDIVIDUAL CHAPTER 11 CASES WHERE A               3.1
                                           FOREIGN REPRESENTATIVE WAS APPOINTED AND CASES
                                           WHERE CRO OR OTHER OFFICER WAS APPOINTED AS
                                           FOREIGN REPRESENTATIVE (1.9); REVISE AND FINALIZE
                                           REPLY IN SUPPORT OF RETENTION APPLICATION (.9);
                                           EMAILS W/ D. PEREZ RE: SAME (.3)

12/13/19      L HAN                        REVIEW AND COMMENT ON THE RESPONSE TO THE                      0.7
                                           OBJECTION TO OMM RETENTION

12/13/19      S UHLAND                     REVIEW AND REVISE RESPONSE TO OMM EMPLOYMENT                   1.3
                                           OBJECTION (1.1); EMAILS W/ D. PEREZ RE: SAME (.2)

12/13/19      S UHLAND                     REVIEW UNCITRAL PROVISIONS (.9); REVIEW AND REVISE             1.7
                                           RESPONSE TO OPPOSITION TO FOREIGN
                                           REPRESENTATIVE MOTION (.8)

Total         008 Employment and Fee Application Objections                                              51.9

009 Financing and Cash Collateral

12/09/19      S UHLAND                     REVIEW AND COMMENT ON DRAFT DIP TERM SHEET                     0.7

12/09/19      S UHLAND                     EMAILS W/ J. TAYLOR RE: NOTE AMOUNT AND REVIEW                 0.4
                                           TERM SHEET RE: SAME

12/09/19      J TAYLOR                     CORRESPOND W/ S. UHLAND RE: NOTE                               0.1

12/10/19      D PEREZ                      TELEPHONE CONFERENCE W/ M. PARKS AND J. TAYLOR                 0.3
                                           (PARTIAL) RE: PRE-PETITION PT NOTE (.2); REVIEW SAME
                                           (.1)

12/10/19      M PARKS                      ANALYZE PROMISSORY NOTE (1.0); TELEPHONE                       1.2
                                           CONFERENCE W/ D. PEREZ AND J. TAYLOR RE: SAME (.2)

12/10/19      S UHLAND                     COMMUNICATE W/ R. JIA RE: NOTE                                 0.4

12/10/19      J TAYLOR                     CORRESPOND W/ M. PARKS AND D. PEREZ RE: PRE-                   0.2
                                           PETITION PROMISSORY NOTE (.1); CONFERENCE W/ M.
                                           PARKS AND D. PEREZ RE: SAME (.1)

12/15/19      S UHLAND                     DRAFT AND REVISE DIP NOTE                                      1.9

12/16/19      M PARKS                      REVISE DIP NOTE                                                0.7

12/17/19      M PARKS                      REVISE DIP NOTE                                                2.4

12/17/19      M PARKS                      REVISE DIP NOTE                                                4.6




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Client: JIA, YUETING                                                                                  04/16/20
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Date           Name                          Description                                                Hours

12/17/19       S UHLAND                      DRAFT AND REVISE DIP MOTION (1.2); CONFERENCE W/ J.           2.7
                                             DULBERG RE: SAME (.8); FURTHER DRAFT AND REVISE DIP
                                             MOTION (.7)

12/23/19       M PARKS                       REVISE DEBTOR-IN-POSSESSION NOTE                              1.2

12/26/19       S UHLAND                      TELEPHONE CONFERENCE W/ R. MOON RE: FINANCING                 0.5
                                             STRATEGY

12/27/19       M PARKS                       TELEPHONE CONFERENCE W/ M. ZHANG, S. UHLAND, R.               0.6
                                             MOON, AND J. DULBERG W/ RESPECT TO DEBTOR-IN-
                                             POSSESSION NOTE

12/27/19       M PARKS                       REVISE DEBTOR-IN-POSSESSION NOTE                              0.4

12/27/19       S UHLAND                      REVIEW CLIENT, PACIFIC TECHNOLOGY COMMENTS TO                 1.4
                                             DIP NOTE (.8); ATTEND CALL W/ COUNSEL TO PACIFIC
                                             TECHNOLOGY, M. ZHANG, M. PARKS, AND J. DULBERG RE:
                                             DIP (.6)

12/28/19       M PARKS                       REVISE DEBTOR-IN-POSSESSION NOTE (.6); CONFERENCE             0.9
                                             W/ S. UHLAND RE: SAME (.3)

12/28/19       S UHLAND                      OUTLINE REVISIONS TO DIP NOTE (.6); COMMUNICATE W/            0.9
                                             M. PARKS RE: SAME (.3)

12/29/19       M PARKS                       REVIEW AND REVISE DEBTOR-IN-POSSESSION NOTE                   0.8

12/30/19       M PARKS                       REVISE DEBTOR-IN-POSSESSION NOTE                              0.2

12/31/19       M PARKS                       REVISE DEBTOR-IN-POSSESSION NOTE                              0.4

Total          009 Financing and Cash Collateral                                                          22.9

010 Hearings

12/02/19       W PAO                         REVIEW MATERIALS TO PREPARE FOR 341 EXAMINATION               2.3
                                             PREPARATION

12/03/19       D PEREZ                       EMAILS W/ R. PACHULSKI, W. PAO, AND S. UHLAND RE:             0.5
                                             PREPARATION FOR 341 MEETING AND POTENTIAL
                                             INQUIRIES FROM CREDITORS (.3); REVIEW OUTLINE OF
                                             QUESTIONS RE: SAME (.2)

12/03/19       W PAO                         REVIEW MATERIALS FOR 341 EXAM PREPARATION (3.8);              7.2
                                             341 EXAM PREPARATION INCLUDING OUTLINE QUESTIONS
                                             RE: YT'S ASSETS (3.4)

12/04/19       T LI                          CORRESPOND W/ W. PAO AND L. HAN RE: 341 MEETING               0.1
                                             QUESTIONS IN CHINESE FOR CLIENT

12/04/19       W PAO                         REVIEW MATERIALS FOR 341 PREPARATION                          3.7

12/05/19       S UHLAND                      ATTEND PREPARATION SESSION FOR 341 RE:                        4.7
                                             TRANSACTIONAL ASSETS AND ISSUES

12/05/19       T LI                          PREPARE FOR (3.8) AND ATTEND 341 PREPARATION                  8.5
                                             SESSION (4.7)

12/05/19       W PAO                         PREPARE FOR 341 PREPARATION SESSION (4.0); ATTEND             8.7
                                             341 PREPARATION SESSION W/ CLIENT, S. UHLAND, AND T.
                                             LI (4.7)

12/06/19       S UHLAND                      ATTEND 341(A) MEETING                                         3.7




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Client: JIA, YUETING                                                                                    04/16/20
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Date             Name                       Description                                                  Hours

12/06/19         T LI                       ATTEND 341 MEETING OF CREDITORS (3.7); ASSIST W/                5.0
                                            PREPARATION RE: SAME (1.3)

12/06/19         W PAO                      PREPARE FOR 341 EXAMINATION (.4); ATTEND 341                    4.1
                                            EXAMINATION (3.7)

12/07/19         W PAO                      STRATEGIZE RE: POTENTIAL TAX ISSUES RAISED IN 341               0.4
                                            EXAMINATION

12/08/19         W PAO                      STRATEGIZE RE: TAX ISSUES STEMMING FROM 341                     0.2
                                            EXAMINATION AND COMMUNICATIONS W/ CLIENT RE:
                                            SAME

12/16/19         W PAO                      COMMUNICATIONS W/ COUNSEL FOR PACIFIC                           0.4
                                            TECHNOLOGY RE: DISMISSAL HEARING AND STRATEGIZE
                                            RE: SAME

12/16/19         D PEREZ                    REVIEW AND COMMENT ON ARGUMENT OUTLINE FOR                      0.7
                                            OMM RETENTION APPLICATION AND FOREIGN
                                            REPRESENTATIVE MOTION (.5); EMAILS W/ T. LI RE: SAME
                                            (.2)

12/16/19         B SCHNEIDER                REVIEW AND ANALYZE MATERIALS FOR HEARING ON                     3.5
                                            DECEMBER 17

12/16/19         T LI                       CORRESPOND W/ B. SCHNEIDER AND D. PEREZ RE:                     3.1
                                            PREPARATION FOR DECEMBER 18 OMNIBUS HEARING AND
                                            NOTICE OF AGENDA (.4); REVISE ARGUMENT OUTLINE RE:
                                            DECEMBER 18 HEARING, RETENTION APPLICATION, AND
                                            FOREIGN REPRESENTATIVE MOTION (.7); PREPARE
                                            ARGUMENT OUTLINE RE: DECEMBER 18 HEARING,
                                            RETENTION APPLICATION, AND FOREIGN
                                            REPRESENTATIVE MOTION (2.0)

12/17/19         D PEREZ                    PREPARE FOR DECEMBER 18 HEARING ON MOTION TO                    1.5
                                            DISMISS, OMM RETENTION APPLICATION, AND FOREIGN
                                            REPRESENTATIVE MOTION W/ S. UHLAND, J. O'NEILL, M.
                                            PAGAY, AND R. PACHULSKI

12/17/19         S UHLAND                   PREPARE FOR HEARING RE: OMM RETENTION, FOREIGN                  0.9
                                            REPRESENTATIVE

12/18/19         S UHLAND                   PREPARE FOR HEARING RE: DISMISSAL (1.4); ATTEND                 4.9
                                            HEARING RE: VENUE TRANSFER, DISMISSAL (3.5)

12/18/19         D PEREZ                    PREPARE FOR (1.9) AND ATTEND DECEMBER 18 OMNIBUS                5.4
                                            HEARING (3.5)

12/18/19         T LI                       ATTEND DECEMBER 18 COURT HEARING ON MOTION TO                   4.6
                                            DISMISS OR TRANSFER VENUE (3.5); SUMMARIZE KEY
                                            HOLDINGS PER CLIENT (1.1)

Total            010 Hearings                                                                              74.1

011 Litigation

12/01/19         W PAO                      STRATEGIZE RE: THIRD-PARTY OUTREACH RE: SLC                     0.2
                                            SUBPOENAS

12/01/19         W PAO                      REVIEW DOCUMENTS RECEIVED FROM SLC                              0.3

12/04/19         D PEREZ                    REVIEW COMMENTS TO OPPOSITION TO MOTION TO                      0.4
                                            DISMISS (.3); FOLLOW UP W/ T. LI RE: SAME (.1)




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Client: JIA, YUETING                                                                             04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,              Invoice: 1062231
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Matter: 0424428-00003                                                                         Page No. 10


Date        Name                       Description                                                 Hours

12/04/19    T LI                       REVISE OBJECTION TO MOTION TO DISMISS AND EMAIL                1.8
                                       PACHULSKI RE: SAME (1.3); DRAFT OUTLINE RE: MOTION
                                       TO DESIGNATE VOTE AND EMAIL S. UHLAND AND D. PEREZ
                                       RE: SAME (.5)

12/04/19    W PAO                      REVISE AND EDIT OPPOSITION TO MOTION TO DISMISS                1.4
                                       AND STRATEGIZE RE: SAME

12/05/19    D PEREZ                    REVIEW SLC MOTION TO DISMISS (.3); REVIEW AND                  1.5
                                       COMMENT ON OPPOSITION TO SAME (.8); REVIEW OFILM
                                       JOINDER TO MOTION TO DISMISS (.2); REVIEW COMMITTEE
                                       RESPONSE TO SAME (.2)

12/05/19    S UHLAND                   DRAFT AND REVISE OPPOSITION TO MOTION TO DISMISS               0.8

12/06/19    D TULLY                    FOLLOW UP W/ W. PAO RE: JINAN LITIGATION (.2);                 0.5
                                       ANALYZE SUPERIOR COURT DOCKET AND RULES
                                       RELATING TO STATUS CONFERENCE (.3)

12/06/19    W PAO                      STRATEGIZE RE: CASE MANAGEMENT CONFERENCE IN                   0.3
                                       JINAN MATTER

12/07/19    W PAO                      STRATEGIZE RE: RESPONSE TO SLC OFFER TO DISCUSS                0.7
                                       POTENTIAL SETTLEMENT AND REVIEW SLC FILINGS FOR
                                       SAME

12/08/19    W PAO                      STRATEGIZE RE: RESPONSE TO THIRD-PARTY DISCOVERY               0.2
                                       DEMANDS

12/09/19    D TULLY                    DRAFT RULE 408 CONFIDENTIALITY AND NEGOTIATION                 1.7
                                       AGREEMENTS FOR REPRESENTED AND UNREPRESENTED
                                       CREDITORS (1.2); REVISE CONFIDENTIALITY AND
                                       NEGOTIATION AGREEMENTS TO INCORPORATE
                                       COMMENTS FROM W. PAO AND D. PEREZ (.5)

12/09/19    D TULLY                    TELEPHONE CONFERENCE W/ SUPERIOR COURT RE:                     0.2
                                       JINAN STATUS CONFERENCE

12/09/19    W PAO                      STRATEGIZE RE: THIRD-PARTY DISCOVERY REQUESTS                  0.4

12/09/19    W PAO                      PREPARE FOR CASE MANAGEMENT CONFERENCE IN                      0.3
                                       JINAN MATTER

12/09/19    W PAO                      STRATEGIZE RE: POTENTIAL DEFAMATION CLAIM AGAINST              0.4
                                       SQ AND COMMUNICATIONS W/ CLIENT RE: SAME

12/09/19    W PAO                      COMMUNICATIONS W/ COUNSEL FOR JINAN RE: CASE                   0.2
                                       MANAGEMENT CONFERENCE

12/09/19    S UHLAND                   COMMUNICATE W/ M. ZHANG RE: 408 AGREEMENT FOR                  0.6
                                       CHINESE CREDITOR

12/09/19    T LI                       PREPARE TALKING POINTS FOR STATUS CONFERENCE IN                0.5
                                       JINAN LITIGATION

12/10/19    D PEREZ                    REVIEW SLC JOINDER TO MOTION TO DISMISS (.2);                  1.0
                                       TELEPHONE CONFERENCE W/ S. UHLAND, M. PAGAY, J.
                                       DULBERG, J. WANG, AND M. ZHANG RE: SAME (.6); REVIEW
                                       RESEARCH RE: VOTE DESIGNATION (.2)

12/10/19    W PAO                      PREPARE FOR AND ATTEND CASE MANAGEMENT                         1.3
                                       CONFERENCE IN JINAN MATTER AND UPDATE CLIENT RE:
                                       SAME




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Client: JIA, YUETING                                                                               04/16/20
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CORP)
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Date        Name                       Description                                                    Hours

12/10/19    D TULLY                    REVIEW BANKRUPTCY STAY MATERIALS FOR JINAN AND                    0.2
                                       SLC LITIGATION

12/10/19    S UHLAND                   TELEPHONE CONFERENCE W/ PACHULSKI TEAM, D.                        1.1
                                       PEREZ, J. WANG, AND M. ZHANG RE: SQ JOINDER MOTION
                                       TO DISMISS (.6); COMMUNICATE W/ M. ZHANG RE: SAME
                                       (.5)

12/10/19    S UHLAND                   REVIEW AND OUTLINE RESPONSE TO SQ JOINDER TO SLC                  0.7
                                       MOTION

12/11/19    D PEREZ                    REVIEW UST RESPONSE TO VENUE TRANSFER MOTION                      1.3
                                       (.3); TELEPHONE CONFERENCE W/ R. PACHULSKI, M.
                                       PAGAY, J. DULBERG, L. HAN, S. UHLAND, W. PAO, AND T. LI
                                       RE: VARIOUS OBJECTIONS AND RESPONSES AND CASE
                                       TIMELINE (1.0)

12/11/19    T LI                       TELEPHONE CONFERENCE W/ PACHULSKI TEAM, L. HAN,                   1.0
                                       S. UHLAND, W. PAO, AND D. PEREZ RE: VARIOUS
                                       OBJECTIONS AND RESPONSES AND CASE TIMELINE

12/11/19    S UHLAND                   TELEPHONE CONFERENCE W/ PACHULSKI TEAM, L. HAN,                   1.0
                                       W. PAO, D. PEREZ AND T. LI RE: VARIOUS OBJECTIONS
                                       AND RESPONSES AND CASE TIMELINE

12/11/19    W PAO                      TELEPHONE CONFERENCE W/ PACHULSKI TEAM, L. HAN,                   1.0
                                       S. UHLAND, D. PEREZ AND T. LI RE: VARIOUS OBJECTIONS
                                       AND RESPONSES AND CASE TIMELINE

12/12/19    L HAN                      TELEPHONE CONFERENCE W/ PACHULSKI TEAM, S.                        1.0
                                       UHLAND, W. PAO, D. PEREZ AND T. LI RE: VARIOUS
                                       OBJECTIONS AND RESPONSES AND CASE TIMELINE
                                       (NOTE: CHINA DATE DECEMBER 12)

12/13/19    D PEREZ                    REVIEW SUR-REPLY TO UST RESPONSE TO MOTION TO                     0.3
                                       DISMISS

12/13/19    S UHLAND                   REVIEW AND REPLY SURREPLY RE: DISMISSAL MOTION                    0.4

12/15/19    W PAO                      STRATEGIZE RE: FOLLOW UP W/ THIRD PARTIES THAT                    0.2
                                       HAVE REACHED OUT RE: SLC SUBPOENAS

12/16/19    D TULLY                    TELEPHONE CONFERENCE W/ BANK OF THE WEST                          0.3
                                       RELATING TO DOCUMENT SUBPOENAS IN SLC LITIGATION

12/17/19    W PAO                      COMMUNICATIONS W/ M. PAGAY RE: SERVICE DATE OF                    0.6
                                       DEBTOR EXAMINATIONS IN SQ AND SLC LITIGATIONS

12/17/19    D PEREZ                    REVIEW UST MOTION TO APPOINT A CHAPTER 11                         0.7
                                       TRUSTEE (.4); EMAILS W/ S. UHLAND, R. PACHULSKI, AND
                                       M. PAGAY RE: SAME (.3)

12/18/19    T LI                       PROVIDE ANALYSIS OF JUDGE OWENS’ VENUE TRANSFER                   0.4
                                       OPINION AND EMAIL S. UHLAND RE: SAME

12/18/19    S UHLAND                   DRAFT AND REVISE PRESS STATEMENT RE: VENUE                        0.6
                                       TRANSFER

12/18/19    D TULLY                    TELEPHONE CONFERENCES W/ SPRINT RE: THIRD-PARTY                   0.4
                                       SUBPOENAS AND DISCOVERY IN SLC LITIGATION

12/18/19    W PAO                      OUTLINE NEXT STEPS IN LIGHT OF TRANSFER OF VENUE                  0.6

12/18/19    W PAO                      REVISE AND EDIT PRESS RELEASE ON VENUE TRANSFER                   0.8
                                       ORDER


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Client: JIA, YUETING                                                                                     04/16/20
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Date         Name                          Description                                                    Hours

12/19/19     W PAO                         COMMUNICATIONS W/ CLIENT RE: POTENTIAL LEGAL                      0.6
                                           ACTION RE: MISREPRESENTATIONS OF BANKRUPTCY
                                           PROCEEDINGS IN TENCENT ARTICLE AND STRATEGIZE RE:
                                           SAME

12/19/19     S UHLAND                      FURTHER ANALYZE EVERGRANDE AGREEMENTS (.8);                       1.1
                                           COMMUNICATIONS W/ T. LI RE: SAME (.3)

12/20/19     D PEREZ                       FOLLOW UP W/ S. UHLAND, L. HAN, W. PAO, AND T. LI RE:             0.3
                                           RESPONSE TO PRESS INQUIRIES ON VENUE TRANSFER

12/20/19     W PAO                         COMMUNICATIONS W/ CLIENT RE: POTENTIAL LEGAL                      0.9
                                           ACTION RE: MISSTATEMENTS RELATING TO BANKRUPTCY
                                           PROCEEDINGS IN TENCENT ARTICLE AND STRATEGIZE RE:
                                           SAME

12/22/19     D PEREZ                       REVIEW CHART OF MISSTATEMENTS IN CHINESE PRESS                    0.5
                                           RELEASE RE: MOTION TO DISMISS/VENUE TRANSFER

12/22/19     W PAO                         STRATEGIZE RE: RESPONSE TO TENCENT ARTICLE ON                     0.4
                                           BANKRUPTCY PROCEEDINGS

12/22/19     S UHLAND                      DRAFT AND REVISE PRESS RESPONSE TO VENUE                          0.9
                                           TRANSFER

12/22/19     S UHLAND                      ANALYZE PRESS RESPONSE TO VENUE TRANSFER FOR                      0.9
                                           FACTUAL STATEMENTS

Total        011 Litigation                                                                                 32.9

012 Meetings and Communications with Creditors

12/02/19     D PEREZ                       EMAILS W/ T. LI RE: UPLOADS TO DATAROOM                           0.2

12/02/19     T LI                          UPDATE COMMITTEE DOCUMENT PRODUCTION STATUS                       0.2
                                           AND EMAIL D. PEREZ RE: SAME

12/02/19     T LI                          EMAIL R. JIA RE: INACCESSIBLE FILES IN COMMITTEE                  0.5
                                           DOCUMENT PRODUCTION (.2); REVIEW AND REVISE FAQS
                                           FOR CREDITORS TO BE POSTED ON EPIQ WEBSITE (.3)

12/03/19     D PEREZ                       MEETING W/ S. UHLAND, N. GEEVARGHESE, AND T. LI RE:               0.9
                                           CASE BACKGROUND, VARIOUS NDAS, SHARE TRANSFER
                                           RESTRICTION, AND APPLICABILITY OF SECTION 541 (.6);
                                           REVIEW OPEN QUESTIONS RE: OCEAN VIEW AND LESOAR
                                           TRANSACTION FROM R. MOON (.3)

12/03/19     S UHLAND                      MEETING W/ D. PEREZ, N. GEEVARGHESE, AND T. LI RE:                0.6
                                           CASE BACKGROUND, VARIOUS NDAS, SHARE TRANSFER
                                           RESTRICTION, AND APPLICABILITY OF SECTION 541

12/03/19     T LI                          REVIEW AND REVISE FAQS TO BE POSTED ON EPIQ                       3.5
                                           WEBSITE RE: CHAPTER 11 CASE AND CLAIM
                                           ADMINISTRATION PROCESS (2.9); MEETING W/ S. UHLAND,
                                           D. PEREZ, AND N. GEEVARGHESE RE: CASE
                                           BACKGROUND, VARIOUS NDAS, SHARE TRANSFER
                                           RESTRICTION, AND APPLICABILITY OF SECTION 541 (.6)

12/03/19     N GEEVARGHESE                 MEETING W/ S. UHLAND, D. PEREZ, AND T. LI RE: CASE                0.6
                                           BACKGROUND, VARIOUS NDAS, SHARE TRANSFER
                                           RESTRICTION, AND APPLICABILITY OF SECTION 541

12/03/19     N GEEVARGHESE                 REVIEW FARADAY FORM NDA (.6); REVIEW CLEAN TEAM                   3.2
                                           ADDENDUM DRAFT (.6); DRAFT FARADAY FINANCING NDA
                                           (2.0)


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Client: JIA, YUETING                                                                              04/16/20
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Date        Name                       Description                                                  Hours

12/03/19    D PEREZ                    REVIEW AND COMMENT ON CREDITOR FAQS FOR                         0.4
                                       WEBSITE

12/04/19    D PEREZ                    REVIEW FARADAY NDA AND COMMENT ON SAME (.6);                    2.9
                                       FOLLOW UP W/ N. GEEVARGHESE RE: SAME (.2); FINALIZE
                                       SETUP OF FARADAY DATAROOM (.6); REVIEW AND
                                       UPLOAD RESPONSIVE DOCUMENTS TO FARADAY
                                       DATAROOM (.8); EMAILS W/ M. PAGAY, J. WANG, R. MOON,
                                       AND A. BEHLMANN RE: SAME (.7)

12/04/19    T LI                       CORRESPOND W/ M. ZHANG RE: PROPOSED                             0.2
                                       COMMUNICATION TO CREDITORS

12/04/19    D LIEU                     CREATE A NEW FIRMEX, ADD USERS, SET-UP ACCESS                   1.6
                                       RIGHTS, APPLY NDA AND APPEND DOCUMENTS FOR THE
                                       YUETING JIA CREDITORS COMMITTEE DATAROOM –
                                       FARADAY DOCUMENTS PER REQUEST OF D. PEREZ

12/04/19    N GEEVARGHESE              REVISE FARADAY FINANCING NDA (.7); DISCUSS SAME W/              0.9
                                       D. PEREZ (.2)

12/05/19    D PEREZ                    REVIEW AND COMMENT ON REVISED FARADAY NDA AND                   1.9
                                       JOINDER (.4); FOLLOW UP W/ S. UHLAND AND N.
                                       GEEVARGHESE RE: SAME (.3); REVIEW AND UPLOAD
                                       RESPONSIVE DOCUMENTS TO DATAROOM (1.2)

12/05/19    S UHLAND                   DRAFT AND REVISE FF NDA                                         0.7

12/05/19    D LIEU                     APPEND, MOVE AND DELETE DOCUMENTS FOR THE                       0.4
                                       YUETING JIA CREDITORS COMMITTEE DATAROOM AND
                                       YUETING JIA CREDITORS COMMITTEE DATAROOM –
                                       FARADAY DOCUMENTS FIRMEX DEAL ROOM PER D. PEREZ
                                       REQUEST

12/05/19    N GEEVARGHESE              REVISE FARADAY FINANCING NDA (1.1); REVIEW SITE VISIT           2.1
                                       JOINDER (.2); DRAFT JOINDER TO FARADAY FINANCING
                                       NDA (.6); DISCUSS SAME W/ D. PEREZ (.2)

12/06/19    S UHLAND                   DRAFT AND REVISE PRESS RESPONSE RE: DILIGENCE                   0.7

12/06/19    N GEEVARGHESE              REVISE FARADAY FINANCING NDA (.2); CORRESPOND W/                0.3
                                       SIDLEY RE: SAME (.1)

12/07/19    D PEREZ                    EMAILS W/ S. UHLAND AND M. ZHANG RE: INDIVIDUAL                 0.3
                                       CREDITOR NDAS

12/08/19    S UHLAND                   COMMUNICATE W/ L. HAN, D. PEREZ RE: Y. JIA DILIGENCE            0.4
                                       ISSUES

12/09/19    D PEREZ                    REVIEW UCC OUTSTANDING DUE DILIGENCE LIST (.3);                 4.0
                                       TELEPHONE CONFERENCE W/ J. WANG, R. JIA, J. O’NEILL,
                                       R. MOON, AND T. LI RE: DOCUMENT REQUESTS FROM
                                       COMMITTEE LEGAL COUNSEL, COMMITTEE FINANCIAL
                                       ADVISORS, AND U.S. TRUSTEE AND PROCESS OF
                                       COORDINATING RESPONSES (1.6); REVIEW UPDATED
                                       DILIGENCE LIST RE: SAME (.3); REVIEW AND COMMENT ON
                                       FORM INDIVIDUAL CREDITOR NDA (.3); FOLLOW UP W/ D.
                                       TULLY RE: SAME (.1); EMAILS W/ W. PAO, S. UHLAND, AND
                                       M. ZHANG RE: SAME (.2); REVIEW AND UPLOAD
                                       RESPONSIVE DOCUMENTS TO DATAROOM (.8); REVIEW
                                       CREDITOR PRESENTATION RE: RESTRUCTURING (.3);
                                       EMAILS W/ T. LI RE: SAME (.1)




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Client: JIA, YUETING                                                                                  04/16/20
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Date        Name                       Description                                                     Hours

12/09/19    T LI                       MEETING W/ J. WANG, R. JIA, J. O’NEILL, R. MOON, AND D.            1.6
                                       PEREZ RE: DOCUMENT REQUESTS FROM COMMITTEE
                                       LEGAL COUNSEL, COMMITTEE FINANCIAL ADVISORS, AND
                                       U.S. TRUSTEE AND PROCESS OF COORDINATING
                                       RESPONSES

12/09/19    D LIEU                     APPEND DOCUMENTS TO THE YT FARADAY FIRMEX DEAL                     0.3
                                       ROOM PER D. PEREZ REQUEST

12/09/19    D LIEU                     ADD NEW USER AND SET-UP ACCESS RIGHTS TO THE YT -                  0.2
                                       PROJECT R FIRMEX DEAL ROOM PER D. PEREZ REQUEST

12/09/19    W PAO                      REVISE AND EDIT NDA FOR CREDITORS                                  0.8

12/10/19    D PEREZ                    REVIEW DOCUMENTS RESPONSIVE TO UST AND UCC                         3.8
                                       DOCUMENT REQUESTS (1.3); EMAILS W/ J. WANG, M.
                                       ZHANG, R. MOON, W. PAO, S. UHLAND, AND L. HAN RE:
                                       SAME (.9); REVIEW DILIGENCE LIST AND COMMENT ON
                                       SAME (.8); TELEPHONE CONFERENCE W/ M. PAGAY AND R.
                                       MOON RE: SAME (.5); FOLLOW UP W/ M. PAGAY RE: SAME
                                       (.2); REVIEW COMMENTS TO FTI RELEASE (.1)

12/10/19    T LI                       COORDINATE DOCUMENT PRODUCTION RE: CREDIT CARD                     0.2
                                       STATEMENTS

12/10/19    S UHLAND                   ATTEND CALL W/ R. PACHULSKI, A. BEHRMAN, AND J.                    0.9
                                       MERKIN RE: OPEN ISSUES, DILIGENCE

12/10/19    S UHLAND                   REVIEW AND REVISE 408 AGREEMENT FOR CHINESE                        0.7
                                       CREDITOR

12/10/19    S UHLAND                   PREPARE LIST OF KEY MATERIALS NEEDED FOR                           0.8
                                       COMMITTEE DILIGENCE SESSION

12/10/19    D LIEU                     ADD NEW USERS AND SETUP ACCESS RIGHTS TO THE                       0.6
                                       YUETING JIA CREDITORS COMMITTEE DATAROOM AND
                                       THE FARADAY DOCUMENTS FIRMEX DEAL ROOM PER D.
                                       PEREZ REQUEST

12/10/19    W PAO                      STRATEGIZE RE: NDA FOR SLC                                         0.2

12/10/19    W PAO                      STRATEGIZE RE: RESPONSES TO U.S. TRUSTEE                           0.3
                                       QUESTIONS

12/11/19    D PEREZ                    REVIEW DOCUMENTS RESPONSIVE TO UST AND UCC DUE                     3.1
                                       DILIGENCE REQUESTS (1.6); EMAILS W/ J. O'NEILL, T. LIU, L.
                                       HAN, J. WANG, AND M. ZHANG RE: SAME (.4); TELEPHONE
                                       CONFERENCE W/ J. O'NEILL RE: SAME (.2); PREPARE FOR
                                       MEETING W/ LOWENSTEIN RE: UCC DUE DILIGENCE (.5);
                                       EMAILS W/ S. UHLAND RE: SAME (.2); REVIEW UCC
                                       COMMENTS TO FARADAY NDA (.2)

12/11/19    S UHLAND                   COMMUNICATE W/ R. JIA AND D. PEREZ RE: DILIGENCE                   0.4
                                       MATERIALS FOR COMMITTEE MEETING

12/11/19    D LIEU                     APPEND DOCUMENTS TO THE YUETING JIA CREDITORS                      0.6
                                       COMMITTEE DATA FIRMEX DEAL ROOM PER D. PEREZ
                                       REQUEST




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Client: JIA, YUETING                                                                               04/16/20
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Matter: 0424428-00003                                                                           Page No. 15


Date        Name                       Description                                                   Hours

12/12/19    D PEREZ                    REVIEW COMMENTS TO UCC NDA (.3); FOLLOW UP W/ M.                 5.3
                                       PAGAY RE: SAME (.1); REVIEW AND UPLOAD RESPONSIVE
                                       DOCUMENTS RE: UST AND UCC DUE DILIGENCE
                                       REQUESTS (.8); EMAILS W/ J. WANG, R. JIA, M. PAGAY, R.
                                       MOON, AND J. O'NEILL RE: SAME (.7); REVIEW UPDATED
                                       DILIGENCE LIST (.2); PREPARE FOR MEETING W/ UCC
                                       COUNSEL AND FA RE: DUE DILIGENCE REQUESTS (.6);
                                       ATTEND MEETING W/ S. UHLAND, R. PACHULSKI, J.
                                       DULBERG, M. PAGAY, R. MOON, A. BEHLMANN, J. KAPLAN,
                                       J. MERKIN, B. WALDIE, AND R. NEWMAN RE: SAME (2.6)

12/12/19    S UHLAND                   PREPARE MATERIALS FOR MEETING W/ COMMITTEE                       3.7
                                       PROFESSIONALS RE: OPEN DILIGENCE ITEMS, MAJOR
                                       ISSUES (1.1); ATTEND MEETING W/ D. PEREZ, COMMITTEE
                                       COUNSEL (A&M, PACHULSKI TELEPHONIC) (2.6)

12/13/19    D PEREZ                    EMAILS W/ M. ZHANG, J. WANG, AND S. UHLAND RE: UCC               1.5
                                       NDA AND DATAROOM ACCESS (.3); REVIEW AND
                                       DESIGNATE CERTAIN UPLOADED DOCUMENTS RE:
                                       PROFESSIONAL EYES ONLY ACCESS (.9); FINALIZE UCC
                                       NDA FOR EXECUTION (.3)

12/13/19    S UHLAND                   REVIEW AND COMMENT ON NDA MARK UP AND REVISIONS                  0.8
                                       FROM COMMITTEE (.6); COMMUNICATE W/ D. PEREZ RE:
                                       SAME (.2)

12/14/19    D LIEU                     EMAIL W/ D. PEREZ RE: APPLYING WATERMARK TO PDF                  0.5
                                       DOCUMENTS; CREATE RESTRICTED FOLDERS FOR THE
                                       YUETING JIA CREDITORS COMMITTEE DATAROOM FIRMEX
                                       DEAL ROOM PER D. PEREZ REQUEST

12/15/19    D PEREZ                    PREPARE SUMMARY OF RESTRICTED DOCUMENTS IN                       0.3
                                       DATAROOM FOR M. ZHANG AND J. WANG

12/16/19    D PEREZ                    REVIEW AND UPLOAD RESPONSIVE DOCUMENTS RE: UCC                   2.7
                                       DUE DILIGENCE REQUESTS (.9); EMAILS W/ R. JIA RE:
                                       SAME (.2); PREPARE SUMMARY OF LATEST REQUESTS
                                       FROM UCC AND STATUS OF SAME (.6); ATTEND CALL
                                       (PARTIAL) W/ L. HAN, J. WANG, R. JIA, M. PAGAY, J.
                                       DULBERG, R. PACHULSKI, AND R. MOON RE: SAME (.3);
                                       PREPARE LIST OF OUTSTANDING REQUESTS FOR Y. JIA
                                       TEAM (.7)

12/16/19    T LI                       COORDINATE DOCUMENT PRODUCTION W/ M. PAGAY RE:                   1.1
                                       FF GLOBAL PARTNERS (.3); COMPILE AND SUMMARIZE
                                       DOCUMENT PRODUCTION RE: WARM TIME PAYMENTS ON
                                       BEHALF OF Y. JIA (.8)

12/17/19    D PEREZ                    EMAILS W/ R. JIA AND S. HE RE: OUTSTANDING DUE                   0.5
                                       DILIGENCE REQUESTS (.2); REVIEW AND UPLOAD
                                       RESPONSIVE DOCUMENTS RE: SAME (.3)

12/17/19    L HAN                      CONFERENCE CALL W/ D. PEREZ, PACHULSKI TEAM, J.                  0.7
                                       WANG, AND M. ZHANG RE: DUE DILIGENCE AND
                                       LITIGATION (NOTE: CHINA DATE DECEMBER 17)

12/18/19    D PEREZ                    TELEPHONE CONFERENCE W/ R. JIA RE: OUTSTANDING                   0.7
                                       DUE DILIGENCE REQUESTS (.1); EMAILS W/ J. WANG RE:
                                       SAME (.1); REVIEW AND UPLOAD RESPONSIVE
                                       DOCUMENTS RE: SAME (.5)

12/18/19    T LI                       REVIEW DIVORCE COMPLAINT IN CHINESE AND REDACT                   0.2
                                       PERSONALLY IDENTIFYING INFORMATION



                                     Due upon receipt. Please remit to:
              By Mail: O'Melveny & Myers LLP - P.O. Box 894436, Los Angeles, CA 90189-4436
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                       Beneficiary: O’Melveny & Myers LLP, Account No.:
                   Please include client/matter/invoice number and/or attorney name.
Case 2:19-bk-24804-VZ           Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                        Desc
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Client: JIA, YUETING                                                                                04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                 Invoice: 1062231
CORP)
Matter: 0424428-00003                                                                            Page No. 16


Date         Name                         Description                                                 Hours

12/19/19     D PEREZ                      EMAILS W/ R. JIA RE: OUTSTANDING DUE DILIGENCE                 0.3
                                          REQUESTS

12/20/19     W PAO                        TELEPHONE CONFERENCE W/ R. PACHULSKI AND M.                    0.9
                                          PAGAY RE: WITNESS INTERVIEWS W/ COMMITTEE AND
                                          NEXT STEPS IN LIGHT OF TRANSFER OF VENUE

12/25/19     D PEREZ                      TELEPHONE CONFERENCE W/ M. PAGAY, R. MOON, AND J.              0.9
                                          WANG RE: UCC THIRD-PARTY INFORMATION REQUESTS

12/26/19     D PEREZ                      REVIEW DOCUMENTS RE: TRANSFERS TO X. MA (.5);                  1.8
                                          EMAILS W/ M. PAGAY RE: SAME (.2); TELEPHONE
                                          CONFERENCE W/ LOWENSTEIN AND A&M TEAMS AND S.
                                          UHLAND, M. PAGAY, R. PACHULSKI, R. MOON, AND J.
                                          DULBERG RE: OUTSTANDING DILIGENCE REQUESTS (.9);
                                          FOLLOW-UP CALL W/ M. PAGAY, R. PACHULSKI, R. MOON,
                                          AND J. DULBERG RE: SAME (.2)

12/26/19     W PAO                        COMMUNICATIONS W/ CLIENT RE: WITNESS INTERVIEWS                0.3
                                          BY COMMITTEE

12/26/19     S UHLAND                     CONFERENCE W/ R. PACHULSKI, D. PEREZ, AND                      0.9
                                          LOWENSTEIN RE: COMMITTEE INVESTIGATION

12/27/19     T LI                         UPDATE FAQS FOR EPIQ WEBSITE RE: VENUE TRANSFER                2.7
                                          AND BAR DATE AND EMAIL D. PEREZ RE: SAME (1.3);
                                          REVISE FAQS FOR EPIQ WEBSITE BASED ON D. PEREZ
                                          COMMENTS AND EMAIL S. UHLAND RE: SAME (1.4)

12/27/19     D PEREZ                      REVIEW AND REVISE CREDITOR FAQ FOR WEBSITE (.7);               0.8
                                          EMAILS W/ T. LI RE: SAME (.1)

12/29/19     D PEREZ                      EMAILS W/ M. PAGAY, M. ZHANG, AND J. WANG RE:                  0.3
                                          UCC/UST INFORMATION REQUESTS

12/30/19     D PEREZ                      REVIEW AND UPLOAD RESPONSIVE DOCUMENTS RE: UCC                 0.5
                                          DUE DILIGENCE REQUESTS (.3); EMAILS W/ M. PAGAY, M.
                                          ZHANG, AND R. JIA RE: OUTSTANDING REQUESTS (.2)

12/30/19     J SU                         PREPARE DECLARATION RE: WEST COAST OWNERSHIP                   0.8
                                          FOR COMMITTEE

12/30/19     S UHLAND                     DRAFT AND REVISE CREDITOR FAQS                                 0.9

12/31/19     D PEREZ                      EMAILS W/ S. UHLAND, M. PAGAY, M. ZHANG, AND J. WANG           0.3
                                          RE: OUTSTANDING DUE DILIGENCE REQUESTS

12/31/19     D PEREZ                      REVIEW DECLARATIONS RE: WEST COAST INTERESTS (.2);             0.4
                                          FOLLOW UP W/ S. UHLAND AND J. SU RE: SAME (.2)

12/31/19     J SU                         PREPARE DECLARATIONS FOR MEMBERSHIP INTERESTS                  2.0
                                          IN WEST COAST

12/31/19     T LI                         REVISE CREDITOR FAQS BASED ON S. UHLAND                        1.4
                                          COMMENTS AND EMAIL CLIENT RE: SAME (.9);
                                          COMMUNICATE W/ CREDITORS ON WECHAT RE: FORM 410
                                          AND PROCESS OF FILING PROOF OF CLAIM (.5)

Total        012 Meetings and Communications with Creditors                                             74.2

013 Non-Working Travel

12/04/19     T LI                         NON-WORKING TRAVEL FROM NEW YORK TO WILMINGTON                 2.7
                                          FOR 341 MEETING PREPARATION AND 341 MEETING (BILL
                                          AT HALF OF BILLING RATE)


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Client: JIA, YUETING                                                                                 04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                  Invoice: 1062231
CORP)
Matter: 0424428-00003                                                                             Page No. 17


Date         Name                         Description                                                  Hours

12/06/19     S UHLAND                     NON-WORKING RETURN TO NEW YORK (BILL AT HALF OF                 3.0
                                          BILLING RATE)

12/06/19     T LI                         NON-WORKING TRAVEL FROM WILMINGTON TO NEW YORK                  3.0
                                          AFTER 341 MEETING PREPARATION AND 341 MEETING
                                          (BILL AT HALF OF BILLING RATE)

12/17/19     D PEREZ                      NON-WORKING TRAVEL TIME TO DELAWARE TO ATTEND                   1.5
                                          DECEMBER 18 HEARING (BILL AT ½ OF BILLING RATE)

12/18/19     D PEREZ                      NON-WORKING RETURN TRAVEL TIME TO NEW YORK                      1.5
                                          FROM DELAWARE FOR DECEMBER 18 HEARING (BILL AT ½
                                          OF BILLING RATE)

Total        013 Non-Working Travel                                                                      11.7

014 Plan and Disclosure Statement

12/02/19     D PEREZ                      REVIEW AND REVISE DISCLOSURE STATEMENT MOTION                   1.6
                                          (.3); REVIEW COMMENTS TO DISCLOSURE STATEMENT
                                          FROM L. HAN AND M. ZHANG (.6); EMAILS W/ S. UHLAND
                                          AND T. LI RE: SAME (.2); REVIEW AND COMMENT ON
                                          SUMMARY OF OPEN QUESTIONS RE: SAME (.5)

12/02/19     T LI                         EMAIL S. UHLAND AND D. PEREZ RE: SECOND                         0.3
                                          AMENDMENT OF DISCLOSURE STATEMENT (.2); EMAIL D.
                                          PEREZ RE: DISCLOSURE STATEMENT MOTION AND SLC
                                          OBJECTION TO RETENTION (.1)

12/02/19     T LI                         REVISE DISCLOSURE STATEMENT AND COMPILE OPEN                    2.5
                                          ITEMS FOR CLIENT TO CONFIRM

12/02/19     L HAN                        DISCUSS W/ M. ZHANG RE: THE DISCLOSURE STATEMENT                0.1

12/03/19     D PEREZ                      REVIEW AND REVISE SOLICITATION MOTION AND BALLOT                4.9
                                          (2.4); PREPARE SUMMARY EMAIL OF SAME FOR Y. JIA
                                          TEAM (.2); RESEARCH RE: ADEQUATE INFORMATION FOR
                                          PURPOSES OF INDIVIDUAL CHAPTER 11 CASE (1.8);
                                          PREPARE SUMMARY EMAIL OF SAME FOR Y. JIA TEAM (.2);
                                          REVISE CONFIRMATION TIMELINE (.3)

12/04/19     D PEREZ                      REVIEW COMMENTS TO SOLICITATION MOTION AND                      2.9
                                          REVISE SAME (1.1); EMAILS W/ M. ZHANG, J. WANG, J.
                                          O'NEILL, AND EPIQ TEAM RE: SAME (.7); FINALIZE SAME
                                          FOR FILING (.9); REVIEW AND COMMENT ON NOTICE OF
                                          SAME (.2)

12/04/19     T LI                         REVISE AND FINALIZE SOLICITATION MOTION                         1.4

12/05/19     D PEREZ                      REVISE CONFIRMATION TIMELINE (.3); REVIEW EMERGE                0.9
                                          ENERGY DECISION RE: RELEASES (.3); EMAILS W/ R.
                                          PACHULSKI RE: SAME (.1); EMAILS W/ EPIQ TEAM RE:
                                          MAILING OF SOLICITATION PACKAGES (.2)

12/09/19     D PEREZ                      REVIEW AND COMMENT ON UPDATED PLAN                              0.2
                                          CONFIRMATION TIMELINE

12/12/19     D PEREZ                      EMAILS W/ EPIQ TEAM RE: TIMING FOR SOLICITATION                 0.2
                                          PACKAGES AND MAILING OF SAME

12/13/19     D PEREZ                      REVIEW UPDATED CONFIRMATION TIMELINE (.3); REVIEW               1.4
                                          SLC AND OFILM OBJECTIONS TO DISCLOSURE
                                          STATEMENT (.7); FOLLOW UP W/ T. LI RE: SAME (.2);
                                          EMAILS W/ S. UHLAND, J. O'NEILL, AND R. PACHULSKI RE:
                                          ADJOURNING DISCLOSURE STATEMENT HEARING (.2)


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Client: JIA, YUETING                                                                             04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,              Invoice: 1062231
CORP)
Matter: 0424428-00003                                                                         Page No. 18


Date        Name                       Description                                                 Hours

12/13/19    S UHLAND                   COMMUNICATIONS W/ R. PACHULSKI RE: RESCHEDULED                 0.4
                                       DATE FOR DISCLOSURE HEARING

12/16/19    D PEREZ                    REVISE AND UPDATE DISCLOSURE STATEMENT BASED ON                1.2
                                       COMMENTS FROM Y. JIA TEAM

12/16/19    T LI                       CORRESPOND W/ L. MARTIN (TRANSLATOR) RE:                       3.7
                                       CERTIFICATION OF DISCLOSURE STATEMENT, TIMING,
                                       AND ESTIMATED COST (.3); RESEARCH RE: THIRD-CIRCUIT
                                       PRECEDENT ON “PATENTLY UNCONFIRMABLE” (1.0);
                                       PREPARE SUMMARY OF DISCLOSURE STATEMENT
                                       OBJECTIONS AND RESPONSES (2.4)

12/17/19    D PEREZ                    EMAILS W/ T. LI AND TRANSPERFECT RE: TRANSLATION OF            1.4
                                       PLAN/DISCLOSURE STATEMENT (.3); REVISE AND UPDATE
                                       DISCLOSURE STATEMENT BASED ON COMMENTS FROM Y.
                                       JIA TEAM (1.1)

12/17/19    T LI                       CORRESPOND W/ CLIENT TEAM, L. MARTIN (TRANSLATOR),             1.4
                                       AND J. TRESSITO (TRANSLATOR) RE: TRANSLATION AND
                                       CERTIFICATION OF AMENDED DISCLOSURE STATEMENT
                                       (1.0); RESEARCH RE: UNCONFIRMABILITY ISSUES AT
                                       DISCLOSURE STATEMENT HEARING (.4)

12/17/19    T LI                       ANALYZE JUDGE OWENS' OPINION ON THIRD-PARTY                    1.7
                                       RELEASES AND DRAFT SUMMARY RE: SAME

12/18/19    R BLASHEK                  REVIEW PLAN DOCUMENTS, TAX REQUIREMENTS RE:                    2.0
                                       TRUSTS, ETC.

12/18/19    T LI                       FOLLOW UP W/ R. BLASHEK RE: AMENDED DISCLOSURE                 0.2
                                       STATEMENT AND PLAN

12/19/19    T LI                       EMAIL D. PEREZ RE: REVISING THE DISCLOSURE                     0.1
                                       STATEMENT

12/20/19    T LI                       RESEARCH RE: NINTH CIRCUIT CASE LAW ON "FACIALLY               2.6
                                       UNCONFIRMABLE" AND THIRD-PARTY RELEASES

12/20/19    S UHLAND                   CONFERENCE W/ V. SEKLUN, D. DONDENEAU (COUNSEL                 0.7
                                       TO EVERGRANDE) RE: CASE STATUS

12/24/19    D PEREZ                    TELEPHONE CONFERENCE W/ M. PAGAY, R. PACHULSKI,                0.9
                                       AND J. DULBERG RE: CONFIRMATION TIMELINE AND NEXT
                                       STEPS (.5); TELEPHONE CONFERENCE W/ Y. JIA TEAM RE:
                                       SAME (.4)

12/27/19    D PEREZ                    REVIEW AND COMMENT ON UPDATED CONFIRMATION                     0.2
                                       TIMELINE

12/30/19    D PEREZ                    PREPARE PROPOSED SHORTENED CONFIRMATION                        2.4
                                       TIMELINE (.6); TELEPHONE CONFERENCE W/ S. UHLAND, L.
                                       HAN, M. PAGAY, R. PACHULSKI, R. MOON, AND J. DULBERG
                                       RE: SAME (.9); TELEPHONE CONFERENCE W/ J. WANG, M.
                                       ZHANG, R. JIA, S. UHLAND, M. PAGAY, R. PACHULSKI, R.
                                       MOON, AND J. DULBERG RE: SAME (.9)

12/30/19    T LI                       REVIEW CALIFORNIA LOCAL RULES RE: SOLICITATION                 0.6
                                       MOTION




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Client: JIA, YUETING                                                                                      04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                       Invoice: 1062231
CORP)
Matter: 0424428-00003                                                                                 Page No. 19


Date          Name                             Description                                                 Hours

12/30/19      S UHLAND                         REVIEW AND REVISE TIMELINE FOR CONFIRMATION (.8);               2.6
                                               ATTEND CALLS W/ D. PEREZ, R. PACHULSKI, J. DULBERG,
                                               AND M. PAGAY RE: TIMELINE, STATUS (.9); TELEPHONE
                                               CONFERENCE W/ D. PEREZ, L. HAN, R. PACHULSKI, J.
                                               DULBERG, M. PAGAY, J. WANG, M. ZHANG, AND R. JIA RE:
                                               OPEN ISSUES (.9)

12/31/19      D PEREZ                          FOLLOW UP W/ T. LI RE: RE-FILING DISCLOSURE                     0.2
                                               STATEMENT MOTION

12/31/19      L HAN                            TELEPHONE CONFERENCE W/ CLIENT TEAM, R.                         1.3
                                               PACHULSKI, J. DULBERG, M. PAGAY, D. PEREZ, AND S.
                                               UHLAND RE: PLAN SCHEDULE, FF FINANCING, AND CASE
                                               TIMELINE (NOTE: CHINA DATE DECEMBER 31)

Total         014 Plan and Disclosure Statement                                                              40.0

015 Relief from Stay and Adequate Protection

12/11/19      D PEREZ                          RESEARCH RE: EFFECT OF STAY AND REFILING OF CASE                1.3
                                               IN EVENT OF DISMISSAL

Total         015 Relief from Stay and Adequate Protection                                                     1.3

019 Other International Issues

12/04/19      J CHEN                           TRANSLATE PART OF MEETING PREPARATION OUTLINE                   2.5
                                               AND POTENTIAL QUESTIONS INTO CHINESE

12/04/19      L HAN                            COORDINATE W/ A. GAO AND J. CHEN ON THE CHINESE                 0.1
                                               TRANSLATION OF 341 OUTLINE

12/04/19      A GAO                            TRANSLATE IN RE YUETING JIA (BANKR. D. DEL. CASE NO.            5.2
                                               19-12220) § 341(A) MEETING (MEETING OF CREDITORS)
                                               PREPARATION OUTLINE AND POTENTIAL QUESTIONS

12/12/19      L HAN                            DISCUSS W/ Y. JIA CHINA TEAM IN CHINESE RE:                     0.5
                                               COMMUNICATION W/ THE CHINESE CREDITORS AND
                                               TRANSLATIONS OF PLAN DOCUMENTS

12/18/19      L HAN                            REVIEW RELEVANT PRESS COVERAGE IN CHINA RE:                     0.4
                                               VENUE TRANSFER HEARING

12/20/19      L HAN                            TELEPHONE CONFERENCE W/ M. ZHANG IN CHINESE RE:                 0.3
                                               THE PRC ARTICLE AND CREDITORS INQUIRIES

12/24/19      L HAN                            TELEPHONE CONFERENCE W/ J. WANG RE: THE PR                      0.3
                                               STRATEGY IN CHINA ETC.

12/30/19      L HAN                            COMMUNICATE W/ M. ZHANG AND M. ZUO RE: CREDITORS                0.2
                                               QUESTIONS

12/31/19      L HAN                            DISCUSS W/ M. ZHANG ON THE WEST COAST                           0.4
                                               DECLARATIONS (.3); EMAIL J. SU RE: SAME (.1)

Total         019 Other International Issues                                                                   9.9

Total Hours                                                                                                 377.2

Total Fees                                                                                             322,778.50


Less 10% Discount                                                                                      (32,277.85)




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Client: JIA, YUETING                                                                                 04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                  Invoice: 1062231
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Total Fees After Adjustment                                                                         290,500.65

Disbursements
Copying                                                                                                $701.70
Expense Report Other (Incl. Out of Town Travel)                                                       6,025.67
FIRMEX                                                                                                  375.00
Online Research                                                                                      11,753.99
Scanning Services                                                                                         5.30
Telephone                                                                                                61.89

Total Disbursements                                                                                 $18,923.55


Total Current Invoice                                                                            $309,424.20




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Client: JIA, YUETING                                                                                 04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                  Invoice: 1062231
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Matter: 0424428-00003                                                                            Page No. 21


Timekeeper Summary
Timekeeper                                                                                            Hours

Attorneys

SUZZANNE UHLAND                                                                                         66.7

WILLIAM K. PAO                                                                                          45.2

JENNIFER TAYLOR                                                                                           0.3

LI HAN                                                                                                    9.0

ROBERT BLASHEK                                                                                            2.0

DIANA M. PEREZ                                                                                          90.7

RICHARD HOLM                                                                                              1.9

NIDHI M. GEEVARGHESE                                                                                      7.1

MAIAH H. PARKS                                                                                          13.4

JHE-YU SU                                                                                                 2.8

TJ LI                                                                                                  117.3

DANIEL J. TULLY                                                                                           3.3

Total for Attorneys                                                                                    359.7

Paralegal/Litigation Support

DENISE LIEU                                                                                               4.5

JANET CHEN                                                                                                2.5

ANITA GAO                                                                                                 5.2

BRANDON D. SCHNEIDER                                                                                      5.3

Total for Paralegal/Litigation Support                                                                  17.5

Total                                                                                                  377.2




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                     By Wire Transfer:
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Case 2:19-bk-24804-VZ                Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                     Desc
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Client: JIA, YUETING                                                                                04/16/20
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Task Summary
Timekeeper               Title                                                            Hours        Amount
SUZZANNE UHLAND          Partner                                                                6.7    9,346.50
DIANA M. PEREZ           Counsel                                                                2.7    2,686.50
TJ LI                    Associate                                                          25.8      13,932.00
Total for 001 Asset Analysis and Recovery                                                   35.2      25,965.00

SUZZANNE UHLAND         Partner                                                                 1.6    2,232.00
Total for 004 Business Operations                                                               1.6    2,232.00

LI HAN                   Partner                                                                2.3    2,357.50
SUZZANNE UHLAND          Partner                                                                3.0    4,185.00
WILLIAM K. PAO           Partner                                                                2.3    2,254.00
DIANA M. PEREZ           Counsel                                                                3.7    3,681.50
TJ LI                    Associate                                                              6.6    3,564.00
DENISE LIEU             Litigation Tech                                                      0.3          67.50
Total for 005 Case Administration                                                           18.2      16,109.50

DIANA M. PEREZ           Counsel                                                                1.4    1,393.00
TJ LI                   Associate                                                               0.1       54.00
Total for 006 Claims Administration and Objections                                              1.5    1,447.00

WILLIAM K. PAO           Partner                                                                0.6     588.00
DIANA M. PEREZ           Counsel                                                                0.6     597.00
TJ LI                  Associate                                                                0.6      324.00
Total for 007 Employment and Fee Applications                                                   1.8    1,509.00

LI HAN                   Partner                                                                1.4    1,435.00
SUZZANNE UHLAND          Partner                                                                6.0    8,370.00
WILLIAM K. PAO           Partner                                                                2.0    1,960.00
RICHARD HOLM             Counsel                                                                1.9    1,596.00
DIANA M. PEREZ           Counsel                                                            11.4      11,343.00
TJ LI                    Associate                                                          27.4      14,796.00
BRANDON D.             Project Assistant                                                        1.8     306.00
SCHNEIDER
Total for 008 Employment and Fee Application Objections                                     51.9      39,806.00

JENNIFER TAYLOR          Partner                                                                0.3     328.50
SUZZANNE UHLAND          Partner                                                                8.9   12,415.50
DIANA M. PEREZ           Counsel                                                                0.3     298.50
MAIAH H. PARKS           Associate                                                          13.4       9,045.00
Total for 009 Financing and Cash Collateral                                                 22.9      22,087.50

SUZZANNE UHLAND          Partner                                                            14.2      19,809.00
WILLIAM K. PAO           Partner                                                            27.0      26,460.00
DIANA M. PEREZ           Counsel                                                                8.1    8,059.50
TJ LI                    Associate                                                          21.3      11,502.00


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Client: JIA, YUETING                                                                                04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                 Invoice: 1062231
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BRANDON D.               Project Assistant                                                      3.5     595.00
SCHNEIDER
Total for 010 Hearings                                                                      74.1      66,425.50

LI HAN                   Partner                                                                1.0    1,025.00
SUZZANNE UHLAND          Partner                                                                8.1   11,299.50
WILLIAM K. PAO           Partner                                                            10.8      10,584.00
DIANA M. PEREZ           Counsel                                                                6.0    5,970.00
TJ LI                    Associate                                                              3.7    1,998.00
DANIEL J. TULLY          Associate                                                           3.3       2,656.50
Total for 011 Litigation                                                                    32.9      33,533.00

LI HAN                   Partner                                                                0.7     717.50
SUZZANNE UHLAND          Partner                                                            11.5      16,042.50
WILLIAM K. PAO           Partner                                                                2.5    2,450.00
NIDHI M.                 Counsel                                                                7.1    6,319.00
GEEVARGHESE
DIANA M. PEREZ           Counsel                                                            33.8      33,631.00
TJ LI                    Associate                                                          11.6       6,264.00
JHE-YU SU                Associate                                                              2.8    1,582.00
DENISE LIEU              Litigation Tech                                                     4.2         945.00
Total for 012 Meetings and Communications with Creditors                                    74.2      67,951.00

SUZZANNE UHLAND          Partner                                                                3.0    2,092.50
DIANA M. PEREZ           Counsel                                                                3.0    1,492.50
TJ LI                   Associate                                                            5.7         769.50
Total for 013 Non-Working Travel                                                            11.7       4,354.50

LI HAN                   Partner                                                                1.4    1,435.00
ROBERT BLASHEK           Partner                                                                2.0    2,650.00
SUZZANNE UHLAND          Partner                                                                3.7    5,161.50
DIANA M. PEREZ           Counsel                                                            18.4      18,308.00
TJ LI                    Associate                                                          14.5       7,830.00
Total for 014 Plan and Disclosure Statement                                                 40.0      35,384.50

DIANA M. PEREZ            Counsel                                                               1.3    1,293.50
Total for 015 Relief from Stay and Adequate Protection                                          1.3    1,293.50

LI HAN                   Partner                                                                2.2    2,255.00
ANITA GAO                Translator                                                             5.2    1,638.00
JANET CHEN                Translator                                                            2.5      787.50
Total for 019 Other International Issues                                                        9.9    4,680.50




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18th Floor                          omm.com
Los Angeles, CA 90071-2899




                                                Remittance Page
YUETING JIA                                                                                 April 16, 2020
                                                                                            OMM Matter: 0424428-00003
                                                                                            Invoice: 1062231
                                                                                            Contact: WILLIAM K. PAO

CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING, CORP)

For Professional Services Rendered Through December 31, 2019

Total Fees                                                                                                                 $322,778.50

Less 10% Discount                                                                                                          (32,277.85)

Total Fees After Adjustment                                                                                                $290,500.65

Total Disbursements                                                                                                         $18,923.55

Total Current Invoice                                                                                                      $309,424.20

                        REMITTANCE COPY - PLEASE RETURN WITH PAYMENT
                                            For questions, please contact Rachel Chan
                                                        rchan@omm.com
                                                          (213) 430-6459




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YUETING JIA                                                                                 April 16, 2020
                                                                                            OMM Matter: 0424428-00003
                                                                                            Invoice: 1062232
                                                                                            Contact: WILLIAM K. PAO

CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING, CORP)

For Professional Services Rendered Through January 31, 2020

Total Fees                                                                                                                 $438,785.00

Less 10% Discount                                                                                                          (43,878.50)

Total Fees After Adjustment                                                                                                $394,906.50

Total Disbursements                                                                                                         $11,364.76

Total Current Invoice                                                                                                      $406,271.26




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Client: JIA, YUETING                                                                                  04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                   Invoice: 1062232
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CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING, CORP)

For Professional Services Rendered Through January 31, 2020

Date         Name                         Description                                                  Hours

001 Asset Analysis and Recovery

01/02/20     T LI                         ASCERTAIN DISTRIBUTION RIGHT AMOUNT RE: PACIFIC                 0.1
                                          TECHNOLOGY LLC AGREEMENT AND FIRST AMENDMENT

01/03/20     T LI                         MEETING W/ S. UHLAND RE: SMART KING ARTICLES,                   0.7
                                          RESTRUCTURING AGREEMENT, AND CLIENT
                                          MEMORANDUM

01/03/20     S UHLAND                     MEETING W/ T. LI RE: SMART KING ARTICLES,                       0.7
                                          RESTRUCTURING AGREEMENT, AND CLIENT
                                          MEMORANDUM

01/04/20     T LI                         ANALYZE RELEVANT DOCUMENTS AND DRAFT CLIENT                     6.4
                                          MEMORANDUM RE: CO-SALE RIGHTS (1.5); ANALYZE
                                          RELEVANT DOCUMENTS AND DRAFT CLIENT
                                          MEMORANDUM RE: RIGHT OF FIRST REFUSAL (1.3);
                                          ANALYZE SMART KING ARTICLES AND DRAFT CLIENT
                                          MEMORANDUM RE: SUPER VOTING RIGHTS (1.3); REVISE
                                          AND FINALIZE CLIENT MEMORANDUM RE: TRANSFER
                                          RESTRICTION AND POTENTIAL SOLUTION BASED ON
                                          MEETING W/ S. UHLAND (2.3)

01/06/20     T LI                         CORRESPOND W/ S. UHLAND RE: AMENDMENT OF SMART                  0.2
                                          KING ARTICLES

01/06/20     T LI                         REVISE AND FINALIZE MEMORANDUM RE: SMART KING                   1.5
                                          BASED ON S. UHLAND COMMENTS

01/07/20     S UHLAND                     TELEPHONE CONFERENCE W/ J. JOHNSON (FF) RE: SMART               2.3
                                          KING CORPORATE DOCUMENTS (.5); MEET W/ A.
                                          BEHLMANN, J. JOHNSON RE: SMART KING DOCUMENTS,
                                          CORPORATE GOVERNANCE (1.4); MEETING W/ J. WANG, M.
                                          ZHANG, AND A. BEHLMANN RE: YIDAO (.4)

01/12/20     T LI                         CORRESPOND W/ R. MOON RE: LIQUIDATION PROTOCOL                  0.1
                                          AND EVERGRANDE RESTRUCTURING AGREEMENT

01/16/20     S UHLAND                     ANALYZE CAYMAN LAW ISSUES RE: TRANSFER (.9);                    1.3
                                          COMMUNICATION W/ C. MORAN (MAPLES) RE: SAME (.4).

Total        001 Asset Analysis and Recovery                                                             13.3

005 Case Administration

01/02/20     T LI                         CORRESPOND W/ EPIQ TEAM RE: UPDATED FAQS                        0.2
                                          REFLECTING CASE DEVELOPMENTS

01/08/20     D PEREZ                      TELEPHONE CONFERENCE W/ J. DULBERG RE: MEETING                  0.3
                                          W/ UST AND NEXT STEPS

01/09/20     D PEREZ                      REVISE CASE BUDGET RE: PROFESSIONAL FEES (.7);                  1.4
                                          EMAILS W/ S. UHLAND, M. PAGAY, T. LI, AND W. PAO RE:
                                          SAME (.3); MEETING W/ T. LI RE: SAME (.4)

01/09/20     D PEREZ                      REVIEW AND COMMENT ON DRAFT STATUS REPORT (.3);                 0.6
                                          EMAILS W/ M. PAGAY, J. DULBERG, S. UHLAND, AND M.
                                          ZHANG RE: SAME (.3)


                                       Due upon receipt. Please remit to:
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Client: JIA, YUETING                                                                                    04/16/20
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CORP)
Matter: 0424428-00003                                                                               Page No. 3


Date         Name                          Description                                                   Hours

01/09/20     T LI                          MEETING W/ D. PEREZ RE: CASE BUDGET TO BE FILED W/               1.8
                                           STATUS UPDATE (.4); PREPARE CASE BUDGET TO BE
                                           FILED W/ STATUS UPDATE (1.4)

01/13/20     T LI                          REVISE AND UPDATE CASE TIMELINE BASED ON RECENT                  0.6
                                           DEVELOPMENTS AND NEGOTIATIONS W/ CREDITORS

01/21/20     S UHLAND                      REVIEW AND REVISE 341 TRANSCRIPT RE: CORRECT                     1.3
                                           NAMES OF CORPORATE ENTITIES ETC.

01/22/20     T LI                          CONSTRUCT REVISED CASE TIMELINE AND EMAIL D.                     0.3
                                           PEREZ RE: SAME

01/26/20     T LI                          FOLLOW UP W/ S. UHLAND RE: DEED OF UNDERTAKING                   0.4
                                           (.3); CORRESPOND W/ R. MOON RE: CASE TIMELINE (.1)

01/28/20     W PAO                         TELEPHONE CONFERENCE W/ L. HAN AND T. LI RE:                     0.2
                                           STATUS UPDATE AND CERTAIN MOTIONS TO BE FILED

01/28/20     T LI                          CORRESPOND W/ J. WANG RE: DEED OF UNDERTAKING                    0.3
                                           (.1); TELEPHONE CONFERENCE W/ L. HAN AND W. PAO RE:
                                           STATUS UPDATE AND CERTAIN MOTIONS TO BE FILED (.2)

01/29/20     L HAN                         TELEPHONE CONFERENCE W/ T. LI AND W. PAO RE:                     0.2
                                           STATUS UPDATE AND CERTAIN MOTIONS TO BE FILED
                                           (NOTE: CHINA DATE JANUARAY 29)

01/29/20     T LI                          PREPARE PRO HAC VICE MOTION FOR D. PEREZ AND                     0.5
                                           EMAIL B. DASA RE: SAME

01/30/20     T LI                          CONSTRUCT TIMELINE W/ ACTION ITEMS AND EMAIL D.                  0.7
                                           PEREZ, W. PAO, AND L. HAN RE: SAME

Total        005 Case Administration                                                                        8.8

006 Claims Administration and Objections

01/08/20     T LI                          CORRESPOND W/ D. PEREZ AND M. ZHANG RE: PROOF OF                 0.2
                                           CLAIM FORM AFTER VENUE TRANSFER (.1); CORRESPOND
                                           W/ M. ZHANG AND CREDITOR WECHAT GROUP IN CHINESE
                                           RE: PROOF OF CLAIM FORM AFTER VENUE TRANSFER (.1)

01/10/20     D PEREZ                       EMAILS W/ EPIQ TEAM RE: POC FORMS (.2); REVIEW                   0.3
                                           LANGUAGE RE: SAME (.1)

01/15/20     D PEREZ                       EMAILS W/ EPIQ TEAM AND J. MERKIN RE: CLAIM FILING               0.3
                                           QUESTIONS

01/17/20     D PEREZ                       EMAILS W/ T. LI AND EPIQ TEAM RE: FILED PROOFS OF                0.3
                                           CLAIM

01/22/20     W PAO                         COMMUNICATIONS W/ M. ZHANG RE: STATUS OF KANSAS                  0.2
                                           IRS CLAIM

01/22/20     D PEREZ                       EMAILS W/ W. PAO RE: KANSAS TAX CLAIMS (.1); REVIEW              0.2
                                           SCHEDULES RE: SAME (.1)

01/23/20     D PEREZ                       FOLLOW UP W/ T. LI RE: PROCEDURES FOR FILING                     0.2
                                           PROOFS OF CLAIM

01/27/20     T LI                          CORRESPOND W/ R. MOON RE: CLAIM REGISTER                         0.1

Total        006 Claims Administration and Objections                                                       1.8

008 Employment and Fee Application Objections



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Client: JIA, YUETING                                                                                    04/16/20
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Matter: 0424428-00003                                                                               Page No. 4


Date          Name                         Description                                                   Hours

01/07/20      D PEREZ                      REVIEW UST QUESTIONS RE: OMM AND PACHULSKI                       0.4
                                           RETENTION (.2); EMAILS W/ S. UHLAND AND M. PAGAY RE:
                                           SAME (.2)

01/10/20      D PEREZ                      REVIEW AND REVISE SUPPLEMENTAL UHLAND RETENTION                  0.9
                                           DECLARATION

01/10/20      T LI                         PREPARE SUPPLEMENTAL DECLARATION OF S. UHLAND IN                 1.8
                                           SUPPORT OF RETENTION APPLICATION AND EMAIL D.
                                           PEREZ RE: SAME (1.5); REVISE SUPPLEMENTAL
                                           DECLARATION OF S. UHLAND IN SUPPORT OF RETENTION
                                           APPLICATION BASED ON D. PEREZ COMMENTS (.3)

01/12/20      W PAO                        REVISE DECLARATION IN SUPPORT OF RETENTION OF                    0.3
                                           OMM

01/13/20      D PEREZ                      REVIEW COMMENTS TO S. UHLAND SUPPLEMENTAL                        0.2
                                           DECLARATION

01/13/20      L HAN                        REVIEW AND COMMENT ON SUPPLEMENTAL                               0.4
                                           DECLARATION TO RETENTION APPLICATION

01/13/20      T LI                         REVISE SUPPLEMENTAL DECLARATION IN SUPPORT OF                    0.3
                                           RETENTION APPLICATION AND EMAIL S. UHLAND RE: SAME

01/15/20      D PEREZ                      REVIEW Y. JIA DECLARATION RE: PERSONAL ADVISORS                  0.4
                                           (.2); REVIEW UPDATED S. UHLAND DECLARATION IN
                                           SUPPORT OF OMM RETENTION (.2)

01/15/20      T LI                         REVISE SUPPLEMENTAL DECLARATION IN SUPPORT OF                    0.9
                                           RETENTION APPLICATION

01/16/20      D PEREZ                      REVIEW AND COMMENT ON REVISED DRAFT OF S.                        0.3
                                           UHLAND SUPPLEMENTAL DECLARATION RE: OMM
                                           RETENTION (.2); FOLLOW UP W/ M. PAGAY AND T. LI RE:
                                           SAME (.1)

01/19/20      T LI                         FINALIZE DECLARATION OF S. UHLAND IN SUPPORT OF                  0.3
                                           RETENTION APPLICATION AND EMAIL D. PEREZ RE: SAME

Total         008 Employment and Fee Application Objections                                                 6.2

009 Financing and Cash Collateral

01/02/20      D PEREZ                      PREPARE MATERIALS FOR DIP BUDGET                                 0.3

01/04/20      M PARKS                      REVIEW AND REVISE DEBTOR IN POSSESSION NOTE                      0.2

01/07/20      M PARKS                      REVIEW D. MEADOWS COMMENTS TO DIP NOTE                           0.2

01/09/20      D PEREZ                      ANALYZE PREPETITION NOTES (.4); EMAILS W/ J. DULBERG             0.5
                                           AND M. PAGAY RE: SAME (.1)

01/10/20      D PEREZ                      EMAILS W/ J. DULBERG RE: DIP TERM SHEET (.3); REVIEW             0.6
                                           SAME (.3)

01/11/20      D PEREZ                      FOLLOW UP W/ S. UHLAND RE: PREPETITION NOTE (.2);                0.4
                                           REVIEW NOTE RE: SAME (.2)

01/11/20      S UHLAND                     REVIEW PACIFIC TECHNOLOGY COMMENTS TO DIP NOTE                   1.3
                                           (.6); CONFERENCE W/ D. MEADOW AND J. DULBERG RE:
                                           DIP NOTE (.7)

01/11/20      S UHLAND                     ANALYZE ISSUES RE: PAC TECH PREPETITION NOTE                     0.4

01/12/20      S UHLAND                     REVIEW AND REVISE DIP NOTE                                       0.9


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Date           Name                          Description                                                     Hours

01/13/20       D PEREZ                       EMAIL M. ZHANG AND J. WANG RE: PACIFIC TECHNOLOGY                  0.2
                                             PREPETITION NOTE

01/15/20       S UHLAND                      MEETING W/ M. ZHANG, J. WANG, Y. JIA, R. PACHULSKI,                0.8
                                             AND M. PAGAY RE: DIP NOTE / LOAN

01/15/20       M PARKS                       REVIEW AND REVISE DIP NOTE                                         1.1

01/16/20       T LI                          CORRESPOND W/ M. PARKS RE: CASH FLOW REPORT                        0.1

01/17/20       M PARKS                       REVISE DEBTOR-IN-POSSESSION NOTE                                   0.3

01/17/20       D PEREZ                       PREPARE UPDATED DIP BUDGET (.8); FOLLOW UP W/ S.                   1.6
                                             UHLAND RE: SAME (.3); REVISE DIP PROMISSORY NOTE
                                             RE: S. UHLAND COMMENTS (.5)

01/18/20       S UHLAND                      REVIEW AND REVISE DIP BUDGET AND DIP NOTE                          0.9

01/20/20       M PARKS                       TELEPHONE CONFERENCE W/ D. MEADOWS AND J.                          0.4
                                             DULBERG RE: DEBTOR-IN-POSSESSION NOTE

01/21/20       M PARKS                       REVISE DIP NOTE                                                    0.6

01/21/20       D PEREZ                       UPDATE DIP BUDGET RE: PROFESSIONAL FEES (.2);                      0.4
                                             REVIEW REVISED DIP NOTE (.2)

01/22/20       M PARKS                       REVIEW AND REVISE DIP NOTE (.6); CORRESPOND W/ S.                  0.8
                                             UHLAND RE: SAME (.2)

01/22/20       S UHLAND                      REVIEW AND REVISE DIP NOTE                                         0.4

01/22/20       S UHLAND                      MEETING W/ J. WANG, M. ZHANG, AND D. MEADOWS                       1.3
                                             (COUNSEL TO PACIFIC TECHNOLOGIES) RE: DIP LOAN
                                             (1.1); EMAILS W/ M. PARKS RE: SAME (.2)

01/23/20       M PARKS                       CORRESPOND W/ R. MOON RE: DIP NOTE                                 0.3

01/24/20       M PARKS                       CORRESPOND W/ R. MOON RE: DIP NOTE (.1); REVISE                    0.3
                                             SAME (.2)

01/28/20       S UHLAND                      CONFERENCE W/ R. PACHULSKI AND J. WANG RE: DIP, SLC                0.8
                                             ISSUES

01/29/20       T LI                          TELEPHONE CONFERENCE W/ S. UHLAND, M. PARKS, D.                    0.5
                                             PEREZ, J. DULBERG, J. WANG, R. JIA, AND DIP LENDER RE:
                                             DIP FINANCING

01/29/20       D PEREZ                       TELEPHONE CONFERENCE W/ S. UHLAND, T. LI, M. PARKS,                0.5
                                             J. DULBERG, J. WANG, R. JIA, AND DIP LENDER RE: DIP
                                             FINANCING

01/29/20       M PARKS                       TELEPHONE CONFERENCE W/ D. MEADOWS, S. UHLAND,                     0.8
                                             D. PEREZ, T. LI, CLIENTS, J. DULBERG RE: DEBTOR-IN-
                                             POSSESSION NOTE (.5); CORRESPOND W/ J. DULBERG
                                             AND D. MEADOWS RE: SAME (.3)

01/29/20       S UHLAND                      TELEPHONE CONFERENCE W/ D. PEREZ, T. LI, M. PARKS, J.              0.5
                                             DULBERG, J. WANG, R. JIA, AND DIP LENDER RE: DIP
                                             FINANCING

Total          009 Financing and Cash Collateral                                                               17.4

010 Hearings




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Client: JIA, YUETING                                                                                    04/16/20
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Date             Name                       Description                                                  Hours

01/23/20         S UHLAND                   ATTEND Y. JIA STATUS CONFERENCE (INCLUDING BREAK                1.6
                                            OUT DISCUSSIONS W/ SLC COUNSEL, CREDITORS
                                            COMMITTEE RE: PLAN)

Total            010 Hearings                                                                               1.6

011 Litigation

01/08/20         W PAO                      PREPARE OUTLINE RE: Y. JIA DEPOSITION PREPARATION               0.6

01/09/20         D PEREZ                    REVIEW RESPONSE TO UST RE: MOTION TO APPOINT A                  0.3
                                            CHAPTER 11 TRUSTEE

01/10/20         W PAO                      PREPARE FOR UPCOMING DEPOSITION FOR Y. JIA                      0.8

01/10/20         W PAO                      COMMUNICATIONS W/ M. ZHANG AND D. PEREZ RE:                     0.3
                                            MOTION TO ENFORCE SETTLEMENT IN VIZIO LITIGATION

01/10/20         D PEREZ                    EMAILS W/ W. PAO AND M. ZHANG RE: VIZIO LITIGATION              0.4
                                            (.3); REVIEW SCHEDULES RE: SAME (.1)

01/10/20         D PEREZ                    TELEPHONE CONFERENCE W/ J. DULBERG RE: RESPONSE                 0.2
                                            TO UST QUESTIONS RE: MOTION TO APPOINT A CHAPTER
                                            11 TRUSTEE

01/12/20         W PAO                      COMMUNICATIONS W/ M. ZHANG AND D. PEREZ RE:                     0.9
                                            MOTION TO ENFORCE SETTLEMENT IN VIZIO LITIGATION

01/12/20         W PAO                      COMMUNICATIONS W/ M. ZHANG RE: KANSAS WELLS                     0.2
                                            FARGO LIEN STATUS

01/12/20         D PEREZ                    EMAILS W/ W. PAO RE: VIZIO LITIGATION                           0.2

01/13/20         W PAO                      COMMUNICATIONS W/ M. ZHANG AND D. PEREZ RE: VIZIO               0.7
                                            LITIGATION AND MOTION TO ENFORCE SETTLEMENT

01/13/20         W PAO                      PREPARE FOR DEPOSITION OF Y. JIA                                0.4

01/13/20         D PEREZ                    COMMUNICATE W/ W. PAO AND B. QINGYY RE: VIZIO                   0.5
                                            LITIGATION (.3); REVIEW BACKGROUND EMAILS RE: SAME
                                            (.2)

01/14/20         D PEREZ                    ASSIST W/ Y. JIA DEPOSITION PREPARATION BY                      0.5
                                            REVIEWING DATAROOM DOCUMENTS FOR POTENTIAL
                                            QUESTIONS

01/14/20         W PAO                      REVIEW MATERIALS FOR Y. JIA DEPOSITION                          2.4
                                            PREPARATION

01/15/20         W PAO                      DEPOSITION PREPARATION W/ Y. JIA                                6.7

01/15/20         S UHLAND                   ATTEND (PARTIAL) MEETING W/ Y. JIA, M. ZHANG, J. WANG,          5.8
                                            R. PACHULSKI, M. PAGAY, AND W. PAO RE: PREPARATION
                                            FOR COMMITTEE DEPOSITIONS AND PLAN

01/16/20         W PAO                      Y. JIA DEPOSITION PREPARATION (ONSITE W/ CLIENT)                6.2

01/16/20         D PEREZ                    ATTEND (PARTIAL) DEPOSITION PREPARATION MEETING                 1.5
                                            AT FARADAY W/ S. UHLAND, W. PAO, M. PAGAY, Y. JIA, M.
                                            ZHANG, J. WANG, AND R. JIA

01/17/20         S UHLAND                   ATTEND (PARTIAL) ALL DAY DEPOSITION SESSION OF Y.               7.8
                                            JIA (6.2); ATTEND PREPARATION MEETINGS W/ J. WANG, M.
                                            ZHANG, W. PAO, D. PEREZ, AND Y. JIA (1.6)




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Date         Name                          Description                                                  Hours

01/17/20     W PAO                         PREPARE FOR (1.4) AND DEFEND DEPOSITION OF Y. JIA               9.2
                                           (7.8)

01/17/20     D PEREZ                       ATTEND Y. JIA DEPOSITION PREPARATION MEETINGS W/ Y.             2.9
                                           JIA TEAM, W. PAO, S. UHLAND, J. DULBERG, AND M. PAGAY
                                           (1.4); REVIEW EXHIBITS RE: SAME 1.2); REVIEW
                                           DEPOSITION NDA RE: SAME (.3)

01/18/20     W PAO                         PREPARE FOR (.9) AND DEFEND DEPOSITION OF Y. JIA                7.1
                                           (6.2)

01/18/20     S UHLAND                      ATTEND Y. JIA CONFIDENTIAL DEPOSITIONS (DAY 2)                  6.2

01/19/20     T LI                          CORRESPOND W/ M. ZHANG RE: SETTLEMENT W/ VIZIO                  0.2

01/21/20     W PAO                         COMMUNICATIONS W/ D. TULLY AND M. ZHANG RE:                     0.2
                                           KANSAS IRS LETTER

01/21/20     W PAO                         COMMUNICATIONS W/ M. ZHANG RE: STATUS OF VIZIO                  0.3
                                           CASE AND MOTION TO ENFORCE SETTLEMENT

01/21/20     D TULLY                       ANALYZE REQUEST FROM CLIENT RELATING TO                         0.2
                                           CORRESPONDENCE FROM STATE OF KANSAS RE: TAX
                                           LIABILITIES

01/21/20     D PEREZ                       REVIEW VIZIO TERM SHEET AND ORDER                               0.3

01/22/20     W PAO                         COMMUNICATIONS W/ M. ZHANG RE: STATUS OF VIZIO                  0.2
                                           LITIGATION

01/27/20     W PAO                         REVIEW DOCUMENTS RE: SLC INJUNCTIONS                            0.4

01/27/20     W PAO                         FOLLOW UP W/ T. LI AND S. UHLAND RE: SLC INJUNCTIONS            0.4

01/28/20     S UHLAND                      TELEPHONE CONFERENCE W/ KOBRE & KIM, J. WANG (J.                0.8
                                           WANG, M. ZHANG) RE: POTENTIAL SETTLEMENT

Total        011 Litigation                                                                               64.8

012 Meetings and Communications with Creditors

01/01/20     T LI                          CORRESPOND W/ D. PEREZ RE: FAQS POSTING                         0.1

01/02/20     D PEREZ                       EMAILS W/ S. UHLAND, M. PAGAY, AND A. BEHLMAN RE:               0.2
                                           UCC NDAS

01/03/20     S UHLAND                      COMMUNICATE W/ B. KRUSE (FF) RE: COMMITTEE                      0.7
                                           DILIGENCE (.5); EMAILS W/ D. PEREZ RE: SAME (.2)

01/03/20     D PEREZ                       TELEPHONE CONFERENCE W/ R. PACHULSKI, M. PAGAY,                 1.2
                                           AND LOWENSTEIN TEAM RE: COMMITTEE INTERVIEWS (.6);
                                           EMAILS W/ M. PAGAY AND S. UHLAND RE: SAME (.2);
                                           REVIEW DOCUMENTS PRODUCED TO UST FOR
                                           UPLOADING TO UCC DATAROOM (.4)

01/04/20     D PEREZ                       REVIEW COMMITTEES LATEST DOCUMENT REQUESTS                      0.3

01/04/20     S UHLAND                      OUTLINE QUESTIONS AND PREPARE MATERIALS FOR                     1.7
                                           COMMITTEE INTERVIEW REVIEW ON FF BUSINESS
                                           QUESTIONS

01/04/20     T LI                          FOLLOW UP W/ S. UHLAND RE: FINANCIAL ADVISORS AND               0.2
                                           COMMITTEE DOCUMENT REQUEST




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Client: JIA, YUETING                                                                               04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                Invoice: 1062232
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Date        Name                       Description                                                  Hours

01/05/20    S UHLAND                   ATTEND MEETING W/ J. DULBERG, M. PAGAY, L. WONG, C.             4.3
                                       DENNY, AND L. BOSSERT (PARTIAL) RE: COMMITTEE
                                       INTERVIEWS (3.0); TELEPHONE CONFERENCE W/ B.
                                       KRUSE, J. DULBERG, AND M. PAGAY RE: COMMITTEE
                                       INTERVIEWS (.9); COMMUNICATIONS W/ T. LI RE: SAME (.4)

01/05/20    T LI                       CORRESPOND W/ S. UHLAND RE: COMMITTEE INTERVIEW                 0.4
                                       DOCUMENTS

01/06/20    D PEREZ                    EMAILS W/ S. UHLAND AND A. BEHLMANN RE: FF NDA (.3);            0.8
                                       REVIEW COMMITTEE COMMENTS TO SAME (.3); REVIEW
                                       CREDITOR QUESTIONS AND RESPONSE TO SAME FROM
                                       WECHAT (.2)

01/06/20    S UHLAND                   ATTEND INTERVIEWS OF G. GAA (1.6); ATTEND INTERVIEW             5.5
                                       OF J. WANG (2.7); DRAFT AND REVISE FF CONFIDENTIALITY
                                       AGREEMENT (.6); CONFERENCE W/ A. BEHLMANN RE:
                                       SAME (.4); EMAILS W/ D. PEREZ RE: SAME (.2)

01/07/20    W PAO                      REVIEW COMMUNICATIONS FROM CREDITORS                            0.3
                                       COMMITTEE RE: COMMITTEE INTERVIEWS

01/07/20    D PEREZ                    FINALIZE UCC NDA (.7); FOLLOW UP W/ J. MERKIN, M.               2.7
                                       ZHANG, AND J. WANG RE: SAME (.4); REVIEW DOCUMENTS
                                       IN DATAROOM RE: PROFESSIONAL EYES ONLY
                                       DESIGNATIONS (.5); REVIEW COMMENTS TO FF NDA (.2);
                                       FOLLOW UP W/ S. UHLAND RE: SAME (.1); REVIEW LIST OF
                                       OPEN COMMITTEE QUESTIONS RE: FARADAY (.2); REVIEW
                                       AND UPLOAD RESPONSIVE DOCUMENTS TO SAME (.6)

01/08/20    D PEREZ                    REVIEW AND UPLOAD DOCUMENTS RESPONSIVE TO UCC                   0.7
                                       REQUESTS (.5); FOLLOW UP W/ R. JIA RE: SAME (.2)

01/09/20    D PEREZ                    REVIEW AND UPLOAD DOCUMENTS RESPONSIVE TO UCC                   0.9
                                       REQUESTS (.6); EMAILS W/ M. ZHANG, J. WANG, AND S.
                                       UHLAND RE: SAME (.3)

01/10/20    D PEREZ                    REVIEW DOCUMENTS IN DATAROOM FOR PROFESSIONAL                   0.9
                                       EYES ONLY DESIGNATION

01/11/20    W PAO                      STRATEGIZE RE: UPCOMING DEPOSITION AND                          0.8
                                       DEPOSITION PREPARATION FOR Y. JIA

01/13/20    D PEREZ                    FOLLOW UP W/ S. UHLAND RE: PROFESSIONAL EYES ONLY               1.8
                                       DESIGNATION FOR COMMITTEE DOCUMENTS (.2); FOLLOW
                                       UP W/ M. ZHANG RE: SAME (.2); REVISE DATAROOM
                                       FOLDERS ACCORDINGLY (.4); REVIEW AND COMMENT ON
                                       LETTER TO COMMITTEE RE: SQ INVESTIGATION (.2);
                                       EMAILS AND TELEPHONE CONFERENCE W/ M. PAGAY RE:
                                       SAME (.2); EMAILS W/ M. PAGAY RE: UPLOAD OF Y. JIA
                                       BANK STATEMENTS (.2); REVIEW AND UPLOAD
                                       DOCUMENTS TO DATAROOM (.4)

01/14/20    D PEREZ                    EMAILS W/ M. ZHANG, J. WANG, R. JIA, AND M. PAGAY RE:           0.3
                                       UPLOADS TO DATAROOM AND RESPONSIVE DOCUMENTS
                                       TO UCC REQUESTS

01/14/20    D LIEU                     UPDATE THE NDA, ADD NEW USERS, SET UP RESTRICTED                2.5
                                       ACCESS, APPEND NEW DOCUMENTS, PREPARE
                                       INSTRUCTIONS FOR COPYING DOCUMENTS BETWEEN
                                       FOLDERS FOR THE JIA, YUETING CREDITOR'S COMMITTEE
                                       FIRMEX DEAL ROOM PER REQUEST OF D. PEREZ




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Date        Name                       Description                                                  Hours

01/14/20    D PEREZ                    REVIEW AND UPLOAD RESPONSIVE DOCUMENTS TO                       1.1
                                       DATAROOM

01/15/20    D PEREZ                    REVIEW AND UPLOAD DOCUMENTS RESPONSIVE TO UCC                   0.9
                                       REQUESTS (.7); EMAILS W/ M. PAGAY AND T. LI RE: SAME
                                       (.2)

01/15/20    D LIEU                     ADD NEW USER AND SET UP RESTRICTED ACCESS FOR                   0.2
                                       THE JIA, YUETING CREDITOR'S COMMITTEE FIRMEX DEAL
                                       ROOM PER REQUEST OF D. PEREZ

01/15/20    T LI                       REVIEW PERSONAL FINANCIAL DOCUMENTS TO BE                       1.4
                                       PRODUCED TO COMMITTEE FOR DUE DILIGENCE (1.2);
                                       EMAILS W/ D. PEREZ RE: SAME (.2)

01/16/20    D PEREZ                    ATTEND (PARTIAL) MEETINGS W/ M. KAPLAN, B. WALDIE, J.           4.2
                                       WANG, R. JIA, AND S. UHLAND RE: OCEAN VIEW, BLITZ,
                                       AND LUCID MOTORS

01/16/20    D PEREZ                    REVIEW AND UPLOAD DOCUMENTS RESPONSIVE TO UCC                   0.5
                                       REQUESTS (.3); EMAILS W/ J. WANG AND R. JIA RE: SAME
                                       (.2)

01/16/20    T LI                       CORRESPOND W/ CREDITORS IN CHINESE IN WECHAT                    0.2
                                       GROUP RE: PROOF OF CLAIM FORM, SIGNATURE, AND
                                       RECEIPT OF PROOF OF CLAIM BY EPIQ

01/16/20    S UHLAND                   MEETING W/ Y. JIA, M. ZHANG, M. PAGAY, AND J. WANG RE:          1.6
                                       PREPARATION FOR MEETINGS W/ CREDITORS

01/16/20    S UHLAND                   PARTICIPATE IN DILIGENCE SESSION AT FF W/ M. KAPLAN,            6.2
                                       B. WALDIE, J. WANG, AND D. PEREZ (PARTIAL)

01/16/20    D LIEU                     ADD NEW USERS AND SET UP RESTRICTED ACCESS FOR                  1.0
                                       THE JIA, YUETING CREDITOR'S COMMITTEE FIRMEX DEAL
                                       ROOM PER REQUEST OF D. PEREZ

01/17/20    T LI                       ADDRESS WECHAT GROUP QUESTIONS IN CHINESE AND                   0.3
                                       CORRESPOND W/ EPIQ RE: SAME

01/17/20    D PEREZ                    REVIEW RESPONSIVE DOCUMENTS AND UPLOAD SAME TO                  2.4
                                       DATAROOM (1.6); REVISE FARADAY NDA (.6); FOLLOW UP
                                       W/ S. UHLAND RE: SAME (.2)

01/18/20    S UHLAND                   PRE-MEETING W/ M. PAGAY AND M. KAPLAN RE: OPEN                  1.2
                                       DILIGENCE ITEMS RE: OCEAN VIEW AND LUCID

01/18/20    D PEREZ                    REVIEW RESPONSIVE DOCUMENTS AND UPLOAD SAME TO                  0.8
                                       DATAROOM

01/19/20    S UHLAND                   REVIEW ADDITIONAL COMMITTEE DILIGENCE LIST                      0.4

01/19/20    T LI                       CORRESPOND IN CHINESE W/ CREDITORS IN WECHAT                    0.3
                                       GROUP RE: SUBMITTING PROOF OF CLAIMS AND UST
                                       WITHDRAWAL OF MOTION TO APPOINT CHAPTER 11
                                       TRUSTEE

01/19/20    D PEREZ                    REVIEW RESPONSIVE DOCUMENTS AND UPLOAD SAME TO                  0.6
                                       DATAROOM

01/20/20    S UHLAND                   TELEPHONE CONFERENCE W/ M. PAGAY, M. KAPLAN, A.                 0.8
                                       BEHLMANN, AND D. PEREZ RE: FOLLOW-UP DILIGENCE
                                       INCLUDING OCEAN VIEW AND LESOAR TRANSACTIONS




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Date        Name                       Description                                                 Hours

01/20/20    D PEREZ                    TELEPHONE CONFERENCE W/ S. UHLAND, M. PAGAY, M.                1.2
                                       KAPLAN, AND A. BEHLMANN RE: COMMITTEE
                                       INFORMATION REQUESTS (.8); REVIEW RESPONSIVE
                                       DOCUMENTS AND UPLOAD SAME TO DATAROOM (.4)

01/20/20    T LI                       CORRESPOND W/ CREDITORS IN CHINESE IN WECHAT                   0.1
                                       GROUP RE: FILING PROOFS OF CLAIM

01/21/20    T LI                       ANSWER CREDITOR QUESTIONS IN CHINESE IN THE                    0.4
                                       WECHAT GROUP RE: SIGNATURE, BAR DATE ORDER, CASE
                                       NUMBER, AND HANDWRITTEN PROOF OF CLAIM

01/22/20    T LI                       ANSWER CREDITOR QUESTIONS IN CHINESE IN THE                    0.1
                                       WECHAT GROUP

01/27/20    D LIEU                     MODIFY RESTRICT USERS RIGHTS FOR THE YUETING JIA               0.3
                                       CREDITORS COMMITTEE DATAROOM FIRMEX DEAL ROOM
                                       PER REQUEST OF D. PEREZ

01/28/20    D PEREZ                    REVIEW OUTSTANDING COMMITTEE DILIGENCE                         0.5
                                       REQUESTS

01/28/20    D PEREZ                    TELEPHONE CONFERENCE W/ S. UHLAND, T. LI, R.                   0.2
                                       PACHULSKI, J. DULBERG, AND M. PAGAY RE: PLAN FOR
                                       MEDIATION SESSIONS

01/28/20    S UHLAND                   TELEPHONE CONFERENCE W/ D. PEREZ, T. LI, R.                    0.2
                                       PACHULSKI, J. DULBERG, AND M. PAGAY RE: PLAN FOR
                                       MEDIATION SESSIONS

01/28/20    D LIEU                     MODIFY USER RIGHTS FOR THE YUETING JIA CREDITORS’              0.3
                                       COMMITTEE DATA ROOM FIRMEX DEAL ROOM PER
                                       REQUEST OF D. PEREZ

01/28/20    T LI                       TELEPHONE CONFERENCE W/ S. UHLAND, D. PEREZ, R.                0.2
                                       PACHULSKI, J. DULBERG, AND M. PAGAY RE: PLAN FOR
                                       MEDIATION SESSIONS

01/29/20    T LI                       COMMUNICATE W/ D. PEREZ RE: CHINESE DOCUMENT                   0.1
                                       PRODUCTION REVIEW

01/29/20    D PEREZ                    TELEPHONE CONFERENCE W/ T. LI RE: DOCUMENT                     0.5
                                       PRODUCTION REVIEW (.1); REVIEW POTENTIAL
                                       DOCUMENTS TO BE UPLOADED RE: UCC REQUESTS (.4)

01/29/20    D PEREZ                    EMAILS W/ M. PAGAY RE: MEDIATION STATEMENTS RE:                0.3
                                       PLAN CONFIRMATION ISSUES

01/30/20    W PAO                      OUTLINE NDA FOR DISCUSSIONS W/ SLC                             0.3

01/31/20    T LI                       DRAFT AND REVISE MEDIATION STATEMENTS AND EMAIL                5.3
                                       D. PEREZ RE: SAME (3.0); ASCERTAIN INFORMATION RE:
                                       MEETING W/ COMMITTEE AND DEPOSITIONS FOR
                                       MEDIATION STATEMENTS (.2); REVISE MEDIATION
                                       STATEMENTS AND EMAIL D. PEREZ RE: SAME (.7); MEET W/
                                       S. UHLAND RE: MEDIATION STATEMENTS AND RULE 408
                                       CONFIDENTIALITY AGREEMENT W/ A CERTAIN CREDITOR
                                       (.5); DRAFT CONFIDENTIALITY AGREEMENT (.5); REVISE
                                       AGREEMENT BASED ON W. PAO AND S. UHLAND
                                       COMMENTS RE: RULE 408 (.4)

01/31/20    T LI                       REVIEW CERTAIN BANK STATEMENTS TO BE ATTACHED                  0.6
                                       AS EXHIBITS TO MEDIATION STATEMENTS AND
                                       CORRESPOND W/ D. PEREZ AND M. PAGAY RE: SAME



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Date         Name                         Description                                                 Hours

01/31/20     W PAO                        REVISE AND EDIT SLC NDA                                        0.4

01/31/20     D PEREZ                      REVIEW AND REVISE T. LI SECTIONS OF PLAN MEDIATION            11.3
                                          STATEMENT (1.1); EMAILS W/ T. LI RE: SAME (.2); DRAFT
                                          REMAINING PORTIONS OF SAME (6.3); EMAILS W/ M.
                                          PAGAY RE: SAME (.2); REVISE MEDIATION STATEMENT PER
                                          COMMENTS FROM S. UHLAND (1.2); REVISE SAME PER
                                          COMMENTS FROM M. PAGAY AND M. ZHANG (1.7); FINALIZE
                                          SAME FOR FILING (.6)

01/31/20     D PEREZ                      REVIEW POTENTIAL DOCUMENTS TO BE ATTACHED TO                   0.5
                                          MEDIATION STATEMENTS (.3); EMAILS W/ T. LI AND M.
                                          PAGAY RE: SAME (.2)

01/31/20     S UHLAND                     MEETING W/ T. LI RE: MEDIATION STATEMENTS AND 408              1.0
                                          CONFIDENTIALITY AGREEMENT W/ A CERTAIN CREDITOR
                                          (.5); REVISE THE SAME CONFIDENTIALITY AGREEMENT (.5)

Total        012 Meetings and Communications with Creditors                                             74.2

013 Non-Working Travel

01/16/20     D PEREZ                      NON-WORKING TRAVEL TIME FROM LOS ANGELES TO NEW                3.9
                                          YORK CITY FOR COMMITTEE MEETINGS (BILL AT ½ BILLING
                                          RATE)

01/18/20     D PEREZ                      NON-WORKING TRAVEL TIME FROM LOS ANGELES TO NEW                6.7
                                          YORK CITY FOR COMMITTEE MEETINGS (BILL AT ½ BILLING
                                          RATE)

Total        013 Non-Working Travel                                                                     10.6

014 Plan and Disclosure Statement

01/02/20     T LI                         REVISE, CONFORM, AND UPDATE SOLICITATION MOTION                4.1
                                          TO BE FILED W/ CALIFORNIA COURT (3.6); EMAILS AND
                                          MEET W/ D. PEREZ RE: SAME (.5)

01/02/20     D PEREZ                      EMAILS W/ M. PAGAY, J. DULBERG, AND T. LI RE:                  0.8
                                          SOLICITATION MOTION AND NEXT STEPS (.4);
                                          CONFERENCE W/ T. LI RE: SAME (.2); MEET W/ S. UHLAND
                                          RE: SAME (.2)

01/02/20     S UHLAND                     COMMUNICATIONS W/ M. ZHANG, R. PACHULSKI RE: TRUST             0.6
                                          TERM SHEET STATUS (.4); MEET W/ D. PEREZ RE:
                                          SOLICITATION MOTION (.2)

01/03/20     T LI                         REVISE, CONFORM, AND UPDATE SOLICITATION MOTION                6.1
                                          AND ORDERS ATTACHED THERETO (2.6); MEETING W/ D.
                                          PEREZ RE: SOLICITATION MOTION TO BE FILED IN
                                          CALIFORNIA (.3); REVISE SOLICITATION MOTION AND
                                          ORDERS ATTACHED THERETO BASED ON D. PEREZ AND S.
                                          UHLAND COMMENTS (2.5); PREPARE DECLARATION
                                          ATTACHED TO THE SOLICITATION MOTION AND
                                          CORRESPOND W/ R. MOON RE: SAME (.7)

01/03/20     D PEREZ                      REVIEW AND REVISE UPDATED DISCLOSURE STATEMENT                 3.5
                                          MOTION, ORDER, NOTICES, AND DECLARATION IN
                                          SUPPORT OF SAME (2.1); REVIEW S. UHLAND COMMENTS
                                          RE: SAME (.2); EMAILS W/ S. UHLAND, T. LI, AND J.
                                          DULBERG RE: SAME (.3); EMAILS AND TELEPHONE
                                          CONFERENCE W/ M. ZHANG RE: SAME (.4); MEET W/ T. LI
                                          RE: SAME (.3); TELEPHONE CONFERENCE W/ R. MOON RE:
                                          SAME (.2)


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Date        Name                       Description                                                  Hours

01/03/20    S UHLAND                   REVIEW AND REVISE SOLICITATION MOTION                           1.1

01/04/20    T LI                       REVIEW AND FINALIZE SOLICITATION MOTION AND                     0.6
                                       PROPOSED ORDERS BASED ON UPDATED TIMELINE AND
                                       EMAIL D. PEREZ RE: SAME

01/06/20    D PEREZ                    REVIEW AND REVISE SOLICITATION MOTION, ORDER,                   2.9
                                       NOTICES, AND DECLARATION IN SUPPORT OF SAME (1.5);
                                       EMAILS W/ T. LI, J. DULBERG, R. MOON, M. ZHANG, B.
                                       DASSO, AND S. UHLAND RE: SAME (.5); REVIEW UCC
                                       COMMENTS TO TRUST AGREEMENT TERM SHEET (.3);
                                       EMAILS W/ S. UHLAND RE: SAME (.2); UPDATE
                                       CONFIRMATION TIMELINE (.2); FOLOW UP W/ S. UHLAND
                                       AND T. LI RE: SAME (.2)

01/06/20    S UHLAND                   ATTEND MEETING W/ A. BEHLMANN, M. KAPLAN, R.                    2.5
                                       PACHULSKI, M. ZHANG, J. WANG, A. PULBAN, AND M.
                                       PAGAY RE: COMMITTEE ISSUES W/ TRUST AGREEMENT
                                       TERM SHEET (1.1); ANALYZE COMMITTEE PLAN
                                       COMMENTS RE: GOVERNANCE ISSUES (1.2);
                                       COMMUNICATE W/ D. PEREZ RE: SAME (.2)

01/06/20    S UHLAND                   MEETING W/ M. ZHANG RE: PLAN SCHEDULE                           0.6

01/06/20    T LI                       REVISE SOLICITATION MOTION BASED ON J. DULBERG                  1.3
                                       AND R. MOON COMMENTS AND EMAIL D. PEREZ RE: SAME
                                       (.8); FINALIZE SAME AND SEND TO GROUP (.5)

01/07/20    D PEREZ                    RESEARCH RE: EFFECT OF DISMISSAL ON INDIVIDUAL                  0.3
                                       DEBTOR

01/07/20    D PEREZ                    REVISE AMENDED DISCLOSURE STATEMENT                             0.9

01/07/20    S UHLAND                   MEETING W/ Y. JIA, M. ZHANG, R. JIA, J. WANG, AND J.            4.9
                                       JOHNSON RE: COMMITTEE TERM SHEET COMMENTS (3.2);
                                       PREPARE OUTLINE OF RESPONSES TO COMMITTEE (.8);
                                       MEETING W/ COMMITTEE RE: RESPONSES (.9)

01/08/20    D PEREZ                    REVIEW AND REVISE PLAN TERM SHEET AND EXHIBITS TO               7.0
                                       SAME (3.0); EMAILS AND TELEPHONE CONFERENCES W/ S.
                                       UHLAND RE: SAME (.5); TELEPHONICALLY ATTEND
                                       MEETING (PARTIAL) W/ M. ZHANG, J. WANG, AND S.
                                       UHLAND RE: SAME (3.5)

01/08/20    S UHLAND                   MEETING W/ Y. JIA, M. ZHANG, J. WANG, AND R. JIA RE:            2.7
                                       TERM SHEET REVISIONS (1.6); FOLLOW-UP MEETING W/ M.
                                       ZHANG, J. WANG, AND R. JIA RE: TERM SHEET REVISIONS
                                       (1.1)

01/08/20    S UHLAND                   MEETING W/ J. WANG, M. ZHANG RE: REVISIONS TO TERM              7.2
                                       SHEET (D. PEREZ PARTIAL BY TELEPHONE) (5.3); DRAFT
                                       AND REVISE SECTIONS OF PLAN TERM SHEET (1.4);
                                       FOLLOW UP W/ D. PEREZ RE: SAME (.5)

01/08/20    T LI                       REVISE PLAN TERM SHEET                                          0.6

01/09/20    D PEREZ                    REVIEW AND REVISE TERM SHEET (.7); EMAILS W/ S.                 0.9
                                       UHLAND RE: SAME (.2)

01/09/20    S UHLAND                   REVIEW AND REVISE STATUS REPORT RE: PLAN ISSUES                 1.9
                                       (.5); REVISE PLAN TERM SHEET (1.2); COMMUNICATE W/ D.
                                       PEREZ RE: SAME (.2)




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Date        Name                       Description                                                    Hours

01/10/20    D PEREZ                    REVIEW M. ZHANG COMMENTS TO TERM SHEET AND                        0.6
                                       REVISE SAME

01/11/20    S UHLAND                   DRAFT AND REVISE PLAN TERM SHEET                                  1.4

01/11/20    D PEREZ                    REVIEW AND REVISE PLAN TERM SHEET                                 1.1

01/12/20    D PEREZ                    REVIEW AND REVISE TERM SHEET PER S. UHLAND                        0.7
                                       COMMENTS

01/12/20    S UHLAND                   REVIEW AND REVISE PROPOSED TIMELINE FOR PLAN (.8);                1.7
                                       FURTHER REVIEW AND REVISE PLAN TERM SHEET (.9)

01/13/20    D PEREZ                    REVISE PLAN TERM SHEET RE: COMMENTS FROM S.                       3.3
                                       UHLAND AND J. WANG (1.1); MEET W/ S. UHLAND RE: SAME
                                       (.2); TELEPHONE CONFERENCE W/ S. UHLAND, T. LI, R.
                                       PACHULSKI, J. DULBERG, M. PAGAY, M. ZHANG, AND J.
                                       WANG RE: AVOIDANCE ACTIONS AND PLAN TERM SHEET
                                       (1.5); FOLLOW UP W/ S. UHLAND AND T. LI RE:
                                       CONFIRMATION TIMELINE (.2); REVISE SAME (.1); EMAILS
                                       W/ J. SULLIVAN (EPIQ) RE: SOLICITATION LOGISTICS (.2)

01/13/20    T LI                       REVIEW REVISED TERM SHEET IN PREPARATION FOR                      1.7
                                       CONFERENCE CALL (.2); TELEPHONE CONFERENCE W/ S.
                                       UHLAND, D. PEREZ, R. PACHULSKI, J. DULBERG, M. PAGAY,
                                       M. ZHANG, AND J. WANG RE: AVOIDANCE ACTIONS AND
                                       PLAN TERM SHEET (1.5)

01/13/20    S UHLAND                   FURTHER REVISIONS TO TERM SHEET RE:                               1.2
                                       INTERNATIONAL RELEASES (1.0); MEET W/ D. PEREZ RE:
                                       SAME (.2)

01/13/20    S UHLAND                   TELEPHONE CONFERENCE W/ D. PEREZ, T. LI, R.                       1.5
                                       PACHULSKI, J. DULBERG, M. PAGAY, M. ZHANG, AND J.
                                       WANG RE: AVOIDANCE ACTIONS AND PLAN TERM SHEET

01/14/20    D PEREZ                    REVISE TERM SHEET RE: COMMENTS FROM S. HE (.2);                   1.2
                                       EMAILS W/ A. BEHLMANN RE: SAME AND COMMITTEE
                                       ACCESS TO TERM SHEET (.1); EMAILS W/ M. ZHANG RE:
                                       CONFIRMATION TIMELINE (.1); ATTEND WEEKLY UPDATE
                                       TELEPHONE CONFERENCE W/ S. UHLAND, R. PACHULSKI,
                                       M. PAGAY, AND J. DULBERG RE: PLAN TERM SHEET AND
                                       NEXT STEPS (.8)

01/14/20    T LI                       CORRESPOND W/ M. ZHANG IN CHINESE TO EXPLAIN RE:                  0.2
                                       DEADLINE FOR OBJECTING TO DISCHARGE

01/14/20    S UHLAND                   TELEPHONE CONFERENCE W/ M. PAGAY, R. PACHULSKI,                   0.8
                                       AND D. PEREZ RE: PLAN, DILIGENCE

01/15/20    D PEREZ                    EMAILS W/ EPIQ TEAM RE: SOLICITATION PROCEDURES                   0.5
                                       (.2); EMAILS W/ J. WANG AND T. LI RE: SOLICITATION
                                       MOTION AND CONFIRMATION TIMELINE (.3)

01/15/20    T LI                       CORRESPOND W/ D. PEREZ RE: SOLICITATION MOTION                    0.3

01/16/20    D PEREZ                    REVIEW AND COMMENT ON UPDATED DRAFT OF                            0.4
                                       SOLICITATION MOTION (.3); EMAILS W/ T. LI RE: SAME (.1)

01/16/20    T LI                       UPDATE AND FINALIZE SOLICITATION MOTION FOR FILING                1.8

01/17/20    D PEREZ                    REVISE AND UPDATE DISCLOSURE STATEMENT                            1.1




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01/18/20    S UHLAND                   MEETINGS (PARTIAL) W/ J. WANG, M. ZHANG, R.                     1.7
                                       PACHULSKI, AND D. PEREZ RE: PLAN TERM SHEET AND
                                       NEXT STEPS

01/18/20    D PEREZ                    ATTEND MULTIPLE MEETINGS W/ Y. JIA TEAM, S. UHLAND,             5.5
                                       R. PACHULSKI, AND A. BEHLMANN RE: PLAN TERM SHEET
                                       (4.7); SUMMARIZE OPEN QUESTIONS AND CHANGES TO
                                       SAME (.6); REVIEW AND COMMENT ON UPDATE PLAN
                                       CONFIRMATION TIMELINE (.2)

01/21/20    D PEREZ                    REVISE AND UPDATE DISCLOSURE STATEMENT (2.7);                   4.5
                                       TELEPHONE CONFERENCE W/ S. UHLAND, M. PAGAY, R.
                                       PACHULSKI, A. BEHLMANN, AND M. KAPLAN RE: PLAN
                                       TERM SHEET (1.1); REVIEW COMMITTEE COMMENTS TO
                                       SAME AND SUMMARIZE MAJOR OPEN ISSUES (.7)

01/21/20    S UHLAND                   TELEPHONE CONFERENCE W/ R. PACHULSKI, J. DULBERG,               1.1
                                       M. PAGAY, D. PEREZ, A BEHLMANN, AND M. KAPLAN RE:
                                       PLAN TERM SHEET

01/22/20    T LI                       REVIEW EMPLOYMENT CONTRACTS RE: ASSUMPTION                      0.2

01/22/20    D PEREZ                    MEETING W/ T. LI RE: PLAN TERM SHEET, SECOND                    0.9
                                       AMENDED DISCLOSURE STATEMENT, AND FIRST
                                       AMENDED PLAN

01/22/20    D PEREZ                    EMAILS W/ T. LI RE: PREPARATION OF CONFIRMATION                10.7
                                       MATERIALS (.2); TELEPHONICALLY ATTEND MEETINGS W/
                                       S. UHLAND (PARTIAL), M. PAGAY, R. PACHULSKI, J.
                                       DULBERG, J. PROL, M. KAPLAN, A. BEHLMANN, AND J.
                                       WANG AND M. ZHANG RE: PLAN TERM SHEET (6.2); REVIEW
                                       AND REVISE PLAN TERM SHEET RE: SAME (1.3); EMAILS W/
                                       M. ZHANG AND J. WANG RE: SAME (.4); EMAILS W/ J.
                                       DULBERG RE: FILING OF SOLICITATION MOTION (.2);
                                       REVISE DISCLOSURE STATEMENT AND PLAN RE: UPDATED
                                       PLAN TERM SHEET (2.4)

01/22/20    S UHLAND                   ATTEND PLAN TERM SHEET NEGOTIATING SESSION                      4.7
                                       (PARTIAL) (INCLUDING CLIENT BREAK OUT SESSIONS) AT
                                       PACHULSKI W/ R. PACHULSKI, J. DULBERG, M. PAGAY, D.
                                       PEREZ (BY PHONE), M. KAPLAN, J. PROL, A. BEHLMANN, J.
                                       WANG, M. ZHANG, AND R. MOON

01/22/20    T LI                       CORRESPOND W/ J. DULBERG AND M. PAGAY RE: C.D. CAL              1.7
                                       DISCLOSURE STATEMENT, PLAN, AND CONFIRMATION
                                       BRIEF (.3); REVIEW SAMPLE DOCUMENTS TO PREPARE
                                       FOR AMENDMENT OF DISCLOSURE STATEMENT AND PLAN
                                       (.2); REVIEW PLAN TERM SHEET FOR DISCLOSURE
                                       STATEMENT AMENDMENT (.3); MEET W/ D. PEREZ RE:
                                       PLAN TERM SHEET, SECOND AMENDED DISCLOSURE
                                       STATEMENT, AND FIRST AMENDED PLAN (.9)

01/23/20    D PEREZ                    REVIEW J. WANG COMMENTS TO TERM SHEET AND                       3.2
                                       SUMMARIZE SAME (.6); REVISE PLAN RE: SAME (1.9);
                                       REVIEW AND REVISE TERM SHEET (.7)

01/23/20    S UHLAND                   DRAFT AND REVISE PLAN TERM SHEET RE: COMMITTEE                  3.9
                                       COMMENTS (1.1); IN-PERSON DRAFTING MEETING W/ M.
                                       ZHANG AND J. WANG RE: TERM SHEET (2.3);
                                       COMMUNICATE W/ T. LI RE: SAME (.5)

01/23/20    T LI                       REVISE PLAN TERM SHEET (3.1); CORRESPOND W/ S.                  3.6
                                       UHLAND RE: SAME (.5)



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01/24/20    D PEREZ                    REVIEW UST OBJECTION TO DISCLOSURE STATEMENT (.2);              2.2
                                       EMAILS W/ T. LI RE: SAME (.2); REVIEW AND REVISE PLAN
                                       RE: LATEST UPDATES (1.8)

01/24/20    T LI                       REVIEW FIRST AMENDED DISCLOSURE STATEMENT,                      2.8
                                       ASCERTAIN AREAS TO BE UPDATED W/ CLIENT INPUT FOR
                                       SECOND AMENDED DISCLOSURE STATEMENT, AND EMAIL
                                       CLIENT RE: SAME (2.1); EMAIL W/ S. UHLAND RE: CHANGES
                                       MADE IN THE SECOND AMENDED DISCLOSURE
                                       STATEMENT COMPARED TO PRIOR FILED VERSIONS (.2);
                                       CORRESPOND W/ CLIENT AND OMM HONG KONG OFFICE
                                       RE: REVIEW OF SECOND AMENDED DISCLOSURE
                                       STATEMENT (.3); EMAILS W/ D. PEREZ RE: UST OBJECTION
                                       TO DISCLOSURE STATEMENT (.2)

01/25/20    D PEREZ                    CONFERENCE W/ S. UHLAND RE: REVISIONS TO PLAN (.6);             2.5
                                       REVISE SAME (.7); TELEPHONE CONFERENCE W/ S.
                                       UHLAND, T. LI, R. PACHULSKI, M. PAGAY, A. BEHLMANN,
                                       AND M. KAPLAN RE: PLAN TERM SHEET (1.2)

01/25/20    S UHLAND                   TELEPHONE CONFERENCE W/ D. PEREZ, T. LI, R.                     2.7
                                       PACHULSKI, M. PAGAY, A. BEHLMANN, AND M. KAPLAN RE:
                                       PLAN TERM SHEET (1.2); ANALYZE ISSUES W/ PLAN
                                       RELEASES AND DISCHARGE (.9); COMMUNICATE W/ D.
                                       PEREZ RE: SAME (.6)

01/25/20    T LI                       TELEPHONE CONFERENCE W/ S. UHLAND, D. PEREZ, R.                 3.5
                                       PACHULSKI, M. PAGAY, A. BEHLMANN, AND M. KAPLAN RE:
                                       PLAN TERM SHEET (1.2); REVISE AND UPDATE SECOND
                                       AMENDED DISCLOSURE STATEMENT (2.3)

01/26/20    D PEREZ                    REVIEW AND REVISE TERM SHEET, PLAN, AND                         9.0
                                       DISCLOSURE STATEMENT AND EXHIBITS RE: LATEST
                                       UPDATES (7.1); TELEPHONE CONFERENCE W/ S. UHLAND,
                                       T. LI, AND R. MOON RE: LIQUIDATION ANALYSIS (.5);
                                       REVIEW COMMENTS TO TERM SHEET AND PREPARE
                                       RESPONSES TO SAME (.6); EMAILS W/ S. UHLAND AND T. LI
                                       RE: CHANGES TO PLAN AND DISCLOSURE STATEMENT (.8)

01/26/20    S UHLAND                   DRAFT AND REVISE TERM SHEET RE: COMMITTEE                       6.8
                                       COMMENTS (1.1); CONFERENCE W/ J. WANG RE: SAME (.8);
                                       DRAFT AND REVISE PLAN SECTIONS INCLUDING
                                       RELEASES (1.0); DRAFT AND REVISE DISCLOSURE
                                       STATEMENT (2.3); TELEPHONE CONFERENCE W/ R.
                                       PACHULSKI AND J. WANG RE: STATUS (.8); COMMUNICATE
                                       W/ T. LI AND D. PEREZ RE: SAME (.8)

01/26/20    S UHLAND                   TELEPHONE CONFERENCE W/ D. PEREZ, T. LI, AND R.                 0.5
                                       MOON RE: LIQUIDATION ANALYSIS




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01/26/20    T LI                       REVISE AND UPDATE MANAGEMENT DISCUSSION AND                     8.6
                                       ANALYSIS OF FINANCIAL CONDITION AND RESULTS OF
                                       OPERATIONS OF THE FF GROUP (1.1); REVISE SECOND
                                       AMENDED DISCLOSURE STATEMENT BASED ON FIRST
                                       AMENDED PLAN (3.8); CORRESPOND W/ B. DASA
                                       (PACHULSKI) RE: FILING OF SECOND AMENDED
                                       DISCLOSURE STATEMENT (.1); CORRESPOND W/ H. LI
                                       (OMM HONG KONG) RE: COMMENTS ON THE SECOND
                                       AMENDED DISCLOSURE STATEMENT (.1); UPDATE SECOND
                                       AMENDED DISCLOSURE STATEMENT BASED ON CLIENT
                                       INPUT AND COMMENTS (.9); CORRESPOND W/ S. UHLAND
                                       AND D. PEREZ RE: SAME (.8); REVISE PLAN TERM SHEET
                                       RE: JANUARY 25 COMMENTS FROM COMMITTEE AND S.
                                       UHLAND COMMENTS (1.3); TELEPHONE CONFERENCE W/
                                       S. UHLAND, D. PEREZ, T. LI, AND R. MOON RE: LIQUIDATION
                                       ANALYSIS (.5)

01/27/20    D PEREZ                    TELEPHONE CONFERENCE W/ S. UHLAND, T. LI, R.                   10.5
                                       PACHULSKI, A. BEHLMANN, AND M. KAPLAN RE: PLAN
                                       TERM SHEET AND FURTHER NEGOTIATIONS (.7); REVIEW
                                       AND REVISE PLAN RE: LATEST UPDATES (1.5); TELEPHONE
                                       CONFERENCE (PARTIAL) W/ J. WANG AND S. UHLAND RE:
                                       COMMENTS TO DISCLOSURE STATEMENT (.3); EMAILS W/
                                       T. LI AND S. UHLAND RE: SAME (.5); PREPARE RESPONSE
                                       TO M. ZHANG COMMENTS RE: UST OBJECTION TO
                                       DISCLOSURE STATEMENT (.3); EMAILS W/ S. HE RE:
                                       TRANSLATION OF THE TERM SHEET (.2); REVIEW
                                       COMMENTS TO TERM SHEET RE: FARADAY COUNSEL AND
                                       FOLLOW UP W/ J. WANG RE: SAME (.3); EMAILS W/ M.
                                       PAGAY AND T. LI RE: FINALIZATION OF THE PLAN AND
                                       DISCLOSURE STATEMENT FOR FILING (.5); FINALIZE PLAN,
                                       TERM SHEET, AND DISCLOSURE STATEMENT FOR FILING
                                       (6.2)

01/27/20    S UHLAND                   CONFERENCE W/ COUNSEL FOR SLC RE: PLAN AND                      5.8
                                       MEDIATION (.9); ANALYZE SLC TESTIMONY ORDERS (.7);
                                       DRAFT AND REVISE BACKGROUND SECTION OF
                                       DISCLOSURE STATEMENT (1.6); EMAILS W/ T. LI AND D.
                                       PEREZ RE: SAME (.5); DRAFT AND REVISE AMENDED PLAN
                                       (1.4); TELEPHONE CONFERENCE W/ J. WANG AND D.
                                       PEREZ (PARTIAL) RE: FF COMMENTS TO DISCLOSURE
                                       STATEMENT (.7)

01/27/20    S UHLAND                   TELEPHONE CONFERENCE W/ D. PEREZ, T. LI, R.                     0.7
                                       PACHULSKI, A. BEHLMANN, AND M. KAPLAN RE: PLAN
                                       TERM SHEET AND FURTHER NEGOTIATIONS




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01/27/20    T LI                       REVISE SECOND AMENDED DISCLOSURE STATEMENT                     10.9
                                       BASED ON S. UHLAND COMMENTS AND UPDATED FIRST
                                       AMENDED PLAN (2.8); EMAIL S. UHLAND RE: SAME FOR
                                       FURTHER REVIEW (.2); REVISE TERM SHEET BASED ON J.
                                       WANG (CLIENT) COMMENTS (.5); EMAIL S. UHLAND, J.
                                       WANG, AND D. PEREZ RE: SAME (.6); TELEPHONE
                                       CONFERENCE W/ S. UHLAND, D. PEREZ, R. PACHULSKI, A.
                                       BEHLMANN, AND M. KAPLAN RE: PLAN TERM SHEET AND
                                       FURTHER NEGOTIATIONS (.7); REVISE SECOND AMENDED
                                       DISCLOSURE STATEMENT BASED ON S. UHLAND
                                       COMMENTS AND EMAIL J. WANG (CLIENT) RE: SAME (2.1);
                                       REVISE EXHIBIT C TO THE DISCLOSURE STATEMENT AND
                                       EMAIL J. WANG RE: FACT CHECKING (.7); REVISE SECOND
                                       AMENDED DISCLOSURE STATEMENT PER D. PEREZ
                                       COMMENTS (2.2); REVISE TERM SHEET BASED ON J.
                                       JOHNSON COMMENTS (.2); FINALIZE SECOND AMENDED
                                       DISCLOSURE STATEMENT AND COORDINATE FILING (.6);
                                       EMAILS W/ D. PEREZ RE: SAME (.3)

01/27/20    L HAN                      REVIEW AND COMMENT ON THE DISCLOSURE STATEMENT                  1.0

01/28/20    D PEREZ                    TELEPHONE CONFERENCE W/ S. UHLAND, T. LI, R.                    1.4
                                       PACHULSKI, J. DULBERG, A. BEHLMANN, M. KAPLAN, AND
                                       R. MOON RE: CONTINUED NEGOTIATION OF CERTAIN
                                       PROVISIONS IN THE PLAN TERM SHEET (.9); EMAILS W/ S.
                                       UHLAND, R. PACHULSKI, M. PAGAY, AND A. BEHLMANN RE:
                                       SAME (.3); EMAILS W/ M. ZHANG AND T. LI RE: RESPONSE
                                       TO UST OBJECTION TO DISCLOSURE STATEMENT (.2)

01/28/20    S UHLAND                   CONFERENCE W/ M. ZHANG RE: POA STATUS                           0.6

01/28/20    S UHLAND                   TELEPHONE CONFERENCE W/ D. PEREZ, T. LI, R.                     0.9
                                       PACHULSKI, J. DULBERG, A. BEHLMANN, M. KAPLAN, AND
                                       R. MOON RE: CONTINUED NEGOTIATION OF CERTAIN
                                       PROVISIONS IN THE PLAN TERM SHEET

01/28/20    T LI                       CORRESPOND W/ R. MOON RE: PLAN TERM SHEET FOR                   1.4
                                       CONFERENCE CALL ON JANUARY 28 (.1); COORDINATE W/
                                       CREDITOR COMMITTEE AND OMM RE: CONFERENCE CALL
                                       RE: TERM SHEET (.1); COORDINATE W/ CREDITOR
                                       COMMITTEE AND OMM RE: DISCLOSURE STATEMENT
                                       HEARING (.1); TELEPHONE CONFERENCE W/ S. UHLAND, D.
                                       PEREZ, R. PACHULSKI, J. DULBERG, A. BEHLMANN, M.
                                       KAPLAN, AND R. MOON RE: CONTINUED NEGOTIATION OF
                                       CERTAIN PROVISIONS IN THE PLAN TERM SHEET (.9);
                                       EMAILS S/ D. PEREZ AND M. ZHANG QUESTIONS RE: UST
                                       OBJECTION TO THE DISCLOSURE STATEMENT (.2)

01/29/20    D PEREZ                    TELEPHONE CONFERENCE W/ M. PAGAY RE: LIQUIDATION                1.3
                                       ANALYSIS (.3); REVIEW SAME (.3); PREPARE SUMMARY OF
                                       QUESTIONS RE: SAME (.3); MEET W/ T. LI RE: OBJECTIONS
                                       TO THE DISCLOSURE STATEMENT, CASE TIMELINE, AND
                                       TRANSLATION OF DISCLOSURE STATEMENT (.2); FOLLOW-
                                       UP EMAILS W/ T. LI RE: SAME (.2)

01/29/20    T LI                       MEET W/ D. PEREZ RE: OBJECTIONS TO THE DISCLOSURE               0.2
                                       STATEMENT, CASE TIMELINE, AND TRANSLATION OF
                                       DISCLOSURE STATEMENT




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01/30/20    D PEREZ                       TELEPHONE CONFERENCE W/ S. UHLAND, T. LI, J.                   3.5
                                          DULBERG, M. PAGAY, R. PACHULSKI, M. KAPLAN, AND A.
                                          BEHLMANN RE: TERM SHEET AND MEDIATION (.5); MEET W/
                                          T. LI AND S. UHLAND RE: MEDIATION STATEMENTS AND
                                          OBJECTIONS TO APPROVAL OF THE DISCLOSURE
                                          STATEMENT (.5); REVIEW SLC AND CHONGQING
                                          OBJECTIONS TO THE DISCLOSURE STATEMENT (.3);
                                          REVIEW UPDATED CONFIRMATION TIMELINE W/ PLAN
                                          DEADLINES (.2); EMAILS W/ M. PAGAY RE: PLAN MEDIATION
                                          STATEMENT (.2); FOLLOW-UP CALL W/ M. PAGAY RE: SAME
                                          (.2); FOLLOW UP W/ T. LI RE: SAME (.2); REVIEW OUTLINE
                                          OF DISCLOSURE STATEMENT RE: TRANSLATION OF SAME
                                          (.2); EMAILS W/ T. LI AND S. HE RE: SAME (.2); REVIEW
                                          LIQUIDATION ANALYSIS AND CREATE ISSUES LIST RE:
                                          SAME (.7); TELEPHONE CONFERENCE W/ R. MOON RE:
                                          SAME (.3)

01/30/20    S UHLAND                      MEETING W/ D. PEREZ AND T. LI RE: MEDIATION                    0.5
                                          STATEMENTS AND OBJECTIONS TO APPROVAL OF THE
                                          DISCLOSURE STATEMENT

01/30/20    S UHLAND                      TELEPHONE CONFERENCE W/ D. PEREZ, T. LI, J. DULBERG,           0.5
                                          M. PAGAY, R. PACHULSKI, M. KAPLAN, AND A. BEHLMANN
                                          RE: TERM SHEET AND MEDIATION

01/30/20    S UHLAND                      ANALYZE LIQUIDATION ANALYSIS                                   0.8

01/30/20    T LI                          REVIEW SECTIONS OF THE SECOND AMENDED                          2.2
                                          DISCLOSURE STATEMENT THAT ARE UNLIKELY TO BE
                                          SUBJECT TO CHANGE AND THUS READY FOR
                                          TRANSLATION (1.1); EMAIL D. PEREZ AND CLIENT RE: SAME
                                          AND TRANSLATION PROCESS TO ENSURE TIMELINESS (.2);
                                          MEET W/ D. PEREZ AND S. UHLAND RE: MEDIATION
                                          STATEMENTS AND OBJECTIONS TO APPROVAL OF THE
                                          DISCLOSURE STATEMENT (.5); REVIEW LIQUIDATION
                                          ANALYSIS (.4)

01/30/20    T LI                          TELEPHONE CONFERENCE W/ S. UHLAND, D. PEREZ, J.                0.5
                                          DULBERG, M. PAGAY, R. PACHULSKI, M. KAPLAN, AND A.
                                          BEHLMANN RE: TERM SHEET AND MEDIATION

Total       014 Plan and Disclosure Statement                                                          193.0

017 Tax

01/07/20    R BLASHEK                     REVIEW PROPOSED REVISED TERM SHEET (.4);                       0.5
                                          COMMUNICATE W/ D. JOHNSON RE: SAME (.1)

01/21/20    A ROBERTS                     WORK ON TAX STRUCTURING ISSUES                                 4.9

01/22/20    A ROBERTS                     ANALYZE TRUST TAX STRUCTURING MATTERS (4.2);                   4.7
                                          COMMUNICATE W/ A. ANDERSON RE: SAME (.5)

01/22/20    A ANDERSON                    RESEARCH RE: QSF, LIQUIDATING TRUST AND TAX                    1.5
                                          IMPLICATIONS

01/22/20    A ANDERSON                    DISCUSS TRUST TAX ISSUES W/ A. ROBERTS                         0.5

01/22/20    A ANDERSON                    REVIEW QUESTIONS RE: TRUST STRUCTURE                           0.4




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01/27/20       R BLASHEK                          RESEARCH TAX ISSUES RE: REVISED TERM SHEET                    2.0
                                                  INCLUDING Y. JIA NEW REVERSIONARY INTEREST (1.4);
                                                  COMMUNICATE W/ D. JOHNSON RE: SAME (.3);
                                                  CONFERENCE CALL D. PEREZ, D. JOHNSON RE: TAX
                                                  ISSUES, RISKS W/ TERM SHEET CHANGES (.3)

01/27/20       D PEREZ                            TELEPHONE CONFERENCE W/ D. JOHNSON AND R.                     0.3
                                                  BLASHEK RE: TAX TREATMENT OF CREDITOR TRUST (.3)

Total          017 Tax                                                                                         14.8

019 Other International Issues

01/01/20       J SU                               REVISE DECLARATIONS FOR COMMITTEE RE: WEST                    0.5
                                                  COAST BASED ON CHINA TEAM COMMENTS

01/02/20       J SU                               COORDINATE INFORMATION FOR COMMITTEE RE: WEST                 0.4
                                                  COAST LLC

01/02/20       L HAN                              RESPOND TO CREDITOR INQUIRIES (IN CHINESE)                    0.2

01/06/20       T LI                               CORREPOND W/ CREDITORS IN CHINESE IN WECHAT                   0.5
                                                  GROUP RE: PROCEDURAL QUESTIONS

01/10/20       T LI                               DRAFT COMMUNICATION W/ CREDITORS RE: PROOF OF                 0.7
                                                  CLAIM IN BOTH ENGLISH AND CHINESE, PROPOSE
                                                  CHANGE TO WEBSITE, AND CONTACT EPIQ RE: SAME

Total          019 Other International Issues                                                                   2.3

Total Hours                                                                                                   408.8

Total Fees                                                                                               438,785.00


Less 10% Discount                                                                                       (43,878.50)

Total Fees After Adjustment                                                                              394,906.50

Disbursements
Copying                                                                                                      $62.50
Delivery Services / Messengers                                                                                36.78
Expense Report Other (Incl. Out of Town Travel)                                                            7,963.89
FIRMEX                                                                                                       375.00
Local Travel                                                                                                 464.10
Online Research                                                                                            2,421.49
Other Professionals                                                                                           20.00
Telephone                                                                                                     21.00

Total Disbursements                                                                                      $11,364.76


Total Current Invoice                                                                                 $406,271.26




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Case 2:19-bk-24804-VZ                Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                   Desc
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Client: JIA, YUETING                                                                                 04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                  Invoice: 1062232
CORP)
Matter: 0424428-00003                                                                            Page No. 20


Timekeeper Summary
Timekeeper                                                                                            Hours

Attorneys

WILLIAM K. PAO                                                                                          39.5

ROBERT BLASHEK                                                                                            2.5

SUZZANNE UHLAND                                                                                        118.0

LI HAN                                                                                                    1.8

ALEXANDER ANDERSON                                                                                        2.4

DIANA M. PEREZ                                                                                         143.2

DANIEL J. TULLY                                                                                           0.2

ALEXANDER ROBERTS                                                                                         9.6

TJ LI                                                                                                   81.4

MAIAH H. PARKS                                                                                            5.0

JHE-YU SU                                                                                                 0.9

Total for Attorneys                                                                                    404.5

Paralegal/Litigation Support

DENISE LIEU                                                                                               4.3

Total for Paralegal/Litigation Support                                                                    4.3

Total                                                                                                  408.8




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Case 2:19-bk-24804-VZ                Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                      Desc
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Client: JIA, YUETING                                                                                 04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                  Invoice: 1062232
CORP)
Matter: 0424428-00003                                                                             Page No. 21


Task Summary
Timekeeper               Title                                                             Hours        Amount
SUZZANNE UHLAND          Partner                                                                 4.3    6,364.00
TJ LI                    Associate                                                            9.0       6,030.00
Total for 001 Asset Analysis and Recovery                                                    13.3      12,394.00

WILLIAM K. PAO           Partner                                                                 0.2     209.00
LI HAN                   Partner                                                                 0.2     219.00
SUZZANNE UHLAND          Partner                                                                 1.3    1,924.00
DIANA M. PEREZ           Counsel                                                                 2.3    2,415.00
TJ LI                   Associate                                                                4.8    3,216.00
Total for 005 Case Administration                                                                8.8    7,983.00

WILLIAM K. PAO           Partner                                                                 0.2     209.00
DIANA M. PEREZ           Counsel                                                                 1.3    1,365.00
TJ LI                   Associate                                                                0.3      201.00
Total for 006 Claims Administration and Objections                                               1.8    1,775.00

WILLIAM K. PAO           Partner                                                                 0.3     313.50
LI HAN                   Partner                                                                 0.4     438.00
DIANA M. PEREZ           Counsel                                                                 2.2    2,310.00
TJ LI                  Associate                                                                 3.3    2,211.00
Total for 008 Employment and Fee Application Objections                                          6.2    5,272.50

SUZZANNE UHLAND          Partner                                                                 7.3   10,804.00
DIANA M. PEREZ           Counsel                                                                 4.5    4,725.00
TJ LI                    Associate                                                               0.6     402.00
MAIAH H. PARKS           Associate                                                            5.0       4,000.00
Total for 009 Financing and Cash Collateral                                                  17.4      19,931.00

SUZZANNE UHLAND          Partner                                                                 1.6    2,368.00
Total for 010 Hearings                                                                           1.6    2,368.00

WILLIAM K. PAO           Partner                                                             37.0      38,665.00
SUZZANNE UHLAND          Partner                                                             20.6      30,488.00
DIANA M. PEREZ           Counsel                                                                 6.8    7,140.00
DANIEL J. TULLY          Counsel                                                                 0.2     178.00
TJ LI                    Associate                                                            0.2         134.00
Total for 011 Litigation                                                                     64.8      76,605.00

WILLIAM K. PAO           Partner                                                                 1.8    1,881.00
SUZZANNE UHLAND          Partner                                                             23.6      34,928.00
DIANA M. PEREZ           Counsel                                                             34.8      36,540.00
TJ LI                    Associate                                                               9.7    6,499.00
DENISE LIEU              Litigation Tech                                                      4.3       1,010.50
Total for 012 Meetings and Communications with Creditors                                     74.2      80,858.50




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Client: JIA, YUETING                                                                                   04/16/20
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CORP)
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DIANA M. PEREZ          Counsel                                                                10.6       5,565.00
Total for 013 Non-Working Travel                                                               10.6       5,565.00

LI HAN                    Partner                                                                  1.0    1,095.00
SUZZANNE UHLAND           Partner                                                              59.3      87,764.00
DIANA M. PEREZ            Counsel                                                              80.4      84,420.00
TJ LI                    Associate                                                             52.3      35,041.00
Total for 014 Plan and Disclosure Statement                                                   193.0      208,320.0
                                                                                                                 0

ALEXANDER                 Partner                                                                  2.4    2,676.00
ANDERSON
ROBERT BLASHEK            Partner                                                                  2.5    3,512.50
DIANA M. PEREZ            Counsel                                                                  0.3     315.00
ALEXANDER                 Counsel                                                                  9.6    9,552.00
ROBERTS
Total for 017 Tax                                                                              14.8      16,055.50

LI HAN                    Partner                                                                  0.2     219.00
TJ LI                     Associate                                                                1.2     804.00
JHE-YU SU                 Associate                                                                0.9      634.50
Total for 019 Other International Issues                                                           2.3    1,657.50




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O’Melveny & Myers LLP               T: +1 213 430 6000                                                           Taxpayer ID: XX-XXXXXXX
400 South Hope Street               F: +1 213 430 6407
18th Floor                          omm.com
Los Angeles, CA 90071-2899




                                                Remittance Page
YUETING JIA                                                                                 April 16, 2020
                                                                                            OMM Matter: 0424428-00003
                                                                                            Invoice: 1062232
                                                                                            Contact: WILLIAM K. PAO

CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING, CORP)

For Professional Services Rendered Through January 31, 2020

Total Fees                                                                                                                 $438,785.00

Less 10% Discount                                                                                                          (43,878.50)

Total Fees After Adjustment                                                                                                $394,906.50

Total Disbursements                                                                                                         $11,364.76

Total Current Invoice                                                                                                      $406,271.26

                        REMITTANCE COPY - PLEASE RETURN WITH PAYMENT
                                            For questions, please contact Rachel Chan
                                                        rchan@omm.com
                                                          (213) 430-6459




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O’Melveny & Myers LLP               T: +1 213 430 6000                                                           Taxpayer ID: XX-XXXXXXX
400 South Hope Street               F: +1 213 430 6407
18th Floor                          omm.com
Los Angeles, CA 90071-2899




YUETING JIA                                                                                 April 16, 2020
                                                                                            OMM Matter: 0424428-00003
                                                                                            Invoice: 1062233
                                                                                            Contact: WILLIAM K. PAO

CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING, CORP)

For Professional Services Rendered Through February 29, 2020

Total Fees                                                                                                                 $428,281.50

Less 10% Discount                                                                                                          (42,828.15)

Total Fees After Adjustment                                                                                                $385,453.35

Total Disbursements                                                                                                          $9,716.04

Total Current Invoice                                                                                                      $395,169.39




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Case 2:19-bk-24804-VZ             Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                        Desc
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Client: JIA, YUETING                                                                                   04/16/20
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CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING, CORP)

For Professional Services Rendered Through February 29, 2020

Date         Name                          Description                                                  Hours

003 Assumption and Rejection of Leases and Contracts

02/11/20     D PEREZ                       EMAILS W/ M. PAGAY RE: 365(D)(4) EXTENSION                      0.2

Total        003 Assumption and Rejection of Leases and Contracts                                          0.2

005 Case Administration

02/10/20     T LI                          CONSTRUCT CASE TIMELINE BASED ON POTENTIAL                      0.9
                                           HEARING DATES FOR DISCLOSURE STATEMENT AND
                                           EMAIL D. PEREZ RE: SAME

02/24/20     T LI                          CORRESPOND W/ PACHULSKI RE: DELAY TO THE TIMELINE               0.2
                                           CAUSED BY THE VENUE TRANSFER

Total        005 Case Administration                                                                       1.1

006 Claims Administration and Objections

02/04/20     D PEREZ                       FOLLOW UP W/ W. PAO RE: MR INVOICES (.2); REVIEW                0.3
                                           SCHEDULES RE: SAME (.1)

02/13/20     D PEREZ                       REVIEW UPDATED CLAIMS REGISTER (.6); EMAILS W/ B.               0.7
                                           DASSA RE: SAME (.1)

02/20/20     T LI                          RECONCILE FILED CLAIMS W/ SCHEDULED CLAIMS AND                  2.6
                                           CALCULATE CLAIM AMOUNT FOR EACH CLASS (2.2);
                                           FOLLOW UP W/ D. PEREZ RE: RECONCILIATION OF FILED
                                           CLAIMS W/ SCHEDULED CLAIMS AND AMOUNT OF EACH
                                           CLASS (.2); FOLLOW UP W/ S. UHLAND RE: SAME (.2)

02/21/20     D PEREZ                       REVIEW FILED CLAIMS SPREADSHEET AND FOLLOW UP W/                0.5
                                           T. LI RE: SAME

02/21/20     T LI                          RECONCILE FILED CLAIMS W/ SCHEDULED CLAIMS,                     1.3
                                           CALCULATE CLAIM AMOUNT FOR EACH CLASS, AND
                                           CORRESPOND W/ D. PEREZ RE: SAME

Total        006 Claims Administration and Objections                                                      5.4

007 Employment and Fee Applications

02/03/20     D PEREZ                       REVIEW LOCAL RULES RE: RETENTION APPLICATION AND                0.3
                                           EMAIL M. PAGAY RE: SAME

02/07/20     D PEREZ                       FOLLOW UP W/ W. PAO AND S. UHLAND RE: OMM                       0.2
                                           RETENTION QUESTIONS

02/10/20     D PEREZ                       REVIEW CALIFORNIA INTERIM COMPENSATION                          0.5
                                           PROCEDURES (.2); EMAILS W/ W. PAO, M. PAGAY, J.
                                           DULBERG, AND S. UHLAND RE: SAME (.3)

02/14/20     D PEREZ                       REVIEW AND COMMENT ON ORDER RE: OMM RETENTION                   0.5
                                           AND NOTICE OF NON HEARING (.3); EMAILS W/ S. UHLAND,
                                           J. DULBERG, AND R. PACHULSKI RE: SAME (.2)

02/14/20     S UHLAND                      REVIEW AND REVISE ORDER RE: RETENTION OF                        0.4
                                           PROFESSIONAL, SLC RESERVATION



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Client: JIA, YUETING                                                                                   04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                    Invoice: 1062233
CORP)
Matter: 0424428-00003                                                                               Page No. 3


Date          Name                         Description                                                  Hours

02/21/20      D PEREZ                      EMAILS W/ J. DULBERG RE: INTERIM COMPENSATION                   0.3
                                           PROCEDURES

Total         007 Employment and Fee Applications                                                          2.2

008 Employment and Fee Application Objections

02/04/20      D PEREZ                      FINALIZE UHLAND DECLARATION IN SUPPORT OF                       1.8
                                           RETENTION AND PREPARE SAME FOR FILING (1.6); EMAILS
                                           W/ M. PAGAY RE: SAME (.2)

02/07/20      D PEREZ                      REVIEW UST OBJECTION TO R. MOON RETENTION PAPERS                0.2

Total         008 Employment and Fee Application Objections                                                2.0

009 Financing and Cash Collateral

02/02/20      T LI                         CORRESPOND W/ L. HAN AND M. PARKS RE: DIP LOAN                  0.1
                                           NOTE

02/05/20      S UHLAND                     DRAFT AND REVISE DIP NOTE                                       0.9

02/06/20      D PEREZ                      REVIEW DIP NOTE (.2); EMAILS W/ M. PARKS AND S.                 0.4
                                           UHLAND RE: SAME (.2)

02/06/20      M PARKS                      REVIEW COMMENTS TO DIP NOTE (.4); CORRESPOND W/ D.              0.6
                                           PEREZ RE: SAME (.2)

02/06/20      S UHLAND                     REVIEW AND REVISE DIP NOTE RE: COMMITTEE                        0.8
                                           COMMENTS

02/09/20      S UHLAND                     CONFERENCE W/ J. WANG RE: DIP FINANCING                         0.7

02/10/20      S UHLAND                     DRAFT AND REVISE DIP NOTE (.9); CONFERENCE W/ R.                1.5
                                           PACHULSKI AND W. PAO RE; SAME (.6)

02/10/20      W PAO                        COMMUNICATIONS W/ R. PACHULSKI AND S. UHLAND RE:                0.6
                                           DIP MOTION

02/12/20      W PAO                        MEETING W/ CLIENT AND R. PACHULSKI, S. UHLAND, M.               2.1
                                           PAGAY, AND J. DULBERG RE: DIP MOTION

02/12/20      S UHLAND                     PARTICIPATE (PARTIAL) IN MEETING (TELEPHONICALLY) W/            1.4
                                           R. PACHULSKI, J. DULBERG, J. WANG, P. MEADOWS, R. JIA,
                                           AND W. PAO RE: DIP FINANCING

02/13/20      S UHLAND                     ANALYZE DIP FINANCING PROPOSAL (.4); COMMUNICATE                0.7
                                           W/ J. WANG RE: SAME (.3)

02/19/20      S UHLAND                     FURTHER REVISE DIP NOTE                                         0.7

02/20/20      D PEREZ                      REVIEW COMMENTS TO DIP NOTE (.3); EMAILS W/ M.                  0.8
                                           PARKS RE: SAME (.2); EMAILS W/ S. UHLAND AND M. PARKS
                                           RE: DIP FACILITY AND EXIT FACILITY (.3)

02/20/20      S UHLAND                     FURTHER DRAFT AND REVISE DIP NOTE RE: AMENDED                   1.2
                                           TERMS (1.1); FOLLOW UP W/ D. PEREZ RE: SAME (.1)

02/20/20      M PARKS                      REVISE DIP NOTE (1.0); CORRESPOND W/ D. PEREZ RE:               1.4
                                           SAME (.4)

02/21/20      S UHLAND                     TELEPHONE CONFERENCE W/ T. LI, R. PACHULSKI, AND J.             0.9
                                           WANG RE: DIP FINANCING, EXIT FINANCING, PLAN TERM
                                           SHEET, AND HEARING DATES




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Client: JIA, YUETING                                                                               04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                Invoice: 1062233
CORP)
Matter: 0424428-00003                                                                          Page No. 4


Date        Name                       Description                                                  Hours

02/21/20    T LI                       TELEPHONE CONFERENCE W/ S. UHLAND, R. PACHULSKI,                0.9
                                       AND J. WANG RE: DIP FINANCING, EXIT FINANCING, PLAN
                                       TERM SHEET, AND HEARING DATES

02/22/20    S UHLAND                   INITIAL MARK UP DIP FINANCING MOTION (1.1); INITIAL             3.4
                                       MARK UP DIP FINANCING ORDER (1.4); DRAFT AND REVISE
                                       DIP NOTE (.9)

02/23/20    S UHLAND                   DRAFT AND REVISE DECLARATION OF M. ADYT FOR DIP                 5.3
                                       FINANCING MOTION (1.7); OUTLINE SECTIONS OF DIP
                                       MOTION RE: COMMITTEE DISCUSSIONS AND TRUST FUND
                                       (.9); TELEPHONE CONFERENCE W/ A. HABERKORN, T. LI,
                                       AND K. ZHU RE: DIP MOTION AND PROPOSED DIP ORDER
                                       (.5); EXTENSIVELY REVISE DIP MOTION (1.3); FINALIZE
                                       DECLARATION OF M. ADYT (.9)

02/23/20    K ZHU                      CONFERENCE W/ S. UHLAND, T. LI, AND A. HABERKORN W/             0.5
                                       RESPECT TO DIP MOTION AND ORDER

02/23/20    K ZHU                      REVISE DIP MOTION                                               6.3

02/23/20    A HABERKORN                LEGAL RESEARCH FOR S. UHLAND RE: CASH COLLATERAL                1.5
                                       AND DIP PROCEEDS

02/23/20    A HABERKORN                REVIEW AND MARK UP THE DRAFT DIP ORDER (5.8);                   6.0
                                       EMAILS W/ T. LI RE: SAME (.2)

02/23/20    A HABERKORN                TELEPHONE CONFERENCE W/ S. UHLAND, T. LI, AND K.                0.5
                                       ZHU RE: DIP MOTION AND PROPOSED DIP ORDER

02/23/20    T LI                       TELEPHONE CONFERENCE W/ S. UHLAND, A. HABERKORN,                4.5
                                       AND K. ZHU RE: DIP MOTION AND PROPOSED DIP ORDER
                                       (.5); GATHER BACKGROUND INFORMATION AND DRAFT DIP
                                       MOTION RE: CONNECTION BETWEEN CHAPTER 11 CASE
                                       AND FUNDING FOR FF (2.4); CONTINUE TO DRAFT SAME
                                       BASED ON S. UHLAND COMMENTS (.6); REVISE SAME
                                       BASED ON S. UHLAND COMMENTS (.6); CORRESPOND W/
                                       M. ADYT RE: DECLARATION IN SUPPORT OF THE DIP
                                       MOTION (.2); CORRESPOND W/ A. HABERKORN RE:
                                       PROPOSED DIP ORDER AND SEPARATE LEGAL
                                       REPRESENTATIONS OF CERTAIN ENTITIES (.2)

02/24/20    S UHLAND                   REVIEW AND REVISE DIP NOTE                                      0.7

02/24/20    S UHLAND                   DRAFT AND REVISE RIDER TO DIP MOTION RE:                        1.3
                                       NEGOTIATION OF DIP FINANCING (.9); CONFERENCE W/ M.
                                       ZHANG RE: DIP FINANCING (.4)

02/24/20    T LI                       CORRESPOND W/ J. DULBERG RE: CERTAIN RIDERS AND                 0.2
                                       SUPPLEMENTAL INFORMATION TO THE DIP MOTION

02/24/20    K ZHU                      DRAFT CORRESPONDENCE TO S. UHLAND W/ RESPECT TO                 0.3
                                       DRAFT DIP MOTION

02/25/20    S UHLAND                   DRAFT AND REVISE DIP NOTE (.9); CONFERENCE W/ D.                1.7
                                       MEADOWS RE: DIP NOTE CHANGES (.4);
                                       COMMUNICATIONS W/ R. JIA RE: DIP MOTION (.4)

02/25/20    S UHLAND                   FURTHER DRAFT AND REVISE DIP NOTE (.4); FURTHER                 2.0
                                       DRAFT AND REVISE PARAGRAPHS FOR DIP
                                       DECLARATIONS (.7); REVIEW AND REVISE DIP MOTION (.9)




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Client: JIA, YUETING                                                                                   04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                    Invoice: 1062233
CORP)
Matter: 0424428-00003                                                                                Page No. 5


Date           Name                          Description                                                 Hours

02/25/20       A HABERKORN                   REVISE THE DIP ORDER FURTHER AND ENSURE IT                     1.7
                                             TRACKED THE CURRENT DRAFTS OF THE DIP MOTION AND
                                             DIP NOTE

02/25/20       T LI                          REVISE DIP MOTION BASED ON S. UHLAND COMMENTS RE:              3.9
                                             CONNECTION BETWEEN CHAPTER 11 CASE AND FUNDING
                                             FOR FF (.6); REVISE BASED ON S. UHLAND COMMENTS RE:
                                             HISTORY OF NEGOTIATION BETWEEN THE DEBTOR AND
                                             COMMITTEE RE: FUNDING (.6); REVISE DIP MOTION
                                             THROUGHOUT BASED ON S. UHLAND COMMENTS (1.4);
                                             TELEPHONE CONFERENCE W/ S. UHLAND, D. PEREZ, M.
                                             PARKS, J. DULBERG, R. PACHULSKI, R. JIA, M. ZHANG, J.
                                             WANG, AND D. MEADOWS RE: DIP NOTE AND PLAN TERM
                                             SHEET (1.3)

02/25/20       S UHLAND                      TELEPHONE CONFERENCE W/ D. PEREZ, M. PARKS, T. LI, J.          1.3
                                             DULBERG, R. PACHULSKI, R. JIA, M. ZHANG, J. WANG, AND
                                             D. MEADOWS RE: DIP NOTE AND PLAN TERM SHEET

02/25/20       D PEREZ                       REVIEW REVISIONS TO DIP NOTE (.3); EMAILS W/ M.                1.8
                                             PARKS, S. UHLAND, AND J. WANG RE: SAME (.2);
                                             TELEPHONE CONFERENCE W/ S. UHLAND, M. PARKS, T. LI,
                                             J. DULBERG, R. PACHULSKI, R. JIA, M. ZHANG, J. WANG,
                                             AND D. MEADOWS RE: DIP NOTE AND PLAN TERM SHEET
                                             (1.3)

02/25/20       M PARKS                       TELEPHONE CONFERENCE W/ S. UHLAND, D. PEREZ, T. LI,            1.3
                                             J. DULBERG, R. PACHULSKI, R. JIA, M. ZHANG, J. WANG,
                                             AND D. MEADOWS RE: DIP NOTE AND PLAN TERM SHEET

02/26/20       S UHLAND                      REVIEW REVISED DIP MOTION                                      0.7

02/26/20       T LI                          REVISE M. AYDT DECLARATION IN SUPPORT OF THE DIP               0.6
                                             MOTION (.3); CORRESPOND W/ J. DULBERG RE: SAME (.1);
                                             FOLLOW UP W/ S. UHLAND RE: CERTAIN DIP MOTION
                                             REVISIONS (.2)

02/26/20       A HABERKORN                   FURTHER REVISE DIP ORDER BASED ON COMMENTS                     3.7
                                             FROM S. UHLAND

02/26/20       D PEREZ                       REVIEW REVISED DIP NOTE (.2); FOLLOW UP W/ M. PARKS            0.4
                                             RE: SAME (.2)

02/27/20       S UHLAND                      REVIEW COMMITTEE DIP COMMENTS (.6); TELEPHONE                  1.4
                                             CONFERENCES W/ D. MEADOWS RE: FINALIZING DIP (.8)

02/27/20       T LI                          REVISE PROPOSED DIP ORDER AND SEND TO UCC FOR                  0.3
                                             COMMENTS

02/27/20       D PEREZ                       REVIEW AND COMMENT ON FINAL DIP NOTE (.3); EMAILS              0.7
                                             AND TELEPHONE CONFERENCES W/ J. DULBERG RE:
                                             SAME (.4)

02/27/20       A HABERKORN                   RESPOND TO QUESTIONS FROM S. UHLAND RE: DIP                    0.3
                                             ORDER / MOTION

Total          009 Financing and Cash Collateral                                                           68.0

010 Hearings

02/21/20       W PAO                         STRATEGIZE RE: PREPARATION FOR FEBRUARY 25                     0.3
                                             HEARING ON EMPLOYMENT MOTIONS

02/22/20       W PAO                         STRATEGIZE RE: PREPARATION FOR EMPLOYMENT                      0.4
                                             MOTIONS FOR FEBRUARY 25 HEARING


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Client: JIA, YUETING                                                                                  04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                   Invoice: 1062233
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Date             Name                       Description                                                Hours

02/23/20         W PAO                      STRATEGIZE RE: PREPARATION FOR EMPLOYMENT                     0.2
                                            MOTIONS FOR FEBRUARY 25 HEARING

02/24/20         W PAO                      COMMUNICATIONS W/ M. PAGAY RE: 341 PREPARATION                0.2

02/25/20         S UHLAND                   PREPARE FOR FEBRUARY 25 HEARING RE: RETENTION                 1.4
                                            (.8); ATTEND HEARING RE: RETENTION (.6)

02/26/20         W PAO                      REVIEW MATERIALS FOR 341 PREPARATION AND                      6.7
                                            PREPARE FOR SAME

02/27/20         W PAO                      REVIEW MATERIALS TO PREPARE FOR 341 EXAMINATION               3.4

02/27/20         W PAO                      COMMUNICATIONS W/ M. PAGAY RE: 341 EXAMINATION                0.3

02/28/20         W PAO                      PREPARE FOR AND DEFEND 341 EXAMINATION                        2.8

Total            010 Hearings                                                                            15.7

011 Litigation

02/01/20         T LI                       REVISE 408 CONFIDENTIALITY AGREEMENT W/ A CERTAIN             0.9
                                            CREDITOR AND CORRESPOND W/ SUCH CREDITOR’S
                                            COUNSEL RE: SAME (.6); DRAFT 408 CONFIDENTIALITY
                                            AGREEMENT W/ A CERTAIN CREDITOR (.3)

02/01/20         W PAO                      REVISE AND EDIT DRAFT CONFIDENTIALITY AGREEMENTS              0.6

02/03/20         W PAO                      REVIEW Y. JIA COMMITTEE DEPOSITION TRANSCRIPTS                0.3

02/05/20         S UHLAND                   REVIEW AND REVISE CREDITOR NDAS                               0.8

02/05/20         T LI                       REVISE CORRESPONDENCE RE: RULE 408                            0.5
                                            CONFIDENTIALITY AGREEMENT W/ A CERTAIN CREDITOR

02/05/20         D PEREZ                    EMAILS W/ M. PAGAY AND M. ZHANG RE: NON-                      0.3
                                            DISCHARGEABILITY ACTIONS

02/10/20         D PEREZ                    REVIEW COMMENTS TO CREDITOR NDA AND FOLLOW UP                 0.3
                                            W/ S. UHLAND RE: SAME

02/10/20         T LI                       REVIEW DEPOSITION TRANSCRIPTS AND EMAIL W. PAO                1.4
                                            RE: SAME

02/11/20         D PEREZ                    REVISE CREDITOR NDA                                           0.2

02/18/20         S UHLAND                   ANALYZE U1 ORDERS RE: EFFECTIVENESS AND                       1.6
                                            CONDITIONS (.9); EMAIL M. ZHANG RE: SAME (.7)

02/21/20         D PEREZ                    REVIEW RENEWED MOTION TO DISMISS (.4); REVIEW SLC             0.7
                                            STIPULATION RE: TREATMENT OF CLAIM AND FOLLOW UP
                                            W/ T. LI RE: SAME (.3)

02/24/20         W PAO                      COMMUNICATIONS W/ J. DULBERG RE: U.S. INJUNCTIONS             0.4

02/27/20         T LI                       EMAIL W/ W. PAO RE: COMMITTEE DEPOSITION                      0.1
                                            TRANSCRIPTS

Total            011 Litigation                                                                           8.1

012 Meetings and Communications with Creditors

02/04/20         D PEREZ                    REVIEW AND UPLOAD RESPONSIVE DOCUMENTS TO                     0.9
                                            DATAROOM (.7); EMAILS W/ C. HSIEH AND J. WANG RE: FF
                                            NDA (.2)



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Client: JIA, YUETING                                                                                04/16/20
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Date         Name                         Description                                                 Hours

02/10/20     T LI                         CORRESPOND W/ B. DASSA AND M. PAGAY RE: OCEAN                  0.3
                                          VIEW AND WARM TIME LEASE AGREEMENTS

02/10/20     D LIEU                       ADD NEW USER TO THE JIA YUETING FIRMEX DEAL                    0.3
                                          ROOMS PER REQUEST OF T. LI

02/13/20     T LI                         CORRESPOND W/ M. PAGAY AND B. DASSA RE: OCEAN                  0.2
                                          VIEW AND WARM TIME LEASES

Total        012 Meetings and Communications with Creditors                                              1.7

013 Non-Working Travel

02/03/20     T LI                         NON-WORKING TRAVEL FROM EWR TO LAX FOR                         7.5
                                          MEDIATION SESSIONS AND COURT HEARING (BILL AT HALF
                                          RATES)

02/08/20     T LI                         NON-WORKING TRAVEL FROM LAX TO EWR AFTER                       7.5
                                          MEDIATION SESSIONS AND COURT HEARING (BILL AT HALF
                                          RATES)

Total        013 Non-Working Travel                                                                     15.0

014 Plan and Disclosure Statement

02/01/20     T LI                         REVIEW VARIOUS OBJECTIONS TO THE DISCLOSURE                    4.1
                                          STATEMENT (1.2); PREPARE RESPONSES TO THE
                                          OBJECTIONS TO THE DISCLOSURE STATEMENT AND
                                          EMAIL D. PEREZ AND S. UHLAND RE: SAME (1.7); DRAFT
                                          REPLY IN SUPPORT OF APPROVAL OF DISCLOSURE
                                          STATEMENT (1.2)

02/02/20     D PEREZ                      REVIEW COMMENTS TO TERM SHEET AND SUMMARIZE                    2.4
                                          SAME (1.1); REVISE SUMMARY PER S. UHLAND COMMENTS
                                          AND SEND TO M. ZHANG AND J. WANG (.2); ATTEND CALL
                                          W/ S. UHLAND, R. PACHULSKI, M. PAGAY, J. DULBERG, AND
                                          JUDGE GOLDBERG RE: MEDIATION W/ COMMITTEE AND
                                          PLAN TERM SHEET (.8); PREPARE SUMMARY EMAIL RE:
                                          OUTSTANDING ISSUES ON PLAN TERM SHEET RE: SAME
                                          (.3)

02/02/20     T LI                         CATEGORIZE VARIOUS OBJECTIONS TO THE DISCLOSURE                6.3
                                          STATEMENT AND ORGANIZE SAME IN THE REPLY IN AN
                                          ORDERLY FASHION IN SUPPORT OF DISCLOSURE
                                          STATEMENT (1.7); DRAFT REPLY IN SUPPORT OF
                                          DISCLOSE STATEMENT RE: OBJECTIONS THAT ARE NOW
                                          MOOT AND OBJECTIONS ALLEGING INADEQUATE
                                          INFORMATION (4.6)

02/02/20     S UHLAND                     REVIEW POA TERM SHEET MARK UP FROM COMMITTEE                   1.7
                                          (.9); TELEPHONE CONFERENCE W/ R. PACHULSKI, J.
                                          DULBERG. M. PAGAY, D. PEREZ, AND JUDGE GOLDBERG
                                          RE: MEDIATION (.8)

02/03/20     T LI                         DRAFT REPLY IN SUPPORT OF DISCLOSURE STATEMENT                 5.7
                                          RE: ISSUES THAT ARE NOW MOOT DUE TO CHANGE IN
                                          PLAN TERMS (1.5); DRAFT REPLY IN SUPPORT OF
                                          DISCLOSURE STATEMENT RE: ARGUMENTS THAT
                                          PRESENT CONFIRMATION ISSUES, REVISE SAME, AND
                                          EMAIL D. PEREZ SAME (4.2)

02/03/20     S UHLAND                     ANALYZE OBJECTIONS TO DISCLOSURE STATEMENT (1.3);              3.8
                                          REVIEW AND REVISE DRAFT REPLY (1.2); ANALYZE
                                          COMMITTEE COMMENTS TO TERM SHEET (1.3)


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Date        Name                       Description                                                   Hours

02/03/20    D PEREZ                    REVISE SUMMARY EMAIL TO JUDGE GOLDBERG RE:                       5.8
                                       OUTSTANDING ISSUES FOR MEDIATION (.2); REVIEW
                                       UPDATED LIQUIDATION ANALYSIS (.3); FOLLOW UP W/ S.
                                       UHLAND RE: SAME (.1); REVIEW OBJECTIONS TO
                                       DISCLOSURE STATEMENT(.9); RESEARCH RE: DISCHARGE
                                       FOR INDIVIDUAL DEBTORS (.6); REVIEW AND REVISE
                                       REPLY TO DISCLOSURE STATEMENT OBJECTIONS (3.5);
                                       EMAILS W/ M. PAGAY AND R. PACHULSKI RE: EXTENSION
                                       OF DISCHARGEABILITY DEADLINE (.2)

02/04/20    D PEREZ                    REVISE TERM SHEET PER UCC AND J. WANG COMMENTS                   1.2
                                       (.8); REVIEW TENTATIVE RULING RE: DISCLOSURE
                                       STATEMENT (.2); REVIEW H. LIU NON-DISCHARGEABILITY
                                       COMPLAINT (.2)

02/04/20    T LI                       MEET W/ S. UHLAND RE: FF INFORMATION, KCBI, WEI GAN              2.8
                                       RELEASE IN TERM SHEET (.8); REVISE AND FINALIZE
                                       REPLY IN SUPPORT OF DISCLOSURE STATEMENT AND
                                       EMAIL D. PEREZ RE: SAME (2.0)

02/04/20    T LI                       PREPARE FOR UPCOMING MEDIATION AND NECESSARY                     6.3
                                       DOCUMENTS AND ARRANGEMENTS (.3); ATTEND PRE-
                                       MEDIATION MEETING W/ CLIENT TEAM RE: KEY ISSUES
                                       AND STRATEGY (1.0); ATTEND FIRST MEDIATION SESSION
                                       W/ COMMITTEE (5.0)

02/04/20    S UHLAND                   MEET W/ T. LI RE: CALL OPTION, FF INFORMATION, KCBI              0.8
                                       RELEASE AND WEI GAN RELEASE IN TERM SHEET

02/04/20    S UHLAND                   PRE-MEDIATION MEETING W/ T. LI, M. PACHULSKI, M.                 9.0
                                       PAGAY, Y. JIA, J. WANG, M. ZHANG (1.0); ANALYZE AND
                                       REVISE LIQUIDATION ANALYSIS (1.3); CONFERENCE W/ R.
                                       MOON RE: SAME (.5); CONFERENCE W/ R. PACHULSKI, J.
                                       WANG, AND R. MOON RE: SAME (.6); REVISE LIQUIDATION
                                       ANALYSIS (.6); PARTICIPATE IN COMMITTEE / DEBTOR
                                       MEDIATION (5.0)

02/04/20    W PAO                      ATTEND MEDIATION W/ CREDITORS COMMITTEE (PARTIAL)                4.6

02/05/20    S UHLAND                   ATTEND EXTENDED DRAFTING SESSION W/ R. JIA, J.                   6.8
                                       WANG, AND T. LI RE: PLAN AND DISCLOSURE STATEMENT

02/05/20    D PEREZ                    REVISE TERM SHEET PER COMMENTS FROM UCC, M.                      2.3
                                       ZHANG, AND J. WANG (1.9); EMAILS W/ S. UHLAND AND T. LI
                                       RE: SAME (.2); TELEPHONE CONFERENCE W/ M. PAGAY RE:
                                       SAME (.1); EMAILS W/ EPIQ RE: DISCLOSURE STATEMENT
                                       HEARING (.1)

02/05/20    T LI                       REVISE AND DRAFT TERM SHEET RE: KCBI, WEI GAN                   11.2
                                       RELEASE, FF INFORMATION, AND CALL OPTION (2.0);
                                       ATTEND DRAFTING SESSION W/ S. UHLAND, J. WANG
                                       (CLIENT), AND R. JIA (CLIENT) RE: TERM SHEET (6.8);
                                       DRAFT AND REVISE TERM SHEET RE: ANNEX I, ANNEX II,
                                       FF INFORMATION, KEY CHINA BUSINESS INDIVIDUAL
                                       RELEASE, WEI GAN RELEASE, LIQUIDATION EVENTS, CALL
                                       OPTION, AND BANKRUPTCY ACTION (2.2); EMAILS W/ D.
                                       PEREZ RE: SAME (.2)

02/06/20    D PEREZ                    REVIEW FINDINGS OF FACT RE: DISCLOSURE STATEMENT                 3.1
                                       AND CREATE SUMMARY CHART RE: SAME (1.2); EMAILS W/
                                       M. PAGAY RE: SAME (.2); OUTLINE CHANGES TO PLAN AND
                                       DISCLOSURE STATEMENT RE: SAME (1.1); REVIEW
                                       UPDATED LIQUIDATION ANALYSIS (.3); REVIEW UCC
                                       COMMENTS TO TERM SHEET (.3)


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Client: JIA, YUETING                                                                               04/16/20
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Date        Name                       Description                                                  Hours

02/06/20    S UHLAND                   DRAFT AND REVISE TERM SHEET RE: COMMITTEE                       1.4
                                       COMMENTS

02/06/20    S UHLAND                   ATTEND MEDIATION SESSION W/ SQ, SLC, AND                        8.7
                                       COMMITTEE (6.2); ATTEND DEBRIEFING W/ CLIENT TEAM
                                       RE: SAME (2.5)

02/06/20    T LI                       ATTEND MEDIATION SESSION W/ UCC, SLC, AND SQ (6.2);             7.6
                                       ATTEND (PARTIAL) DEBRIEFING AFTER MEDIATION (1.4)

02/06/20    T LI                       DRAFT AND REVISE TERM SHEET BASED ON S. UHLAND                  4.1
                                       COMMENTS RE: ANNEX I, ANNEX II, FF INFORMATION, KEY
                                       CHINA BUSINESS INDIVIDUAL RELEASE, WEI GAN
                                       RELEASE, LIQUIDATION EVENTS, CALL OPTION, AND
                                       BANKRUPTCY ACTION

02/06/20    W PAO                      ATTEND MEDIATION W/ CREDITORS COMMITTEE, SLC, AND               6.2
                                       SQ

02/07/20    D PEREZ                    REVIEW AND REVISE TERM SHEET AND WEI GAN RELEASE                2.0
                                       (1.3); REVIEW S. UHLAND COMMENTS RE: SAME (.3);
                                       EMAILS W/ S. UHLAND AND T. LI RE: SAME (.4)

02/07/20    S UHLAND                   CAREFUL REVIEW OF COMMITTEE TERM SHEET FOR                      2.0
                                       EXECUTION (1.4); COMMUNICATIONS W/ T. LI AND D.
                                       PEREZ RE: SAME (.6)

02/07/20    T LI                       REVISE AND FINALIZE TERM SHEET AND ANNEX I                      2.3
                                       THERETO BASED ON S. UHLAND AND D. PEREZ
                                       COMMENTS (1.8); EMAIL D. PEREZ AND S. UHLAND RE:
                                       SAME (.5)

02/08/20    S UHLAND                   FINAL REVIEW TERM SHEET FOR DISTRIBUTION                        0.7

02/09/20    D PEREZ                    TELEPHONE CONFERENCE W/ M. PAGAY RE: JUDGE’S                    1.1
                                       FINDINGS OF FACT RE: DISCLOSURE STATEMENT AND
                                       NEXT STEPS (.8); REVISE SUMMARY CHART RE: SAME (.3)

02/09/20    S UHLAND                   COMMUNICATE W/ M. KAPLAN RE: TERM SHEET                         0.3

02/09/20    T LI                       REVISE TERM SHEET BASED ON J. WANG (CLIENT) AND M.              1.4
                                       ZHANG (CLIENT) COMMENTS AND EMAIL UCC RE: SAME
                                       AND RELEVANT REDLINES

02/10/20    D PEREZ                    TELEPHONE CONFERENCE W/ S. UHLAND, W. PAO, T. LI, R.            1.4
                                       PACHULSKI, M. PAGAY, AND J. DULBERG RE: RULING ON
                                       DISCLOSURE STATEMENT AND INFORMATION TO BE
                                       PROVIDED (.8); MEET W/ T. LI RE: RENEWED SOLICITATION
                                       MOTION AND THIRD AMENDED DISCLOSURE STATEMENT
                                       (.4); REVIEW REVISED CONFIRMATION TIMELINE AND
                                       FOLLOW UP W/ T. LI RE: SAME (.2)

02/10/20    T LI                       TELEPHONE CONFERENCE W/ S. UHLAND, W. PAO, D.                   2.1
                                       PEREZ, R. PACHULSKI, M. PAGAY, AND J. DULBERG RE:
                                       RULING ON DISCLOSURE STATEMENT AND INFORMATION
                                       TO BE PROVIDED (.8); REVIEW COURT ORDER RE:
                                       DISCLOSURE STATEMENT INSUFFICIENCIES TO PREPARE
                                       FOR CONFERENCE CALL (.3); REVIEW COURT ORDER RE:
                                       DISCLOSURE STATEMENT INSUFFICIENCIES RE:
                                       AMENDMENT OF DISCLOSURE STATEMENT TO ADDRESS
                                       SAME (.6); MEET W/ D. PEREZ RE: RENEWED SOLICITATION
                                       MOTION AND THIRD AMENDED DISCLOSURE STATEMENT
                                       (.4)



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Date        Name                       Description                                                    Hours

02/10/20    S UHLAND                   (PARTIAL) CONFERENCE CALL W/ W. PAO, D. PEREZ, T. LI,             0.5
                                       R. PACHULSKI, M. PAGAY, AND J. DULBERG RE: RULING ON
                                       DISCLOSURE STATEMENT AND INFORMATION TO BE
                                       PROVIDED

02/10/20    W PAO                      TELEPHONE CONFERENCE W/ S. UHLAND, D. PEREZ, T. LI,               0.8
                                       R. PACHULSKI, M. PAGAY, AND J. DULBERG RE: RULING ON
                                       DISCLOSURE STATEMENT AND INFORMATION TO BE
                                       PROVIDED

02/10/20    S UHLAND                   ANALYZE COURT ORDER RE: DISCLOSURE STATEMENT                      1.8
                                       AND OUTLINE APPROACH IN RESPONSE

02/11/20    T LI                       PREPARE SUMMARY OF OBJECTIONS AND                                 0.6
                                       CORRESPONDING MODIFICATIONS AS EXHIBIT TO THE
                                       RENEWED SOLICITATION MOTION (.2); REVISE AND
                                       UPDATE SOLICITATION MOTION (.4)

02/11/20    D PEREZ                    REVISE PLAN AND DISCLOSURE STATEMENT RE: REVISED                  2.1
                                       TERM SHEET AND COURT’S FINDINGS OF FACT (1.5);
                                       EMAILS W/ S. UHLAND, M. ZHANG, AND R. PACHULSKI RE:
                                       KEY CHINA BUSINESS INDIVIDUALS (.3); REVIEW REVISED
                                       LIQUIDATION ANALYSIS (.3)

02/12/20    D PEREZ                    REVISE TERM SHEET RE: UPDATES FROM COURT’S                        3.0
                                       FINDINGS OF FACT (.6); REVISE PLAN RE: SAME (1.1);
                                       RESEARCH RE: DISCHARGEABILITY TIMING FOR
                                       INDIVIDUAL DEBTORS (1.3)

02/12/20    T LI                       CORRESPOND W/ M. ZHANG (CLIENT) RE: TERM SHEET                    0.1
                                       AND ANNEX THERETO

02/13/20    D PEREZ                    MEET W/ T. LI RE: NEXT STEPS RE: THIRD AMENDED                    6.1
                                       DISCLOSURE STATEMENT, AND SECOND AMENDED PLAN
                                       (.4); EMAILS W/ R. JIA RE: OPEN INFORMATION REQUESTS
                                       ON THE DISCLOSURE STATEMENT (.3); REVIEW AND
                                       UPDATE CHART RE: SAME (.3); EMAILS W/ M. PAGAY AND
                                       R. PACHULSKI RE: TIMING OF APPROVAL OF DISCLOSURE
                                       STATEMENT (.2); EMAILS W/ M. ZHANG RE: SETTLEMENT
                                       OF WEI GAN’S CLAIM (.2); UPDATE PLAN RE: NEW CHINA
                                       SECURED CLAIM CLASS, DIP CLAIMS, RETAINED ACTIONS
                                       (1.7); UPDATE DISCLOSURE STATEMENT RE: SAME (1.1);
                                       PREPARE SCHEDULES TO PLAN (1.9)

02/13/20    T LI                       DRAFT THIRD AMENDED DISCLOSURE STATEMENT RE:                      1.3
                                       CHART SHOWING LITIGATIONS PENDING AGAINST DEBTOR
                                       AS OF THE PETITION DATE (.9); MEET W/ D. PEREZ RE:
                                       NEXT STEPS, THIRD AMENDED DISCLOSURE STATEMENT,
                                       AND SECOND AMENDED PLAN (.4)

02/14/20    D PEREZ                    REVISE PLAN (1.9); FOLLOW UP W/ S. UHLAND RE: SAME                5.1
                                       (.2); REVIEW AND COMMENT ON RIDER RE: EVERGRANDE
                                       INVESTMENT (.3); REVIEW COMMENTS TO PLAN TERM
                                       SHEET (.2); RESEARCH RE: THIRD PARTY RELEASES IN
                                       CALIFORNIA (2.3); UPDATE RELEASES IN PLAN RE: SAME
                                       (.2)

02/15/20    S UHLAND                   ANALYZE COURT ORDER RE: DISCLOSURE STATEMENT                      1.2
                                       (.2); EMAILS W/ T. LI RE: SAME (.7); OUTLINE RESPONSES
                                       RE: VALUATION ISSUES (.3)

02/15/20    T LI                       CORRESPOND W/ S. UHLAND RE: THIRD AMENDED                         0.7
                                       DISCLOSURE STATEMENT AND CATEGORIES OF
                                       INFORMATION TO BE PROVIDED PER COURT ORDER


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Client: JIA, YUETING                                                                               04/16/20
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Date        Name                       Description                                                  Hours

02/16/20    D PEREZ                    REVIEW DRAFT RIDERS TO DISCLOSURE STATEMENT AND                 2.9
                                       COMMENT ON SAME (1.8); FOLLOW UP W/ T. LI AND S.
                                       UHLAND RE: SAME (.3); REVISE PLAN RE: S. UHLAND
                                       COMMENTS (.8)

02/16/20    S UHLAND                   ANALYZE INFORMATION FROM CLIENT RE: EVERGRANDE                  2.3
                                       SETTLEMENT (.6); DRAFT AND REVISE DISCLOSURE
                                       STATEMENT SECTIONS RE: EVERGRANDE (1.5); EMAILS W/
                                       D. PEREZ RE: SAME (.2)

02/16/20    T LI                       RESEARCH RE: VALUATION OF PRIVATE COMPANIES                     4.2
                                       BASED ON RECENT FINANCING TRANSACTIONS (.9);
                                       CORRESPOND W/ BAKER MCKENZIE (EVERGRANDE’S
                                       COUNSEL) RE: RELEVANT SECTION OF THE THIRD
                                       AMENDED DISCLOSURE STATEMENT (.3); DRAFT THIRD
                                       AMENDED DISCLOSURE STATEMENT RE: Y. JIA ROLE IN
                                       RESTRUCTURING AGREEMENT W/ EVERGRANDE, THE
                                       EFFECT OF EXERCISING THE CALL OPTION, AND SMART
                                       KING REDEMPTION RIGHTS (2.3); REVISE THE SAME BASED
                                       ON D. PEREZ COMMENTS (.7)

02/17/20    T LI                       TELEPHONE CONFERENCE W/ D. PEREZ, V. SEKHON, B.                 1.5
                                       UELK, AND D. DANDENEAU RE: EVERGRANDE INVESTMENT
                                       SECTION IN THE THIRD AMENDED DISCLOSURE
                                       STATEMENT (.2); REVISE DISCLOSURE STATEMENT RE: Y.
                                       JIA ROLE IN RESTRUCTURING AGREEMENT W/
                                       EVERGRANDE, THE EFFECT OF EXERCISING THE CALL
                                       OPTION, AND SMART KING REDEMPTION RIGHTS (1.3)

02/17/20    D PEREZ                    TELEPHONE CONFERENCE W/ T. LI, V. SEKHON, B. UELK,              0.2
                                       AND D. DANDENEAU RE: EVERGRANDE INVESTMENT
                                       SECTION IN THE THIRD AMENDED DISCLOSURE
                                       STATEMENT

02/18/20    D PEREZ                    MEET W/ T. LI RE: OPEN ITEMS IN THE THIRD AMENDED               6.5
                                       DISCLOSURE STATEMENT (.4); REVIEW CLIENT
                                       RESPONSES TO OPEN DISCLOSURE STATEMENT ISSUES
                                       AND FOLLOW UP W/ M. ZHANG AND J. WANG RE: SAME
                                       (1.1); UPDATE PLAN RE: SAME (.9); REVIEW BVI
                                       INJUNCTIONS AND ORDERS AND FOLLOW UP W/ S.
                                       UHLAND RE: SAME (.5); REVIEW DISCLOSURE STATEMENT
                                       SECTION RE: SAME (.3); RESEARCH RE: THIRD PARTY
                                       RELEASES IN CALIFORNIA (3.3)

02/18/20    T LI                       DRAFT THIRD AMENDED DISCLOSURE STATEMENT RE:                    3.2
                                       TRANSFER RESTRICTIONS AND BVI FREEZE ORDERS (2.8);
                                       MEET W/ D. PEREZ RE: OPEN ITEMS IN THE THIRD
                                       AMENDED DISCLOSURE STATEMENT (.4)

02/19/20    D PEREZ                    REVISE PLAN RE: UPDATES TO TERM SHEET AND TO                    6.8
                                       ADDRESS FINDINGS OF FACT (1.7); MEET W/ T. LI RE: OPEN
                                       ITEMS IN THE THIRD AMENDED DISCLOSURE STATEMENT
                                       AND ADDITIONAL DRAFTING OF RELEVANT SECTIONS (.3);
                                       CONFERENCE CALL W/ S. UHLAND, T. LI, M. ZHANG, AND J.
                                       WANG RE: PLAN PROVISIONS AND CASE STRATEGY (.8);
                                       MEET W/ S. UHLAND RE: SAME (2.3); EMAIL R. JIA RE: CASH
                                       FLOW PROJECTIONS (.2); EMAILS W/ J. WANG RE: MISSING
                                       INFORMATION FOR DISCLOSURE STATEMENT (.2); UPDATE
                                       DISCLOSURE STATEMENT RE: SAME (.6); REVIEW CHART
                                       OF PROJECTED CASH FLOW (.5); FOLLOW UP W/ R. JIA RE:
                                       SAME (.2)




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Date        Name                       Description                                                   Hours

02/19/20    T LI                       REVIEW THIRD AMENDED DISCLOSURE STATEMENT OPEN                   2.2
                                       ITEMS AND EMAIL D. PEREZ RE: SAME (.4); RESEARCH RE:
                                       VALUATION OF PRIVATE COMPANIES BASED ON RECENT
                                       FINANCING TRANSACTIONS AND EMAIL S. UHLAND RE:
                                       SAME (.3); REVISE THIRD AMENDED DISCLOSURE
                                       STATEMENT RE: Y. JIA ROLE AND FF GROUP (.4);
                                       TELEPHONE CONFERENCE W/ S. UHLAND, D. PEREZ, M.
                                       ZHANG, AND J. WANG RE: PLAN PROVISIONS AND CASE
                                       STRATEGY (.8); MEET W/ D. PEREZ RE: OPEN ITEMS IN THE
                                       THIRD AMENDED DISCLOSURE STATEMENT AND
                                       ADDITIONAL DRAFTING OF RELEVANT SECTIONS (.3)

02/19/20    S UHLAND                   CONFERENCE W/ D. PEREZ RE: OPEN POA ISSUES (2.3);                3.1
                                       TELEPHONE CONFERENCE W/ D. PEREZ, T. LI, J. WANG,
                                       AND M. ZHANG RE: POA TERMS (.8)

02/20/20    D PEREZ                    REVISE PLAN RE: UPDATES TO TERM SHEET AND TO                     6.2
                                       ADDRESS FINDINGS OF FACT (5.9); EMAILS W/ J. WANG
                                       AND S. HE RE: TERM SHEET (.3)

02/20/20    T LI                       REVIEW TERM SHEET AND RESPOND TO EMAIL FROM S.                   2.4
                                       HE (.1); REVIEW RELEVANT DOCUMENTS AND DRAFT
                                       THIRD AMENDED DISCLOSURE STATEMENT RE: OCEAN
                                       VIEW AND WARM TIME LEASES AND SUBLEASES (1.1);
                                       REVIEW RELEVANT DOCUMENTS AND DRAFT THIRD
                                       AMENDED DISCLOSURE STATEMENT RE: VALUATION OF
                                       SMART KING BASED ON VARIOUS TRANSACTIONS (1.2)

02/21/20    D PEREZ                    MEET W/ T. LI RE: REVISIONS OF THE THIRD AMENDED                 3.9
                                       DISCLOSURE STATEMENT AND TASKS FOR COMING WEEK
                                       (.9); DRAFT PORTIONS OF DISCLOSURE STATEMENT RE:
                                       DIVORCE PROCEEDING AND RELEASES (1.2); REVIEW
                                       SCHEDULES PROVIDED BY CLIENT RE: MISSING
                                       INFORMATION FOR DISCLOSURE STATEMENT (.3); FOLLOW
                                       UP W/ J. WANG AND R. JIA RE: SAME (.3); REVISE OCEAN
                                       VIEW AND VALUATION RIDERS FOR DISCLOSURE
                                       STATEMENT (1.2)

02/21/20    T LI                       MEET W/ D. PEREZ RE: REVISIONS OF THE THIRD                      1.8
                                       AMENDED DISCLOSURE STATEMENT AND TASKS FOR
                                       COMING WEEK (.9); REVISE DISCLOSURE STATEMENT RE:
                                       SUBLEASE ARRANGEMENT AND VALUATION OF SMART
                                       KING BASED ON VARIOUS TRANSACTIONS (.5); REVISE
                                       PLAN TERM SHEET RE: CERTAIN CLEAN UP CHANGES AND
                                       EMAIL CLIENT RE: SAME (.4)

02/21/20    S UHLAND                   REVIEW AND REVISE DISCLOSURE STATEMENT (.9);                     2.3
                                       REVIEW AND ANALYZE COMMITTEE COMMENT TO TERM
                                       SHEET (.9); CONFERENCE W/ J. JOHNSON RE: TERM SHEET
                                       PROVISIONS (.5)

02/22/20    S UHLAND                   MARK UP COMMITTEE TERM SHEET DRAFT (.9); FURTHER                 2.2
                                       REVIEW AND REVISE TERM SHEET RE: CALL (.6); DRAFT
                                       AND REVISE DISCLOSURE STATEMENT RIDER RE: OCEAN
                                       VIEW (.7)

02/22/20    S UHLAND                   TELEPHONE CONFERENCE W/ D. PEREZ, J. DULBERG, R.                 1.1
                                       PACHULSKI, AND J. WANG RE: PLAN TERM SHEET




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02/22/20    D PEREZ                    TELEPHONE CONFERENCE W/ S. UHLAND, R. PACHULSKI,                 2.6
                                       J. DULBERG, M. PAGAY, R. MOON M. ZHANG, R. JIA, AND J.
                                       WANG RE: DIP NOTE AND PLAN TERM SHEET (1.1); REVISE
                                       TERM SHEET AND DIP NOTE RE: SAME (1.3); FOLLOW UP
                                       W/ S. UHLAND RE: SAME (.2)

02/22/20    T LI                       REVISE PLAN TERM SHEET RE: S. UHLAND COMMENTS                    1.2
                                       AND SEND TO CLIENT AND PACHULSKI TEAM RE: SAME

02/23/20    S UHLAND                   DRAFT AND REVISE OCEAN VIEW RIDER FOR DISCLOSURE                 2.2
                                       STATEMENT (.9); REVIEW AND REVISE PLAN OF
                                       REORGANIZATION RE: TERM SHEET (1.3)

02/23/20    T LI                       REVIEW RELEVANT DOCUMENTS AND DRAFT THIRD                        2.1
                                       AMENDED DISCLOSURE STATEMENT RE: VALUATION OF
                                       SMART KING BASED ON VARIOUS TRANSACTIONS (1.9);
                                       EMAIL S. UHLAND RE: SAME (.2)

02/23/20    D PEREZ                    REVISE PORTIONS OF THE DISCLOSURE STATEMENT (1.4);               4.0
                                       REVISE PLAN PER S. UHLAND COMMENTS AND TERM
                                       SHEET COMMENTS (1.6); REVISE DISCLOSURE
                                       STATEMENT RE: SAME (1.0)

02/24/20    S UHLAND                   REVIEW AND REVISE PLAN INCORPORATING TERM SHEET                  2.6
                                       COMMENTS (1.6); COMMUNICATE W/ D. PEREZ RE: SAME
                                       (.4); REVIEW COMMITTEE COMMENTS (.6)

02/24/20    T LI                       REVISE THIRD AMENDED DISCLOSURE STATEMENT RE:                    3.3
                                       VALUATION OF SMART KING BASED ON VARIOUS
                                       TRANSACTIONS (.5); REVISE THIRD AMENDED
                                       DISCLOSURE STATEMENT RE: OCEAN VIEW
                                       TRANSACTIONS (1.0); REVISE THIRD AMENDED
                                       DISCLOSURE STATEMENT RE: Y. JIA ROLE IN FF EFFORTS
                                       TO OBTAIN FINANCING (.4); REVISE THIRD AMENDED
                                       DISCLOSURE STATEMENT RE: TRANSFER RESTRICTIONS
                                       AND BVI PROCEEDINGS (.8); CORRESPONDENCE W/ S.
                                       UHLAND RE: LATEST TERM SHEET FROM COMMITTEE (.1);
                                       REVISE THIRD AMENDED DISCLOSURE STATEMENT RE:
                                       EVERGRANDE INVESTMENT SECTION AND COMMENTS
                                       FROM ITS COUNSEL (.5)

02/24/20    K ZHU                      FOLLOW UP W/ D. PEREZ (.1); REVIEW PLAN AND                      1.4
                                       DISCLOSURE STATEMENT (1.3)

02/24/20    D PEREZ                    REVISE PLAN (.6); REVIEW COMMENTS TO TERM SHEET                  4.8
                                       (.2); EMAILS AND TELEPHONE CONFERENCES W/ S.
                                       UHLAND AND M. ZHANG RE: PLAN COMMENTS (.6); REVISE
                                       PORTIONS OF THE DISCLOSURE STATEMENT RE: SAME
                                       (1.7); REVISE TERM SHEET (.7); REVISE PLAN PER M.
                                       ZHANG COMMENTS AND TERM SHEET UPDATES (.5);
                                       FOLLOW UP W/ K. ZHU RE: REVIEW OF PLAN RELEASES
                                       AND SUMMARY OF SAME (.3); REVIEW Y. JIA DISPOSABLE
                                       INCOME EXHIBIT (.2)

02/25/20    S UHLAND                   REVIEW AND REVISE TERM SHEET FOR DISTRIBUTION                    0.6

02/25/20    S UHLAND                   DRAFT AND REVISE TERM SHEET IN RESPONSE TO                       1.7
                                       COMMITTEE COMMENTS (.9); EMAILS W/ D. PEREZ RE:
                                       SAME (.4); CONFERENCE W/ R. PACHULSKI RE: PLAN TERM
                                       SHEET CHANGES (.4)

02/25/20    T LI                       DRAFT THIRD AMENDED DISCLOSURE STATEMENT RE:                     1.0
                                       VARIOUS OPEN ITEMS INCLUDING OCEAN VIEW LEASES
                                       AND SUBLEASES AND EMAIL D. PEREZ RE: SAME


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02/25/20    K ZHU                      REVIEW CHAPTER 11 PLAN                                          2.5

02/25/20    D PEREZ                    REVISE TERM SHEET AND WEI GAN SETTLEMENT (.8);                  6.9
                                       REVISE DISCLOSURE STATEMENT (1.7); TELEPHONE
                                       CONFERENCE W/ M. ZHANG RE: TERM SHEET (.1); REVISE
                                       TERM SHEET PER SAME (.2); FURTHER REVISE
                                       DISCLOSURE STATEMENT (1.5); EMAILS W/ S. UHLAND, M.
                                       ZHANG, AND J. WANG RE: TERM SHEET (.5); REVISE TERM
                                       SHEET AND PLAN PER SAME (1.3); REVIEW FILED V
                                       SCHEDULED CLAIMS SPREADSHEET AND FOLLOW UP W/
                                       T. LI (.5); REVIEW FF PRE-A LOAN MATERIALS (.3)

02/26/20    S UHLAND                   REVIEW AND REVISE LIQUIDATION AND SCENARIO                      5.8
                                       ANALYSIS (1.5); REVIEW AND REVISE TERM SHEET RE: D.
                                       PEREZ COMMENTS (.7); CONFERENCE W/ D. PEREZ RE:
                                       SAME (.2); TELEPHONIC MEETING W/ Y. JIA, R. JIA, M.
                                       ZHANG, M. PAGAY, R. MOON, AND D. PEREZ RE: OPEN
                                       TERM SHEET AND OPEN ITEMS (1.6); CONTINUE MEETING
                                       W/ R. JIA AND M. ZHANG RE: SAME (.9); TELEPHONE
                                       CONFERENCE W/ R. MOON, M. ZHANG, AND R. JIA RE:
                                       LIQUIDATION ANALYSIS (.9)

02/26/20    S UHLAND                   TELEPHONE CONFERENCE W/ D. PEREZ, T. LI, J. DULBERG,            0.9
                                       R. PACHULSKI, M. KAPLAN, AND A. BEHLMANN RE: LAST
                                       SEVERAL REMAINING OPEN ITEMS IN THE PLAN TERM
                                       SHEET

02/26/20    T LI                       TELEPHONE CONFERENCE W/ S. UHLAND, D. PEREZ, J.                 0.9
                                       DULBERG, R. PACHULSKI, M. KAPLAN, AND A. BEHLMANN
                                       RE: LAST SEVERAL REMAINING OPEN ITEMS IN THE PLAN
                                       TERM SHEET

02/26/20    T LI                       CORRESPOND W/ M. SUN RE: CALCULATION OF CHINA                   0.2
                                       SECURED CLAIMS (.1); CORRESPOND W/ M. PAGAY RE:
                                       RENEWED SOLICITATION MOTION (.1)

02/26/20    D PEREZ                    DRAFT DIVORCE AND RELEASE RIDERS RE: DISCLOSURE                 9.6
                                       STATEMENT (1.4); EMAILS W/ M. ZHANG, R. JIA, AND J.
                                       WANG RE: SAME (.3); TELEPHONE CONFERENCE W/ S.
                                       UHLAND, T. LI, J. DULBERT, R. PACHULSKI, M. KAPLAN, AND
                                       A. BEHLMANN RE: TERM SHEET (.9); REVIEW UCC
                                       COMMENTS TO SAME (.2); EMAILS W/ M. KAPLAN AND A.
                                       BELHMANN RE: SAME (.3); REVISE TERM SHEET RE: SAME
                                       (.4); TELEPHONE CONFERENCE W/ S UHLAND RE: SAME
                                       (.2); REVISE PLAN AND DISCLOSURE STATEMENT (1.4);
                                       REVIEW SCHEDULE OF DISPOSABLE INCOME (.2);
                                       TELEPHONE CONFERENCE W/ S. UHLAND, R. MOON
                                       (PARTIAL), M. ZHANG, R. JIA, AND W. PAO RE: LIQUIDATION
                                       ANALYSIS AND UPDATES TO THE DISCLOSURE
                                       STATEMENT AND PLAN (1.6); DRAFT AND REVISE RIDERS
                                       TO DISCLOSURE STATEMENT RE: SAME (1.6); REVISE AND
                                       UPDATE DISCLOSURE STATEMENT EXHIBITS (1.1)

02/27/20    S UHLAND                   MARK UP DISCLOSURE STATEMENT RE: TERM SHEET (1.8);              2.2
                                       COMMUNICATE W/ D. PEREZ RE: SAME (.4)

02/27/20    S UHLAND                   NEGOTIATE TERM SHEET LANGUAGE W/ A. BEHLMANN                    0.7




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02/27/20    T LI                       REVISE AND UPDATE RENEWED SOLICITATION MOTION,                     7.0
                                       PROPOSED ORDER, NOTICE OF NON-VOTING STATUS,
                                       AND BALLOT RE: UPDATED TIMELINE, RECENT CASE
                                       DEVELOPMENTS, AND ADDITIONAL INFORMATION RE:
                                       CERTAIN TRANSACTIONS (1.7); CORRESPOND W/ M.
                                       PAGAY RE: MOTION TO SHORTEN (.1); REVISE AND
                                       UPDATE THE THIRD AMENDED DISCLOSURE STATEMENT
                                       RE: UPDATED TIMELINE, RECENT CASE DEVELOPMENTS,
                                       AND ADDITIONAL INFORMATION RE: CERTAIN
                                       TRANSACTIONS (4.5); REVISE SAME BASED ON S. UHLAND
                                       COMMENTS (.7)

02/27/20    D PEREZ                    REVISE PLAN AND DISCLOSURE STATEMENT (3.5); EMAILS                 9.1
                                       W/ M. ZHANG, J. WANG, AND S. UHLAND RE: SAME (.5);
                                       FINALIZE TERM SHEET (1.1); TELEPHONE CONFERENCES
                                       W/ J. WANG AND M. ZHANG RE: SAME (.3); EMAILS W/ M.
                                       KAPLAN, A. BEHLMANN, S. UHLAND, J. WANG, AND M.
                                       ZHANG RE: SAME (.7); PREPARE EXHIBITS TO DISCLOSURE
                                       STATEMENT (1.5); EMAILS W/ R. JIA RE: SAME (.3); REVIEW
                                       MOTION TO SHORTEN TIME AND DECLARATION IN
                                       SUPPORT OF SAME (.3); REVIEW AND COMMENT ON
                                       UPDATED LIQUIDATION ANALYSIS (.9)

02/28/20    S UHLAND                   REVIEW AND REVISE AMENDED DISCLOSURE STATEMENT                     5.7
                                       RE: TERM SHEET, DISCLOSURES AND CASE UPDATES
                                       (3.9); COMMUNICATE W/ D. PEREZ RE: SAME (.9);
                                       COMMUNICATE W/ J. WANG AND R. JIA RE: EQUITY PLAN
                                       AND UPDATED NUMBERS (.9)

02/28/20    S UHLAND                   CONFERENCE W/ J. WANG RE: TRUSTEE ISSUES (.4);                     1.9
                                       REVIEW AND REVISE RECOVERY ANALYSIS (.8);
                                       COMMUNICATE W/ R. MOON RE: SAME (.7)

02/28/20    T LI                       REVISE AND UPDATE THIRD AMENDED DISCLOSURE                        12.0
                                       STATEMENT BASED ON D. PEREZ COMMENTS (4.8); MEET
                                       W/ D. PEREZ RE: CHART (.4); DRAFT THIRD AMENDED
                                       DISCLOSURE STATEMENT RE: CORONAVIRUS AS A RISK
                                       FACTOR (.7); DISCERN AND COMPILE OPEN ISSUES IN THE
                                       THIRD AMENDED DISCLOSURE STATEMENT AND
                                       CORRESPOND W/ CLIENT RE: SAME (1.0); PREPARE CHART
                                       AS AN EXHIBIT SHOWING REVISIONS ACCORDING TO
                                       COURT FINDINGS OF FACT AND CONCLUSIONS OF LAW
                                       (2.6); REVISE AND UPDATE RENEWED SOLICITATION
                                       MOTION, PROPOSED ORDER, NOTICE OF NON-VOTING
                                       STATUS, AND BALLOT RE: UPDATED TIMELINE, RECENT
                                       CASE DEVELOPMENTS, AND CERTAIN REVISIONS TO THE
                                       PLAN (2.5)

02/28/20    D PEREZ                    REVIEW AND REVISE PLAN (2.7); REVIEW S. UHLAND                    12.3
                                       COMMENTS TO SAME (.2); REVISE PLAN RE: SAME (.8);
                                       REVIEW AND COMMENT ON RENEWED SOLICITATION
                                       MOTION (1.2); MEET W/ T. LI RE: CHART AS AN EXHIBIT
                                       SHOWING REVISIONS ACCORDING TO COURT FINDINGS
                                       OF FACT AND CONCLUSIONS OF LAW (.4); REVIEW AND
                                       REVISE DISCLOSURE STATEMENT AND EXHIBITS TO SAME
                                       (3.6); EMAILS W/ J. WANG, M. ZHANG, R. JIA, M. PAGAY, S.
                                       UHLAND, AND T. LI RE: SAME (1.4); COMMUNICATE W/ S.
                                       UHLAND AND A. BEHLMANN RE: COMMITTEE COMMENTS
                                       TO DISCLOSURE STATEMENT (.2); REVIEW S. UHLAND
                                       COMMENTS TO DISCLOSURE STATEMENT (.3); REVISE
                                       DISCLOSURE STATEMENT RE: SAME (1.5)




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02/29/20       T LI                               MEET W/ D. PEREZ RE: CHART AS AN EXHIBIT SHOWING                 3.5
                                                  REVISIONS ACCORDING TO COURT FINDINGS OF FACT
                                                  AND CONCLUSIONS OF LAW (.4); REVISE BASED ON D.
                                                  PEREZ COMMENTS RE: CHART AS AN EXHIBIT SHOWING
                                                  REVISIONS ACCORDING TO COURT FINDINGS OF FACT
                                                  AND CONCLUSIONS OF LAW (.9); REVIEW AND REVISE
                                                  THIRD AMENDED DISCLOSURE STATEMENT RE: CROSS
                                                  REFERENCES TO OTHER SECTIONS OF THE DISCLOSURE
                                                  STATEMENT AND PLAN (1.7); REVIEW CERTAIN SIXTH
                                                  AMENDED CORPORATE DOCUMENT AND REPORT
                                                  FINDINGS TO D. PEREZ (.5)

02/29/20       D PEREZ                            REVIEW AND REVISE DISCLOSURE STATEMENT AND                       3.1
                                                  EXHIBITS (2.4); REVIEW NEW SMART KING ARTICLES (.3);
                                                  MEET W/ T. LI RE: DISCLOSURE STATEMENT CHART (.4)

Total          014 Plan and Disclosure Statement                                                                 307.1

Total Hours                                                                                                      426.5

Total Fees                                                                                                  428,281.50


Less 10% Discount                                                                                          (42,828.15)

Total Fees After Adjustment                                                                                 385,453.35

Disbursements
Copying                                                                                                       $510.00
Court Fees / Filing Fees                                                                                        236.25
Delivery Services / Messengers                                                                                   46.15
Expense Report Other (Incl. Out of Town Travel)                                                               6,766.13
FIRMEX                                                                                                          375.00
Meals                                                                                                           412.10
Online Research                                                                                               1,368.51
Scanning Services                                                                                                 1.90

Total Disbursements                                                                                          $9,716.04


Total Current Invoice                                                                                    $395,169.39




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Timekeeper Summary
Timekeeper                                                                                           Hours

Attorneys

SUZZANNE UHLAND                                                                                       104.8

WILLIAM K. PAO                                                                                         29.9

DIANA M. PEREZ                                                                                        126.5

ADAM P. HABERKORN                                                                                      13.7

TJ LI                                                                                                 137.0

KAI ZHU                                                                                                11.0

MAIAH H. PARKS                                                                                           3.3

Total for Attorneys                                                                                   426.2

Paralegal/Litigation Support

DENISE LIEU                                                                                              0.3

Total for Paralegal/Litigation Support                                                                   0.3

Total                                                                                                 426.5




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Task Summary
Timekeeper               Title                                                            Hours        Amount
DIANA M. PEREZ          Counsel                                                                 0.2     210.00
Total for 003 Assumption and Rejection of Leases and Contracts                                  0.2     210.00

TJ LI                   Associate                                                               1.1     737.00
Total for 005 Case Administration                                                               1.1     737.00

DIANA M. PEREZ           Counsel                                                                1.5    1,575.00
TJ LI                   Associate                                                               3.9    2,613.00
Total for 006 Claims Administration and Objections                                              5.4    4,188.00

SUZZANNE UHLAND          Partner                                                                0.4     592.00
DIANA M. PEREZ         Counsel                                                                  1.8    1,890.00
Total for 007 Employment and Fee Applications                                                   2.2    2,482.00

DIANA M. PEREZ         Counsel                                                                  2.0    2,100.00
Total for 008 Employment and Fee Application Objections                                         2.0    2,100.00

WILLIAM K. PAO           Partner                                                                2.7    2,821.50
SUZZANNE UHLAND          Partner                                                            26.6      39,368.00
DIANA M. PEREZ           Counsel                                                                4.1    4,305.00
KAI ZHU                  Associate                                                              7.1    4,757.00
TJ LI                    Associate                                                          10.5       7,035.00
MAIAH H. PARKS           Associate                                                              3.3    2,640.00
ADAM P. HABERKORN Associate                                                                 13.7      12,261.50
Total for 009 Financing and Cash Collateral                                                 68.0      73,188.00

WILLIAM K. PAO           Partner                                                            14.3      14,943.50
SUZZANNE UHLAND          Partner                                                             1.4       2,072.00
Total for 010 Hearings                                                                      15.7      17,015.50

WILLIAM K. PAO           Partner                                                                1.3    1,358.50
SUZZANNE UHLAND          Partner                                                                2.4    3,552.00
DIANA M. PEREZ           Counsel                                                                1.5    1,575.00
TJ LI                    Associate                                                              2.9    1,943.00
Total for 011 Litigation                                                                        8.1    8,428.50

DIANA M. PEREZ           Counsel                                                                0.9     945.00
TJ LI                    Associate                                                              0.5     335.00
DENISE LIEU              Litigation Tech                                                        0.3       70.50
Total for 012 Meetings and Communications with Creditors                                        1.7    1,350.50

TJ LI                   Associate                                                           15.0       5,025.00
Total for 013 Non-Working Travel                                                            15.0       5,025.00

WILLIAM K. PAO           Partner                                                            11.6      12,122.00
SUZZANNE UHLAND          Partner                                                            74.0      109,520.0
                                                                                                              0



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Client: JIA, YUETING                                                                                04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                 Invoice: 1062233
CORP)
Matter: 0424428-00003                                                                            Page No. 19



DIANA M. PEREZ          Counsel                                                            114.5      120,225.0
                                                                                                              0
KAI ZHU                 Associate                                                               3.9    2,613.00
TJ LI                    Associate                                                         103.1      69,077.00
Total for 014 Plan and Disclosure Statement                                                307.1      313,557.0
                                                                                                              0




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Los Angeles, CA 90071-2899




                                                Remittance Page
YUETING JIA                                                                                 April 16, 2020
                                                                                            OMM Matter: 0424428-00003
                                                                                            Invoice: 1062233
                                                                                            Contact: WILLIAM K. PAO

CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING, CORP)

For Professional Services Rendered Through February 29, 2020

Total Fees                                                                                                                 $428,281.50

Less 10% Discount                                                                                                          (42,828.15)

Total Fees After Adjustment                                                                                                $385,453.35

Total Disbursements                                                                                                          $9,716.04

Total Current Invoice                                                                                                      $395,169.39

                        REMITTANCE COPY - PLEASE RETURN WITH PAYMENT
                                            For questions, please contact Rachel Chan
                                                        rchan@omm.com
                                                          (213) 430-6459




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YUETING JIA                                                                                 April 16, 2020
                                                                                            OMM Matter: 0424428-00003
                                                                                            Invoice: 1062234
                                                                                            Contact: WILLIAM K. PAO

CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING, CORP)

For Professional Services Rendered Through March 31, 2020

Total Fees                                                                                                                 $358,301.50

Less 10% Discount                                                                                                          (35,830.15)

Total Fees After Adjustment                                                                                                $322,471.35

Total Disbursements                                                                                                          $1,316.31

Total Current Invoice                                                                                                      $323,787.66




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Client: JIA, YUETING                                                                               04/16/20
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CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING, CORP)

For Professional Services Rendered Through March 31, 2020

Date         Name                        Description                                                Hours

005 Case Administration

03/01/20     T LI                        DRAFT NOTICE LANGUAGE RE: NAME CHANGE OF SMART                0.4
                                         KING AND CORRESPOND W/ S. UHLAND AND D. PEREZ RE:
                                         SAME (.3); CORRESPOND W/ EPIQ RE: WEBSITE TROUBLE
                                         (.1)

03/04/20     T LI                        DRAFT AND REVISE YT CONFERENCE CALL AGENDA (.9);              1.3
                                         CORRESPOND W/ PACHULSKI AND CLIENT TEAM RE: SAME
                                         (.4)

03/05/20     T LI                        CORRESPOND W/ EPIQ RE: POSTING LANGUAGE RE: NAME              1.1
                                         CHANGE OF SMART KING (.1); PREPARE WORK IN
                                         PROGRESS ITEMS AND EMAIL D. PEREZ RE: SAME (1.0)

03/06/20     T LI                        REVIEW VARIOUS PLEADINGS AND DECLARATIONS                     2.3
                                         RELATED TO DIP MOTION AND MOTION TO DISMISS FOR
                                         BVI COUNSEL (.6); UPDATE AND REVISE BASED ON S.
                                         UHLAND COMMENTS CHART RE: WORK IN PROGRESS
                                         ITEMS (1.1); CORRESPOND W/ D. PEREZ AND M. PAGAY
                                         UPLOADING PROOF OF CLAIM (.2); CORRESPOND W/ D.
                                         PEREZ RE: TRANSLATION CERTIFICATE (.1); CORRESPOND
                                         W/ D. LIEU RE: UPLOADING PROOFS OF CLAIM AND
                                         ACCESS TO DATA ROOM (.2); CORRESPOND W/ S. HE RE:
                                         INVOICE FOR TRANSLATION OF TERM SHEET (.1)

03/09/20     T LI                        CORRESPOND W/ S. UHLAND RE: WORK IN PROGRESS                  0.2
                                         ITEMS CHART (.1); CORRESPOND W/ M. PAGAY RE:
                                         ACCESS TO DATAROOM (.1)

03/10/20     T LI                        CORRESPOND W/ M. SUN RE: CERTAIN MISSING                      0.3
                                         DOCUMENTATION FOR PROOFS OF CLAIM (.1);
                                         TELEPHONE CONFERENCE W/ B. DASSA RE: DECLARATION
                                         FOR NOTICES TO CHINESE CREDITORS AND EMAIL
                                         RELEVANT MATERIALS (.2)

03/12/20     T LI                        CORRESPOND W/ BVI COUNSEL RE: VARIOUS PLEADINGS               0.6
                                         IN THE CASE AND CASE STATUS

03/16/20     T LI                        CORRESPOND W/ S. HE RE: ANSWERS TO CERTAIN                    0.2
                                         QUESTIONS RECEIVED FROM CREDITORS (.1);
                                         CORRESPOND W/ COURT SERVICES RE: TELEPHONIC
                                         APPEARANCE FOR DISCLOSURE STATEMENT HEARING (.1)

03/20/20     S UHLAND                    TELEPHONE CONFERENCE W/ D. PEREZ, R. PACHULSKI, J.            2.0
                                         DULBERG, M. PAGAY, AND T. LI RE: CLAIM OBJECTION AND
                                         WORK IN PROGRESS ITEMS (.8); TELEPHONE
                                         CONFERENCE W/ CLIENT TEAM, D. PEREZ, R. PACHULSKI,
                                         J. DULBERG, M. PAGAY, AND T. LI RE: WORK IN PROGRESS
                                         ITEMS, CLAIM OBJECTION PROCESS, AND PLAN
                                         CONFIRMATION ISSUES (1.2)




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Client: JIA, YUETING                                                                                  04/16/20
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Date         Name                          Description                                                  Hours

03/20/20     D PEREZ                       TELEPHONE CONFERENCE W/ S. UHLAND, R. PACHULSKI,                2.0
                                           J. DULBERG, M. PAGAY, AND T. LI RE: CLAIM OBJECTIONS
                                           AND WORK IN PROGRESS ITEMS (.8); TELEPHONE
                                           CONFERENCE W/ CLIENT TEAM, S. UHLAND, R. PACHULSKI,
                                           J. DULBERG, M. PAGAY, AND T. LI RE: WORK IN PROGRESS
                                           ITEMS, CLAIM OBJECTION PROCESS, AND PLAN
                                           CONFIRMATION ISSUES (1.2)

03/20/20     T LI                          UPDATE WORK IN PROGRESS ITEM CHART AND EMAIL                    3.0
                                           OMM AND PACHULSKI TEAM RE: SAME (1.0); TELEPHONE
                                           CONFERENCE W/ S. UHLAND, D. PEREZ, R. PACHULSKI, J.
                                           DULBERG, AND M. PAGAY RE: CLAIM OBJECTION AND
                                           WORK IN PROGRESS ITEMS (.8); TELEPHONE
                                           CONFERENCE W/ CLIENT TEAM, S. UHLAND, D. PEREZ, R.
                                           PACHULSKI, J. DULBERG AND M. PAGAY RE: WORK IN
                                           PROGRESS ITEMS, CLAIM OBJECTION PROCESS, AND
                                           PLAN CONFIRMATION ISSUES (1.2)

03/24/20     T LI                          REVIEW AND REVISE CALL CENTER SCRIPT AND EMAIL D.               0.9
                                           PEREZ RE: SAME

03/25/20     T LI                          CORRESPOND W/ S. PERSICHILLI AND S. HE RE: CALL                 0.2
                                           CENTER SCRIPT AND TRANSLATION THEREOF

03/26/20     D PEREZ                       EMAILS W/ S. HE AND B. GALLERIE RE: UPDATES TO EPIQ             0.2
                                           CASE WEBSITE

03/30/20     T LI                          CORRESPOND W/ S. HE RE: TRANSLATION OF CERTAIN                  0.2
                                           DEBT TRANSFER AGREEMENT (.1); CORRESPOND W/ M.
                                           SUN RE: FILED ORIGINAL AND AMENDED SCHEDULES (.1)

Total        005 Case Administration                                                                      14.9

006 Claims Administration and Objections

03/02/20     T LI                          CORRESPOND W/ R. JIA RE: CLAIM AMOUNTS FOR EACH                 1.2
                                           CLASS AND RECONCILIATION PROCESS

03/03/20     T LI                          RECONCILE FILED W/ SCHEDULED CLAIMS (.4);                       0.6
                                           CORRESPOND W/ M. SUN RE: CALCULATION OF CLAIM
                                           AMOUNTS (.2)

03/03/20     D PEREZ                       EMAILS W/ M. PAGAY AND M. ZHANG RE: CLAIM                       0.3
                                           RECONCILIATION AND OBJECTIONS FOR VOTING

03/04/20     T LI                          RECONCILE FILED CHINA SECURED CLAIMS W/                         3.2
                                           SCHEDULED ONES AND CALCULATE UNSECURED
                                           PORTION TREATED AS DEBT CLAIMS (1.8); TELEPHONE
                                           CONFERENCE W/ S. UHLAND, D. PEREZ, J. DULBERG, R.
                                           PACHULSKI, M. PAGAY, J. WANG, R. JIA, AND M. ZHANG RE:
                                           CLAIM RECONCILIATION, RELATED RULES AND MOTION
                                           PRACTICE RE: CLAIM AMOUNT FOR VOTING PURPOSES,
                                           AND CERTAIN STRATEGIES (1.4)

03/04/20     S UHLAND                      REVIEW AND REVISE AGENDA FOR GROUP CALL (.6);                   2.0
                                           TELEPHONE CONFERENCE W/ D. PEREZ, T. LI, J. DULBERG,
                                           R. PACHULSKI, M. PAGAY, J. WANG, R. JIA, AND M. ZHANG
                                           RE: CLAIM RECONCILIATION, RELATED RULES AND
                                           MOTION PRACTICE RE: CLAIM AMOUNT FOR VOTING
                                           PURPOSES, AND CERTAIN STRATEGIES (1.4)




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Client: JIA, YUETING                                                                                 04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                  Invoice: 1062234
CORP)
Matter: 0424428-00003                                                                              Page No. 4


Date        Name                       Description                                                     Hours

03/04/20    D PEREZ                    REVIEW AND COMMENT ON AGENDA FOR CLIENT CALL RE:                   2.4
                                       CLAIM RECONCILIATION (.3); EMAILS W/ T. LI RE: SAME (.2);
                                       TELEPHONE CONFERENCE W/ S. UHLAND, T. LI, J.
                                       DULBERG, R. PACHULSKI, M. PAGAY, J. WANG, R. JIA, AND
                                       M. ZHANG RE: CLAIM RECONCILIATION, RELATED RULES
                                       AND MOTION PRACTICE RE: CLAIM AMOUNT FOR VOTING
                                       PURPOSES, AND CERTAIN STRATEGIES (1.4); REVIEW
                                       MOST RECENT CLAIMS SPREADSHEET FROM B. DASSA
                                       (.3); FOLLOW UP W/ T. LI RE: SAME (.2)

03/05/20    T LI                       REFINE CLAIM RECONCILIATION RESULTS, PROVIDE A                     1.4
                                       DETAILED EXPLANATION OF PROCESS AND STEPS, AND
                                       EMAIL CLIENT RE: SAME (.6); TELEPHONE CONFERENCE W/
                                       L. SUN RE: CALCULATION OF AMOUNT FOR EACH CLASS
                                       OF CLAIMS AND UNDERLYING RATIONALE (.8)

03/05/20    D PEREZ                    EMAILS W/ T. LI RE: CLAIM RECONCILIATION PROCESS (.2);             1.1
                                       TELEPHONE CONFERENCE W/ B. TUTTLE RE: SAME (.2);
                                       REVIEW SPREADSHEET OF FILED V. SCHEDULED CLAIMS
                                       (.7)

03/06/20    T LI                       CORRESPOND W/ M. SUN RE: CLAIM RECONCILIATION                      0.2
                                       QUESTION (.1); CORRESPOND W/ M. SUN RE: TOTAL OF
                                       DEBT CLAIMS (.1)

03/06/20    D PEREZ                    EMAILS W/ M. PAGAY, T. LI, B. DASSA, AND K. MAILLOUX               0.5
                                       RE: CLAIM REVIEW PROCESS

03/09/20    D PEREZ                    REVIEW FILED PROOFS OF CLAIM AND UPLOAD SAME TO                    1.4
                                       DATAROOM (1.1); EMAILS W/ M. PAGAY, T. LI, B. DASSA,
                                       AND D. LIEU RE: SAME (.3)

03/09/20    T LI                       ASSESS COMPLETENESS OF PROOFS OF CLAIM AND                         0.2
                                       CORRESPOND W/ B. DASSA RE: MISSING ITEMS

03/10/20    D PEREZ                    FOLLOW UP W/ S. UHLAND RE: OBJECTIONS TO CLAIMS                    0.2

03/17/20    D PEREZ                    EMAILS W/ L. SUN AND S. UHLAND RE: OBJECTIONS TO                   0.3
                                       CLAIMS FOR VOTING PURPOSES

03/18/20    D PEREZ                    EMAILS W/ S. UHLAND, T. LI, J. DULBERG, AND M. PAGAY               0.8
                                       RE: OBJECTIONS TO CLAIMS FOR VOTING PURPOSES (.5);
                                       REVIEW UPDATED CLAIMS REGISTER RE: SAME (.3)

03/18/20    T LI                       CORRESPOND W/ J. DULBERG AND M. PAGAY RE: MOTION                   0.2
                                       TO OBJECT CLAIM FOR VOTING PURPOSES

03/23/20    T LI                       DRAFT PROPOSED ANSWERS TO CLIENT QUESTIONS RE:                     0.2
                                       CALCULATION OF CLAIM AMOUNTS AND CERTAIN
                                       NONDEBTOR ENTITY AND EMAIL D. PEREZ RE: SAME

03/24/20    S UHLAND                   ANALYZE CLAIMS DECK FOR VOTING (.7); TELEPHONE                     1.9
                                       CONFERENCE W/ M. ZHANG, M. SUN, RK JIA, AND D. PEREZ
                                       RE: VOTING AMOUNTS (.8); FOLLOW-UP CONFERENCE W/
                                       D. PEREZ RE: SAME AND BALLOT (.2); TELEPHONE
                                       CONFERENCE W/ D. PEREZ RE: BALLOT (.2)

03/24/20    D PEREZ                    ATTEND (PARTIAL) TELEPHONE CONFERENCE W/ S.                        1.7
                                       UHLAND, M. ZHANG, AND J. WANG RE: EVALUATION AND
                                       OBJECTIONS TO CLAIMS (.7); FOLLOW UP W/ S. UHLAND
                                       RE: SAME (.2); REVIEW YT TEAM CLAIM ANALYSIS (.4);
                                       EMAILS W/ T. LI RE: SAME (.2); CONFERENCE W/ S. UHLAND
                                       RE: BALLOT (.2)



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Client: JIA, YUETING                                                                                04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                 Invoice: 1062234
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Matter: 0424428-00003                                                                             Page No. 5


Date        Name                       Description                                                    Hours

03/24/20    T LI                       ANALYZE AND ASCERTAIN ASSERTED CLAIMS FOR WHICH                   1.0
                                       NO PERSONAL GUARANTEE WAS PROVIDED AND EMAIL D.
                                       PEREZ RE: SAME

03/25/20    D PEREZ                    TELEPHONE CONFERENCE W/ S. UHLAND, R. PACHULSKI,                  3.3
                                       M. PAGAY, J. DULBERG, AND T. LI RE: CLAIM OBJECTION
                                       AND CERTAIN PROOFS OF CLAIM (.9); TELEPHONE
                                       CONFERENCE W/ M. SUN AND T. LI RE: SAME (.5); REVIEW
                                       T. LI COMMENTS TO CLAIM ANALYSIS (.4); EMAILS W/ T. LI
                                       RE: SAME (.3); REVIEW CLAIMS MARKED FOR OBJECTION
                                       (.6); EMAIL L. SUN RE: SAME (.1); REVIEW T. LI ANALYSIS
                                       RE: DUPLICATE CLAIMS AND REVIEW CLAIMS RE: SAME (.5)

03/25/20    S UHLAND                   TELEPHONE CONFERENCE W/ D. PEREZ, R. PACHULSKI, M.                0.9
                                       PAGAY, J. DULBERG, AND T. LI RE: CLAIM OBJECTION AND
                                       CERTAIN PROOFS OF CLAIM

03/25/20    T LI                       ASCERTAIN CERTAIN CLAIMS BASED ON BREACH OF                       4.1
                                       CONTRACT AND EMAIL RESULT TO D. PEREZ (.4);
                                       TELEPHONE CONFERENCE W/ S. UHLAND, D. PEREZ, R.
                                       PACHULSKI, M. PAGAY, AND J. DULBERG RE: CLAIM
                                       OBJECTION AND CERTAIN PROOFS OF CLAIM (.9);
                                       ASCERTAIN DUPLICATE CLAIMS AND EMAIL RESULT TO D.
                                       PEREZ (.9); RECONCILE LISTS OF DUPLICATE CLAIMS AND
                                       EMAIL RESULT TO D. PEREZ (.4); IDENTIFY POTENTIAL
                                       CLAIMS SUBJECT TO OBJECTION THAT REQUIRE
                                       ADDITIONAL INFORMATION AND EMAIL CLIENT TEAM RE:
                                       SAME (.7); TELEPHONE CONFERENCE W/ D. PEREZ AND M.
                                       SUN RE: CLAIM OBJECTION AND CERTAIN PROOFS OF
                                       CLAIM (.5); CORRESPOND W/ M. SUN RE: CLAIM
                                       OBJECTION AND BURDEN SHIFTING PROCESS (.3)

03/26/20    D PEREZ                    EMAILS W/ R. PACHULSKI AND M. ZHANG RE: OBJECTIONS                0.2
                                       TO CLAIMS

03/27/20    D PEREZ                    EMAILS W/ L. SUN RE: CLAIM OBJECTIONS                             0.4

03/28/20    T LI                       ANSWER M. SUN QUESTION RE: VOTING TREATMENT OF                    0.1
                                       CLAIMS SCHEDULED AS CUD

03/29/20    T LI                       REVIEW FINAL VOTING REPORT PER CLIENT REQUEST                     3.8
                                       AND EMAIL D. PEREZ RE: SAME (.8); CORRESPOND W/ D.
                                       PEREZ RE: PROOFS OF CLAIM FILED BY CERTAIN
                                       CREDITORS (.2); IDENTIFY AND ANALYZE ALL CLAIMS TO
                                       WHICH CLIENT WANTS TO OBJECT TO FOR VOTING
                                       PURPOSES AND ASCERTAIN BASIS (2.5); EMAIL D. PEREZ
                                       AND M. PAGAY RE: SAME (.3)

03/29/20    D PEREZ                    REVIEW CLAIMS REGISTER AGAINST VOTING REPORTS                     4.3
                                       RE: POTENTIAL OBJECTIONS TO CLAIMS (1.7); REVIEW T. LI
                                       ANALYSIS RE: CLAIMS TO OBJECT TO (.3); EMAILS W/ T. LI
                                       RE: SAME (.2) EMAILS AND CALLS W/ L. SUN RE: SAME (1.4);
                                       EMAILS W/ S. KJONTVEDT RE: SAME (.2); REVIEW FILED
                                       CLAIMS RE: SAME (.5)

03/30/20    W PAO                      REVIEW MATERIALS RELATING TO VIZIO AND O-FILM CASE                1.4
                                       FOR CLAIM OBJECTIONS (1.2); COMMUNICATIONS W/ M.
                                       PAGAY RE: SAME (.2)

03/30/20    D PEREZ                    REVIEW T. LI ANALYSIS RE: POTENTIAL CLAIM                         1.3
                                       OBJECTIONS (.6); TELEPHONE CONFERENCE W/ M. PAGAY,
                                       B. DASSA, AND T. LI RE: CLAIM OBJECTION AND CERTAIN
                                       PROOFS OF CLAIM (.7)



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Client: JIA, YUETING                                                                                      04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                       Invoice: 1062234
CORP)
Matter: 0424428-00003                                                                                 Page No. 6


Date           Name                          Description                                                   Hours

03/30/20       T LI                          RECONCILE CLAIMS TO BE OBJECTED W/ EPIQ’S FINAL                  2.4
                                             VOTING REPORT (1.0); ASCERTAIN BASIS FOR OBJECTING
                                             TO A CERTAIN CLAIM FOR VOTING PURPOSES AND
                                             CORRESPOND W/ D. PEREZ RE: SAME (.4); TELEPHONE
                                             CONFERENCE W/ D. PEREZ, M. PAGAY, B. DASSA, AND T. LI
                                             RE: CLAIM OBJECTION AND CERTAIN PROOFS OF CLAIM
                                             (.7); TELEPHONE CONFERENCE W/ M. SUN RE: CLAIM
                                             OBJECTION FOR VOTING PURPOSE AND CERTAIN
                                             QUESTIONS ABOUT CUD CLAIMS (.3)

03/31/20       W PAO                         STRATEGIZE RE: LITIGATION CLAIM OBJECTIONS                       0.4

03/31/20       D PEREZ                       EMAILS W/ M. PAGAY, T. LI, AND M. ZHANG RE:                      1.8
                                             OBJECTIONS TO CLAIMS FOR VOTING PURPOSES (.3);
                                             REVIEW PACHULSKI SPREADSHEET RE: SAME (.3);
                                             TELEPHONE CONFERENCE W/ M. PAGAY, M. SUN, AND T. LI
                                             RE: CLAIM OBJECTION FOR VOTING PURPOSES AND
                                             CERTAIN PROOFS OF CLAIM (1.2)

03/31/20       D PEREZ                       EMAILS W/ T. LI RE: VOTING QUESTIONS (.2); REVIEW                0.6
                                             RESEARCH RE: SAME (.4)

03/31/20       T LI                          ASCERTAIN THE SUFFICIENCY OF A CERTAIN PROOF OF                  1.4
                                             CLAIM (IN CHINESE) PER CLIENT REQUEST (.2);
                                             TELEPHONE CONFERENCE W/ D. PEREZ, M. PAGAY, AND
                                             M. SUN RE: CLAIM OBJECTION FOR VOTING PURPOSES
                                             AND CERTAIN PROOFS OF CLAIM (1.2)

Total          006 Claims Administration and Objections                                                      47.2

007 Employment and Fee Applications

03/24/20       T LI                          CORRESPOND W/ MAPLES RE: ATTORNEY BIOGRAPHIES                    0.1
                                             FOR RETENTION APPLICATION

03/30/20       D PEREZ                       EMAILS W/ T. LI AND S. UHLAND RE: INTERIM FEE                    0.2
                                             APPLICATION

03/30/20       T LI                          ASCERTAIN LOCAL RULES AND IDENTIFY PRECEDENT FOR                 0.7
                                             FIRST FEE APPLICATION AND EMAIL D. PEREZ RE: SAME

Total          007 Employment and Fee Applications                                                            1.0

009 Financing and Cash Collateral

03/05/20       D PEREZ                       REVIEW SLC OBJECTION TO DIP MOTION                               0.2

03/09/20       D PEREZ                       REVIEW SLC OBJECTION TO DIP MOTION (.4); EMAILS W/ D.            0.6
                                             MEADOWS RE: SAME (.2)

03/10/20       D PEREZ                       REVIEW REPLY TO SLC DIP OBJECTION                                0.3

03/12/20       T LI                          CORRESPOND W/ S. UHLAND AND DULBERG RE: REPLY IN                 0.2
                                             SUPPORT OF DIP MOTION (.1); CORRESPOND W/ BVI
                                             COUNSEL RE: SLC OBJECTION TO DIP MOTION (.1)

03/12/20       S UHLAND                      REVIEW SLC DIP OBJECTION (.4); REVIEW AND REVISE                 1.2
                                             RESPONSE TO SAME (.8)

03/27/20       D PEREZ                       TELEPHONE CONFERENCE W/ R. PACHULSKI, J. DULBERG,                0.7
                                             AND M. PAGAY RE: FUNDING UNDER DIP NOTE

Total          009 Financing and Cash Collateral                                                              3.2

010 Hearings


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Client: JIA, YUETING                                                                                    04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                     Invoice: 1062234
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Matter: 0424428-00003                                                                                 Page No. 7


Date             Name                       Description                                                   Hours

03/17/20         T LI                       CORRESPOND W/ S. UHLAND AND D. PEREZ RE:                         0.2
                                            TELEPHONIC APPEARANCE FOR DISCLOSURE STATEMENT
                                            HEARING

03/18/20         D PEREZ                    PREPARE FOR DISCLOSURE STATEMENT HEARING (1.5);                  1.9
                                            EMAILS W/ M. PAGAY, J. DULBERG, R. PACHULSKI, AND S.
                                            UHLAND RE: SAME (.4)

03/18/20         T LI                       COORDINATE LISTEN IN PROCEDURES FOR MARCH 19                     1.4
                                            HEARING AND CONTACT CLIENT TEAM RE: SAME (.4);
                                            PREPARE BRIEFING BINDERS FOR S. UHLAND AND D.
                                            PEREZ RE: MARCH 19 HEARING (1.0)

03/19/20         S UHLAND                   APPEAR TELEPHONICALLY IN MARCH 19 COURT HEARING                  2.5
                                            W/ D. PEREZ AND T. LI RE: MOTION TO DISMISS, DIP
                                            MOTION, AND DISCLOSURE STATEMENT APPROVAL

03/19/20         T LI                       PREPARE FOR TELEPHONIC APPEARANCE IN MARCH 19                    3.9
                                            HEARING (1.4); APPEAR TELEPHONICALLY IN MARCH 19
                                            COURT HEARING W/ S. UHLAND AND D. PEREZ RE: MOTION
                                            TO DISMISS, DIP MOTION, AND DISCLOSURE STATEMENT
                                            APPROVAL (2.5)

03/19/20         D PEREZ                    APPEAR TELEPHONICALLY IN MARCH 19 COURT HEARING                  2.5
                                            W/ S. UHLAND AND T. LI RE: MOTION TO DISMISS, DIP
                                            MOTION, AND DISCLOSURE STATEMENT APPROVAL

Total            010 Hearings                                                                               12.4

011 Litigation

03/03/20         D PEREZ                    REVIEW AND COMMENT ON UPDATED DECLARATION IN                     1.2
                                            SUPPORT OF OPPOSITION TO MOTION TO DISMISS AND
                                            FOLLOW UP W/ J. ONEIL RE: SAME (.4); REVIEW M. ZHANG
                                            COMMENTS TO SAME (.1); TELEPHONE CONFERENCES W/
                                            M. PAGAY RE: SAME (.2); EMAILS W/ M. ZHANG, J. WANG, R.
                                            JIA, J. ONEIL, AND M. PAGAY RE: SAME (.5)

03/03/20         D PEREZ                    REVIEW AND COMMENT ON RESPONSE TO MOTION TO                      1.4
                                            DISMISS (1.2); FOLLOW UP W/ M. PAGAY AND J. ONEIL RE:
                                            SAME (.2)

03/06/20         T LI                       RESEARCH VIZIO LITIGATION AND CORRESPOND W/                      0.2
                                            INTERNAL TEAM RE: RECENT MINUTE ORDER

03/10/20         D PEREZ                    REVIEW CREDITORS JOINDER TO OPPOSITION TO SLC                    0.2
                                            MOTION TO DISMISS

03/11/20         W PAO                      ANALYZE ISSUES RE: HAN CASE IN BANKRUPTCY                        0.4
                                            PROCEEDINGS

03/13/20         D PEREZ                    TELEPHONE CONFERENCE W/ S. UHLAND, W. PAO, AND T.                1.2
                                            LI RE: STRATEGY IN ADDRESSING CERTAIN PREPETITION
                                            LITIGATIONS (.5); REVIEW REVISED CHART OF LITIGATION
                                            AND COMMENT ON SAME (.3); EMAILS W/ T. LI RE: SAME
                                            (.1); REVIEW HAN COMPLAINT RE: SAME (.3)

03/13/20         S UHLAND                   TELEPHONE CONFERENCE W/ W. PAO, D. PEREZ AND T. LI               0.5
                                            RE: STRATEGY IN ADDRESSING CERTAIN PREPETITION
                                            LITIGATION

03/13/20         W PAO                      TELEPHONE CONFERENCE W/ S. UHLAND, D. PEREZ, AND                 0.5
                                            T. LI RE: STRATEGY IN ADDRESSING CERTAIN PRE-
                                            PETITION LITIGATIONS



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Client: JIA, YUETING                                                                                04/16/20
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Date         Name                          Description                                               Hours

03/13/20     T LI                          CORRESPOND W/ W. PAO, D. PEREZ, AND S. UHLAND RE:            0.6
                                           HAN LITIGATION COMPLAINT (.1); TELEPHONE
                                           CONFERENCE W/ S. UHLAND, W. PAO, AND D. PEREZ RE:
                                           STRATEGY IN ADDRESSING CERTAIN PREPETITION
                                           LITIGATIONS (.5)

03/14/20     W PAO                         COMMUNICATIONS W/ M. ZHANG RE: DOCUMENTS                     0.3
                                           RECEIVED FROM SLC

03/16/20     D TULLY                       CONFERENCE W/ PRACTICE SUPPORT RE: PROCESSING                0.3
                                           THIRD-PARTY PRODUCTION IN SLC V. JIA YUETING
                                           LITIGATION

03/16/20     D TULLY                       ANALYZE THIRD-PARTY PRODUCTION FROM                          0.6
                                           TRANSACTION CLEARING HOUSE IN SLC V. JIA YUETING
                                           LITIGATION

03/16/20     W PAO                         STRATEGIZE RE: REVIEW OF DOCUMENTS RECEIVED                  0.4
                                           FROM SLC

Total        011 Litigation                                                                             7.8

012 Meetings and Communications with Creditors

03/03/20     T LI                          REVIEW AND REVISE PROPOSED RESPONSES TO INQUIRY              0.2
                                           FROM A CERTAIN CREDITOR AND EMAIL S. UHLAND AND D.
                                           PEREZ RE: SAME

03/05/20     T LI                          CORRESPOND W/ J. DULBERG RE: RESULTS OF                      0.2
                                           CONTACTING CHINESE CREDITORS PER COURT REQUEST

03/06/20     D LIEU                        ADD NEW USERS TO YT - PROJECT R FIRMEX DEAL ROOM             0.5
                                           PER REQUEST OF T. LI

03/06/20     D LIEU                        DOWNLOAD AND APPEND DOCUMENTS TO THE YT -                    0.8
                                           PROJECT R FIRMEX DEAL ROOM PER REQUEST OF T. LI

03/09/20     D LIEU                        APPEND DOCUMENTS TO THE YT - PROJECT R FIRMEX                0.3
                                           DEAL ROOM PER REQUEST OF D. PEREZ

03/26/20     T LI                          CORRESPOND W/ S. UHLAND RE: ANSWERS TO VARIOUS               0.1
                                           CREDITOR QUESTIONS

03/30/20     T LI                          CORRESPOND W/ C. MURRAY RE: CREDITOR QUESTIONS               0.1
                                           AND ANSWERS

03/31/20     T LI                          CORRESPOND W/ C. MURRAY (EPIQ) AND S. HE RE: CALL            0.4
                                           CENTER SCRIPT AND RECORDING

Total        012 Meetings and Communications with Creditors                                             2.6

013 Non-Working Travel

03/09/20     S UHLAND                      NON-WORKING TRAVEL TO FF FOR MEETINGS W/                     2.5
                                           FARADAY MANAGEMENT, PROPOSED CREDITOR TRUSTEE

Total        013 Non-Working Travel                                                                     2.5

014 Plan and Disclosure Statement




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Date        Name                       Description                                                  Hours

03/01/20    D PEREZ                    REVIEW AND COMMENT ON CHART OF REVISIONS TO                     8.2
                                       DISCLOSURE STATEMENT AND PLAN (.7); REVIEW AND
                                       REVISE PLAN AND DISCLOSURE STATEMENT AND
                                       EXHIBITS THERETO (4.3); EMAILS W/ M. ZHANG, J. WANG,
                                       R. JIA, AND S. UHLAND RE: SAME (.8); REVIEW AND
                                       COMMENT ON MOTION TO SHORTEN TIME (.4); REVIEW
                                       AND COMMENT ON LIQUIDATION ANALYSIS AND
                                       VALUATION SCENARIOS (1.5); EMAILS AND CALLS W/ R.
                                       MOON RE: SAME (.5)

03/01/20    S UHLAND                   CONFERENCE W/ R. MOON RE: LIQUIDATION ANALYSIS (.7);            4.0
                                       DRAFT AND REVISE DISCLOSURE STATEMENT RE:
                                       LIQUIDATION ANALYSIS AND OCEAN VIEW (2.4); REVIEW /
                                       REVISE RECOVERY ANALYSIS (.9)

03/01/20    T LI                       REVISE THIRD AMENDED DISCLOSURE STATEMENT RE:                   5.4
                                       VALUATION OF PRIVATE COMPANIES AND STIPULATION W/
                                       SHANGHAI QICHENGYUEMING RE: STATUS OF ITS CLAIM
                                       (.6); REVISE CHART AS AN EXHIBIT SHOWING REVISIONS
                                       ACCORDING TO COURT FINDINGS OF FACT AND
                                       CONCLUSIONS OF LAW BASED ON D. PEREZ COMMENTS
                                       AND EMAIL SAME TO OMM AND PACHULSKI TEAM (1.9);
                                       PREPARE NOTICES OF BLACKLINED DISCLOSURE
                                       STATEMENT AND PLAN AND EMAIL D. PEREZ RE: SAME (.3);
                                       REVIEW MOTION TO SHORTEN TIME AND DECLARATIONS
                                       IN CONNECTION THEREWITH (.7); EMAIL M. PAGAY RE:
                                       SAME (.1); UPDATE BALLOT AND NOTICE OF NON-VOTING
                                       STATUS RE: CERTAIN DEFINITIONS IN THE RELEASE
                                       SECTION AND REVISE RE: COMMENTS FROM EPIQ
                                       RESTRUCTURING (.7); CALCULATE AMOUNT OF FILED
                                       CLAIMS FOR THE PURPOSE OF THE THIRD AMENDED
                                       DISCLOSURE STATEMENT (.3); REVISE CHART AS AN
                                       EXHIBIT SHOWING REVISIONS ACCORDING TO COURT
                                       FINDINGS OF FACT AND CONCLUSIONS OF LAW BASED ON
                                       UPDATED INFORMATION IN DISCLOSURE STATEMENT (.8)

03/02/20    D PEREZ                    REVIEW AND COMMENT ON LIQUIDATION ANALYSIS (.8);                6.2
                                       EMAILS AND CALLS W/ S. UHLAND AND R. MOON RE: SAME
                                       (1.2); FINALIZE PLAN, DISCLOSURE STATEMENT, AND
                                       SOLICITATION MOTION FOR FILING (4.2)

03/02/20    T LI                       UPDATE AND FINALIZE NOTICES FOR BLACKLINED PLAN                 2.4
                                       AND DISCLOSURE STATEMENT (.2); FINALIZE
                                       SOLICITATION MOTION; PROPOSED DISCLOSURE
                                       STATEMENT ORDER; CONFIRMATION HEARING NOTICE;
                                       NOTICE OF NON-VOTING STATUS; FORM BALLOT; AND
                                       MOON DECLARATION (1.9); DRAFT EMAIL RE: VARIOUS
                                       FILING MATERIALS AND ATTACHMENTS AND EMAIL D.
                                       PEREZ RE: SAME (.3)

03/02/20    S UHLAND                   CONFERENCE W/ D. PEREZ RE: PLAN (.4); FURTHER                   1.1
                                       REVIEW / REVISE RECOVERY ANALYSIS (.7)

03/02/20    D PEREZ                    EMAILS AND CALLS W/ M. PAGAY AND J. ONEIL RE: YT                2.5
                                       DISCLOSURE STATEMENT DECLARATION (.6); EMAILS AND
                                       TELEPHONE CONFERENCE W/ M. ZHANG RE: SAME (.4);
                                       REVIEW AND COMMENT ON SAME (.9); FOLLOW UP W/ T. LI
                                       RE: SAME (.2); EMAILS W/ S. UHLAND, J. DULBERG, AND T.
                                       LI RE: CREDITOR OUTREACH RE: DISCLOSURE
                                       STATEMENT HEARING (.3); COMMENT ON SCRIPT RE:
                                       SAME (.1)




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Date        Name                       Description                                                   Hours

03/03/20    D PEREZ                    EMAILS W/ S. HE RE: TRANSLATION OF DISCLOSURE                    0.7
                                       STATEMENT AND TERM SHEET (.3); FOLLOW UP W/ S.
                                       UHLAND AND M. PARKS RE: SAME (.1); EMAILS W/ M.
                                       ZHANG, J. DULBERG, AND M. PAGAY RE: CREDITOR
                                       SUPPORT OF DISCLOSURE STATEMENT (.3)

03/04/20    D PEREZ                    EMAILS W/ S. HE RE: TRANSLATION OF DISCLOSURE                    0.8
                                       STATEMENT AND TERM SHEET (.2); PREPARE DOCUMENTS
                                       RE: SAME (.6)

03/05/20    D PEREZ                    REVIEW AND COMMENT ON TASK LIST FOR PLAN                         1.1
                                       CONFIRMATION (.7); FOLLOW UP W/ T. LI RE: SAME (.2);
                                       EMAILS W/ J. DULBERG AND M. PAGAY RE: JOINDERS AND
                                       OBJECTIONS TO SOLICITATION MOTION (.2)

03/06/20    D PEREZ                    REVIEW AND COMMENT ON TASK LIST FOR PLAN                         0.6
                                       CONFIRMATION (.2); FOLLOW UP W/ T. LI RE: SAME (.1);
                                       EMAILS W/ S. HE, T. LI, AND M. PAGAY RE: TRANSLATION
                                       CERTIFICATIONS (.3)

03/06/20    S UHLAND                   CONFERENCE W/ K. ADONIS (MAPLES) RE: BVI INJUNCTION              0.6

03/08/20    S UHLAND                   COMMUNICATE W/ J. WANG AND R. PACHULSKI RE:                      0.8
                                       CREDITOR TRUSTEE

03/09/20    D PEREZ                    REVIEW CHART OF OUTSTANDING LITIGATIONS (.5);                    0.7
                                       FOLLOW UP W/ T. LI RE: SAME (.2)

03/09/20    T LI                       GATHER INFORMATION AND PREPARE CHART SHOWING                     2.3
                                       THE LITIGATIONS THAT WILL BE RESOLVED THROUGH THE
                                       PLAN AND EMAIL D. PEREZ RE: SAME

03/09/20    S UHLAND                   MEETINGS W. J. WANG, M. ZHANG RE: PREPARATION FOR                6.2
                                       CREDITOR TRUSTEE MEETING (1.6); MEETING W/ A.
                                       BEHLMANN J. PROL, FF MANAGEMENT, M. ZHANG RE:
                                       OVERVIEW OF TRUST STRUCTURE (2.5); MEETING W/ Y.
                                       JIA, A. BEHLMANN, AND J. PROL RE: CREDITOR TRUSTEE
                                       ISSUES (.8); MEETING W/ M. ZHANG AND J. WANG RE:
                                       OPEN CLAIMS, VOTING, VOTING AMOUNTS (1.3)

03/10/20    D PEREZ                    EMAILS W/ T. LI AND S. UHLAND RE: REPLY TO                       1.4
                                       OBJECTIONS TO DISCLOSURE STATEMENT (.2); EMAILS W/
                                       S. UHLAND, R. PACHULSKI, AND J. WANG RE: POTENTIAL
                                       OBJECTIONS TO DISCLOSURE STATEMENT AND PLAN (.5);
                                       EMAILS W/ L. SUN AND M. ZHANG RE: CONFIRMATION
                                       TIMELINE (.2); EMAILS W/ S. UHLAND AND R. PACHULSKI
                                       RE: SELECTION OF INITIAL TRUSTEE (.2); FOLLOW UP W/ T.
                                       LI RE: SAME (.1); TELEPHONE CONFERENCE W/ S. UHLAND
                                       RE: VOTING AMOUNTS (.2)

03/10/20    D PEREZ                    MEET W/ T. LI RE: REPLY IN SUPPORT OF DISCLOSURE                 0.2
                                       STATEMENT AND POSSIBLE OBJECTIONS

03/10/20    L HAN                      COMMUNICATIONS W/ S. UHLAND, M. ZHANG, AND J. SU                 0.8
                                       RE: THE TERM SHEET AND THE TRUST AGREEMENT (.4);
                                       FOLLOW UP W/ J. SU RE: THE TRUST AGREEMENT (.4)




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03/10/20    T LI                       CORRESPOND W/ D. PEREZ RE: REPLY IN SUPPORT OF                    2.7
                                       DISCLOSURE STATEMENT AND POTENTIAL OBJECTIONS
                                       (.1); UPDATE AND DRAFT REPLY IN SUPPORT OF THIRD
                                       AMENDED DISCLOSURE STATEMENT (1.4); MEET W/ D.
                                       PEREZ RE: REPLY IN SUPPORT OF DISCLOSURE
                                       STATEMENT AND POSSIBLE OBJECTIONS (.2); PREPARE
                                       SUPPLEMENT TO THIRD AMENDED DISCLOSURE
                                       STATEMENT (1.0)

03/10/20    S UHLAND                   CONFERENCE W/ J. WANG AND M. ZHANG RE: VOTING                     1.7
                                       QUESTIONS, CREDITOR OBJECTIONS (1.5); FOLLOW-UP
                                       TELEPHONE CONFERENCE W/ D. PEREZ RE: SAME (.2)

03/10/20    S UHLAND                   CONFERENCE W/ BVI COUNSEL (K. ADONIS) RE: LAN                     0.8
                                       ISSUES, BVI INJUNCTION

03/11/20    D PEREZ                    REVIEW AND REVISE SUPPLEMENT TO DISCLOSURE                        3.5
                                       STATEMENT (.4); EMAILS W/ S. UHLAND AND T. LI RE: SAME
                                       (.2); EMAILS W/ S. UHLAND AND M. ZHANG RE: PLAN
                                       QUESTIONS (.6); TELEPHONE CONFERENCES W/ M. ZHANG
                                       RE: SAME (.3); REVIEW OBJECTIONS TO DISCLOSURE
                                       STATEMENT (.9); REVIEW AND REVISE SUMMARY OF SAME
                                       AND PROPOSED RESPONSES (.7); EMAILS W/ T. LI, R.
                                       PACHULSKI, W. PAO, AND J. DULBERG RE: SAME (.4)

03/11/20    D PEREZ                    REVIEW AND COMMENT ON DECLARATION RE: NOTICE OF                   0.2
                                       DISCLOSURE STATEMENT

03/11/20    J SU                       PREPARE CREDITOR TRUST AGREEMENT (3.5);                           3.9
                                       COMMUNICATIONS W/ L. HAN RE: SAME (.4)

03/11/20    T LI                       REVISE AND UPDATE BASED ON S. UHLAND COMMENTS                     1.5
                                       WIP ITEMS CHART AND EMAIL OMM TEAM AND CO-
                                       COUNSEL RE: SAME (.5); REVISE AND EXECUTE
                                       DECLARATION RE: ORDER GRANTING APPLICATION TO
                                       SHORTEN (1.0)

03/11/20    T LI                       PREPARE SUPPLEMENT TO THIRD AMENDED DISCLOSURE                    4.7
                                       STATEMENT (1.2); REVISE AND EDIT SUPPLEMENT AND
                                       SEND TO CO-COUNSEL (.5); EMAIL J. PROL RE:
                                       ATTACHMENT TO SUPPLEMENT TO THE DISCLOSURE
                                       STATEMENT (.1); REVIEW VARIOUS OBJECTIONS TO THE
                                       THIRD AMENDED DISCLOSURE STATEMENT (.8); DRAFT
                                       REPLY OUTLINE TO THREE RESPONSES TO DISCLOSURE
                                       STATEMENT AND EMAIL D. PEREZ (1.7); REVISE REPLY
                                       OUTLINE BASED ON D. PEREZ COMMENTS AND EMAIL TO
                                       INTERNAL GROUP (.4)

03/11/20    S UHLAND                   COMMUNICATIONS W/ D. PEREZ RE: PREFERRED UNIT                     0.4
                                       STRUCTURE

03/12/20    D PEREZ                    EMAILS W/ S. UHLAND RE: PROPOSED RESPONSES TO                     4.2
                                       DISCLOSURE STATEMENT OBJECTIONS (.2); REVISE
                                       SUMMARY OF SAME AND FOLLOW UP W/ T. LI (.2); EMAILS
                                       W/ S. UHLAND AND M. ZHANG RE: OPEN PLAN QUESTIONS
                                       (.8); MEET W/ S. UHLAND RE: SAME (.7); PREPARE
                                       RESPONSES TO OPEN PLAN QUESTIONS FROM M. ZHANG
                                       (.5); TELEPHONE CONFERENCE W/ S. UHLAND (PARTIAL),
                                       M. ZHANG, AND J. WANG RE: SAME (1.1); MEET W/ T. LI RE:
                                       STRATEGY OF ADDRESSING OBJECTIONS TO THE THIRD
                                       AMENDED DISCLOSURE STATEMENT, REPLY DRAFTING,
                                       AND RELEVANT TIMELINE (.7)




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Date        Name                       Description                                                 Hours

03/12/20    J SU                       DRAFT CREDITOR TRUST AGREEMENT BASED ON TERM                   5.1
                                       SHEET

03/12/20    T LI                       CORRESPOND W/ CLIENT RE: VARIOUS RESPONSES TO                  1.8
                                       THIRD AMENDED DISCLOSURE STATEMENT AND
                                       PROPOSED REPLY (.2); REVIEW AND COORDINATE FILING
                                       OF SUPPLEMENT TO THIRD AMENDED DISCLOSURE
                                       STATEMENT (.4); MEET W/ D. PEREZ RE: STRATEGY OF
                                       ADDRESSING OBJECTIONS TO THE THIRD AMENDED
                                       DISCLOSURE STATEMENT, REPLY DRAFTING, AND
                                       RELEVANT TIMELINE (.7); DRAFT REPLY IN SUPPORT OF
                                       THIRD AMENDED DISCLOSURE STATEMENT (.5)

03/12/20    S UHLAND                   TELEPHONE CONFERENCE (PARTIAL) W/ M. ZHANG, J.                 0.6
                                       WANG, AND D. PEREZ RE: PLAN

03/12/20    S UHLAND                   REVIEW DRAFT PLAN AND M. ZHANG QUESTIONS (.8);                 2.8
                                       COMMUNICATIONS W/ D. PEREZ RE: PLAN PROVISIONS
                                       (.7); REVIEW PROPOSED REPLIES AND DISCLOSURE
                                       STATEMENT OBJECTIONS (.6); MEETING W/ D. PEREZ RE:
                                       PLAN ISSUES (.7)

03/13/20    D PEREZ                    TELEPHONE CONFERENCE W/ CAYMAN COUNSEL                         2.8
                                       (MAPLES), T. LI, AND R. MOON RE: DISCLOSURE ON BVI
                                       PROCEEDING AND DISSOLUTION OF BVI INJUNCTIONS (.9);
                                       FOLLOW UP W/ S. UHLAND RE: REVISIONS TO THE PLAN
                                       (.2); REVIEW AND REVISE RESPONSES TO CREDITOR
                                       QUESTIONS ON THE PLAN (1.7)

03/13/20    J SU                       DRAFT CREDITOR TRUST AGREEMENT BASED ON TERM                   5.0
                                       SHEET

03/13/20    T LI                       DRAFT ANSWERS TO CREDITOR QUESTIONS RE: PLAN                   1.5
                                       PROVISIONS AND EMAIL D. PEREZ RE: SAME

03/13/20    T LI                       LOCATE CERTAIN INFORMATION IN APPLICABLE PROOFS                4.1
                                       OF CLAIM AND ADVERSARY PROCEEDING, UPDATE PLAN
                                       LITIGATION CHART, AND EMAIL D. PEREZ RE: SAME (1.1);
                                       REVISE SAME CHART BASED ON D. PEREZ COMMENTS
                                       AND EMAIL S. UHLAND AND W. PAO RE: SAME (.4); DRAFT
                                       REPLY IN SUPPORT OF THIRD AMENDED DISCLOSURE
                                       STATEMENT RE: PRELIMINARY STATEMENT (.5); DRAFT
                                       REPLY IN SUPPORT OF THIRD AMENDED DISCLOSURE
                                       STATEMENT RE: BACKGROUND (1.2); TELEPHONE
                                       CONFERENCE W/ CAYMAN COUNSEL (MAPLES), D. PEREZ,
                                       AND R. MOON RE: DISCLOSURE ON BVI PROCEEDING AND
                                       DISSOLUTION OF BVI INJUNCTIONS (.9)

03/13/20    S UHLAND                   ANALYZE SLC DISCLOSURE STATEMENT OBJECTION                     0.6

03/14/20    D PEREZ                    REVISE PLAN (1.1); TELEPHONE CONFERENCE W/ M.                  2.1
                                       ZHANG, J. WANG, AND S. UHLAND RE: MODIFICATIONS TO
                                       PLAN (.4); PREPARE EMAIL SUMMARY RE: OPEN ISSUES IN
                                       PLAN (.6)

03/14/20    S UHLAND                   ANALYZE REVISED PLAN ISSUES (.7); TELEPHONE                    2.0
                                       CONFERENCE W/ D. PEREZ, M. ZHANG, AND J. WANG RE:
                                       SAME (.4); OUTLINE PLAN CHANGES (.9)

03/14/20    J SU                       PREPARE FIRST DRAFT OF TRUST AGREEMENT                         4.0




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Date        Name                       Description                                                     Hours

03/14/20    T LI                       RESEARCH RE: IMPAIRMENT OF PREPETITION INTEREST                    7.9
                                       CLAIM AND DRAFT REPLY IN SUPPORT OF DISCLOSURE
                                       STATEMENT (1.9); RESEARCH RE: RESERVATION OF
                                       ESTATE ACTIONS FOR POSTCONFIRMATION PURSUIT AND
                                       DRAFT REPLY IN SUPPORT OF DISCLOSURE STATEMENT
                                       (2.3); DRAFT REPLY IN SUPPORT OF DISCLOSURE
                                       STATEMENT RE: SLC OBJECTION TO ADEQUACY OF
                                       DISCLOSURE STATEMENT AND PLAN CONFIRMATION
                                       ISSUES (2.2); REVISE REPLY IN SUPPORT OF DISCLOSURE
                                       STATEMENT RE: SAME (1.5)

03/15/20    S UHLAND                   DRAFT AND REVISE AMENDED PLAN                                      1.9

03/15/20    D PEREZ                    REVISE PLAN PER S. UHLAND COMMENTS (1.3); FOLLOW                   6.2
                                       UP W/ S. UHLAND RE: SAME (.3); REVIEW AND REVISE
                                       REPLY TO DISCLOSURE STATEMENT OBJECTIONS (1.6);
                                       EMAILS W/ T. LI RE: SAME (.3); FURTHER REVISE PLAN (.9);
                                       EMAILS W/ S. UHLAND, M. PAGAY, R. PACHULSKI, AND M.
                                       ZHANG RE: SAME (.6); DRAFT AMENDED PLAN TERM
                                       SHEET (1.2)

03/15/20    S UHLAND                   OUTLINE BVI SECTION OF REPLY (1.1); DRAFT AND REPLY                2.7
                                       RE: INTEREST, BVI ISSUES (1.6)

03/15/20    J SU                       PREPARE FIRST DRAFT OF TRUST AGREEMENT                             1.1

03/15/20    T LI                       CORRESPOND W/ S. UHLAND RE: BVI ISSUES IN THE                      4.8
                                       DRAFT REPLY TO OBJECTIONS TO THIRD AMENDED
                                       DISCLOSURE STATEMENT (.1); DRAFT REPLY RE: BVI
                                       INSOLVENCY ACT AND GROUNDS FOR CHALLENGING BVI
                                       INJUNCTIONS (.9); REVISE REPLY THROUGHOUT BASED
                                       ON D. PEREZ AND S. UHLAND COMMENTS (3.2); REVISE
                                       REPLY TO ALIGN W/ UPDATED PLAN AND DISCLOSURES
                                       STATEMENT AND EMAIL CLIENT TEAM RE: SAME (.4);
                                       CORRESPOND W/ M. ZHANG RE: QUESTION RE: CERTAIN
                                       PREPETITION LITIGATION TO BE ADDRESSED IN THE PLAN
                                       (.1); CORRESPOND W/ BVI COUNSEL RE: COMMENTS ON
                                       THE DRAFT REPLY IN SUPPORT OF DISCLOSURE
                                       STATEMENT (.1)




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03/16/20    D PEREZ                    REVISE PLAN AND AMENDED TERM SHEET PER S. UHLAND             12.5
                                       COMMENTS (1.7); EMAILS W/ M. ZHANG AND S. UHLAND RE:
                                       SAME (.2); REVISE REPLY TO DISCLOSURE STATEMENT
                                       OBJECTIONS AND FINALIZE SAME FOR FILING (.6); EMAILS
                                       W/ S. UHLAND AND T. LI RE: SAME (.2); REVISE PLAN AND
                                       PLAN TERM SHEET RE: M. ZHANG COMMENTS (.4); REVISE
                                       DISCLOSURE STATEMENT RE: SAME (1.1); TELEPHONE
                                       CONFERENCE W/ T. LI, AND R. MOON RE: AMENDED
                                       SCHEDULES AND UPDATED LIQUIDATION ANALYSIS (.3);
                                       EMAILS W/ T. LI RE: UPDATES TO DISCLOSURE
                                       STATEMENT (.3); EMAILS W/ S. UHLAND RE: SAME (.2);
                                       RESPOND TO PLAN QUESTIONS FROM M. ZHANG (.4);
                                       TELEPHONE CONFERENCE W/ A. BEHLMANN RE: UPDATES
                                       TO PLAN (.3); REVIEW CLAIM SCHEDULES FOR
                                       DISCLOSURE STATEMENT (.5); FOLLOW UP W/ T. LI RE:
                                       SAME (.2); REVISE NOTICE OF REDLINE FOR PLAN AND
                                       DRAFT SUMMARY CHART OF PLAN CHANGES (1.4); EMAILS
                                       AND CALLS W/ M. ZHANG RE: OPEN PLAN QUESTIONS (.8);
                                       REVIEW AND COMMENT ON REVISED LIQUIDATION
                                       ANALYSIS FOOTNOTES AND ASSUMPTIONS (.5); EMAILS W/
                                       R. MOON RE: SAME (.3); FURTHER REVISE PLAN AND PLAN
                                       TERM SHEET RE: COMMENTS FROM M. ZHANG AND S.
                                       UHLAND (1.1); REVIEW AND COMMENT ON NOTICE OF
                                       BLACKLINE RE: DISCLOSURE STATEMENT AND SUMMARY
                                       CHART OF CHANGES TO SAME (.4); REVIEW COURT’S
                                       TENTATIVE RULING RE: DISCLOSURE STATEMENT (.3);
                                       EMAILS W/ M. PAGAY, J. DULBERG, M. ZHANG, AND J.
                                       WANG RE: SAME (.4); EMAILS W/ R. PACHULSKI, J. WANG,
                                       AND S. UHLAND RE: OPEN PLAN QUESTIONS (.4); REVIEW
                                       AND COMMENT ON REVISED SECTIONS OF THE
                                       DISCLOSURE STATEMENT (.3); FOLLOW UP W/ T. LI RE:
                                       SAME (.2)

03/16/20    J SU                       DRAFT CREDITOR TRUST AGREEMENT BASED ON TERM                  7.9
                                       SHEET




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Date        Name                       Description                                                Hours

03/16/20    T LI                       REVISE FOURTH AMENDED DISCLOSURE STATEMENT RE:                9.9
                                       CHALLENGE TO BVI INJUNCTIONS BASED ON MODEL LAW
                                       AND OTHER BVI LAWS (.3); CORRESPOND W/ D. PEREZ
                                       AND S. UHLAND RE: CREDITORS JOINDER IN SUPPORT OF
                                       THIRD AMENDED DISCLOSURE STATEMENT (.1); DRAFT
                                       NOTICES OF BLACKLINED VERSION OF FOURTH AMENDED
                                       DISCLOSURE STATEMENT AND THIRD AMENDED PLAN (.3);
                                       RESEARCH RE: COURTS SHOULD REFUSE TO HEAR
                                       CONFIRMATION ISSUES AT THE DISCLOSURE STATEMENT
                                       HEARING AND EMAIL D. PEREZ RE: SAME (.6); REVISE AND
                                       FINALIZE REPLY IN SUPPORT OF DISCLOSURE
                                       STATEMENT RE: FURTHER S. UHLAND COMMENTS AND M.
                                       PAGAY COMMENTS (1.9); FINALIZE BASED ON BVI
                                       COUNSEL COMMENTS AND COORDINATE FILING RE:
                                       REPLY IN SUPPORT OF DISCLOSURE STATEMENT (1.5);
                                       TELEPHONE CONFERENCE W/ D. PEREZ AND R. MOON RE:
                                       AMENDED SCHEDULES AND UPDATED LIQUIDATION
                                       ANALYSIS (.3); REVIEW AMENDED TERM SHEET AND THIRD
                                       AMENDED PLAN, SUGGEST CHANGES, AND EMAIL D.
                                       PEREZ RE: SAME (1.5); REVISE AND UPDATE FOURTH
                                       AMENDED DISCLOSURE STATEMENT RE: CHANGES
                                       INCLUDING RECENT CASE DEVELOPMENTS, CLAIM
                                       AMOUNTS, BVI PROCEEDING (2.0); REVIEW REFERENCES
                                       TO THE DISCLOSURE STATEMENT IN LIQUIDATION
                                       ANALYSIS AND EMAIL R. MOON (.1); UPDATE AND REVISE
                                       CHART SHOWING REVISIONS ATTACHED TO NOTICE OF
                                       BLACKLINED DISCLOSURE STATEMENT (1.1); TELEPHONE
                                       CONFERENCE W/ R. JIA AND L. SUN RE: LANGUAGE IN
                                       DISCLOSURE STATEMENT RE: CLAIM AMOUNTS (.2)

03/16/20    S UHLAND                   DRAFT AND REVISE DISCLOSURE STATEMENT REPLY (1.2);            1.9
                                       FINALIZE REPLY FOR FILING (.7)

03/17/20    S UHLAND                   COMMUNICATE W/ RK JIA RE: VOTING AMOUNTS                      0.4

03/17/20    S UHLAND                   DRAFT AND REVISE DISCLOSURE STATEMENT IN LIGHT OF             5.5
                                       TENTATIVE (1.4); COMMUNICATE W/ D. PEREZ RE: SAME
                                       (.4); DRAFT AND REVISE DISCLOSURE STATEMENT RE: BVI
                                       COUNSEL COMMENTS (.9); REVIEW AND REVISE SUMMARY
                                       OF PLAN CHANGES (.7); REVISE PLAN LANGUAGE RE:
                                       DISTRIBUTION MECHANICS (.9); COMMUNICATION W/ D.
                                       PEREZ RE: SAME (.3); COMMUNICATE W/ M. ZHANG, D.
                                       PEREZ AND J. WANG RE: KCBI ISSUES (.5); FOLLOW-UP
                                       COMMUNICATIONS W/ M. ZHANG AND J. WANG RE: SAME
                                       (.4)

03/17/20    D PEREZ                    REVISE DISCLOSURE STATEMENT RE: PLAN UPDATES AND             10.3
                                       TENTATIVE RULING (1.8); EMAILS W/ S. UHLAND RE: OPEN
                                       PLAN ISSUES (.5); EMAILS W/ M. ZHANG AND J. WANG RE:
                                       SAME (.6); TELEPHONE CONFERENCE W/ M. ZHANG, J.
                                       WANG, R. PACHULSKI, J. DULBERG, AND M. PAGAY RE:
                                       SAME (.8); REVISE PLAN AND PLAN TERM SHEET RE: SAME
                                       (1.3); REVISE BVI SECTIONS OF THE DISCLOSURE
                                       STATEMENT (.5); EMAILS W/ R. MOON AND T. LI RE:
                                       LIQUIDATION ANALYSIS (.4); REVIEW AND COMMENT ON
                                       FOOTNOTES TO SAME (.4); REVIEW AND COMMENT ON
                                       CHART OF DISCLOSURE STATEMENT CHANGES TO
                                       ADDRESS TENTATIVE RULING (.8); FINALIZE NOTICE OF
                                       FILING AND CHART OF PLAN CHANGES (.6); FINALIZE PLAN
                                       AND DISCLOSURE STATEMENT FOR FILING (2.3); EMAILS
                                       W/ S. UHLAND RE: SAME (.3)




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Date        Name                       Description                                                Hours

03/17/20    T LI                       REVIEW TENTATIVE ORDER AND EMAIL MAPLES TEAM RE:              8.3
                                       INFORMATION TO BE SUPPLEMENTED (.5); TELEPHONE
                                       CONFERENCE W/ L. SUN AND R. JIA RE: DISCLOSURE
                                       STATEMENT CLAIM AMOUNT LANGUAGE (.7); DRAFT
                                       LANGUAGE RE: CLAIM OBJECTION AMOUNTS AND EMAIL D.
                                       PEREZ AND CLIENT TEAM RE: SAME (.4); CORRESPOND W/
                                       CLIENT TEAM RE: DISPUTED CLAIM AMOUNT IN THE
                                       DISCLOSURE STATEMENT (.3); TELEPHONE CONFERENCE
                                       W/ R. JIA AND L. SUN RE: CLAIM AMOUNTS AND
                                       DISCLOSURE STATEMENT LANGUAGE (.3); TELEPHONE
                                       CONFERENCE W/ K. ADONIS RE: COMMENTS TO BVI
                                       SECTION OF DISCLOSURE STATEMENT (.2); DRAFT BVI
                                       RIDER TO DISCLOSURE STATEMENT AND EMAIL SAME TO
                                       S. UHLAND AND MAPLES (BVI COUNSEL) (.8); REVISE
                                       FOURTH AMENDED DISCLOSURE STATEMENT RE:
                                       ESTIMATED DISCOVERY AND EMAIL R. MOON RE: SAME
                                       (.4); FINALIZE FOURTH AMENDED DISCLOSURE
                                       STATEMENT, PREPARE DOCUMENTS, AND COORDINATE
                                       FILING RE: SAME (3.8); UPDATE NOTICE OF BLACKLINE
                                       VERSION OF DISCLOSURE STATEMENT (.9)

03/18/20    S UHLAND                   REVIEW SOLICITATION NOTE AND STRATEGIZE RE: SAME              0.8
                                       (.5); CORRESPOND W/ D. PEREZ RE: CONFIRMATION
                                       TIMELINE (.3)

03/18/20    D PEREZ                    PREPARE PLAN AND DISCLOSURE STATEMENT FOR                     1.2
                                       TRANSLATION (.6); EMAILS W/ S. UHLAND RE:
                                       CONFIRMATION TIMELINE AND VOTING QUESTIONS (.3);
                                       EMAILS W/ S. KJONTVEDT RE: PREPARATION OF
                                       SOLICITATION PACKAGES (.3)

03/18/20    T LI                       CORRESPOND W/ CLIENT TEAM RE: FILED DISCLOSURE                0.5
                                       STATEMENT AND PLAN (.2); CORRESPOND W/ L. HAN RE:
                                       DISCLOSURE STATEMENT, SIXTH AMENDMENT TO SMART
                                       KING ARTICLES, AND CURRENT TERM SHEET (.3)

03/19/20    S UHLAND                   REVIEW PLAN AND DISCLOSURE STATEMENT CHANGES IN               1.6
                                       PREPARATION FOR HEARING

03/19/20    T LI                       REVISE PROPOSED ORDER AND CONFIRMATION HEARING                0.8
                                       NOTICE AND EMAIL M. PAGAY RE: SAME

03/19/20    D PEREZ                    REVIEW AND COMMENT ON PRESS RELEASE RE:                       1.4
                                       APPROVAL OF THE DISCLOSURE STATEMENT (.6); REVIEW
                                       AND COMMENT ON UPDATED ORDER APPROVING
                                       DISCLOSURE STATEMENT (.2); EMAILS W/ M. PAGAY, A.
                                       BEHLMANN, AND T. LI RE: SAME (.3); REVIEW AND
                                       COMMENT ON NOTICE OF CONFIRMATION HEARING (.2);
                                       EMAILS W/ M. PAGAY AND T. LI RE: SAME (.1)

03/19/20    T LI                       CORRESPOND W/ H. LI RE: PLAN TERM SHEET REDLINE               0.1

03/19/20    J SU                       UPDATE TRUST AGREEMENT BASED ON INTERNAL                      5.8
                                       COMMENTS

03/20/20    S UHLAND                   DRAFT AND REVISE YT WIP LIST                                  0.9




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03/20/20    D PEREZ                    UPDATE DISCLOSURE STATEMENT AND PLAN FOR                        4.3
                                       SOLICITATION AND FINALIZE SAME (2.4); EMAILS W/ T. LI
                                       RE: CONFIRMATION MEMO (.2); REVIEW LOCAL RULES AND
                                       PRECEDENT RE: SAME (.3); REVISE RESPONSES TO
                                       QUESTIONS FROM CREDITORS RE: PLAN (.7); EMAILS W/ S.
                                       KJONTVEDT RE: SOLICITATION PACKAGES (.2); REVIEW
                                       MEMORANDUM RE: SAME (.3); REVIEW FINALIZED
                                       CONFIRMATION HEARING NOTICE (.1); FOLLOW UP W/ M.
                                       PAGAY RE: SAME (.1)

03/20/20    T LI                       REVISE AND UPDATE NOTICE OF NON-VOTING STATUS                   2.1
                                       ACCORDING TO THIRD AMENDED PLAN AND DISCLOSURE
                                       STATEMENT ORDER (1.1); DRAFT AND REVISE ANSWERS
                                       TO A SERIES OF CREDITOR QUESTIONS ABOUT THE PLAN
                                       AND DISTRIBUTION THEREUNDER AND EMAIL D. PEREZ
                                       RE: SAME (1.0)

03/20/20    L HAN                      REVIEW AND COMMENT ON THE TRUST AGREEMENT                       1.6

03/20/20    J SU                       UPDATE TRUST AGREEMENT BASED ON INTERNAL                        3.9
                                       COMMENTS

03/21/20    T LI                       REVISE BASED ON D. PEREZ COMMENTS RE: PROPOSED                  0.6
                                       ANSWERS TO A SERIES OF QUESTIONS FROM CREDITORS
                                       RE: TREATMENT UNDER THE PLAN

03/21/20    J SU                       UPDATE TRUST AGREEMENT BASED ON INTERNAL                        0.8
                                       COMMENTS

03/22/20    D PEREZ                    REVIEW AND FINALIZE NOTICE CONFIRMATION HEARING                 1.0
                                       AND NOTICE OF NON VOTING STATUS (.9); FOLLOW UP W/
                                       T. LI RE: SAME (.1)

03/22/20    T LI                       CORRESPOND W/ D. PEREZ RE: COMPILED DISCLOSURE                  0.1
                                       STATEMENT W/ EXHIBITS

03/23/20    D PEREZ                    EMAILS AND CALLS W/ M. ZHANG RE:                                3.7
                                       VOTING/CONFIRMATION QUESTIONS (1.5); EMAILS W/ R.
                                       PACHULSKI AND M. PAGAY RE: SAME (.5); REVIEW AND
                                       REVISE BALLOT (.5); RESEARCH RE: AMENDING BALLOTS
                                       (.6); EMAILS W/ R. PACHULSKI AND J. DULBERG RE: SAME
                                       (.2); REVIEW UPDATED CONFIRMATION TIMELINE AND
                                       FOLLOW UP W/ T. LI RE: SAME (.2); EMAILS W/ T. LI RE:
                                       CONFIRMATION MOTION (.2)

03/23/20    S UHLAND                   INITIAL REVIEW CLAIM ANALYSIS RE: VOTING ISSUES (.7);           1.5
                                       DRAFT AND REVISE RESPONSES TO CREDITOR
                                       QUESTIONS (.8)

03/23/20    T LI                       CORRESPOND W/ H. LI RE: FOURTH AMENDED                          3.8
                                       DISCLOSURE STATEMENT (.1); REVISE BASED ON D.
                                       PEREZ COMMENTS NOTICE OF NON-VOTING STATUS (.3);
                                       CORRESPOND W/ J. DULBERG AND M. PAGAY RE: SAME
                                       (.1); REVISE BASED ON M. PAGAY COMMENTS NOTICE OF
                                       NON-VOTING STATUS (.2); REVISE AND UPDATE FORM
                                       BALLOT AND EMAIL D. PEREZ RE: SAME (1.4); REVISE
                                       BASED ON D. PEREZ COMMENTS RE: FORM BALLOT (.9);
                                       RESEARCH RE: JUDGE CHAMBERS RULES RE:
                                       CONFIRMATION MOTION AND INDIVIDUAL DEBTOR
                                       CONFIRMATION REQUIREMENT AND EMAIL D. PEREZ RE:
                                       SAME (.7); CORRESPOND W/ L. HAN RE: CERTAIN DEFINED
                                       TERMS IN PLAN TERM SHEET (.1)




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03/23/20    T LI                       REVISE CONFIRMATION TIMELINE AND EMAIL M. PAGAY                 0.2
                                       RE: SAME

03/23/20    L HAN                      REVIEW AND COMMENT THE TRUST AGREEMENT                          1.2

03/24/20    D PEREZ                    EMAILS W/ M. ZHANG AND R. PACHULSKI RE:                         2.9
                                       SOLICITATION / CONFIRMATION QUESTIONS (.6); FINALIZE
                                       BALLOT (.5); FOLLOW UP W/ S. UHLAND RE: SAME (.2);
                                       EMAILS W/ M. PAGAY RE: CONFIRMATION TIMELINE (.2);
                                       REVIEW AND COMMENT ON FAQS FROM EPIQ AND
                                       FOLLOW UP W/ T. LI RE: SAME (.3); REVIEW EPIQ VOTING
                                       REPORTS AND FOLLOW UP W/ L. SUN RE: SAME (.6);
                                       REVIEW EPIQ SOLICITATION MEMORANDUM (.2); EMAILS
                                       W/ EPIQ TEAM RE: SAME (.3)

03/24/20    J SU                       UPDATE TRUST AGREEMENT                                          0.3

03/24/20    T LI                       PREPARE PLAN AND DISCLOSURE STATEMENT                           1.0
                                       SIGNATURE PAGES AND EMAIL D. PEREZ AND CLIENT
                                       TEAM RE: SAME (.7); REVIEW FORM BALLOT AND EMAIL
                                       EPIQ (.3)

03/24/20    T LI                       CORRESPOND W/ S. HE RE: NOTICE OF NON-VOTING                    0.2
                                       STATUS AND BALLOT FOR TRANSLATION

03/25/20    D PEREZ                    REVIEW SOLICITATION VERSION OF PLAN AND                         1.1
                                       DISCLOSURE STATEMENT (.5); REVIEW REVISED
                                       SOLICITATION MEMORANDUM (.2); REVIEW UPDATED
                                       VOTING SCHEDULES FROM EPIQ (.4)

03/25/20    L HAN                      REVIEW AND COMMENT ON THE TRUST AGREEMENT                       0.5

03/25/20    J SU                       DRAFT TRUST AGREEMENT AND REVIEW TERM SHEET RE:                 0.6
                                       SAME

03/25/20    T LI                       CORRESPOND W/ L. HAN RE: AMENDED TERM SHEET                     0.1

03/26/20    S UHLAND                   CONFERENCE CALL RE: TRUST AGREEMENT W/ L. HAN, R.               0.8
                                       BLASHEK, D. PEREZ, A. ANDERSON, AND J. SU (.7);
                                       FOLLOW UP W/ M. ZHANG RE: SAME (.1)

03/26/20    D PEREZ                    TELEPHONE CONFERENCE W/ L. HAN, S. UHLAND, R.                   4.2
                                       BLASHEK, AND J. SU RE: TRUST AGREEMENT (.7); EMAILS
                                       W/ S. HE RE: TRANSLATION OF DISCLOSURE STATEMENT
                                       (.2); REVIEW SCHEDULED DEFICIENCY CLAIMS AGAINST
                                       VOTING SCHEDULE FROM EPIQ (.4); FOLLOW UP W/ T. LI
                                       RE: SAME (.1); REVIEW T. LI ANALYSIS RE: SAME (.2);
                                       REVIEW FINAL SOLICITATION MATERIALS AND FINALIZE
                                       SAME (1.6); EMAILS AND CALLS W/ S. KJONTVEDT AND T. LI
                                       RE: SAME (.5); REVIEW NOTICE OF TRANSLATED
                                       DISCLOSURE STATEMENT AND CERTIFICATION RE: SAME
                                       (.2); REVIEW FLASH DRIVE MEMO (.1); EMAILS W/ S. HE AND
                                       S. JKONTVEDT RE: SAME (.2)




                                     Due upon receipt. Please remit to:
              By Mail: O'Melveny & Myers LLP - P.O. Box 894436, Los Angeles, CA 90189-4436
                 By Wire Transfer:
                       Beneficiary: O’Melveny & Myers LLP, Account No.:
                   Please include client/matter/invoice number and/or attorney name.
Case 2:19-bk-24804-VZ         Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                          Desc
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Client: JIA, YUETING                                                                                04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                 Invoice: 1062234
CORP)
Matter: 0424428-00003                                                                            Page No. 19


Date        Name                       Description                                                    Hours

03/26/20    T LI                       COMPILE AND ENSURE COMPLETENESS OF DISCLOSURE                     4.5
                                       STATEMENT AND PLAN FOR SOLICITATION PURPOSES
                                       (1.3); CORRESPOND W/ EPIQ RE: SOLICITATION MATERIALS
                                       AND EMAIL D. PEREZ RE: SAME (.3); COMPILE
                                       SOLICITATION PACKAGE AND EMAIL D. PEREZ RE: SAME
                                       (.6); PREPARE SOLICITATION PACKAGE AND EMAIL EPIQ
                                       RE: SAME (1.1); COMPILE CHINESE VERSION OF
                                       SOLICITATION PACKAGE AND EMAIL EPIQ (.4); COMPILE
                                       TRANSLATION DECLARATION AND EMAIL M. PAGAY FOR
                                       FILING (.3); IDENTIFY CERTAIN MISSING VOTING
                                       CREDITORS AND EMAIL EPIQ RE: SAME (.5)

03/26/20    R BLASHEK                  TELEPHONE CONFERENCE W/ A. ANDERSON, D. PEREZ, S.                 0.7
                                       UHLAND, L. HAN, AND J. SU RE: LATE FILING RESERVE,
                                       TERM SHEET, ETC.

03/26/20    A ANDERSON                 TELEPHONE CONFERENCE W/ S. UHLAND, D. PEREZ, R.                   0.7
                                       BLASHEK, L. HAN, AND J. SU RE: TRUST AGREEMENT

03/27/20    T LI                       REVISE CREDITOR QUESTIONS AND ANSWERS RE:                         0.3
                                       TREATMENT UNDER THE PLAN AND EMAIL TO S. HE FOR
                                       TRANSLATION

03/27/20    J SU                       TELEPHONE CONFERENCE ON TERM SHEET RE:                            6.6
                                       STRUCTURE OF LATE FILED TRUST RESERVE W/ L. HAN, S.
                                       UHLAND, R. BLASHEK, D. PEREZ, AND A. ANDERSON
                                       (NOTE: CHINA DATE MARCH 27) (.7); RESEARCH ON
                                       CONTINGENCY CLAIMS RESERVE IN ORDER TO
                                       DETERMINE STRUCTURE OF LATE FILED TRUST RESERVE
                                       (5.9)

03/27/20    D PEREZ                    REVIEW PLAN AND DISCLOSURE STATEMENT FAQ (.2);                    1.2
                                       FOLLOW UP W/ S. UHLAND AND T. LI RE: SAME (.2); EMAILS
                                       W/ T. LI AND S. JKONTVEDT RE: SOLICITATION PACKAGES
                                       (.3); EMAILS W/ M. ZHANG RE: VOTING PROCEDURES (.2);
                                       REVIEW TRUST AGREEMENT PRECEDENT RE: LATE-FILED
                                       CLAIMS RESERVE (.3)

03/27/20    L HAN                      TELEPHONE CONFERENCE (PARTIAL) W/ S. UHLAND, R.                   0.6
                                       BLASHEK, AND D. PEREZ RE: TRUST AGREEMENT (NOTE:
                                       CHINA DATE MARCH 27)

03/28/20    D PEREZ                    PREPARE DRAFT LETTER RE: COMMITTEE SUPPORT OF                     1.3
                                       PLAN (.5); EMAILS W/ L. SUN RE: VOTING RECORD
                                       SCHEDULE AND OPEN QUESTIONS (.6); EMAILS W/ S.
                                       KJONTVEDT RE: SOLICITATION PACKAGES (.2)

03/30/20    D PEREZ                    PREPARE FINAL COMMITTEE SUPPORT LETTER FOR                        1.6
                                       SOLICITATION (.2); EMAILS W/ S. KJONTVEDT RE: MAILING
                                       OF SOLICITATION PACKAGES (.3); FOLLOW UP W/ T. LI RE:
                                       CONFIRMATION MOTION (.2); EMAILS W/ S. HE AND M.
                                       ZHANG RE: CREDITOR QUESTIONS ON THE PLAN (.9)

03/30/20    T LI                       RESEARCH NINTH CIRCUIT CASE LAW RE: GOOD FAITH                    1.0
                                       AND BEST INTERESTS OF CREDITORS REQUIREMENTS IN
                                       PLAN CONFIRMATION

03/31/20    D PEREZ                    EMAILS W/ T. LI AND M. PAGAY RE: CREDITOR FAQS (.3);              1.2
                                       REVIEW AFFIDAVIT OF SERVICE RE: SOLICITATION
                                       PACKAGES (.2): EMAILS W/ M. PAGAY AND S. KJONTVEDT
                                       RE: SAME (.2); EMAILS W/ S. UHLAND, L. HAN, R. BLASHEK,
                                       AND A. ANDERSON RE: STRUCTURING THE TRUST
                                       AGREEMENT AND LATE FILED CLAIMS RESERVE (.5)



                                     Due upon receipt. Please remit to:
              By Mail: O'Melveny & Myers LLP - P.O. Box 894436, Los Angeles, CA 90189-4436
                 By Wire Transfer:
                       Beneficiary: O’Melveny & Myers LLP, Account No.:
                   Please include client/matter/invoice number and/or attorney name.
Case 2:19-bk-24804-VZ               Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                         Desc
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Client: JIA, YUETING                                                                                      04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                       Invoice: 1062234
CORP)
Matter: 0424428-00003                                                                                Page No. 20


Date            Name                          Description                                                  Hours

03/31/20        T LI                          PREPARE FREQUENTLY ASKED QUESTIONS RE: VOTING                   1.2
                                              ON THE PLAN AND TREATMENT UNDER THE PLAN (.4);
                                              RESEARCH RE: TIMING OF ANNOUNCING VOTING RESULTS
                                              AND EMAIL D. PEREZ RE: SAME (.8)

03/31/20        T LI                          DRAFT OUTLINE OF CONFIRMATION BRIEF AND PREPARE                 2.3
                                              NOTICE FOR CONFIRMATION MOTION (1.5); DRAFT
                                              CONFIRMATION MOTION (.8)

Total           014 Plan and Disclosure Statement                                                           256.1

016 Reporting

03/06/20        D PEREZ                       EMAILS W/ M. PAGAY, J. WANG, AND R. JIA RE: OPEN                0.2
                                              QUESTIONS ON SCHEDULE AMENDMENTS

03/08/20        D PEREZ                       EMAILS W/ M. PAGAY AND M. ZHANG RE: AMENDMENTS TO               0.3
                                              SCHEDULES

Total           016 Reporting                                                                                 0.5

017 Tax

03/10/20        R BLASHEK                     REVIEW PLAN DOCUMENTS AND NEW TERM SHEET                        0.7
                                              ISSUES (.4); CONFERENCE W/ A. ANDERSON RE: SAME (.3)

03/10/20        A ANDERSON                    COMMUNICATIONS W/ R. BLASHEK RE: TERM SHEET (.3);               1.9
                                              REVIEW TERM SHEET (.8); RESEARCH RE: TAX ISSUES (.8)

03/11/20        A ANDERSON                    RESEARCH RE: TAX ISSUES RELATED TO LATE CLAIMS                  2.2
                                              TRUST (.8); REVIEW TERM SHEET, REVIEW DISCLOSURE
                                              AND TAX ISSUES (1.4)

03/12/20        R BLASHEK                     REVIEW REVISED TRUST ISSUES (.7); EMAILS W/ A.                  1.1
                                              ANDERSON RE: SAME (.2); REVIEW LIQUIDATING TRUST
                                              ISSUES (.2)

03/12/20        A ROBERTS                     TAX RESEARCH RE: TRANSACTION STRUCTURE (.7);                    1.0
                                              CONFERENCE W/ A. ANDERSON RE: SAME (.3)

03/12/20        A ANDERSON                    REVIEW ARTICLES, LETTER RULINGS AND AUTHORITIES                 2.8
                                              RE: TREATMENT OF TRUST, ALTERNATIVE
                                              CHARACTERIZATIONS (2.3); DISCUSS TAX ISSUES W/ A.
                                              ROBERTS (.3); EMAILS W/ R. BLASHEK RE: SAME (.2)

03/13/20        A ANDERSON                    TELEPHONE CONFERENCE W/ R. BLASHEK RE: TAX                      1.1
                                              ISSUES FOR TRUSTS (.5); REVIEW RULINGS (.4); REVIEW
                                              TERM SHEET (.2)

03/13/20        R BLASHEK                     TELEPHONE CONFERENCE W/ A. ANDERSON RE: TERM                    1.1
                                              SHEET TAX ISSUES (.5); REVIEW TRUST AGREEMENT AND
                                              EMAIL H. LI RE: SAME (.6)

03/19/20        R BLASHEK                     RESEARCH DELAWARE STATUTORY TRUST TAX ISSUES                    0.5
                                              (.4); EMAIL A. ANDERSON RE:SAME (.1)

03/20/20        R BLASHEK                     EMAILS W/ L. HAN AND A. ANDERSON RE: CREDITOR                   0.1
                                              TRUST

03/20/20        A ANDERSON                    REVIEW DELAWARE STATUTORY TRUST ISSUES (.5);                    0.9
                                              DRAFT AND CIRCULATE EMAILS TO R. BLASHEK, S.
                                              UHLAND AND L. HAN (.4)

03/25/20        R BLASHEK                     REVIEW TRUST AGREEMENT RE: TAX ISSUES                           0.4




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                     By Wire Transfer:
                           Beneficiary: O’Melveny & Myers LLP, Account No.:
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Case 2:19-bk-24804-VZ              Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                          Desc
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Client: JIA, YUETING                                                                                      04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                       Invoice: 1062234
CORP)
Matter: 0424428-00003                                                                                 Page No. 21


Date          Name                             Description                                                 Hours

03/26/20      A ANDERSON                       TELEPHONE CONFERENCE W/ R. BLASHEK RE: OPEN TAX                0.6
                                               ISSUES (.3); RESEARCH RE: TAX ISSUES (.3)

03/26/20      R BLASHEK                        RESEARCH LATE FILING RESERVE STRUCTURE, TAX                    1.2
                                               CLASSIFICATION (.9); TELEPHONE CONFERENCE W/ A.
                                               ANDERSON RE: SAME (.3)

03/27/20      A ROBERTS                        REVIEW TRUST AGREEMENT PRECEDENT MATERIALS (.7);               1.0
                                               CONFERENCE W/ A. ANDERSON RE: SAME (.3)

03/27/20      A ANDERSON                       REVIEW TRUST AGREEMENT PRECEDENT (1.1);                        1.4
                                               TELEPHONE CONFERENCE W/ A. ROBERTS RE: SAME (.3)

03/27/20      R BLASHEK                        REVIEW CONTESTED CLAIMS PRECEDENTS/DOCUMENTS                   1.9
                                               AND TAX POSITIONS (1.6); E-MAIL CONCLUSIONS TO OMM
                                               TEAM RE: SAME (.3)

03/31/20      R BLASHEK                        REVIEW LATE FILED CLAIMS RESERVE ISSUES (.3); EMAIL            0.4
                                               A. ANDERSON RE: SAME (.1).

03/31/20      A ANDERSON                       RESEARCH RE: CONTINGENT/LATE CLAIM RESERVE (1.8);              2.6
                                               DRAFT EMAIL RE: LATE CLAIM TRUST FOR S. UHLAND, R.
                                               BLASHEK, L. HAN AND D. PEREZ (.3); ADDITIONAL
                                               CORRESPONDENCE W/ S. UHLAND, L. HAN, R. BLASHEK
                                               AND D. PEREZ (.2); REVIEW QUESTIONS FROM L. HAN (.3)

Total         017 Tax                                                                                        22.9

019 Other International Issues

03/02/20      T LI                             CORRESPOND W/ CHINA TEAM AND EPIQ RE: NOTICE                   1.0
                                               ISSUES AND DRAFT SCRIPT FOR TELEPHONE
                                               CONFERENCES PER COURT REQUEST

03/03/20      T LI                             CORRESPOND W/ S. HE RE: TRANSLATION OF CERTAIN                 0.3
                                               LEGAL LANGUAGE AND TRANSLATION CERTIFICATE (.2);
                                               CORRESPOND W/ CHINA TEAM RE: NOTICING CERTAIN
                                               CREDITORS PER COURT REQUEST (.1)

03/03/20      J SU                             SEARCH FOR CREDITORS CONTACT AND CALL                          1.8
                                               CREDITORS IN CHINA TO DELIVER NOTICE REQUIRED TO
                                               SHORTEN NOTICE PERIOD

03/03/20      L HAN                            FOLLOW UP W/ J. SU AND TJ RE: CALLS W/ CREDITORS IN            0.3
                                               CHINESE

03/03/20      Y LIU                            NOTIFY CREDITORS OF THE MOTION TO APPROVE THE                  3.8
                                               THIRD AMENDED DISCLOSURE STATEMENT

03/04/20      J SU                             DELIVER NOTICE TO CREDITORS IN CHINA VIA PHONE                 0.3
                                               CALLS AND EMAILS

03/04/20      Y LIU                            FURTHER NOTIFY CREDITORS OF THE MOTION TO                      0.1
                                               APPROVE THE THIRD AMENDED DISCLOSURE STATEMENT

03/09/20      Y LIU                            FURTHER COMMUNICATION W/ BEIJING YINGDA CAPITAL                0.2
                                               FOR NOTICE

03/13/20      L HAN                            ATTENTION TO THE RESPONSE TO LIANCAI CLAIMS                    0.2

03/30/20      L HAN                            RESPOND TO CREDITORS QUESTIONS VIA WECHAT                      0.2

Total         019 Other International Issues                                                                  8.2

Total Hours                                                                                                 379.3


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                          Beneficiary: O’Melveny & Myers LLP, Account No.:
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Case 2:19-bk-24804-VZ                Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                     Desc
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Client: JIA, YUETING                                                                                 04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                  Invoice: 1062234
CORP)
Matter: 0424428-00003                                                                             Page No. 22



Total Fees                                                                                          358,301.50


Less 10% Discount                                                                                  (35,830.15)

Total Fees After Adjustment                                                                         322,471.35

Disbursements
Copying                                                                                               $282.20
Expense Report Other (Incl. Out of Town Travel)                                                     (2,046.07)
FIRMEX                                                                                                  375.00
Online Research                                                                                       2,705.18

Total Disbursements                                                                                  $1,316.31


Total Current Invoice                                                                            $323,787.66




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Case 2:19-bk-24804-VZ                Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                   Desc
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Client: JIA, YUETING                                                                                 04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                  Invoice: 1062234
CORP)
Matter: 0424428-00003                                                                            Page No. 23


Timekeeper Summary
Timekeeper                                                                                            Hours

Attorneys

SUZZANNE UHLAND                                                                                         53.1

ALEXANDER ANDERSON                                                                                      14.2

WILLIAM K. PAO                                                                                            3.4

LI HAN                                                                                                    5.4

ROBERT BLASHEK                                                                                            8.1

ALEXANDER ROBERTS                                                                                         2.0

DIANA M. PEREZ                                                                                         123.0

DANIEL J. TULLY                                                                                           0.9

TJ LI                                                                                                  116.4

JHE-YU SU                                                                                               47.1

Total for Attorneys                                                                                    373.6

Paralegal/Litigation Support

YI TIFFANY LIU                                                                                            4.1

DENISE LIEU                                                                                               1.6

Total for Paralegal/Litigation Support                                                                    5.7

Total                                                                                                  379.3




                                         Due upon receipt. Please remit to:
                  By Mail: O'Melveny & Myers LLP - P.O. Box 894436, Los Angeles, CA 90189-4436
                     By Wire Transfer:
                           Beneficiary: O’Melveny & Myers LLP, Account No.:
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Case 2:19-bk-24804-VZ                Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                      Desc
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Client: JIA, YUETING                                                                                 04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                  Invoice: 1062234
CORP)
Matter: 0424428-00003                                                                             Page No. 24


Task Summary
Timekeeper               Title                                                             Hours        Amount
SUZZANNE UHLAND          Partner                                                                 2.0    2,960.00
DIANA M. PEREZ           Counsel                                                                 2.2    2,310.00
TJ LI                   Associate                                                            10.7       7,169.00
Total for 005 Case Administration                                                            14.9      12,439.00

WILLIAM K. PAO           Partner                                                                 1.8    1,881.00
SUZZANNE UHLAND          Partner                                                                 4.8    7,104.00
DIANA M. PEREZ           Counsel                                                             20.6      21,630.00
TJ LI                   Associate                                                            20.0      13,400.00
Total for 006 Claims Administration and Objections                                           47.2      44,015.00

DIANA M. PEREZ           Counsel                                                                 0.2     210.00
TJ LI                  Associate                                                                 0.8     536.00
Total for 007 Employment and Fee Applications                                                    1.0     746.00

SUZZANNE UHLAND          Partner                                                                 1.2    1,776.00
DIANA M. PEREZ           Counsel                                                                 1.8    1,890.00
TJ LI                    Associate                                                               0.2      134.00
Total for 009 Financing and Cash Collateral                                                      3.2    3,800.00

SUZZANNE UHLAND          Partner                                                                 2.5    3,700.00
DIANA M. PEREZ           Counsel                                                                 4.4    4,620.00
TJ LI                    Associate                                                            5.5       3,685.00
Total for 010 Hearings                                                                       12.4      12,005.00

WILLIAM K. PAO           Partner                                                                 1.6    1,672.00
SUZZANNE UHLAND          Partner                                                                 0.5     740.00
DIANA M. PEREZ           Counsel                                                                 4.0    4,200.00
DANIEL J. TULLY          Counsel                                                                 0.9     801.00
TJ LI                    Associate                                                               0.8      536.00
Total for 011 Litigation                                                                         7.8    7,949.00

TJ LI                    Associate                                                               1.0     670.00
DENISE LIEU              Litigation Tech                                                         1.6      376.00
Total for 012 Meetings and Communications with Creditors                                         2.6    1,046.00

SUZZANNE UHLAND         Partner                                                                  2.5    1,850.00
Total for 013 Non-Working Travel                                                                 2.5    1,850.00

LI HAN                   Partner                                                                 4.7    5,146.50
ALEXANDER                Partner                                                                 0.7     780.50
ANDERSON
ROBERT BLASHEK           Partner                                                                 0.7     983.50
SUZZANNE UHLAND          Partner                                                             39.6      58,608.00
DIANA M. PEREZ           Counsel                                                             89.3      93,765.00
TJ LI                    Associate                                                           76.1      50,987.00


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                     By Wire Transfer:
                           Beneficiary: O’Melveny & Myers LLP, Account No.:
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Client: JIA, YUETING                                                                                   04/16/20
Matter Name: CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING,                    Invoice: 1062234
CORP)
Matter: 0424428-00003                                                                               Page No. 25



JHE-YU SU                Associate                                                             45.0      31,725.00
Total for 014 Plan and Disclosure Statement                                                   256.1      241,995.5
                                                                                                                 0

DIANA M. PEREZ          Counsel                                                                    0.5     525.00
Total for 016 Reporting                                                                            0.5     525.00

ALEXANDER                 Partner                                                              13.5      15,052.50
ANDERSON
ROBERT BLASHEK            Partner                                                                  7.4   10,397.00
ALEXANDER                 Counsel                                                                  2.0    1,990.00
ROBERTS
Total for 017 Tax                                                                              22.9      27,439.50

LI HAN                    Partner                                                                  0.7     766.50
TJ LI                     Associate                                                                1.3     871.00
JHE-YU SU                 Associate                                                                2.1    1,480.50
YI TIFFANY LIU            Legal Consultant                                                         4.1    1,373.50
Total for 019 Other International Issues                                                           8.2    4,491.50




                                           Due upon receipt. Please remit to:
                    By Mail: O'Melveny & Myers LLP - P.O. Box 894436, Los Angeles, CA 90189-4436
                       By Wire Transfer:
                             Beneficiary: O’Melveny & Myers LLP, Account No.:
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Case 2:19-bk-24804-VZ                 Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                                             Desc
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O’Melveny & Myers LLP               T: +1 213 430 6000                                                           Taxpayer ID: XX-XXXXXXX
400 South Hope Street               F: +1 213 430 6407
18th Floor                          omm.com
Los Angeles, CA 90071-2899




                                                Remittance Page
YUETING JIA                                                                                 April 16, 2020
                                                                                            OMM Matter: 0424428-00003
                                                                                            Invoice: 1062234
                                                                                            Contact: WILLIAM K. PAO

CHAPTER 11 - INTERNATIONAL TRANSACTIONAL (TAX, RESTRUCTURING, CORP)

For Professional Services Rendered Through March 31, 2020

Total Fees                                                                                                                 $358,301.50

Less 10% Discount                                                                                                          (35,830.15)

Total Fees After Adjustment                                                                                                $322,471.35

Total Disbursements                                                                                                          $1,316.31

Total Current Invoice                                                                                                      $323,787.66

                        REMITTANCE COPY - PLEASE RETURN WITH PAYMENT
                                            For questions, please contact Rachel Chan
                                                        rchan@omm.com
                                                          (213) 430-6459




                                        Due upon receipt. Please remit to:
                 By Mail: O'Melveny & Myers LLP - P.O. Box 894436, Los Angeles, CA 90189-4436
                    By Wire Transfer:
                          Beneficiary: O’Melveny & Myers LLP, Account No.:
                      Please include client/matter/invoice number and/or attorney name.

                 Century City • Los Angeles • Newport Beach • New York • San Francisco • Silicon Valley • Washington, DC
                  Beijing • Brussels • Hong Kong • London • Seoul • Shanghai • Singapore • Tokyo
            Case 2:19-bk-24804-VZ                 Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                                       Desc
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                                         PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                           10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

  A true and correct copy of the foregoing document entitled (specify): FIRST INTERIM APPLICATION OF O’MELVENY &
  MYERS LLP FOR INTERIM APPROVAL OF COMPENSATION AND REIMBURSEMENT OF EXPENSES;
  DECLARATION OF SUZZANNE UHLAND will be served or was served (a) on the judge in chambers in the form and
  manner required by LBR 5005-2(d); and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 April 16, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                          Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date) April 16, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case
 or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
 class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
 will be completed no later than 24 hours after the document is filed.

     VIA U.S. MAIL
     United States Bankruptcy Court
     Central District of California
     Attn: Hon. Vincent Zurzolo
     Edward R. Roybal Federal Bldg./Courthouse
     255 East Temple Street, Suite 1360
     Los Angeles, CA 90012

                                                                                          Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) April 16, 2020, I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
 service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
 personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.



                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 16, 2020               Nancy H. Brown                                                  /s/ Nancy H. Brown
 Date                         Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:328470.2 46353/002
        Case 2:19-bk-24804-VZ                Doc 619 Filed 04/16/20 Entered 04/16/20 20:17:18                                       Desc
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SERVICE INFORMATION FOR CASE NO. 2:19-bk-24804-VZ
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

        Tanya Behnam tbehnam@polsinelli.com, tanyabehnam@gmail.com
        Jerrold L Bregman ecf@bg.law, jbregman@bg.law
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